       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 1 of 324. PageID #: 1



                              UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                MDL No. 2804
OPIATE LITIGATION
                                            Case No. 1:17-md-02804
This document relates to:
                                            Judge Dan Aaron Polster
Case No. 1:18-op-46083

OPELOUSAS GENERAL HOSPITAL
AUTHORITY, A LOUISIANA PUBLIC               ORIGINAL COMPLAINT
TRUST, D/B/A OPELOUSAS GENERAL
HEALTH SYSTEM                               DEMAND FOR JURY TRIAL

                              Plaintiff,


       vs.

PURDUE PHARMA L.P.; PURDUE PHARMA
INC.; THE PURDUE FREDERICK COMPANY,
INC.; ENDO HEALTH SOLUTIONS INC.;
ENDO PHARMACEUTICALS, INC.; PAR
PHARMACEUTICAL, INC.; PAR
PHARMACEUTICAL COMPANIES, INC.;
JANSSEN PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.;
NORAMCO, INC.; ORTHO-MCNEIL-
JANSSEN PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.;
JOHNSON & JOHNSON; TEVA
PHARMACEUTICAL INDUSTRIES LTD.;
TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.; ALLERGAN PLC f/k/a
ACTAVIS PLC; ALLERGAN FINANCE LLC
f/k/a ACTAVIS, INC. f/k/a WATSON
PHARMACEUTICALS, INC.; WATSON
LABORATORIES, INC.; ACTAVIS, LLC;
ACTAVIS PHARMA, INC. f/k/a WATSON
PHARMA, INC.; INSYS THERAPEUTICS,
INC.; MALLINCKRODT PLC;
MALLINCKRODT LLC; SPECGX LLC;
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 2 of 324. PageID #: 2




CARDINAL HEALTH, INC.; McKESSON
CORPORATION; HEALTH MART SYSTEMS,
INC.; AMERISOURCEBERGEN
CORPORATION; AMERISOURCEBERGEN
DRUG CORPORATION; H. D. SMITH, LLC
f/k/a H. D. SMITH WHOLESALE DRUG CO;
ANDA, INC.; CVS HEALTH CORP.; RITE AID
CORP.; RITE AID OF MARYLAND, INC., d/b/a
RITE AID MID-ATLANTIC CUSTOMER
SUPPORT CENTER; WALGREENS BOOTS
ALLIANCE, INC. a/k/a WALGREEN CO.;
WALMART INC., f/k/a WALMART STORES,
INC.

                        Defendants.
         Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 3 of 324. PageID #: 3




                                                    TABLE OF CONTENTS
                                                                                                                                         Page

INTRODUCTION......................................................................................................................... 2

JURISDICTION AND VENUE ................................................................................................... 7

PARTIES ....................................................................................................................................... 8

     I. PLAINTIFF ........................................................................................................................ 8

     II. DEFENDANTS ............................................................................................................... 10

           A. Marketing Defendants ................................................................................................. 10

                1. Purdue Entities ....................................................................................................... 10

                2. Actavis Entities ...................................................................................................... 12

                3. Cephalon Entities ................................................................................................... 13

                4. Janssen Entities ...................................................................................................... 14

                5. Endo Entities .......................................................................................................... 17

                6. Insys Therapeutics, Inc. ......................................................................................... 18

                7. Mallinckrodt Entities ............................................................................................. 19

           B. Distributor Defendants ................................................................................................ 22

                1. Cardinal Health, Inc. .............................................................................................. 22

                2. McKesson Corporation .......................................................................................... 22

                3. AmerisourceBergen Corporation ........................................................................... 23

                4. H. D. Smith ............................................................................................................ 24

                5. Anda, Inc. ............................................................................................................... 24

                6. CVS Health Corporation ........................................................................................ 24

                7. Rite Aid Corporation.............................................................................................. 25

                8. Walgreens Boots Alliance, Inc. ............................................................................. 25

                9. Walmart Inc. .......................................................................................................... 25

           C. Agency and Authority ................................................................................................. 26


                                                                        i
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 4 of 324. PageID #: 4




FACTUAL ALLEGATIONS ..................................................................................................... 27
    I. FACTS COMMON TO ALL CLAIMS ......................................................................... 27

         A. Opioids and Their Effects ........................................................................................... 27

         B. The Resurgence of Opioid Use in the United States ................................................... 31

              1. The Sackler Family Integrated Advertising and Medicine .................................... 31

              2. Purdue Developed and Aggressively Promoted OxyContin .................................. 32

              3. Other Marketing Defendants Leapt at the Opioid Opportunity ............................. 37

         C. Defendants’ Conduct Created an Abatable Public Nuisance ...................................... 39

         D. The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber Habits and
         Public Perception and Increase Demand for Opioids ....................................................... 40

              1. The Marketing Defendants Promoted Multiple Falsehoods About Opioids ......... 41

                   a. Falsehood #1: The risk of addiction from chronic opioid therapy is low ........ 42

                        i. Purdue’s misrepresentations regarding addiction risk ................................ 43

                        ii. Endo’s misrepresentations regarding addiction risk .................................. 48

                        iii. Janssen’s misrepresentations regarding addiction risk ............................. 51

                        iv. Cephalon’s misrepresentations regarding addiction risk .......................... 52

                        v. Actavis’s misrepresentations regarding addiction risk. ............................. 53

                        vi. Mallinckrodt’s misrepresentations regarding addiction risk ..................... 54

                   b. Falsehood #2: To the extent there is a risk of addiction, it can be easily identified
                   and managed ......................................................................................................... 56

                   c. Falsehood #3: Signs of addictive behavior are “pseudoaddiction,” requiring more
                   opioids ................................................................................................................... 58

                   d. Falsehood #4: Opioid withdrawal can be avoided by tapering ........................ 61

                   e. Falsehood #5: Opioid doses can be increased without limit or greater risks ... 63

                   f. Falsehood #6: Long-term opioid use improves functioning ............................. 65

                   g. Falsehood #7: Alternative forms of pain relief pose greater risks than opioids
                   ............................................................................................................................... 70



                                                                       ii
Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 5 of 324. PageID #: 5




       h. Falsehood #8: OxyContin provides twelve hours of pain relief ...................... 73

       i. Falsehood #9: New formulations of certain opioids successfully deter abuse . 78

            i. Purdue’s deceptive marketing of reformulated OxyContin and Hysingla ER
            ......................................................................................................................... 79

            ii. Endo’s deceptive marketing of reformulated Opana ER ........................... 82

            iii. Other Marketing Defendants’ misrepresentations regarding abuse deterrence
            ......................................................................................................................... 88

   2. The Marketing Defendants Disseminated Their Misleading Messages About
   Opioids Through Multiple Channels .......................................................................... 89

       a. The Marketing Defendants Directed Front Groups to Deceptively Promote
       Opioid Use ............................................................................................................ 90

            i. American Pain Foundation ......................................................................... 92

            ii. American Academy of Pain Medicine and the American Pain Society..... 95

            iii. FSMB........................................................................................................ 98

            iv. The Alliance for Patient Access................................................................ 99

            v. The U.S. Pain Foundation (“USPF”) ....................................................... 103

            vi. American Geriatrics Society (“AGS”) .................................................... 103

       b. The Marketing Defendants Paid Key Opinion Leaders to Deceptively Promote
       Opioid Use .......................................................................................................... 105

            i. Dr. Russell Portenoy ................................................................................. 107

            ii. Dr. Lynn Webster .................................................................................... 109

            iii. Dr. Perry Fine ......................................................................................... 111

            iv. Dr. Scott Fishman ................................................................................... 114

       c. The Marketing Defendants Disseminated Their Misrepresentations Through
       Continuing Medical Education Programs ........................................................... 115

       d. The Marketing Defendants Used “Branded” Advertising to Promote Their
       Products to Doctors and Consumers ................................................................... 118

       e. The Marketing Defendants Used “Unbranded” Advertising To Promote Opioid
       Use For Chronic Pain Without FDA Review...................................................... 119


                                                         iii
Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 6 of 324. PageID #: 6




           f. The Marketing Defendants Funded, Edited And Distributed Publications That
           Supported Their Misrepresentations ................................................................... 120

           g. The Marketing Defendants Used Detailing To Directly ................................ 121

           h. Marketing Defendants Used Speakers’ Bureaus and Programs to Spread Their
           Deceptive Messages. ........................................................................................... 125

     3. The Marketing Defendants Targeted Vulnerable Populations............................. 126

     4. Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to Promote
     Subsys ....................................................................................................................... 128

     5. The Marketing Defendants’ Scheme Succeeded, Creating a Public Health Epidemic.
     ................................................................................................................................... 133

           a. Marketing Defendants dramatically expanded opioid prescribing and use. .. 133

           b. Marketing Defendants’ deception in expanding their market created and fueled
           the opioid epidemic. ............................................................................................ 135

E. Defendants Throughout the Supply Chain Deliberately Disregarded Their Duties to
Maintain Effective Controls and to Identify, Report, and Take Steps to Halt Suspicious
Orders.............................................................................................................................. 136

     1. All Defendants Have a Duty to Report Suspicious Orders and Not to Ship Those
     Orders Unless Due Diligence Disproves Their Suspicions ....................................... 138

     2. Defendants Were Aware of and Have Acknowledged Their Obligations to Prevent
     Diversion and to Report and Take Steps to Halt Suspicious Orders ........................ 144

     3. Defendants Worked Together to Inflate the Quotas of Opioids They Could
     Distribute................................................................................................................... 147

     4. Defendants Kept Careful Track of Prescribing Data and Knew About Suspicious
     Orders and Prescribers .............................................................................................. 155

     5. Defendants Failed to Report Suspicious Orders or Otherwise Act to Prevent
     Diversion ................................................................................................................... 163

     6. Defendants Delayed a Response to the Opioid Crisis by Pretending to Cooperate
     with Law Enforcement .............................................................................................. 166

     7. The National Retail Pharmacies Were on Notice of and Contributed to Illegal
     Diversion of Prescription Opioids ............................................................................ 170

           a. The National Retail Pharmacies Have a Duty to Prevent Diversion ............. 171

           b. Multiple Enforcement Actions against the National Retail Pharmacies Confirms


                                                              iv
Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 7 of 324. PageID #: 7




           their Compliance Failures. .................................................................................. 174

                 i. CVS ........................................................................................................... 175

                 ii. Walgreens ................................................................................................ 178

                 iii. Rite Aid................................................................................................... 180

F. Louisiana Specific Facts and The Effects of the Opioid Crisis on Hospitals and their
Communities ................................................................................................................... 182

G. The Opioids the Defendants Sold Migrated into Other Jurisdictions ....................... 201

H. The Defendants Conspired To Engage In The Wrongful Conduct Complained Of
Herein and Intended To Benefit Both Independently and Jointly From Their Conspiracy
......................................................................................................................................... 205

     1. Conspiracy Among Marketing Defendants ......................................................... 205

     2. Conspiracy Among All Defendants ..................................................................... 208

I. Statutes Of Limitations Are Tolled and Defendants Are Estopped From Asserting
Statutes Of Limitations As Defenses .............................................................................. 210

     1. Continuing Conduct. ............................................................................................ 210

     2. Equitable Estoppel and Fraudulent Concealment ................................................ 210

J. Facts Pertaining to Punitive Damages ........................................................................ 213

     1. The Marketing Defendants Persisted in Their Fraudulent Scheme Despite Repeated
     Admonitions, Warnings, and Even Prosecutions ...................................................... 214

           a. FDA Warnings to Janssen Failed to Deter Janssen’s Misleading Promotion of
           Duragesic ............................................................................................................ 214

           b. Governmental Action, Including Large Monetary Fines, Failed to Stop Cephalon
           from Falsely Marketing Actiq for Off-Label Uses ............................................. 215

           c. FDA Warnings Did Not Prevent Cephalon from Continuing False and Off-Label
           Marketing of Fentora .......................................................................................... 216

           d. A Guilty Plea and a Large Fine Did Not Deter Purdue from Continuing Its
           Fraudulent Marketing of OxyContin................................................................... 217

     2. Repeated Admonishments and Fines Did Not Stop Defendants from Ignoring Their
     Obligations to Control the Supply Chain and Prevent Diversion.............................. 217




                                                               v
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 8 of 324. PageID #: 8




    II. FACTS PERTAINING TO CLAIMS UNDER RACKETEER-INFLUENCED AND
    CORRUPT ORGANIZATIONS (“RICO”) ACT ............................................................ 225

         A. The Opioid Marketing Enterprise ............................................................................. 225

               1. The Common Purpose and Scheme of the Opioid Marketing Enterprise ............ 225

               2. The Conduct of the Opioid Marketing Enterprise violated Civil RICO .............. 229

               3. The RICO Marketing Defendants Controlled and Paid Front Groups and KOLs to
               Promote and Maximize Opioid Use .......................................................................... 234

               4. Pattern of Racketeering Activity .......................................................................... 234

         B. The Opioid Supply Chain Enterprise ........................................................................ 238

CLAIMS FOR RELIEF .......................................................................................................... 250

    FIRST CLAIM FOR RELIEF: Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid
    Marketing Enterprise ............................................................................................................ 250

    SECOND CLAIM FOR RELIEF: Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid
    Supply Chain Enterprise ....................................................................................................... 261

    THIRD CLAIM FOR RELIEF: Conspiracy to Violate RICO, 18 U.S.C. § 1961 et seq. 269

    FOURTH CLAIM FOR RELIEF: Violation of the Louisiana Racketeering Act, La. R.S.
    15:1351 et seq. ...................................................................................................................... 270

    FIFTH CLAIM FOR RELIEF: Public Nuisance .............................................................. 274

    SIXTH CLAIM FOR RELIEF: Negligence and Negligent Misrepresentation ................ 279

    SEVENTH CLAIM FOR RELIEF: Products Liability - Creation of an Unreasonably
    Dangerous Product ................................................................................................................ 285

    EIGHTH CLAIM FOR RELIEF: Redhibition ................................................................. 289

    NINTH CLAIM FOR RELIEF: Fraud .............................................................................. 291

    TENTH CLAIM FOR RELIEF: False Advertising .......................................................... 296

    ELEVENTH CLAIM FOR RELIEF: Misbranding Drugs or Devices ............................. 299

    TWELFTH CLAIM FOR RELIEF: Unfair and Deceptive Practices .............................. 301

    THIRTEENTH CLAIM FOR RELIEF: Civil Conspiracy .............................................. 307

    FOURTEENTH CLAIM FOR RELIEF: Enrichment without Cause .............................. 309


                                                                    vi
         Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 9 of 324. PageID #: 9




     FIFTEENTH CLAIM FOR RELIEF: Punitive Damages ................................................ 311

PRAYER FOR RELIEF........................................................................................................... 313

JURY DEMAND ....................................................................................................................... 313




                                                                 vii
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 10 of 324. PageID #: 10




       1.      OPELOUSAS GENERAL HOSPITAL AUTHORITY, A LOUISIANA PUBLIC

TRUST, d/b/a OPELOUSAS GENERAL HEALTH SYSTEM (“Plaintiff”) brings this action to

prevent future harm and to redress past wrongs, against Defendants: Purdue Pharma L.P., Purdue

Pharma, Inc., The Purdue Frederick Company, Inc., Endo Health Solutions Inc., Endo

Pharmaceuticals, Inc., Par Pharmaceutical, Inc., Par Pharmaceutical Companies, Inc., Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Noramco,

Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., n/k/a Janssen Pharmaceuticals, Inc., Johnson &

Johnson, Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc., Cephalon, Inc.,

Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC, f/k/a Actavis, Inc., f/k/a Watson

Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a Watson

Pharma, Inc., Insys Therapeutics, Inc., Mallinckrodt, PLC, Mallinckrodt LLC, SpecGx LLC,

Cardinal Health Inc., McKesson Corporation, Health Mart Systems, Inc., AmerisourceBergen

Corporation, AmerisourceBergen Drug Corporation, H. D. Smith, LLC f/k/a H. D. Smith

Wholesale Drug Co., Anda, Inc., CVS Health Corporation, Rite Aid Corp., Rite Aid of Maryland,

Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Walgreens Boots Alliance, Inc. a/k/a

Walgreen Co., Walmart Inc., f/k/a Walmart Stores, Inc. Plaintiff asserts two categories of claims:

(1) claims against the pharmaceutical manufacturers of prescription opioid drugs that engaged in

a massive false marketing campaign to drastically expand the market for such drugs and their own

market share and (2) claims against manufacturer and distributor entities in the supply chain that

reaped enormous financial rewards by refusing to monitor and restrict the improper distribution of

those drugs.




                                               1
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 11 of 324. PageID #: 11




                                              INTRODUCTION

        2.       This case arises from the worst man-made epidemic in modern medical history —

the misuse, abuse, diversion, and over-prescription of opioids.1

        3.       By now, most Americans have been affected, either directly or indirectly, by the

opioid disaster. But few realize that this crisis arose from the opioid manufacturers’ deliberately

deceptive marketing strategy to expand opioid use, together with the distributors’ equally

deliberate efforts to evade restrictions on opioid distribution. Manufacturers and distributors alike

acted without regard for the lives that would be trammeled in pursuit of profit.

        4.       Since the push to expand prescription opioid use began in the late 1990s, the death

toll has steadily climbed, with no sign of slowing. The number of opioid overdoses in the United

States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in 2015.2 In the twelve

months that ended in September 2017, opioid overdoses claimed 45,000 lives.

        5.       From 1999 through 2016, overdoses killed more than 350,000 Americans.3 Over

200,000 of them, more than were killed in the Vietnam War, died from opioids prescribed by

doctors to treat pain.4 These opioids include brand-name prescription medications such as

OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

hydrocodone, and fentanyl.

        6.       Most of the overdoses from non-prescription opioids are also directly related to




1
 Unless otherwise indicated, as used herein, the term “opioid” refers to the entire family of opiate drugs including
natural, synthetic, and semi-synthetic opiates.
2
   Overdose Death Rates, NIH Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-topics/trends-
statistics/overdose-death-rates (revised Sept. 2017).
3
  Understanding the Epidemic, Ctrs. for Disease Control and Prevention, https://www.cdc.gov/drugoverdose/
epidemic/index.html (last updated Aug. 30, 2017).
4
   Prescription Opioid Overdose Data, Ctrs. for Disease Control and Prevention, https://www.cdc.gov/
drugoverdose/data/overdose.html (last updated Aug. 1, 2017).



                                                       2
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 12 of 324. PageID #: 12




prescription pills. Many opioid users, having become addicted to but no longer able to obtain

prescription opioids, have turned to heroin. According to the American Society of Addiction

Medicine, 80% of people who initiated heroin use in the past decade started with prescription

opioids—which, at the molecular level and in their effect, closely resemble heroin. In fact, people

who are addicted to prescription opioids are 40 times more likely to become addicted to heroin,

and the Centers for Disease Control and Prevention (“CDC”) identified addiction to prescription

opioids as the strongest risk factor for heroin addiction.

       7.      As a result, in part, of the proliferation of opioid pharmaceuticals between the late

1990s and 2015, the life expectancy for Americans decreased for the first time in recorded history.

Drug overdoses are now the leading cause of death for Americans under 50.

       8.      In the words of Robert Anderson, who oversees death statistics at the Centers for

Disease Control and Prevention, “I don’t think we’ve ever seen anything like this. Certainly not in

modern times.” On October 27, 2017, the President declared the opioid epidemic a public health

emergency.

       9.      This suit takes aim at the two primary causes of the opioid crisis: (a) a marketing

scheme involving the false and deceptive marketing of prescription opioids, which was designed

to dramatically increase the demand for and sale of opioids and opioid prescriptions; and (b) a

supply chain scheme, pursuant to which the various entities in the supply chain failed to design

and operate systems to identify suspicious orders of prescription opioids, maintain effective

controls against diversion, and halt suspicious orders when they were identified, thereby

contributing to the oversupply of such drugs and fueling an illegal secondary market.

       10.     On the demand side, the crisis was precipitated by the defendants who manufacture,

sell, and market prescription opioids (“Marketing Defendants”). Through a massive marketing




                                                 3
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 13 of 324. PageID #: 13




campaign premised on false and incomplete information, the Marketing Defendants engineered a

dramatic shift in how and when opioids are prescribed by the medical community and used by

patients. The Marketing Defendants relentlessly and methodically, but untruthfully, asserted that

the risk of addiction was low when opioids were used to treat chronic pain, and overstated the

benefits and trivialized the risk of the long-term use of opioids.

       11.     The Marketing Defendants’ goal was simple: to dramatically increase sales by

convincing doctors to prescribe opioids not only for the kind of severe pain associated with cancer

or short-term post-operative pain, but also for common chronic pains, such as back pain and

arthritis. They did this even though they knew that opioids were addictive and subject to abuse,

and that their other claims regarding the risks, benefits, and superiority of opioids for long-term

use were untrue and unfounded.

       12.     The Marketing Defendants’ push to increase opioid sales worked. Through their

publications and websites, endless stream of sales representatives, “education” programs, and

other means, Marketing Defendants dramatically increased their sales of prescription opioids and

reaped billions of dollars of profit as a result. Since 1999, the amount of prescription opioids sold

in the U.S. nearly quadrupled. In 2016, 289 million prescriptions for opioids were filled in the

U.S.—enough to medicate every adult in America around the clock for a month.

       13.     Meanwhile, the Defendants made blockbuster profits. In 2012 alone, opioids

generated $8 billion in revenue for drug companies. By 2015, sales of opioids grew to

approximately $9.6 billion.

       14.     On the supply side, the crisis was fueled and sustained by those involved in the

supply chain of opioids, including manufacturers, distributors, and pharmacies (together,

“Defendants”), who failed to maintain effective controls over the distribution of prescription




                                                 4
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 14 of 324. PageID #: 14




opioids, and who instead have actively sought to evade such controls. Defendants have contributed

substantially to the opioid crisis by selling and distributing far greater quantities of prescription

opioids than they know could be necessary for legitimate medical uses, while failing to report, and

to take steps to halt suspicious orders when they were identified, thereby exacerbating the

oversupply of such drugs and fueling an illegal secondary market.

       15.     From the day they made the pills to the day those pills were sold in, distributed to

and consumed in Plaintiff’s communities, these manufacturers had control over the information

regarding addiction they chose to spread and emphasize as part of their massive marketing

campaign. By providing misleading information to doctors about addiction being rare and opioids

being safe even in high doses, then pressuring doctors into prescribing their products by arguing,

among other things, that no one should be in pain, the Marketing Defendants created a population

of addicted patients who sought opioids at never-before-seen rates. The scheme worked, and

through it the Marketing Defendants caused their profits to soar as more and more people became

dependent on opioids. Today, as many as 1 in 4 patients who receive prescription opioids long-

term for chronic pain in a primary care setting struggles with addiction. And as of 2017, overdose

death rates involving prescription opioids were five times higher than they were in 1999.

       16.     As millions became addicted to opioids, “pill mills,” often styled as “pain clinics,”

sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-medical use.

These pill mills, typically under the auspices of licensed medical professionals, issue high volumes

of opioid prescriptions under the guise of medical treatment. Prescription opioid pill mills and

rogue prescribers cannot channel opioids for illicit use without at least the tacit support and willful

blindness of the Defendants, if not their knowing support.

       17.     As a direct and foreseeable result of Defendants’ conduct, cities and counties across




                                                 5
          Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 15 of 324. PageID #: 15




the nation are now swept up in what the CDC has called a “public health epidemic” and what the

U.S. Surgeon General has deemed an “urgent health crisis.”5 The increased volume of opioid

prescribing correlates directly to skyrocketing addiction, overdose and death; black markets for

diverted prescription opioids; and a concomitant rise in heroin and fentanyl abuse by individuals

who could no longer legally acquire – or simply could not afford – prescription opioids.

           18.    Thus, rather than compassionately helping patients in pain, this explosion in opioid

use – and Defendants’ profits – has come at the expense of patients and Plaintiff and has caused

ongoing harm and damages to Plaintiff. As the CDC director concluded in 2014: “We know of no

other medication routinely used for a nonfatal condition that kills patients so frequently.”6

           19.    Defendants’ conduct in promoting opioid use has had severe and far-reaching

public health, social services, and criminal justice consequences, including the fueling of

addiction, overdose, and death from illicit drugs such as heroin. The costs are borne by

governmental entities, law enforcement agencies, public and private medical providers and

facilities (like Plaintiff) and others throughout the country. These necessary and costly responses

to the opioid crisis include the handling of emergency responses to overdoses, providing addiction

treatment, handling opioid-related investigations, arrests, adjudications, and incarcerations,

treating opioid-addicted newborns in neonatal intensive care units, and burying the dead, among

others.

           20.    The burdens imposed on Plaintiff are not the normal or typical burdens of medical

providers and facilities. Rather, these are extraordinary costs and losses that are directly related to




5
    Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 2014),
https://www.cdc.gov/washington/testimony/2014/t20140429.htm; Vivek H. Murthy, Letter from the Surgeon
General, August 2016, http://turnthetiderx.org.
6
    Id.



                                                  6
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 16 of 324. PageID #: 16




Defendants’ illegal actions. The Defendants’ conduct has created a public nuisance and a blight.

Hospitals and other medical providers, and the services they provide to the public, have been

strained to the breaking point by this public health crisis.

        21.     Defendants have not changed their ways or corrected their past misconduct but

instead are continuing to fuel the crisis.

        22.     Within the next hour, six Americans will die from opioid overdoses; two babies

will be born dependent on opioids and begin to go through withdrawal; and drug manufacturers

and distributors will earn over $2.7 million from the sale of opioids.

        23.     Plaintiff brings this suit to bring the devastating march of this epidemic to a halt

and to hold Defendants responsible for the crisis they caused.

                                  JURISDICTION AND VENUE

        24.     The United States District Court for the Western District of Louisiana has subject

matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 because Plaintiff’s claims under

the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq., raise

a federal question. This Court has supplemental jurisdiction over Plaintiff’s state-law claims under

28 U.S.C. § 1367 because those claims are so related to the RICO claim as to form part of the same

case or controversy.

        25.     The United States District Court for the Western District of Louisiana has diversity

jurisdiction over the parties pursuant to 28 U.S.C. § 1332(a)(1). The amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs, and no Defendant is a citizen

of the same state as Plaintiff.

        26.     The United States District Court for the Western District of Louisiana has personal

jurisdiction over all Defendants because the causes of action alleged in this Complaint arise out of




                                                 7
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 17 of 324. PageID #: 17




each Defendants’ transacting business in Louisiana, contracting to supply services or goods in

Louisiana, causing tortious injury by an act or omission in Louisiana, and because the Defendants

regularly do or solicit business or engage in a persistent course of conduct or derive substantial

revenue from goods used or consumed or services rendered in Louisiana. Defendants have

purposefully directed their actions towards Louisiana and/or have the requisite minimum contacts

with Louisiana to satisfy any statutory or constitutional requirements for personal jurisdiction.

       27.     Venue is proper in the United States District Court for the Western District of

Louisiana pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the events or omissions

giving rise to the claim occurred in the Western District of Louisiana. Venue is also proper under

18 U.S.C. § 1965(a) because Defendants reside, are found, have agents, or transact their affairs in

the Western District of Louisiana.

       28.     This action is being filed in this Honorable Court pursuant to Case Management

Order One [Doc. 232], dated April 11, 2018, permitting direct filing into MDL No. 2804 (1:17-

MD-02804-DAP).

                                            PARTIES

    I. PLAINTIFF

       29.     Plaintiff is a Public Trust organized under the laws of the State of Louisiana, and is

governed by a five member Service District Board and nine-member Board of Trustees.

       30.     Plaintiff operates a multi-campus, 197-bed full service medical center located in

Opelousas, Louisiana, providing a wide range of medical care and services including emergency

services.

       31.     The primary service area of Plaintiff’s medical center draws from surrounding

Louisiana communities including: Sunset, Grand Coteau, Port Barre, Eunice, Washington,




                                                8
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 18 of 324. PageID #: 18




Arnaudville, Leonville, Krotz Springs, Melville, Eunice, Lawtell, Palmetto, Ville Platte, Church

Point, Bunkie, and North Lafayette.

          32.   Plaintiff also owns Opelousas General Health System Physician Practices, Inc., a

non-profit corporation that operates and manages several physician clinics.

          33.   Plaintiff is the second largest employer in Opelousas, Louisiana with over 1,100

employees.

          34.   Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity and

mortality has created a serious public health and safety crisis, and is a public nuisance, and that

the diversion of legally produced controlled substances into the illicit market causes or contributes

to this public nuisance.

          35.   The distribution and diversion of opioids into Louisiana, and into St. Landry Parish

and surrounding areas (collectively, “Plaintiff’s Community” or “Plaintiff’s communities”),

created the foreseeable opioid crisis and opioid public nuisance for which Plaintiff here seeks

relief.

          36.   Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which Plaintiff seeks relief. These damages

have been suffered, and continue to be suffered directly, by Plaintiff.

          37.   Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, to bring

claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities

which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have standing).




                                                 9
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 19 of 324. PageID #: 19




    II. DEFENDANTS

             A.      Marketing Defendants

       38.        At all relevant times, the Marketing Defendants each of whom is defined below,

have packaged, distributed, supplied, sold, placed into the stream of commerce, labeled, described,

marketed, advertised, promoted and purported to warn or purported to inform prescribers and users

regarding the benefits and risks associated with the use of the prescription opioid drugs. The

Marketing Defendants, at all times, have manufactured and sold prescription opioids without

fulfilling their legal duty to prevent diversion and report suspicious orders.

                     1. Purdue Entities

       39.        Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized under

the laws of Delaware with its principal place of business in Stamford, Connecticut. None of the

PPL’s partners have citizenship in the State of Louisiana.

       40.        Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its principal

place of business in Stamford, Connecticut.

       41.        Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York

corporation with its principal place of business in Stamford, Connecticut.

       42.        PPL, PPI, and PFC and their DEA registrant subsidiaries and affiliates,

(collectively, “Purdue”) are engaged in the manufacture, promotion, distribution, and sale of

opioids nationally, and in Plaintiff’s Community, including the following:




                                                 10
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 20 of 324. PageID #: 20




        Product Name Chemical Name                                                                   Schedule7

        OxyContin            Oxycodone hydrochloride, extended release                               Schedule II
        MS Contin            Morphine sulfate, extended release                                      Schedule II
        Dilaudid             Hydromorphone hydrochloride                                             Schedule II
        Dilaudid-HP          Hydromorphone hydrochloride                                             Schedule II
        Butrans              Buprenorphine                                                           Schedule III
        Hysingla ER          Hydrocodone bitartrate                                                  Schedule II
        Targiniq ER          Oxycodone hydrochloride and naloxone hydrochloride                      Schedule II

         43.      Purdue made thousands of payments to physicians nationwide, including in

Louisiana, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

         44.      OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national annual

sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold from 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(i.e., painkillers). Sales of OxyContin (launched in 1996) went from a mere $49 million in its first

full year on the market to $1.6 billion in 2002.

         45.      In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million – at the time, one of the largest

settlements with a drug company for marketing misconduct. None of this stopped Purdue. In fact,


7
  Since passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C. § 801 et seq.
(“CSA” or “Controlled Substances Act”) in 1970, opioids have been regulated as controlled substances. As controlled
substances, they are categorized in five schedules, ranked in order of their potential for abuse, with Schedule I being
the most dangerous. The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their
medicinal value, likelihood of addiction or abuse, and safety. Opioids generally had been categorized as Schedule II
or Schedule III drugs; hydrocodone and tapentadol were recently reclassified from Schedule III to Schedule II.
Schedule II drugs have a high potential for abuse, and may lead to severe psychological or physical dependence.
Schedule III drugs are deemed to have a lower potential for abuse, but their abuse still may lead to moderate or low
physical dependence or high psychological dependence.



                                                         11
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 21 of 324. PageID #: 21




Purdue continued to create the false perception that opioids were safe and effective for long term

use, even after being caught, by using unbranded marketing methods to circumvent the system. In

short, Purdue paid the fine when caught and then continued business as usual, deceptively

marketing and selling billions of dollars of opioids each year.

                      2. Actavis Entities

        46.      Allergan PLC is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in January 2013. Defendant Actavis, Inc.

was acquired by Watson Pharmaceuticals, Inc. in October 2012, and the combined company

changed its name to Actavis, Inc. as of January 2013 and then Actavis PLC in October 2013.

Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal place of business

in Corona, California, and is a wholly owned subsidiary of Allergan PLC (Allergan Finance LLC,

f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). Defendant Actavis Pharma, Inc. is

registered to do business with the Louisiana Secretary of State as a Delaware corporation with its

principal place of business in New Jersey and was formerly known as Watson Pharma, Inc.

Defendant Actavis LLC is a Delaware limited liability company with its principal place of business

in Parsippany, New Jersey. Each of these defendants and entities is owned by Defendant Allergan

PLC, which uses them to market and sell its drugs in the United States. Collectively, these

defendants and entities, and their DEA registrant subsidiaries and affiliates which manufacture,

promote, distribute, and sell prescription opioids, are referred to as “Actavis.”

        47.      Actavis manufactures or has manufactured the following drugs, as well as generic8



8
 In August 2016 Actavis’ global generics business was acquired by Teva Pharmaceutical Industries Ltd. Allergan plc,
Annual Report (Form 10-K), 3 (Feb. 16, 2018), https://www.sec.gov/Archives/edgar/data/1578845/
000156459018002345/agn-10k_20171231.htm.



                                                       12
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 22 of 324. PageID #: 22




versions of Kadian, Duragesic, and Opana in the United States:

        Product          Chemical Name                                                Schedule
        Name
        Kadian           Morphine sulfate, extended release                           Schedule II
        Norco            Hydrocodone bitartrate and acetaminophen                     Schedule II

       48.      Actavis made thousands of payments to physicians nationwide, ostensibly for

activities including participating on speakers’ bureaus, providing consulting services, assisting in

post-marketing safety surveillance and other services, but in fact to deceptively promote and

maximize the use of opioids.

                   3. Cephalon Entities

       49.      Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania. Teva USA was in

the business of selling generic opioids, including a generic form of OxyContin from 2005 to 2009.

Teva USA is a wholly-owned subsidiary of Defendant Teva Pharmaceutical Industries, Ltd.

(“Teva Ltd.”), an Israeli corporation (collectively “Teva”).

       50.      Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

       51.      Teva USA and Cephalon, Inc. and their DEA registrant subsidiaries and affiliates

(collectively, “Cephalon”) work together to manufacture, promote, distribute and sell both brand

name and generic versions of opioids including the following:

                      Product Name          Chemical Name         Schedule

                      Actiq                 Fentanyl citrate      Schedule II
                      Fentora               Fentanyl buccal       Schedule II

       52.      From 2000 forward, Cephalon has made thousands of payments to physicians




                                                13
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 23 of 324. PageID #: 23




nationwide, including in Louisiana, many of whom were not oncologists and did not treat cancer

pain, ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

                   4. Janssen Entities

       53.     Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

       54.     Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

wholly-owned subsidiary of J&J. J&J corresponds with the FDA regarding Janssen’s products.

Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-Janssen Pharmaceuticals,

Inc., which in turn was formerly known as Janssen Pharmaceutica, Inc.

       55.     Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.

       56.     Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.

       57.     Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.

       58.     J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica and their DEA

registrant subsidiaries and affiliates (collectively, “Janssen”) are or have been engaged in the




                                                14
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 24 of 324. PageID #: 24




manufacture, promotion, distribution, and sale of opioids nationally, and in Plaintiff’s Community.

Among the drugs Janssen manufactures or manufactured are the following:

              Product            Chemical Name                                Schedule
              Name
              Duragesic          Fentanyl                                    Schedule II
              Nucynta            Tapentadol hydrochloride, immediate          Schedule II
                                 release
              Nucynta ER         Tapentadol hydrochloride, extended           Schedule II
                                 release

        59.     Janssen made thousands of payments to physicians nationwide, including, upon

information and belief, in Louisiana, ostensibly for activities including participating on speakers’

bureaus, providing consulting services, assisting in post-marketing safety surveillance and other

services, but in fact to deceptively promote and maximize the use of opioids. Together, Nucynta

and Nucynta ER accounted for $172 million in sales in 2014. Prior to 2009, Duragesic accounted

for at least $1 billion in annual sales.

        60.     Information from the U.S. Department of Justice’s Office of the Inspector General

shows that J&J made payments to prescribers but does not indicate which drug was being promoted

when J&J made these payments. At least one prescriber who previously served on Janssen’s

speaker’s bureau received payment for speaking fees, meals, and travel from J&J. Upon

information and belief, J&J would have similarly made payments to other participants in Janssen’s

speaker’s bureau.

        61.     Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values and principles. Janssen’s employees are required to

read, understand and follow its Code of Conduct for Health Care Compliance. Johnson & Johnson

imposes this code of conduct on Janssen as a pharmaceutical subsidiary of Johnson & Johnson.

Documents posted on Johnson & Johnson’s and Janssen’s websites confirm Johnson & Johnson’s


                                                15
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 25 of 324. PageID #: 25




control of the development and marketing of opioids by Janssen. Janssen’s website “Ethical Code

for the Conduct of Research and Development,” names only Johnson & Johnson and does not

mention Janssen anywhere within the document. The “Ethical Code for the Conduct of Research

and Development” posted on the Janssen website is Johnson & Johnson’s company-wide Ethical

Code, which it requires all of its subsidiaries to follow.

       62.     The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is a Johnson & Johnson company-wide document that describes Janssen as one of the

“Pharmaceutical Companies of Johnson & Johnson” and as one of the “Johnson & Johnson

Pharmaceutical Affiliates.” It governs how “[a]ll employees of Johnson & Johnson Pharmaceutical

Affiliates,” including those of Janssen, “market, sell, promote, research, develop, inform and

advertise Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen officers, directors,

employees, sales associates must certify that they have “read, understood and will abide by” the

code. The code governs all of the forms of marketing at issue in this case.

       63.     J&J made payments to thousands of physicians nationwide, including in Louisiana,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       64.     Information from the U.S. Department of Justice’s Office of the Inspector General

shows that J&J made payments to prescribers but does not indicate which drug was being promoted

when J&J made these payments. At least one prescriber who previously served on Janssen’s

speakers’ bureau received payment for speaking fees, meals, and travel from J&J. Upon

information and belief, J&J would have similarly made payments to other participants in Janssen’s

speaker’s bureau.




                                                 16
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 26 of 324. PageID #: 26




                   5. Endo Entities

       65.      Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with its

principal place of business in Malvern, Pennsylvania.

       66.      Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly-owned subsidiary of

EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

       67.      Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-

owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its principal place

of business located in Chestnut Ridge, New York. (Par Pharmaceutical, Inc. and Par

Pharmaceutical Companies, Inc. collectively “Par Pharmaceutical”) Par Pharmaceutical was

acquired by Endo International plc. in September 2015 and is an operating company of Endo

International plc. EHS, EPI, and Par Pharmaceutical, and their DEA registrant subsidiaries and

affiliates (collectively, “Endo”) manufacture opioids sold nationally, and in Plaintiff’s

Community. Among the drugs Endo manufactures or manufactured are the following:

     Product Name       Chemical Name                                     Schedule
     Opana ER           Oxymorphone hydrochloride, extended release       Schedule II
     Opana              Oxymorphone hydrochloride                         Schedule II
     Percodan           Oxycodone hydrochloride and aspirin               Schedule II
     Percocet           Oxycodone hydrochloride and acetaminophen         Schedule II
     Generic            Oxycodone                                         Schedule II
     Generic            Oxymorphone                                       Schedule II
     Generic            Hydromorphone                                     Schedule II
     Generic            Hydrocodone                                       Schedule II

       68.      Endo made thousands of payments to physicians nationwide, including in




                                              17
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 27 of 324. PageID #: 27




Louisiana, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

        69.     Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15 billion

from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and through

its subsidiaries, Par Pharmaceutical and Qualitest Pharmaceuticals, Inc., including generic

oxycodone, oxymorphone, hydromorphone, and hydrocodone products.

        70.     The Food and Drug Administration requested that Endo remove Opana ER from

the market in June 2017. The FDA relied on post-marketing data in reaching its conclusion based

on risk of abuse.9

                     6. Insys Therapeutics, Inc.

        71.     Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys:

              Product Name       Chemical Name                         Schedule
              Subsys             Fentanyl                              Schedule II

        72.     Insys made thousands of payments to physicians nationwide, including in

Louisiana, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

        73.     Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under-the-tongue administration. Subsys

9
 Press Release, U.S. Food and Drug Admin. FDA Requests Removal of Opana ER for Risks Related to Abuse, (June
8, 2017).



                                                   18
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 28 of 324. PageID #: 28




was approved by the FDA solely for the treatment of breakthrough cancer pain.

       74.     In 2016, Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, and in Plaintiff’s Community.

       75.     Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

                   7. Mallinckrodt Entities

       76.     Defendant Mallinckrodt plc is an Irish public limited company with its

headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

incorporated in January 2013 for the purpose of holding the pharmaceuticals business of Covidien

plc, which was fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt plc also

operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.

headquarters in Hazelwood, Missouri. Defendant Mallinckrodt LLC is a Delaware corporation

with its headquarters in Hazelwood, Missouri. Since 2013, Mallinckrodt LLC has been a wholly

owned subsidiary of Mallinckrodt plc. Prior to 2013, Mallinckrodt LLC was a wholly-owned

subsidiary of the Irish public limited company Covidien pllc (formerly known as Tyco

Healthcare). Defendant SpecGx LLC is registered to do business with the Louisiana Secretary of

State as a Delaware limited liability company with its headquarters in Clayton, Missouri and is a

wholly owned subsidiary of Mallinckrodt plc. Mallinckrodt plc, Mallinckrodt LLC, and SpecGx

LLC and their DEA registrant subsidiaries and affiliates (together “Mallinckrodt”) manufacture,

market, sell and distribute pharmaceutical drugs throughout the United States, and in Plaintiff’s

Community. Mallinckrodt is the largest U.S. supplier of opioid pain medications and among the




                                               19
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 29 of 324. PageID #: 29




top ten generic pharmaceutical manufacturers in the United States, based on prescriptions.

        77.     Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and Roxicodone,

which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt Inc., a

subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo for

treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid portfolio in

2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition, Mallinckrodt

developed Xartemis XR, an extended-release combination of oxycodone and acetaminophen,

which the FDA approved in March 2014, and which Mallinckrodt has since discontinued.

Mallinckrodt promoted its branded opioid products with its own direct sales force.

        78.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”) entire annual quota

for controlled substances that it manufactures. Mallinckrodt also estimated, based on IMS Health

data for the same period, that its generics claimed an approximately 23% market share of DEA

Schedules II and III opioid and oral solid dose medications.10

        79.     Mallinckrodt operates a vertically integrated business in the United States: (1)

importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its facility

in Hobart, New York, and (3) marketing and selling its products to drug distributors, specialty

pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers that have

mail-order pharmacies, and hospital buying groups.

        80.     Among the drugs Mallinckrodt manufactures or has manufactured are the

10
       Mallinckrodt   plc,     Annual     Report    (Form    10-K),    at   5    (Nov.     29,     2016),
https://www.sec.gov/Archives/edgar/data/1567892/000156789216000098/0001567892-16-000098-index.htm.



                                                  20
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 30 of 324. PageID #: 30




following:

     Product Name          Chemical Name                                                   Schedule
     Exalgo                Hydromorphone hydrochloride, extended release                   Schedule II
     Roxicodone            Oxycodone hydrochloride                                         Schedule II
     Xartemis XR           Oxycodone hydrochloride and acetaminophen                       Schedule II
     Methadose             Methadone hydrochloride                                         Schedule II
     Generic               Morphine sulfate, extended release                              Schedule II
     Generic               Morphine sulfate oral solution                                  Schedule II
     Generic               Fentanyl transdermal system                                     Schedule II
     Generic               Oral transmucosal fentanyl citrate                              Schedule II
     Generic               Oxycodone and acetaminophen                                     Schedule II
     Generic               Hydrocodone bitartrate and acetaminophen                        Schedule II
     Generic               Hydromorphone hydrochloride                                     Schedule II
     Generic               Hydromorphone hydrochloride, extended release                   Schedule II
     Generic               Naltrexone hydrochloride                                        unscheduled
     Generic               Oxymorphone hydrochloride                                       Schedule II
     Generic               Methadone hydrochloride                                         Schedule II
     Generic               Oxycodone hydrochloride                                         Schedule II
     Generic               Buprenorphine and naloxone                                      Schedule III

        81.      Mallinckrodt made thousands of payments to physicians nationwide, including in

Louisiana, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

        82.      Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and Mallinckrodt

are referred to as “Marketing Defendants.”11




 Together, Purdue, Cephalon, Janssen, Endo, and Mallinckrodt are also sometimes referred to as “RICO Marketing
11

Defendants.”



                                                    21
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 31 of 324. PageID #: 31




             B.      Distributor Defendants

       83.        The Distributor Defendants are defined below. At all relevant times, the Distributor

Defendants have distributed, supplied, sold, and placed into the stream of commerce the

prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor Defendants

are engaged in “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Defendants is a substantial cause for the volume of

prescription opioids plaguing Plaintiff’s Community.

                     1. Cardinal Health, Inc.

       84.        Cardinal Health, Inc. (“Cardinal”) describes itself as a “global, integrated health

care services and products company,” and is the fifteenth largest company by revenue in the U.S.,

with annual revenue of $121 billion in 2016. Through its various DEA registered subsidiaries and

affiliated entities, Cardinal distributes pharmaceutical drugs, including opioids, throughout the

country, including in Plaintiff’s Community. Cardinal is an Ohio corporation and is headquartered

in Dublin, Ohio. Cardinal, including its subsidiaries and affiliated entities, has been licensed as a

wholesale distributor of dangerous drugs in Louisiana since as early as 1988. Based on Defendant

Cardinal’s own estimates, one of every six pharmaceutical products dispensed to United States

patients travels through the Cardinal Health network.

                     2. McKesson Corporation

       85.        McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500 companies,

ranking immediately after Apple and ExxonMobil, with annual revenue of $191 billion in 2016.

McKesson, through its various DEA registered subsidiaries and affiliated entities, is a wholesaler




                                                  22
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 32 of 324. PageID #: 32




of pharmaceutical drugs that distributes opioids throughout the country, including in Plaintiff’s

Community. McKesson is a Delaware corporation with its principal place of business located in

San Francisco, California. McKesson is registered to do business with the Louisiana Secretary of

State as a Delaware corporation with its principal place of business in San Francisco, California.

Likewise, Defendant Health Mart Systems, Inc. is a subsidiary of McKesson Corporation and is

registered to do business with the Louisiana Secretary of State as a Delaware Corporation with its

principal place of business in San Francisco, California.

       86.     In January 2017, McKesson paid a record $150 million to resolve an investigation

by the U.S. Department of Justice (“DOJ”) for failing to report suspicious orders of certain drugs,

including opioids. In addition to the monetary penalty, the DOJ required McKesson to suspend

sales of controlled substances from distribution centers in Ohio, Florida, Michigan and Colorado.

The DOJ described these “staged suspensions” as “among the most severe sanctions ever agreed

to by a [Drug Enforcement Administration] registered distributor.”

                   3. AmerisourceBergen Corporation

       87.     AmerisourceBergen Corporation, through its various DEA registered subsidiaries

and affiliated entities, including AmerisourceBergen Drug Corporation, (both hereinafter

collectively referred to as “AmerisourceBergen”) is a wholesaler of pharmaceutical drugs that

distributes   opioids   throughout    the   country,   including     in   Plaintiff’s   Community.

AmerisourceBergen is the eleventh largest company by revenue in the United States, with annual

revenue of $147 billion in 2016. AmerisourceBergen is registered to do business with the

Louisiana Secretary of State as a Delaware corporation with its principal place of business located

in Chesterbrook, Pennsylvania. AmerisourceBergen has been licensed as a wholesale distributor

of dangerous drugs in Louisiana since 2005.




                                               23
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 33 of 324. PageID #: 33




                   4. H. D. Smith

       88.     Defendant H. D. Smith, LLC f/k/a H. D. Smith Wholesale Drug Company (“H. D.

Smith”) through its various DEA registered subsidiaries and affiliated entities, is a wholesaler of

pharmaceutical drugs that distributes opioids throughout the country, including in Plaintiff’s

Community. H. D. Smith is a Delaware corporation with its principal place of business in

Springfield, Illinois. H. D. Smith is a privately held independent pharmaceuticals distributor of

wholesale brand, generic and specialty pharmaceuticals. At all times relevant to this Complaint,

H. D. Smith distributed prescription opioids throughout the United States, including in Louisiana

and Plaintiff’s Community specifically.

                   5. Anda, Inc.

       89.     Defendant Anda, Inc., (“Anda”) through its various DEA registered subsidiaries and

affiliated entities, including but not limited to, Anda Pharmaceuticals, Inc., is the fourth largest

distributor of generic pharmaceuticals in the United States. Anda is a Florida corporation with its

principal office located in Weston, Florida. In October 2016, Defendant Teva acquired Anda from

Allergan plc (i.e., Defendant Actavis), for $500 million in cash. At all times relevant to this

Complaint, Anda distributed prescription opioids throughout the United States, including in

Louisiana and Plaintiff’s Community specifically.

                   6. CVS Health Corporation

       90.     Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. CVS, through its various DEA registered subsidiaries

and affiliated entities, conducts business as a licensed wholesale distributor. At all times relevant

to this Complaint, CVS distributed prescription opioids throughout the United States, including in

Louisiana and Plaintiff’s Community specifically.




                                                24
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 34 of 324. PageID #: 34




                   7. Rite Aid Corporation

       91.     Defendant Rite Aid Corporation is a Delaware corporation with its principal office

located in Camp Hill, Pennsylvania. Rite Aid, through its various DEA registered subsidiaries and

affiliated entities, conducts business as a licensed wholesale distributor, including Rite Aid of

Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Inc., a Maryland

corporation with its principal office located in Camp Hill, Pennsylvania (collectively, “Rite Aid”).

At all times relevant to this Complaint, Rite Aid, through its various DEA registered subsidiaries

and affiliated entities, distributed prescription opioids throughout the United States, including in

Louisiana and Plaintiff’s Community specifically.

                   8. Walgreens Boots Alliance, Inc.

       92.     Defendant Walgreens Boots Alliance, Inc., (“Walgreens”) is a Delaware

corporation with its principal place of business in Illinois. Walgreens, through its various DEA

registered subsidiaries and affiliated entities, conducts business as a licensed wholesale distributor.

At all times relevant to this Complaint, Walgreens distributed prescription opioids throughout the

United States, including in Louisiana and Plaintiff’s Community specifically.

                   9. Walmart Inc.

       93.     Defendant Walmart Inc., (“Walmart”) formerly known as Wal-Mart Stores, Inc., is

registered to do business with the Louisiana Secretary of State as a Delaware corporation with its

principal place of business in Bentonville, Arkansas. Walmart, through its various DEA registered

subsidiaries and affiliated entities, conducts business as a licensed wholesale distributor. At all

times relevant to this Complaint, Walmart distributed prescription opioids throughout the United

States, including in Louisiana and Plaintiff’s Community specifically.

       94.     Collectively, Defendants CVS, Rite Aid, Walgreens, and Walmart are referred to




                                                 25
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 35 of 324. PageID #: 35




as “National Retail Pharmacies.”

        95.        Cardinal, McKesson, AmerisourceBergen, H. D. Smith, Anda, and the National

Retail Pharmacies are collectively referred to as the “Distributor Defendants.”12

        96.        Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale and/or dispensing of opioids.

              C.       Agency and Authority

       97.         All of the actions described in this Complaint are part of, and in furtherance of, the

unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management of

Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.




12
  Together, Purdue, Actavis, Cephalon, Endo, Mallinckrodt, Cardinal, McKesson, and AmerisourceBergen are
sometimes referred to as “RICO Supply Chain Defendants.”



                                                    26
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 36 of 324. PageID #: 36




                                        FACTUAL ALLEGATIONS

     I. FACTS COMMON TO ALL CLAIMS 13

               A.      Opioids and Their Effects

         98.        Opioids are a class of drug that bind with opioid receptors in the brain and includes

natural, synthetic, and semi-synthetic opioids. Natural opioids are derived from the opium poppy.

Generally used to treat pain, opioids produce multiple effects on the human body, the most

significant of which are analgesia, euphoria, and respiratory depression.

         99.        The medicinal properties of opioids have been recognized for millennia—as has

their potential for abuse and addiction. The opium poppy contains various opium alkaloids, three

of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine. Early

use of opium in Western medicine was with a tincture of opium and alcohol called laudanum,

which contains all of the opium alkaloids and is still available by prescription today. Chemists first

isolated the morphine and codeine alkaloids in the early 1800s.

         100.       In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly used

morphine, laudanum, and opium pills to treat the wounded, and many veterans were left with

morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the United

States, and many doctors prescribed opioids solely to prevent their patients from suffering



13
   The allegations in this Complaint are made upon information and belief, including upon information immediately
available to Plaintiff. The allegations contained in this Complaint are made without the benefit of formal discovery
in this individual suit; indeed, it is made without the benefit of critical data from U.S. Department of Justice, Drug
Enforcement Administration, including ARCOS data. Moreover, the limited documents produced in City of Chicago
v. Purdue Pharma, L.P., No. 14 CV 4361 (N.D. Ill.), some of which are cited to herein related only to claims against
manufacturers and was provided to the MDL 2804 Plaintiffs’ Leadership Team. Given their protected status, Plaintiff
currently does not have access to the limited documents produced in City of Chicago v. Purdue Pharma, L.P. and
instead simply relies on the information contained in other filed complaints whose plaintiffs do have access to same.
Accordingly, Plaintiff reserves its right to seek leave to amend or correct this Complaint to add supporting allegations,
claims and parties based upon further investigation and access to formal discovery.



                                                          27
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 37 of 324. PageID #: 37




withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals

are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

beasts who prey upon their fellows . . . it has become one of the most fertile causes of unhappiness

and sin in the United States.”14

        101.     Pharmaceutical companies tried to develop substitutes for opium and morphine that

would provide the same analgesic effects without the addictive properties. In 1898, Bayer

Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and

cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.

        102.     Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the

same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.

        103.     Due to concerns about their addictive properties, prescription opioids have usually

been regulated at the federal level as Schedule II controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

        104.     Throughout the twentieth century, pharmaceutical companies continued to develop

prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were generally

produced in combination with other drugs, with relatively low opioid content.



14
   Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid Crisis a Century Ago,
The Wash. Post (Oct. 17, 2017), https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-drug-
fiends-in-the-world-an-american-opioid-crisis-in-1908/?utm_term=.7832633fd7ca.



                                                     28
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 38 of 324. PageID #: 38




         105.    In contrast, OxyContin, the product whose launch in 1996 ushered in the modern

opioid epidemic, is pure oxycodone. Purdue initially made it available in the following strengths:

10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest OxyContin delivers

as much narcotic as the strongest Percocet, and some OxyContin tablets delivered sixteen times

that.

         106.    Medical professionals describe the strength of various opioids in terms of morphine

milligram equivalents (“MME”). According to the CDC, doses at or above 50 MME/day double

the risk of overdose compared to 20 MME/day, and one study found that patients who died of

opioid overdose were prescribed an average of 98 MME/day.

         107.    Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

OxyContin, which Purdue took off the market in 2001, delivered 240 MME.

         108.    The wide variation in the MME strength of prescription opioids renders misleading

any effort to capture “market share” by the number of pills or prescriptions attributed to Purdue or

other manufacturers. Purdue, in particular, focuses its business on branded, highly potent pills,

causing it to be responsible for a significant percent of the total amount of MME in circulation,

even though it currently claims to have a small percentage of the market share in terms of pills or

prescriptions.

         109.    Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50 times

stronger than heroin. First developed in 1959, fentanyl is showing up more and more often in the

market for opioids created by Marketing Defendants’ promotion, with particularly lethal

consequences.




                                                 29
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 39 of 324. PageID #: 39




       110.    The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

Actavis’s Kadian, are designed to be taken once or twice daily and are purported to provide

continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s Actiq

and Fentora, are designed to be taken in addition to long-acting opioids to address “episodic pain”

(also referred to as “breakthrough pain”) and provide fast-acting, supplemental opioid therapy

lasting approximately 4 to 6 hours. Still other short-term opioids, such as Insys’s Subsys, are

designed to be taken in addition to long-acting opioids to specifically address breakthrough cancer

pain, excruciating pain suffered by some patients with end-stage cancer. The Marketing

Defendants promoted the idea that pain should be treated by taking long-acting opioids

continuously and supplementing them by also taking short-acting, rapid-onset opioids for episodic

or “breakthrough” pain.

       111.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the

same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can and often do arrest

respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

       112.    Discontinuing opioids after more than just a few weeks of therapy will cause most

patients to experience withdrawal symptoms. These withdrawal symptoms include: severe anxiety,

nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain, and

other serious symptoms, which may persist for months after a complete withdrawal from opioids,

depending on how long the opioids were used.




                                               30
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 40 of 324. PageID #: 40




       113.     As a leading pain specialist doctor put it, the widespread, long-term use of opioids

“was a de facto experiment on the population of the United States. It wasn’t randomized, it wasn’t

controlled, and no data was collected until they started gathering death statistics.”

           B.      The Resurgence of Opioid Use in the United States

                   1. The Sackler Family Integrated Advertising and Medicine

       113.     Given the history of opioid abuse in the U.S. and the medical profession’s resulting

wariness, the commercial success of the Marketing Defendants’ prescription opioids would not

have been possible without a fundamental shift in prescribers’ perception of the risks and benefits

of long-term opioid use.

       114.     As it turned out, Purdue Pharma was uniquely positioned to execute just such a

maneuver, thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole

owner of Purdue and one of the wealthiest families in America, with a net worth of $13 billion as

of 2016. All of the company’s profits go to Sackler family trusts and entities.15 Yet the Sacklers

have avoided publicly associating themselves with Purdue, letting others serve as the spokespeople

for the company.

       115.     The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called the Purdue Frederick Company in 1952. It was Arthur Sackler

who created the pharmaceutical advertising industry as we know it, laying the groundwork for the

OxyContin promotion that would make the Sacklers billionaires.

       116.     Arthur Sackler was both a psychiatrist and a marketing executive. He pioneered

both print advertising in medical journals and promotion through physician “education” in the

form of seminars and continuing medical education courses. He also understood the persuasive

15
   David Armstrong, The Man at the Center of the Secret OxyContin Files, STAT News (May 12, 2016),
https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.



                                                31
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 41 of 324. PageID #: 41




power of recommendations from fellow physicians, and did not hesitate to manipulate information

when necessary. For example, one promotional brochure produced by his firm for Pfizer showed

business cards of physicians from various cities as if they were testimonials for the drug, but when

a journalist tried to contact these doctors, he discovered that they did not exist.16

           117.     It was Arthur Sackler who, in the 1960s, made Valium into the first $100-million

drug, so popular it became known as “Mother’s Little Helper.” When Arthur’s client, Roche,

developed Valium, it already had a similar drug, Librium, another benzodiazepine, on the market

for treatment of anxiety. So, Arthur invented a condition he called “psychic tension”—essentially

stress—and pitched Valium as the solution.17 The campaign, for which Arthur was compensated

based on volume of pills sold,18 was a remarkable success.

           118.     Arthur Sackler created not only the advertising for his clients but also the vehicle

to bring their advertisements to doctors—a biweekly newspaper called the Medical Tribune, which

was distributed for free to doctors nationwide. Arthur also conceived a company now called IMS

Health Holdings Inc., which monitors prescribing practices of every doctor in the U.S. and sells

this valuable data to pharmaceutical companies like Marketing Defendants, who utilize it to target

and tailor their sales pitches to individual physicians.

                        2. Purdue Developed and Aggressively Promoted OxyContin

           119.     After the Sackler brothers acquired the Purdue Frederick Company in 1952, Purdue

sold products ranging from earwax remover to antiseptic, and it became a profitable business. As

an advertising executive, Arthur Sackler was not involved, on paper at least, in running Purdue,



16
     Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death 204 (2003).
17
   Id. at 202; see also One Family Reaped Billions From Opioids, WBUR On Point (Oct. 23, 2017),
http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-opioids.
18
     Meier, supra, at 201-203.



                                                        32
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 42 of 324. PageID #: 42




which would have been a conflict of interest. Raymond Sackler became Purdue’s head executive,

while Mortimer Sackler ran Purdue’s UK affiliate.

        120.    In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

that had developed a sustained-release technology suitable for morphine. Purdue marketed this

extended-release morphine as MS Contin, and it quickly became Purdue’s bestseller. As the patent

expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that time,

Raymond’s oldest son, Richard Sackler, who was also a trained physician, became more involved

in the management of the company. Richard had grand ambitions for the company; according to a

long-time Purdue sales representative, “Richard really wanted Purdue to be big—I mean really

big.”19 Richard believed Purdue should develop another use for its “Contin” timed-release system.

        121.    In 1990, Purdue’s vice president of clinical research, Robert Kaiko, sent a memo to

Richard and other executives recommending that the company work on a pill containing

oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

it was most commonly prescribed as Percocet, a relatively weak oxycodone-acetaminophen

combination pill. MS Contin was not only approaching patent expiration but had always been

limited by the stigma associated with morphine. Oxycodone did not have that problem, and what’s

more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the perception

of relatively lower potency, because codeine is weaker than morphine. Purdue acknowledged using

this to its advantage when it later pled guilty to criminal charges of “misbranding” in 2007,

admitting that it was “well aware of the incorrect view held by many physicians that oxycodone

was weaker than morphine” and “did not want to do anything ‘to make physicians think that




19
   Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire (Oct. 16, 2017),
http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.



                                                   33
           Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 43 of 324. PageID #: 43




oxycodone was stronger or equal to morphine’ or to ‘take any steps . . . that would affect the unique

position that OxyContin’” held among physicians.20

            122.    For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase.21 As discussed

below, Purdue did not find or generate any such evidence, but this did not stop Purdue from making

that claim regardless.

            123.    Armed with this and other misrepresentations about the risks and benefits of its new

drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life, non-

acute, everyday aches and pains. As Dr. David Haddox, a Senior Medical Director at Purdue,

declared on the Early Show, a CBS morning talk program, “There are 50 million patients in this

country who have chronic pain that’s not being managed appropriately every single day.

OxyContin is one of the choices that doctors have available to them to treat that.”22

            124.    In pursuit of these 50 million potential customers, Purdue poured resources into

OxyContin’s sales force and advertising, particularly to a far broader audience of primary care

physicians who treated patients with chronic pain complaints. The graph below shows how

promotional spending in the first six years following OxyContin’s launch dwarfed Purdue’s

spending on MS Contin or Defendant Janssen’s spending on Duragesic: 23


20
     Id.
21
     Meier, supra, at 269.
22
     Id., at 156.
23
  U.S. General Accounting, OxyContin Abuse and Diversion and Efforts to Address the Problem, Office Report to
Congressional Requesters, 22 (Dec. 2003), http://gao.gov/new.items/d04110.pdf.



                                                    34
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 44 of 324. PageID #: 44




       125.    Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

       126.    In the two decades following OxyContin’s launch, Purdue continued to devote

substantial resources to its promotional efforts.

       127.    Purdue has generated estimated sales of more than $35 billion from opioids since

1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued to climb

even after a period of media attention and government inquiries regarding OxyContin abuse in the

early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue proved itself

skilled at evading full responsibility and continuing to sell through the controversy. The company’s

annual opioid sales of $3 billion in 2015 represent a four-fold increase from its 2006 sales of $800

million.

       128.    One might imagine that Richard Sackler’s ambitions have been realized. But in the

best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits. Under



                                                35
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 45 of 324. PageID #: 45




the name of Mundipharma, the Sacklers are looking to new markets for their opioids— employing

the exact same playbook in South America, China, and India as they did in the United States.

        129.    In May 2017, a dozen members of Congress sent a letter to the World Health

Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

through Mundipharma:

        We write to warn the international community of the deceptive and dangerous
        practices of Mundipharma International—an arm of Purdue Pharmaceuticals. The
        greed and recklessness of one company and its partners helped spark a public health
        crisis in the United States that will take generations to fully repair. We urge the
        World Health Organization (WHO) to do everything in its power to avoid allowing
        the same people to begin a worldwide opioid epidemic. Please learn from our
        experience and do not allow Mundipharma to carry on Purdue’s deadly legacy on
        a global stage. . . .

        Internal documents revealed in court proceedings now tell us that since the early
        development of OxyContin, Purdue was aware of the high risk of addiction it
        carried. Combined with the misleading and aggressive marketing of the drug by its
        partner, Abbott Laboratories, Purdue began the opioid crisis that has devastated
        American communities since the end of the 1990s. Today, Mundipharma is using
        many of the same deceptive and reckless practices to sell OxyContin abroad. . . .

        In response to the growing scrutiny and diminished U.S. sales, the Sacklers have
        simply moved on. On December 18, the Los Angeles Times published an extremely
        troubling report detailing how in spite of the scores of lawsuits against Purdue for
        its role in the U.S. opioid crisis, and tens of thousands of overdose deaths,
        Mundipharma now aggressively markets OxyContin internationally. In fact,
        Mundipharma uses many of the same tactics that caused the opioid epidemic to
        flourish in the U.S., though now in countries with far fewer resources to devote to
        the fallout.24

        130.    With the opioid epidemic in the United States now a national public health

emergency, Purdue announced on February 9, 2018, that it had reduced its sales force and would

no longer promote opioids directly to prescribers. Under this new policy, sales representatives will

no longer visit doctors’ offices to discuss opioid products. Despite its new policy, however, Purdue


24
   Letter from Members of Congress to Dr. Margaret Chan, Director-General, World Health Organization (May 3,
2017), http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-bdba-1ca71c784113/mundipharma-letter-
signatures.pdf.



                                                   36
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 46 of 324. PageID #: 46




continues to use the same aggressive sales tactics to push opioids in other countries. Purdue’s

recent pivot to untapped markets—after extracting substantial profits from American communities

and leaving local governments to address the devastating and still growing damage the company

caused—only serves to underscore that Purdue’s actions have been knowing, intentional, and

motivated by profits throughout this entire story.

                   3. Other Marketing Defendants Leapt at the Opioid Opportunity

       131.    Purdue created a market for the use of opioids for a range of common aches and

pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

Marketing Defendants—already manufacturers of prescription opioids—positioned themselves to

take advantage of the opportunity Purdue created, developing both branded and generic opioids to

compete with OxyContin, while, together with Purdue and each other, misrepresenting the safety

and efficacy of their products. These misrepresentations are described in greater detail in Sections

D below.

       132.    Endo, which already sold Percocet and Percodan, was the first to submit an

application for a generic extended-release oxycodone to compete with OxyContin. At the same

time, Endo sought FDA approval for another potent opioid, immediate-release and extended-

release oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,

Numorphan provoked, according to some users, a more euphoric high than heroin. As the National

Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,” Numorphan




                                                37
           Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 47 of 324. PageID #: 47




was extremely popular among addicts for its quick and sustained effect.25 Endo withdrew oral

Numorphan from the market in 1979.26

            133.   Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and pushed it into the marketplace

with a new trade name, Opana.

            134.   The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

trial subjects who do not respond to the drug are excluded from the trial, and obtained approval.

Endo began marketing Opana and Opana ER in 2006.

            135.   Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017, the

FDA sought removal of Opana ER. In its press release, the FDA indicated that this “is the first

time the agency has taken steps to remove a currently marketed opioid pain medication from sale

due to the public health consequences of abuse.”27 On July 6, 2017, Endo agreed to withdraw

Opana ER from the market.28

            136.   Janssen, which already marketed the Duragesic (fentanyl) patch for severe pain,

also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the use of


25
   John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today (May 10, 2015),
https://www.medpagetoday.com/psychiatry/addictions/51448.
26
     Id.
27
  Press Release, U.S. Food & Drug Administration, FDA Requests Removal of Opana ER for Risks Related to Abuse
(June 8, 2017), https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
28
    Endo Pulls Opioid as U.S. Seeks to Tackle Abuse Epidemic, Reuters (July 6, 2017, 9:59am),
https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.



                                                    38
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 48 of 324. PageID #: 48




Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage cancer

anymore!” This claim earned Janssen a warning letter from the FDA, for representing that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”29

        137.     Janssen also developed a new opioid compound called tapentadol in 2009,

marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the extended-

release version, Nucynta ER, for treatment of chronic pain in 2011.

        138.     By adding additional opioids or expanding the use of their existing opioid products,

the other Marketing Defendants took advantage of the market created by Purdue’s aggressive

promotion of OxyContin and reaped enormous profits. For example, Opana ER alone generated

more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also passed the $1

billion mark in sales of Duragesic in 2009.

            C.      Defendants’ Conduct Created an Abatable Public Nuisance

        139.     As alleged throughout this Complaint, Defendants’ conduct created a public health

crisis and a public nuisance.

        140.     The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm and inconvenience

can be abated by, inter alia, (a) educating prescribers (especially primary care physicians and the

most prolific prescribers of opioids) and patients regarding the true risks and benefits of opioids,

including the risk of addiction, in order to prevent the next cycle of addiction; (b) providing

addiction treatment to patients who are already addicted to opioids; and (c) making naloxone


29
        Letter    from    FDA       to     Janssen    (March      30,    2000),     http://wayback.archive-
it.org/7993/20170112070823/http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/En
forcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/UCM165395.p
df.



                                                   39
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 49 of 324. PageID #: 49




widely available so that overdoses are less frequently fatal.

       141.     Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they are uniquely well positioned to do so. It is the manufacturer of a drug that has

primary responsibility to assure the safety, efficacy, and appropriateness of a drug’s labeling,

marketing, and promotion. And, all companies in the supply chain of a controlled substance are

primarily responsible for ensuring that such drugs are only distributed and dispensed to appropriate

patients and not diverted. These responsibilities exist independent of any FDA or DEA regulation,

to ensure that their products and practices meet both federal and state consumer protection laws

and regulations. As registered manufacturers and distributors of controlled substances, Defendants

are placed in a position of special trust and responsibility and are uniquely positioned, based on

their knowledge of prescribers and orders, to act as a first line of defense.

           D.      The Marketing Defendants’ Multi-Pronged Scheme to Change
                   Prescriber Habits and Public Perception and Increase Demand
                   for Opioids

       142.     In order to accomplish the fundamental shift in perception that was key to

successfully marketing their opioids, the Marketing Defendants designed and implemented a

sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

their claims, the Marketing Defendants turned to the marketing techniques first pioneered by

Arthur Sackler to create a series of misperceptions in the medical community and ultimately

reverse the long-settled understanding of the relative risks and benefits of opioids.

       143.     The Marketing Defendants promoted, and profited from, their misrepresentations

about the risks and benefits of opioids for chronic pain even though they knew that their marketing

was false and misleading. The history of opioids, as well as research and clinical experience over

the last 20 years, established that opioids were highly addictive and responsible for a long list of




                                                 40
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 50 of 324. PageID #: 50




very serious adverse outcomes. The FDA and other regulators warned Marketing Defendants of

these risks. The Marketing Defendants had access to scientific studies, detailed prescription data,

and reports of adverse events, including reports of addiction, hospitalization, and deaths—all of

which made clear the harms from long-term opioid use and that patients are suffering from

addiction, overdoses, and death in alarming numbers. More recently, the FDA and CDC issued

pronouncements based on existing medical evidence that conclusively expose the known falsity of

these Defendants’ misrepresentations.

       144.    The marketing scheme to increase opioid prescriptions centered around nine

categories of misrepresentations, which are discussed in detail below. The Marketing Defendants

disseminated these misrepresentations through various channels, including through advertising,

sales representatives, purportedly independent organizations these defendants funded and

controlled, “Front Groups,” so-called industry “Key Opinion Leaders,” and Continuing Medical

Education (“CME”) programs discussed subsequently below.

                   a. The Marketing Defendants Promoted Multiple Falsehoods About
                      Opioids

       145.    The Marketing Defendants’ misrepresentations fall into the following nine

categories:

                   a. The risk of addiction from chronic opioid therapy is low

                   b. To the extent there is a risk of addiction, it can be easily identified and
                      managed

                   c. Signs of addictive behavior are “pseudoaddiction,” requiring more opioids

                   d. Opioid withdrawal can be avoided by tapering

                   e. Opioid doses can be increased without limit or greater risks

                   f. Long-term opioid use improves functioning




                                                41
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 51 of 324. PageID #: 51




                   g. Alternative forms of pain relief pose greater risks than opioids

                   h. OxyContin provides twelve hours of pain relief

                   i. New formulations of certain opioids successfully deter abuse

       146.    Each of these propositions was false. The Marketing Defendants knew this, but they

nonetheless set out to convince physicians, patients, and the public at large of the truth of each of

these propositions in order to expand the market for their opioids.

       147.    The categories of misrepresentations are offered to organize the numerous

statements the Marketing Defendants made and to explain their role in the overall marketing effort,

not as a checklist for assessing each Marketing Defendant’s liability. While each Marketing

Defendant deceptively promoted their opioids specifically, and, together with other Marketing

Defendants, opioids generally, not every Marketing Defendant propagated (or needed to propagate)

each misrepresentation. Each Marketing Defendant’s conduct, and each misrepresentation,

contributed to an overall narrative that aimed to—and did—mislead doctors, patients, and payors

about the risk and benefits of opioids. While this Complaint endeavors to document examples of

each Marketing Defendant’s misrepresentations and the manner in which they were disseminated,

they are just that—examples. The Complaint is not, especially prior to discovery, an exhaustive

catalog of the nature and manner of each deceptive statement by each Marketing Defendant.

                           a.         Falsehood #1: The risk of addiction from chronic opioid
                                      therapy is low

       148.    Central    to    the    Marketing    Defendants’   promotional    scheme     was   the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to the

expected and intended result that doctors prescribed more opioids to more patients—thereby



                                                   42
         Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 52 of 324. PageID #: 52




enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

            149.   Each of the Marketing Defendants claimed that the potential for addiction from its

opioids was relatively small or non-existent, even though there was no scientific evidence to

support those claims. None of them have acknowledged, retracted, or corrected their false

statements.

            150.   In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at

recommended dose,”30 and the risk substantially increases with more than three months of use.31

As the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

overdose and opioid use disorder” (a diagnostic term for addiction).32

                                          i.      Purdue’s misrepresentations regarding addiction
                                                  risk

            151.   When it launched OxyContin, Purdue knew it would need data to overcome decades

of wariness regarding opioid use. It needed some sort of research to back up its messaging. But

Purdue had not conducted any studies about abuse potential or addiction risk as part of its

application for FDA approval for OxyContin. Purdue (and, later, the other Defendants) found this

“research” in the form of a one-paragraph letter to the editor published in the New England Journal

of Medicine (NEJM) in 1980.

            152.   This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of addiction


30
  FDA Announces Safety Labeling Changes and Postmarket Study Requirements For Extended-Release and Long-
Acting Opioid Analgesics, MagMutal (Aug. 18, 2016), https://www.magmutual.com/learning/article/fda-announces-
safety-labeling-changes-and-postmarket-study-requirements-opioids; see also Press Release, U.S. Food & Drug
Admin., Announces Enhanced Warnings For Immediate-Release Opioid Pain Medications Related to Risks of Misuse,
Abuse, Addiction, Overdose and Death, FDA (Mar. 22, 2016), https://www.fda.gov/NewsEvents/Newsroom/
PressAnnouncements/ucm491739.htm.
31
 Deborah Dowell, M.D. et al., CDC Guideline for Prescribing Opioids for Chronic Pain United States 2016, 65(1)
Morbidity & Mortality Wkly. Rep. 1, 21 (Mar. 18, 2016) (hereinafter “CDC Guideline”).
32
     Id. at 2.



                                                    43
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 53 of 324. PageID #: 53




“rare” for patients treated with opioids.33 They had analyzed a database of hospitalized patients

who were given opioids in a controlled setting to ease suffering from acute pain. Porter and Jick

considered a patient not addicted if there was no sign of addiction noted in patients’ records.




           153.     As Dr. Jick explained to a journalist years later, he submitted the statistics to NEJM

as a letter because the data were not robust enough to be published as a study.34

           154.     Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper.35 Citation of the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of OxyContin.


33
  Jane Porter & Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) New Eng. J. Med. 123
(Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.
34
     Meier, supra, at 174.
35
     J. Porter & H. Jick, Addiction Rare in Patients Treated with Narcotics, supra.



                                                           44
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 54 of 324. PageID #: 54




While first Purdue and then other Marketing Defendants used it to assert that their opioids were

not addictive, “that’s not in any shape or form what we suggested in our letter,” according to Dr.

Jick.

           155.    Purdue specifically used the Porter and Jick letter in its 1998 promotional video “I

got my life back,” in which Dr. Alan Spanos says “In fact, the rate of addiction amongst pain

patients who are treated by doctors is much less than 1%.”36                      Purdue trained its sales

representatives to tell prescribers that fewer than 1% of patients who took OxyContin became

addicted. (In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

that the addiction rate was thirteen per cent.)”37

           156.    Other Marketing Defendants relied on and disseminated the same distorted

messaging. The enormous impact of Marketing Defendants’ misleading amplification of this letter

was well documented in another letter published in the NEJM on June 1, 2017, describing the way

the one-paragraph 1980 letter had been irresponsibly cited and, in some cases, “grossly

misrepresented.” In particular, the authors of this letter explained:

           [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
           and uncritically cited as evidence that addiction was rare with long-term opioid
           therapy. We believe that this citation pattern contributed to the North American
           opioid crisis by helping to shape a narrative that allayed prescribers’ concerns about
           the risk of addiction associated with long-term opioid therapy . . .38

           157.    “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the opiate

manufacturers convince front-line doctors that addiction is not a concern.”39

36
     Our Amazing World, Purdue Pharma OxyContin Commercial, https://www.youtube.com/watch?v=Er78Dj5hyeI.
 Patrick R. Keefe, The Family That Built an Empire of Pain, The New Yorker (Oct. 30, 2017) (hereinafter, “Keefe,
37

Empire of Pain”).
38
  Pamela T.M. Leung, B.Sc. Pharm., et al., A 1980 Letter on the Risk of Opioid Addiction, 376 New Eng. J. Med.
2194-95 (June 1, 2017), http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
39
     Marilynn Marchione, Assoc. Press, Painful Words: How a 1980 Letter Fueled the Opioid Epidemic, STAT News


                                                     45
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 55 of 324. PageID #: 55




         158.     Alongside its use of the Porter and Jick letter, Purdue also crafted its own materials

and spread its deceptive message through numerous additional channels. In its 1996 press release

announcing the release of OxyContin, for example, Purdue declared, “The fear of addiction is

exaggerated.”40

         159.     At a hearing before the House of Representatives’ Subcommittee on Oversight and

Investigations of the Committee on Energy and Commerce in August 2001, Purdue emphasized

“legitimate” treatment, dismissing cases of overdose and death as something that would not befall

“legitimate” patients: “Virtually all of these reports involve people who are abusing the

medication, not patients with legitimate medical needs under the treatment of a healthcare

professional.”41

         160.     Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question “Aren’t opioid pain medications like OxyContin

Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about addiction if taking

opioids for legitimate, “medical” purposes:

         Drug addiction means using a drug to get “high” rather than to relieve pain. You
         are taking opioid pain medication for medical purposes. The medical purposes are
         clear and the effects are beneficial, not harmful. 42


(May 31, 2017), https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.
40
   Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering from Persistent Pain: Long-
Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996, 3:47pm),
http://documents.latimes.com/oxycontin-press-release-1996/.
41
  Oxycontin: Its Use and Abuse: Hearing Before the House Subcomm. on Oversight and Investigations of the Comm.
on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001) (Statement of Michael Friedman, Executive Vice President,
Chief Operating Officer, Purdue Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG-
107hhrg75754.htm.
42
  Partners Against Pain consists of both a website, styled as an “advocacy community” for better pain care, and a set
of medical education resources distributed to prescribers by sales representatives. It has existed since at least the early
2000s and has been a vehicle for Purdue to downplay the risks of addiction from long-term opioid use. One early
pamphlet, for example, answered concerns about OxyContin’s addictiveness by claiming: “Drug addiction means
using a drug to get ‘high’ rather than to relieve pain. You are taking opioid pain medication for medical purposes. The


                                                           46
           Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 56 of 324. PageID #: 56




            161.    Sales representatives marketed OxyContin as a product “‘to start with and to stay

with.’”43 Sales representatives also received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!”44

According to the memo, the target is physician resistance based on concern about addiction: “The

physician wants pain relief for these patients without addicting them to an opioid.”45

            162.    Purdue, through its unbranded website Partners Against Pain, stated the following:

“Current Myth: Opioid addiction (psychological dependence) is an important clinical problem in

patients with moderate to severe pain treated with opioids. Fact: Fears about psychological

dependence are exaggerated when treating appropriate pain patients with opioids.” “Addiction

risk also appears to be low when opioids are dosed properly for chronic, noncancer pain.”46

            163.    Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors’

objections to prescribing opioids. The most common objection he heard about prescribing

OxyContin was that “it’s just too addictive.”47 May and his coworkers were trained to “refocus”

doctors on “legitimate” pain patients, and to represent that “legitimate” patients would not become

addicted. In addition, they were trained to say that the 12-hour dosing made the extended-release



medical purposes are clear and the effects are beneficial, not harmful.”
43
     Keefe, Empire of Pain.
44
     Meier, supra, at 102.
45
     Id.
46
     PURCHI 000620694-723, at 700.
47
  David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick Radden Keefe), The
New Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new-yorker-radio-hour/how-oxycontin-was-
sold-to-the-masses.



                                                         47
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 57 of 324. PageID #: 57




opioids less “habit-forming” than painkillers that need to be taken every four hours.

       164.    According to interviews with prescribers and former Purdue sales representatives,

Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.

       165.    With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is increased

in patients with a personal or family history of substance abuse.”

       166.    However, the FDA made clear to Purdue as early as 2001 that the disclosures in its

OxyContin label were insufficient.

       167.    In 2001, Purdue revised the indication and warnings for OxyContin, and in the

United States, Purdue ceased distributing the 160 mg tablet of OxyContin.

       168.    In the end, Purdue narrowed the recommended use of OxyContin to situations when

“a continuous, around-the-clock analgesic is needed for an extended period of time” and added a

warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a “potentially

fatal dose.” However, Purdue did not, until 2014, change the label to indicate that OxyContin

should not be the first therapy, or even the first opioid, used, and did not disclose the incidence or

risk of overdose and death even when OxyContin was not abused. Purdue announced the label

changes in a letter to health care providers.

                                       ii.      Endo’s misrepresentations regarding addiction
                                                risk

       169.    Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.



                                                 48
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 58 of 324. PageID #: 58




          170.      Until April 2012, Endo’s website for Opana, www.opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged opioid

medicines usually do not become addicted.”

          171.      Upon information and belief, Endo improperly instructed its sales representatives

to diminish and distort the risk of addiction associated with Opana ER. Endo’s training materials

for its sales representatives in 2011 also prompted sales representatives to answer “true” to the

statement that addiction to opioids is not common.48

          172.      One of the Front Groups with which Endo worked most closely was the American

Pain Foundation (“APF”), described more fully below. Endo provided substantial assistance to,

and exercised editorial control, over the deceptive and misleading messages that APF conveyed

through       its    National    Initiative    on     Pain     Control      (“NIPC”)49       and     its   website

www.painknowledge.com, which claimed that “[p]eople who take opioids as prescribed usually do

not become addicted.”

          173.      Another Endo website, www.PainAction.com, stated: “Did you know? Most

chronic pain patients do not become addicted to the opioid medications that are prescribed for

them.”

          174.      A brochure available on www.painknowledge.com titled “Pain: Opioid Facts,”

Endo-sponsored NIPC stated that “people who have no history of drug abuse, including tobacco,

and use their opioid medication as directed will probably not become addicted.” In numerous



48
     ENDO-CHI-LIT-000059465-573, at 568.
49
  Endo was one of the APF’s biggest financial supporters, providing more than half of the $10 million APF received
from opioid manufacturers during its lifespan. Endo was the sole funder of NIPC and selected APF to manage NIPC.
Internal Endo documents indicate that Endo was responsible for NIPC curriculum development, web posting, and
workshops, developed and reviewed NIPC content, and took a substantial role in distributing NIPC and APF materials.
Endo projected that it would be able to reach tens of thousands of prescribers nationwide through the distribution of
NIPC materials.



                                                        49
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 59 of 324. PageID #: 59




patient education pamphlets, Endo repeated this deceptive message.

          175.    In a patient education pamphlet titled “Understanding Your Pain: Taking Oral

Opioid Analgesics,” Endo answers the hypothetical patient question – “What should I know about

opioids and addiction?”—by focusing on explaining what addiction is (“a chronic brain disease”)

and is not (“Taking opioids for pain relief”). It goes on to explain that “[a]ddicts take opioids for

other reasons, such as unbearable emotional problems. Taking opioids as prescribed for pain relief

is not addiction.” This publication is still available online.

          176.    An Endo publication, Living with Someone with Chronic Pain, stated, “Most health

care providers who treat people with pain agree that most people do not develop an addiction

problem.” A similar statement appeared on the Endo website, www.opana.com, until at least April

2012.50

          177.    In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded by

Endo and posted on www.painknowledge.com, omitted addiction from the “common risks” of

opioids, as shown below:




50
     ENDO-CHI-LIT-00537916-922, at 921.



                                                  50
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 60 of 324. PageID #: 60




                                       iii.    Janssen’s misrepresentations regarding addiction
                                               risk

       178.    Janssen likewise misrepresented the addiction risk of opioids on its websites and

print materials. One website, Let’s Talk Pain, states, among other things, that “the stigma of drug

addiction and abuse” associated with the use of opioids stemmed from a “lack of understanding

about addiction.” (Although Janssen described the website internally as an unbranded third-party

program, it carried Janssen’s trademark and copy approved by Janssen.)

       179.    The Let’s Talk Pain website also perpetuated the concept of pseudoaddiction,

associating patient behaviors such as “drug seeking,” “clock watching,” and “even illicit drug use

or deception” with undertreated pain which can be resolved with “effective pain management.”

       180.    A Janssen unbranded website, PrescribeResponsibly.com, states that concerns

about opioid addiction are “overestimated” and that “true addiction occurs only in a small

percentage of patients.”51

       181.    Janssen reviewed, edited, approved, and distributed a patient education guide

entitled Finding Relief: Pain Management for Older Adults, which, as seen below, described as

“myth” the claim that opioids are addictive, and asserted as fact that “[m]any studies show that

opioids are rarely addictive when used properly for the management of chronic pain.” Until

recently, this guide was still available online.




51
    Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management.



                                                   51
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 61 of 324. PageID #: 61




       182.    Janssen’s website for Duragesic included a section addressing “Your Right to Pain

Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The website’s

response: “Addiction is relatively rare when patients take opioids appropriately.”

                                      iv.     Cephalon’s     misrepresentations          regarding
                                              addiction risk

       183.    Cephalon sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS: A Patient’s Guide, which included claims that “patients without a history

of abuse or a family history of abuse do not commonly become addicted to opioids.” Similarly,

Cephalon sponsored APF’s Treatment Options: A Guide for People Living with Pain (2007),

which taught that addiction is rare and limited to extreme cases of unauthorized dose escalations,

obtaining opioids from multiple sources, or theft.

       184.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

       [C]hronic pain is often undertreated, particularly in the noncancer patient
       population. . . . The continued stigmatization of opioids and their prescription,
       coupled with often unfounded and self-imposed physician fear of dealing with the
       highly regulated distribution system for opioid analgesics, remains a barrier to
       effective pain management and must be addressed. Clinicians intimately involved
       with the treatment of patients with chronic pain recognize that the majority of
       suffering patients lack interest in substance abuse. In fact, patient fears of
       developing substance abuse behaviors such as addiction often lead to


                                                52
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 62 of 324. PageID #: 62




          undertreatment of pain. The concern about patients with chronic pain becoming
          addicted to opioids during long-term opioid therapy may stem from confusion
          between physical dependence (tolerance) and psychological dependence
          (addiction) that manifests as drug abuse.52

                                        v.     Actavis’s misrepresentations regarding addiction
                                               risk.

          185.    Through its “Learn More about customized pain control with Kadian,” material,

Actavis claimed that it is possible to become addicted to morphine-based drugs like Kadian, but

that it is “less likely” to happen in those who “have never had an addiction problem.” The piece

goes on to advise that a need for a “dose adjustment” is the result of tolerance, and “not

addiction.”53

          186.    Training for Actavis sales representatives deceptively minimizes the risk of

addiction by: (i) attributing addiction to “predisposing factors” like family history of addiction or

psychiatric disorders; (ii) repeatedly emphasizing the difference between substance dependence

and substance abuse; and (iii) using the term pseudoaddiction, which, as described below,

dismisses evidence of addiction as the undertreatment of pain and, dangerously, counsels doctors

to respond to its signs with more opioids.54

          187.    Actavis conducted a market study on takeaways from prescribers’ interactions with

Kadian sales representatives. The doctors had a strong recollection of the sales representatives’

discussion of the low-abuse potential. Actavis’ sales representatives’ misstatements on the low-

abuse potential was considered an important factor to doctors, and was most likely repeated and

reinforced to their patients. Additionally, doctors reviewed visual aids that the Kadian sales



52
   Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain, Medscape,
http://www.medscape.org/viewarticle/449803 (behind paywall).
53
     ACTAVIS0006823-830, at 826.
54
     ACTAVIS0205095-286.



                                                 53
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 63 of 324. PageID #: 63




representatives use during the visits, and Actavis noted that doctors associate Kadian with less

abuse and no highs, in comparison to other opioids.55 Numerous marketing surveys of doctors in

2010 and 2012, for example, confirmed Actavis’s messaging about Kadian’s purported low

addiction potential, and that it had less abuse potential than other similar opioids.56

          188.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide includes the

following statements: 1) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users,” and 2)

KADIAN may be less likely to be abused by health care providers and illicit users” because of

“Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to trough

plasma levels of morphine at steady state.” These statements convey both that (1) Kadian does not

cause euphoria and therefore is less addictive and that (2) Kadian is less prone to tampering and

abuse, even though Kadian was not approved by the FDA as abuse deterrent, and, upon information

and belief, Actavis had no studies to suggest it was.

                                       vi.     Mallinckrodt’s      misrepresentations     regarding
                                               addiction risk

          189.    As described below, Mallinckrodt promoted its branded opioids Exalgo and

Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

communications distributed through the “C.A.R.E.S. Alliance” it created and led.

          190.    Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting


55
     ACTAVIS0584610-649, at 628.
56
     ACTAVIS0192847-78, at 49.



                                                 54
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 64 of 324. PageID #: 64




Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national patient

safety, provider and drug diversion organizations that are focused on reducing opioid pain

medication abuse and increasing responsible prescribing habits.” The “C.A.R.E.S. Alliance” itself

is a service mark of Mallinckrodt LLC (and was previously a service mark of Mallinckrodt, Inc.)

copyrighted and registered as a trademark by Covidien, its former parent company. Materials

distributed by the C.A.R.E.S. Alliance, however, include unbranded publications that do not

disclose a link to Mallinckrodt.

       191.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online. The false claims and

misrepresentations in this book include the following statements:

               •   “Only rarely does opioid medication cause a true addiction when
                   prescribed appropriately to a chronic pain patient who does not have
                   a prior history of addiction.”

               •   “It is currently recommended that every chronic pain patient
                   suffering from moderate to severe pain be viewed as a potential
                   candidate for opioid therapy.”

               •   “When chronic pain patients take opioids to treat their pain, they
                   rarely develop a true addiction and drug craving.”

               •   “Only a minority of chronic pain patients who are taking long-term
                   opioids develop tolerance.”

               •   “The bottom line: Only rarely does opioid medication cause a true
                   addiction when prescribed appropriately to a chronic pain patient
                   who does not have a prior history of addiction.”

               •   “Here are the facts. It is very uncommon for a person with chronic
                   pain to become ‘addicted’ to narcotics IF (1) he doesn’t have a prior
                   history of any addiction and (2) he only takes the medication to treat
                   pain.”

               •   “Studies have shown that many chronic pain patients can experience
                   significant pain relief with tolerable side effects from opioid
                   narcotic medication when taken daily and no addiction.”



                                                55
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 65 of 324. PageID #: 65




       192.    In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt stated

that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

undertreated” and cites to a report that concludes that “the majority of people with pain use their

prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

access because of the misdeeds or carelessness of others.”

       193.    Marketing Defendants’ suggestions that the opioid epidemic is the result of bad

patients who manipulate doctors to obtain opioids illicitly helped further their marketing scheme,

but is at odds with the facts. While there are certainly patients who unlawfully obtain opioids, they

are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple prescribers to

obtain opioid prescriptions—are responsible for roughly 2% of opioid prescriptions. The epidemic

of opioid addiction and abuse is overwhelmingly a problem of false marketing (and unconstrained

distribution) of the drugs, not problem patients.

                           b.      Falsehood #2: To the extent there is a risk of
                                   addiction, it can be easily identified and managed

       194.    While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Marketing Defendants assert that to the extent

that some patients are at risk of opioid addiction, doctors can effectively identify and manage that

risk by using screening tools or questionnaires. In materials they produced, sponsored, or

controlled, Defendants instructed patients and prescribers that screening tools can identify patients

predisposed to addiction, thus making doctors feel more comfortable prescribing opioids to their

patients and patients more comfortable starting opioid therapy for chronic pain. These tools, they

say, identify those with higher addiction risks (stemming from personal or family histories of




                                                56
           Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 66 of 324. PageID #: 66




substance use, mental illness, trauma, or abuse) so that doctors can then more closely monitor those

patients.

            195.    Purdue shared its Partners Against Pain “Pain Management Kit,” which contains

several screening tools and catalogues of Purdue materials, which included these tools, with

prescribers. Janssen, on its website PrescribeResponsibly.com, states that the risk of opioid

addiction “can usually be managed” through tools such as opioid agreements between patients and

doctors.57         The website, which directly provides screening tools to prescribers for risk

assessments,58 includes a “[f]our question screener” to purportedly help physicians identify and

address possible opioid misuse.59

            196.    Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for People

Living with Pain (2007), which also falsely reassured patients that opioid agreements between

doctors and patients can “ensure that you take the opioid as prescribed.”

            197.    Purdue sponsored a 2011 webinar taught by Dr. Webster, entitled Managing

Patient’s Opioid Use: Balancing the Need and Risk. This publication misleadingly taught

prescribers that screening tools, urine tests, and patient agreements have the effect of preventing

“overuse of prescriptions” and “overdose deaths.”

            198.    Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose




57
   Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM, What a Prescriber
Should      Know       Before      Writing       the      First     Prescription,      Prescribe       Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids# (last modified July 2, 2015).
58
    Risk Assessment Resources, Prescribe Responsibly, http://www.prescriberesponsibly.com/risk-assessment-
resources (last modified July 2, 2015).
59
     Id.



                                                       57
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 67 of 324. PageID #: 67




deaths.”

       199.    Purdue also funded a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, even high-risk patients showing signs of addiction could be treated with opioids.

       200.    Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speaker’s bureau

in 2010. This publication, entitled Pain Management Dilemmas in Primary Care: Use of Opioids,

(i) recommended screening patients using tools like (a) the Opioid Risk Tool created by Dr.

Webster and linked to Janssen or (b) the Screener and Opioid Assessment for Patients with Pain,

and (ii) taught that patients at high risk of addiction could safely receive chronic opioid therapy

using a “maximally structured approach” involving toxicology screens and pill counts. The ORT

was linked to by Endo-supported websites, as well.

       201.    There are three fundamental flaws in the Marketing Defendants’ representations

that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

scientific evidence that doctors can depend on the screening tools currently available to materially

limit the risk of addiction. Second, there is no reliable scientific evidence that high-risk patients

identified through screening can take opioids long-term without triggering addiction, even with

enhanced monitoring. Third, there is no reliable scientific evidence that patients who are not

identified through such screening can take opioids long-term without significant danger of

addiction.

                           c.     Falsehood #3: Signs of addictive behavior                      are
                                  “pseudoaddiction,” requiring more opioids

       202.    The Marketing Defendants instructed patients and prescribers that signs of



                                                58
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 68 of 324. PageID #: 68




addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he characterized as

“the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

pain management.”60 In other words, people on prescription opioids who exhibited classic signs

of addiction— for example, asking for more and higher doses of opioids, self-escalating their

doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

rather simply suffering from undertreatment of their pain.

        203.     In the materials and outreach they produced, sponsored, or controlled, Marketing

Defendants made each of these misrepresentations and omissions, and have never acknowledged,

retracted, or corrected them.

        204.     Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007) written by Dr. Fishman and discussed in more

detail below, which taught that behaviors such as “requesting drugs by name,” “demanding or

manipulative behavior,” seeing more than one doctor to obtain opioids, and hoarding, which are

signs of genuine addiction, are all really signs of “pseudoaddiction.”

        205.     Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its unbranded website, PartnersAgainstPain.com, in 2005, and circulated this

pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

conduct including “illicit drug use and deception” that it claimed was not evidence of true addiction

but “pseudoaddiction” caused by untreated pain.



60
   David E. Weissman & J. David Haddox, Opioid Pseudoaddiction – An Iatrogenic Syndrome, 36(3) Pain 363-66
(Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565 (“Iatrogenic” describes a condition induced by medical
treatment.).



                                                     59
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 69 of 324. PageID #: 69




          206.    According to documents provided by a former Purdue detailer, sales representatives

were trained and tested on the meaning of pseudoaddiction, from which it can be inferred that sales

representatives were directed to, and did, describe pseudoaddiction to prescribers. Purdue’s Pain

Management Kit is another example of publication used by Purdue’s sales force that endorses

pseudoaddiction by claiming that “pain-relief seeking behavior can be mistaken for drug-seeking

behavior.” Upon information and belief, the kit was in use from roughly 2011 through at least June

2016.

          207.    Similarly, internal documents show that Endo trained its sales representatives to

promote the concept of pseudoaddiction. A training module taught sales representatives that

addiction and pseudoaddiction were commonly confused. The module went on to state that: “The

physician can differentiate addiction from pseudoaddiction by speaking to the patient about his/her

pain and increasing the patient’s opioid dose to increase pain relief.”61

          208.    Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid Therapy:

Understanding Risk While Maximizing Analgesia, which promoted pseudoaddiction and listed

“[d]ifferentiation among states of physical dependence, tolerance, pseudoaddiction, and addiction”

as an element to be considered in awarding grants to CME providers.62

          209.    Upon information and belief, Endo itself has repudiated the concept of

pseudoaddiction. In finding that “[t]he pseudoaddiction concept has never been empirically

validated and in fact has been abandoned by some of its proponents,” the New York Attorney

General, in a 2016 settlement with Endo, reported that “Endo’s Vice President for

Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware of any



61
     ENDO-CHI_LIT-000053284-335, at 299.
62
     ENDO-CHI_LIT-00179117-22, at 19.



                                                 60
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 70 of 324. PageID #: 70




research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty in

distinguishing “between addiction and ‘pseudoaddiction.’”63 Endo thereafter agreed not to “use

the term ‘pseudoaddiction’ in any training or marketing” in New York.

           210.    Janssen sponsored, funded, and edited a website called Let’s Talk Pain, which in

2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can be

resolved with effective pain management.” This website was accessible online until at least May

2012.

           211.    Janssen also currently runs a website, Prescriberesponsibly.com, which claims that

concerns about opioid addiction are “overestimated,” and describes pseudoaddiction as “a

syndrome that causes patients to seek additional medications due to inadequate pharmacotherapy

being prescribed. Typically, when the pain is treated appropriately the inappropriate behavior

ceases.”64

           212.    The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Lynn Webster, a so-called “key opinion leader”

(KOL) discussed below, admitted that pseudoaddiction “is already something we are debunking

as a concept” and became “too much of an excuse to give patients more medication. It led us down

a path that caused harm.”

                              d.       Falsehood #4: Opioid withdrawal can be avoided by
                                       tapering

           213.    In an effort to underplay the risk and impact of addiction, the Marketing Defendants


63
   Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. & Endo Pharmaceuticals
Inc., Assurance No.:15-228, Assurance of Discontinuance Under Executive Law Section 63. Subdivision 15 at 7,
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
64
     Heit & Gourlay, supra.



                                                     61
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 71 of 324. PageID #: 71




falsely claimed that, while patients become physically dependent on opioids, physical dependence

is not the same as addiction and can be easily addressed, if and when pain relief is no longer

desired, by gradually tapering patients’ dose to avoid withdrawal. Marketing Defendants failed to

disclose the extremely difficult and painful effects that patients can experience upon ceasing opioid

treatment – adverse effects that also make it less likely that patients will be able to stop using the

drugs. Marketing Defendants also failed to disclose how difficult it is for patients to stop using

opioids after they have used them for prolonged periods.

       214.    A non-credit educational program sponsored by Endo, Persistent Pain in the Older

Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop using

opioids, could be avoided by simply tapering a patient’s opioid dose over ten days. However, this

claim is at odds with the experience of patients addicted to opioids. Most patients who have been

taking opioids regularly will, upon stopping treatment, experience withdrawal, characterized by

intense physical and psychological effects, including anxiety, nausea, headaches, and delirium,

among others. This painful and arduous struggle to terminate use can leave many patients

unwilling or unable to give up opioids and heightens the risk of addiction.

       215.    Purdue sponsored the American Pain Foundation’s (“APF”) A Policymaker’s

Guide to Understanding Pain & Its Management, which taught that “Symptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation,” but the guide did not disclose the significant hardships that often accompany

cessation of use.

       216.    To this day, the Marketing Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.




                                                 62
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 72 of 324. PageID #: 72




                              e.       Falsehood #5: Opioid doses can be increased without limit or
                                       greater risks

        217.     In materials they produced, sponsored or controlled, Marketing Defendants

instructed prescribers that they could safely increase a patient’s dose to achieve pain relief. Each

of the Marketing Defendants’ claims was deceptive in that it omitted warnings of increased adverse

effects that occur at higher doses, effects confirmed by scientific evidence.

        218.     These misrepresentations were integral to the Marketing Defendants’ promotion of

prescription opioids. As discussed above, patients develop a tolerance to opioids’ analgesic effects,

so that achieving long-term pain relief requires constantly increasing the dose.

        219.     In a 1996 sales memo regarding OxyContin, for example, a regional manager for

Purdue instructed sales representatives to inform physicians that there is “no[] upward limit” for

dosing and ask “if there are any reservations in using a dose of 240mg-320mg of OxyContin.”65

        220.     In addition, sales representatives aggressively pushed doctors to prescribe stronger

doses of opioids. For example, one Purdue sales representative wrote about how his regional

manager would drill the sales team on their upselling tactics:

        It went something like this. “Doctor, what is the highest dose of OxyContin you
        have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
        score is still high you can increase the dose 100% to 40mg Q12h, will you do that?”
        “Okay.” “Doctor, what if that patient them came back and said their pain score was
        still high, did you know that you could increase the OxyContin dose to 80mg Q12h,
        would you do that?” “I don’t know, maybe.” “Doctor, but you do agree that you
        would at least Rx the 40mg dose, right?” “Yes.”

        The next week the rep would see that same doctor and go through the same
        discussion with the goal of selling higher and higher doses of OxyContin.

        221.     These misrepresentations were particularly dangerous. As noted above, opioid



65
   Letter from Windell Fisher, Purdue Regional Manager, to B. Gergely, Purdue Employee (Nov. 7, 1996),
http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/ (last updated May 5, 2016) (hereinafter “Letter
from Fisher”).



                                                      63
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 73 of 324. PageID #: 73




doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every twelve hours is

ten times that.

        222.      In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

until they are under control, then resume upward titration.”66

        223.      Endo sponsored a website, www.painknowledge.com, which claimed that opioids

may be increased until “you are on the right dose of medication for your pain,” at which point

further dose increases would not be required.

        224.      Endo also published on its website a patient education pamphlet entitled

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take the

opioid now, will it work later when I really need it?” The response is, “The dose can be increased

. . . You won’t ‘run out’ of pain relief.”

        225.      Purdue and Cephalon sponsored APF’s Treatment Options: A Guide for People

Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and therefore

are safer than NSAIDs.

        226.      Marketing Defendants were aware of the greater dangers high dose opioids posed.

In 2013, the FDA acknowledged “that the available data do suggest a relationship between



66
    Purdue Pharma, L.P., OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugS
afetyInformationforPatientsandProviders/UCM220990.pdf (last modified Nov. 2010).



                                                  64
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 74 of 324. PageID #: 74




increasing opioid dose and risk of certain adverse events” and that studies “appear to credibly

suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality.” For example, a study of patient data from the Veterans Health Administration

published in 2011 found that higher maximum prescribed daily opioid doses were associated with

a higher risk of opioid overdose deaths.67

                               f.     Falsehood #6: Long-term opioid use improves functioning

           227.     Despite the lack of evidence of improved function and the existence of evidence to

the contrary, the Marketing Defendants consistently promoted opioids as capable of improving

patients’ function and quality of life because they viewed these claims as a critical part of their

marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing the perceived

benefits of treatment was necessary to overcome its risks.

           228.     Janssen, for example, promoted Duragesic as improving patients’ functioning and

work productivity through an ad campaign that included the following statements: “[w]ork,

uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that supports

functionality,” and “[i]mprove[s] . . . physical and social functioning.”

           229.     Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

           Janssen has been stressing decreased side effects, especially constipation, as well
           as patient quality of life, as supported by patient rating compared to sustained
           release morphine…We do not have such data to support OxyContin promotion. . .
           . In addition, Janssen has been using the “life uninterrupted” message in promotion
           of Duragesic for non-cancer pain, stressing that Duragesic “helps patients think less
           about their pain.” This is a competitive advantage based on our inability to make
           any quality of life claims.68

67
  Amy S. B. Bohnert, Ph.D. et al., Association Between Opioid Prescribing Patterns and Opioid Overdose-Related
Deaths, 305(13) J. of Am. Med. Assoc. 1315, 1315-1321 (Apr. 6, 2011), https://jamanetwork.com/
journals/jama/fullarticle/896182.
68
     Meier, supra, at 281.



                                                    65
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 75 of 324. PageID #: 75




        230.    Despite its acknowledgment that “[w]e do not have such data to support OxyContin

promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American Medical

Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily fly-

fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”69

        231.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are effective

in improving daily function, psychological health, and health-related quality of life for chronic

pain patients. But the article cited as support for this in fact stated the contrary, noting the absence

of long-term studies and concluding, “[f]or functional outcomes, the other analgesics were

significantly more effective than were opioids.”

        232.    A series of medical journal advertisements for OxyContin in 2012 presented “Pain

Vignettes”—case studies featuring patients with pain conditions persisting over several months—

that implied functional improvement. For example, one advertisement described a “writer with

osteoarthritis of the hands” and implied that OxyContin would help him work more effectively.

        233.    Similarly, since at least May of 2011, Endo has distributed and made available on

its website, www.opana.com, a pamphlet promoting Opana ER with photographs depicting

patients with physically demanding jobs like those of a construction worker or chef, misleadingly

implying that the drug would provide long-term pain relief and functional improvement.



69
   Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall St. J. (Jan. 23, 2003, 12:01am),
https://www.wsj.com/articles/SB1043259665976915824.



                                                  66
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 76 of 324. PageID #: 76




       234.    As noted above, Janssen sponsored and edited a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids

may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

“[u]sed properly, opioid medications can make it possible for people with chronic pain to ‘return

to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by Teva,

Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients’ function. The

book remains for sale online.

       235.    In addition, Janssen’s Let’s Talk Pain website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.

       236.    The APF’s Treatment Options: A Guide for People Living with Pain (2007),

sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients] a quality

of life we deserve.” The guide was available online until APF shut its doors in May 2012.

       237.    Endo’s NIPC website www.painknowledge.com claimed that with opioids, “your

level of function should improve; you may find you are now able to participate in activities of

daily living, such as work and hobbies, that you were not able to enjoy when your pain was worse.”

In addition to “improved function,” the website touted improved quality of life as a benefit of

opioid therapy. The grant request that Endo approved for this project specifically indicated NIPC’s

intent to make claims of functional improvement.

       238.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce




                                                 67
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 77 of 324. PageID #: 77




pain and improve depressive symptoms and cognitive functioning.” The CME was disseminated

via webcast.

           239.    Mallinckrodt’s website, in a section on responsible use of opioids, claims that “[t]he

effective pain management offered by our medicines helps enable patients to stay in the workplace,

enjoy interactions with family and friends, and remain an active member of society.”70

           240.    The Marketing Defendants’ claims that long-term use of opioids improves patient

function and quality of life are unsupported by clinical evidence. There are no controlled studies

of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients’

pain and function long term. The FDA, for years, has made clear through warning letters to

manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves

patients’ function and quality of life.71 Based upon a review of the existing scientific evidence,

the CDC Guideline concluded that “there is no good evidence that opioids improve pain or function

with long-term use.”72

           241.    Consistent with the CDC’s findings, substantial evidence exists demonstrating that

opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health. For

example, a 2006 study-of-studies found that opioids as a class did not demonstrate improvement

in functional outcomes over other non-addicting treatments. The few longer-term studies of opioid



70
    Mallinckrodt     Pharmaceuticals,   Responsible    Use,    http://www.mallinckrodt.com/corporate-responsibility/
responsible-use.
71
  The FDA has warned other drug makers that claims of improved function and quality of life were misleading. See
Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO, Actavis
Elizabeth LLC (Feb. 18, 2010), (rejecting claims that Actavis’ opioid, Kadian, had an “overall positive impact on a
patient’s work, physical and mental functioning, daily activities, or enjoyment of life.”); Warning Letter from Thomas
Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman, President and Chief
Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008), (finding the claim that “patients who are treated with
[Avinza (morphine sulfate ER)] experience an improvement in their overall function, social function, and ability to
perform daily activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”).
The FDA’s warning letters were available to Defendants on the FDA website.
72
     CDC Guideline at 20.



                                                         68
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 78 of 324. PageID #: 78




use had “consistently poor results,” and “several studies have showed that [using] opioids for

chronic pain may actually worsen pain and functioning . . .”73 along with general health, mental

health, and social function. Over time, even high doses of potent opioids often fail to control pain,

and patients exposed to such doses are unable to function normally.

           242.    Increased duration of opioid use is also strongly associated with increased

prevalence of mental health disorders (depression, anxiety, post-traumatic stress disorder, and

substance abuse), increased psychological distress, and greater health care utilization. The CDC

Guideline concluded that “[w]hile benefits for pain relief, function and quality of life with long-

term opioid use for chronic pain are uncertain, risks associated with long-term opioid use are

clearer and significant.”74 According to the CDC, “for the vast majority of patients, the known,

serious, and too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for

chronic pain].”75

           243.    As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.”76 In fact, research such as a 2008 study in the

journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

made them more likely to be disabled and unable to work.77 Another study demonstrated that


73
  Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing Guideline, New
Eng. J. Med., at 1503 (Apr. 21, 2016).
74
     CDC Guideline at 2, 18.
75
     Frieden & Debra Houry, supra, at 1503.
76
    Andrea Rubinstein, M.D. Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009),
http://www.nbcms.org/about-us/sonoma-county-medical-association/magazine/sonoma-medicine-are-we-making-
pain-patients-worse.aspx?pageid=144&tabid=747.
77
  Jeffrey Dersh, et al., Prescription Opioid Dependence Is Associated With Poorer Outcomes In Disabling Spinal
Disorders, 33(20) Spine 2219-27 (Sept. 15, 2008).



                                                    69
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 79 of 324. PageID #: 79




injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all.78 Moreover, the first randomized

clinical trial designed to make head-to-head comparisons between opioids and other kinds of pain

medications was recently published on March 6, 2018, in the Journal of the American Medical

Association. The study reported that “[t]here was no significant difference in pain-related function

between the 2 groups” – those whose pain was treated with opioids and those whose pain was

treated with non-opioids, including acetaminophen and other non-steroidal anti-inflammatory

drugs (“NSAIDs”) like ibuprofen. Accordingly, the study concluded: “Treatment with opioids was

not superior to treatment with nonopioid medications for improving pain-related function over 12

months.”

                              g.       Falsehood #7: Alternative forms of pain relief pose greater
                                       risks than opioids

        244.     In materials they produced, sponsored or controlled, the Marketing Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of competing

products so that prescribers and patients would favor opioids over other therapies such as over-

the-counter acetaminophen or over-the-counter or prescription NSAIDs.

        245.     For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of

hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which the




78
  Franklin, GM, Stover, BD, Turner, JA, Fulton-Kehoe, D, Wickizer, TM, Early Opioid Prescription and Subsequent
Disability Among Workers With Back Injuries: The Disability Risk Identification Study Cohort, 33 Spine 199, 201-
202.



                                                     70
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 80 of 324. PageID #: 80




patient becomes more sensitive to certain painful stimuli over time;”79 hormonal dysfunction;80

decline in immune function; mental clouding, confusion, and dizziness; increased falls and

fractures in the elderly;81 neonatal abstinence syndrome (when an infant exposed to opioids

prenatally suffers withdrawal after birth), and potentially fatal interactions with alcohol or with

benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain.82

           246.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored by

Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more than a period of

months,” with no corresponding warning about opioids. The publication falsely attributed 10,000

to 20,000 deaths annually to NSAID overdoses, when the figure is closer to 3,200.83

           247.    Janssen sponsored Finding Relief: Pain Management for Older Adults (2009), that

listed dose limitations as “disadvantages” of other pain medicines but omitted any discussion of

risks of increased doses from opioids. Finding Relief described the advantages and disadvantages

of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The disadvantages

of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or liver damage if

taken at high doses or for a long time,” “adverse reactions in people with asthma,” and “can

increase the risk of heart attack and stroke.” The only adverse effects of opioids listed are “upset



79
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
80
     H.W. Daniell, Hypogonadism in Men Consuming Sustained-Action Oral Opioids, 3(5) J. Pain 377-84 (2001).
81
  See Bernhard M. Kuschel, The Risk of Fall Injury in Relation to Commonly Prescribed Medications Among Older
People – a Swedish Case-Control Study, Eur. J. Pub. H. 527, 527-32 (July 31, 2014).
82
  Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and High-Risk Opioids in US
Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940-47 (2012).
83
  Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and Gastrointestinal
Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic Studies, 11 Am. J. of Therapeutics 17-25
(2004).



                                                       71
         Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 81 of 324. PageID #: 81




stomach or sleepiness,” which the brochure claims will go away, and constipation.

            248.   Endo’s NIPC website, www.painknowledge.com, which contained a flyer called

“Pain: Opioid Therapy.” This publication listed opioids’ adverse effects but with significant

omissions, including hyperalgesia, immune and hormone dysfunction, cognitive impairment,

tolerance, dependence, addiction, and death.

            249.   As another example, the Endo-sponsored CME put on by NIPC, Persistent Pain in

the Older Adult, discussed above, counseled that acetaminophen should be used only short-term

and includes five slides on the FDA’s restrictions on acetaminophen and its adverse effects,

including severe liver injury and anaphylaxis (shock). In contrast, the CME downplays the risk of

opioids, claiming opioids have “possibly less potential for abuse than in younger patients,” and

does not list overdose among the adverse effects. Some of those misrepresentations are described

above; others are laid out below.

            250.   In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic Pain.”84

The article asserted:

            Opioids represent a highly effective but controversial and often misunderstood
            class of analgesic medications for controlling both chronic and acute pain. The
            phenomenon of tolerance to opioids – the gradual waning of relief at a given dose
            – and fears of abuse, diversion, and misuse of these medications by patients have
            led many clinicians to be wary of prescribing these drugs, and/or to restrict dosages
            to levels that may be insufficient to provide meaningful relief.85

            251.   To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger of extended use




84
   Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf.
85
     Id, at 1.



                                                    72
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 82 of 324. PageID #: 82




of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal bleed

believed to have resulted from his protracted NSAID use. In contrast, the article did not provide

the same detail concerning the serious side effects associated with opioids.

        252.     Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

        253.     As a result of the Marketing Defendants’ deceptive promotion of opioids over safer

and more effective drugs, opioid prescriptions increased even as the percentage of patients visiting

a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010

found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.86

                              h.       Falsehood #8: OxyContin provides twelve hours of pain
                                       relief

        254.     Purdue also dangerously misled doctors and patients about OxyContin’s duration

and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

provides the basis for both Purdue’s patent and its market niche, allowing it to both protect and

differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

OxyContin had a more even, stable release mechanism that avoided peaks and valleys and


86
  M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States, 2000-2010,
51(10) Med. Care, 870-878 (2013). For back pain alone, the percentage of patients prescribed opioids increased from
19% to 29% between 1999 and 2010, even as the use of NSAIDs or acetaminophen declined from 39.9% to 24.5% of
these visits; and referrals to physical therapy remained steady. See also J. Mafi, et al., Worsening Trends in the
Management and Treatment of Back Pain, 173(17) J. of the Am Med. Ass’n Internal Med. 1573, 1573 (2013).



                                                       73
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 83 of 324. PageID #: 83




therefore the rush that fostered addiction and attracted abusers.

        255.      Purdue promotes OxyContin as an extended-release opioid, but the oxycodone does

not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in the

following chart, which was apparently adapted from Purdue’s own sales materials:




        256.      The reduced release of the drug over time means that the oxycodone no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times relevant

to this action.

        257.      OxyContin tablets provide an initial absorption of approximately 40% of the active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid

triggers a powerful psychological response. OxyContin thus behaves more like an immediate

release opioid, which Purdue itself once claimed was more addicting in its original 1995 FDA-


                                                 74
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 84 of 324. PageID #: 84




approved drug label. Second, the initial burst of oxycodone means that there is less of the drug at

the end of the dosing period, which results in the drug not lasting for a full twelve hours and

precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose” failure. (The

FDA found in 2008 that a “substantial number” of chronic pain patients will experience end-of-

dose failure with OxyContin.)

        258.     End-of-dose failure renders OxyContin even more dangerous because patients

begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

OxyContin’s 12-hour dosing “the perfect recipe for addiction.”87 Many patients will exacerbate

this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

opioid, increasing the overall amount of opioids they are taking.

        259.     It was Purdue’s decision to submit OxyContin for approval with 12-hour dosing.

While the OxyContin label indicates that “[t]here are no well-controlled clinical studies evaluating

the safety and efficacy with dosing more frequently than every 12 hours,” that is because Purdue

has conducted no such studies.

        260.     Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

full twelve hours. Its advertising in 2000 included claims that OxyContin provides “Consistent

Plasma Levels Over 12 Hours.” That claim was accompanied by a chart, mirroring the chart on

the previous page. However, this version of the chart deceptively minimized the rate of end-of-

dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table’s y-axis.

That chart, shown below, depicts the same information as the chart above, but does so in a way

87
   Harriet Ryan, et al.,“‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” Los Angeles Times, May
5, 2016, http://www.latimes.com/projects/oxycontin-part1/ (hereinafter, “You Want a Description of Hell”).



                                                     75
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 85 of 324. PageID #: 85




that makes the absorption rate appear more consistent:




        261.    Purdue’s 12-hour messaging was key to its competitive advantage over short-acting

opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

dosing was emphasized as the most important benefit.”88

        262.    In keeping with this positioning statement, a Purdue regional manager emphasized



88
   Memorandum from Lydia Johnson, Marketing Executive at Purdue, to members of Oxycontin Launch Team (Apr.
4, 1995), http://documents.latimes.com/oxycontin-launch-1995/ (last updated May 5, 2016).



                                                  76
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 86 of 324. PageID #: 86




in a 1996 sales strategy memo that representatives should “convinc[e] the physician that there is

no need” for prescribing OxyContin in shorter intervals than the recommended 12-hour interval,

and instead the solution is prescribing higher doses.”89 One sales manage instructed her team that

anything shorter than 12-hour dosing “needs to be nipped in the bud NOW!!”90

           263.     Purdue executives therefore maintained the messaging of twelve-hour dosing even

when many reports surfaced that OxyContin did not last twelve hours. Instead of acknowledging

a need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills,

even though higher dosing carries its own risks, as noted above. It also means that patients will

experience higher highs and lower lows, increasing their craving for their next pill. (Urging higher

doses to avoid end-of-dose failure is like advising a pilot to avoid a crash by flying higher.)

Nationwide, based on an analysis by the Los Angeles Times, more than 52% of patients taking

OxyContin longer than three months are on doses greater than 60 milligrams per day—which

converts to the 90 MED that the CDC Guideline urges prescribers to “avoid” or “carefully

justify.”91

           264.     The information that OxyContin did not provide pain relief for a full twelve hours

was known to Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s

knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day instead

of two was set out in Purdue’s internal documents as early as 1999 and is apparent from

MEDWATCH Adverse Event reports for OxyContin.

           265.     Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a


89
     Letter from Fisher, supra.
90
     You Want a Description of Hell, supra.
91
     CDC Guideline, supra, at 16.



                                                   77
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 87 of 324. PageID #: 87




contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

       266.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers were misinformed about the advantages of OxyContin in a manner that preserved

Purdue’s competitive advantage and profits, at the expense of patients, who were placed at greater

risk of overdose, addiction, and other adverse effects.

                           i.      Falsehood #9: New formulations of certain opioids
                                   successfully deter abuse

       267.    Rather than take the widespread opioid abuse as reason to cease their untruthful

marketing efforts, Marketing Defendants Purdue and Endo seized them as a competitive

opportunity. These companies developed and oversold “abuse-deterrent formulations” (“ADF”)

opioids as a solution to opioid abuse and as a reason that doctors could continue to safely prescribe

their opioids, as well as an advantage of these expensive branded drugs over other opioids. These

Defendants’ false and misleading marketing of the benefits of their ADF opioids preserved and

expanded their sales and falsely reassured prescribers thereby prolonging the opioid epidemic.

Other Marketing Defendants, including Actavis and Mallinckrodt, also promoted their branded

opioids as formulated to be less addictive or less subject to abuse than other opioids.

       268.    The CDC Guideline confirms that “[n]o studies” support the notion that “abuse-

deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies “do not prevent opioid abuse through oral intake, the most common route of

opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former Director of the

CDC, reported that his staff could not find “any evidence showing the updated opioids [ADF

opioids] actually reduce rates of addiction, overdoses, or death.”



                                                78
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 88 of 324. PageID #: 88




                                      i.      Purdue’s deceptive marketing of reformulated
                                              OxyContin and Hysingla ER

       269.    Reformulated ADF OxyContin was approved by the FDA in April 2010. It was not

until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference to

the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of abuse.

       270.    It is unlikely a coincidence that reformulated OxyContin was introduced shortly

before generic versions of OxyContin were to become available, threatening to erode Purdue’s

market share and the price it could charge. Purdue nonetheless touted its introduction of ADF

opioids as evidence of its good corporate citizenship and commitment to address the opioid crisis.

       271.    Despite its self-proclaimed good intention, Purdue merely incorporated its

generally deceptive tactics with respect to ADF. Purdue sales representatives regularly overstated

and misstated the evidence for and impact of the abuse-deterrent features of these opioids.

Specifically, Purdue sales representatives:

          •   claimed that Purdue’s ADF opioids prevent tampering and that its ADFs
              could not be crushed or snorted;

          •   claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

          •   asserted or suggested that its ADF opioids are non-addictive or less
              addictive,

          •   asserted or suggested that Purdue’s ADF opioids are safer than other
              opioids, could not be abused or tampered with, and were not sought out
              for diversion; and

          •   failed to disclose that Purdue’s ADF opioids do not impact oral abuse or
              misuse.



                                               79
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 89 of 324. PageID #: 89




         272.   If pressed, Purdue acknowledged that perhaps some “extreme” patients might still

abuse the drug, but claimed the ADF features protect the majority of patients. These

misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

own information, and publicly available data.

         273.   Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with and abused.

         274.   In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse)”. In

the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in its

label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to OxyContin

were associated with oral consumption, and that only 2% of deaths were associated with recent

injection and only 0.2% with snorting the drug.

         275.   The FDA’s Director of the Division of Epidemiology stated in September 2015 that

no data that she had seen suggested the reformulation of OxyContin “actually made a reduction in

abuse,” between continued oral abuse, shifts to injection of other drugs (including heroin), and

defeat of the ADF mechanism. Even Purdue’s own funded research shows that half of OxyContin

abusers continued to abuse OxyContin orally after the reformulation rather than shift to other

drugs.

         276.   A 2013 article presented by Purdue employees based on review of data from poison

control centers, concluded that ADF OxyContin can reduce abuse, but it ignored important

negative findings. The study revealed that abuse merely shifted to other drugs and that, when the

actual incidence of harmful exposures was calculated, there were more harmful exposures to

opioids after the reformulation of OxyContin. In short, the article deceptively emphasized the




                                                80
     Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 90 of 324. PageID #: 90




advantages and ignored the disadvantages of ADF OxyContin.

        277.    Websites and message boards used by drug abusers, such as bluelight.org and

reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER, including through

grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is dissolved.

Purdue has been aware of these methods of abuse for more than a decade.

        278.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s ADF

opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

simply shifted to other opioids such as heroin.

        279.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

supplemental new drug application related to reformulated OxyContin one day before FDA staff

was to release its assessment of the application. The staff review preceded an FDA advisory

committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

product has a meaningful impact on abuse.”92 Upon information and belief, Purdue never presented

the data to the FDA because the data would not have supported claims that OxyContin’s ADF

properties reduced abuse or misuse.

        280.    Despite its own evidence of abuse, and the lack of evidence regarding the benefit

of Purdue’s ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice President of Health

Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s ADF

opioids are being abused in large numbers. Purdue’s recent advertisements in national newspapers

also continues to claim its ADF opioids as evidence of its efforts to reduce opioid abuse, continuing

92
  Meeting Notice, Joint Meeting of the Drug Safety and Risk Management Advisory Committee and the Anesthetic
and Analgesic Drug Products Advisory Committee; Notice of Meeting, May 25, 2015, 80 FR 30686.



                                                   81
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 91 of 324. PageID #: 91




to mislead prescribers, patients, payors, and the public about the efficacy of its actions.

                                       ii.     Endo’s deceptive marketing of reformulated
                                               Opana ER

          281.   As the expiration of its patent exclusivity for Opana ER neared, Endo also made

abuse-deterrence a key to its marketing strategy.93

          282.   Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower “bioavailability” than other opioids, meaning that the active pharmaceutical

ingredient (the “API” or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole, the extended-release mechanism remains

intact, so that only 10% of Opana ER’s API is released into the patient’s bloodstream relative to

injection; when it is taken intranasally, that rate increases to 43%. The larger gap between

bioavailability when consumed orally versus snorting or injection, the greater the incentive for

users to manipulate the drug’s means of administration.

          283.   Endo knew by July 2011 that “some newer statistics around abuse and diversion

are not favorable to our product.”94

          284.   In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

          285.   Even prior to its approval, the FDA had advised Endo that it could not market the

new Opana ER as abuse-deterrent. The FDA found that such promotional claims “may provide a

false sense of security since the product may be chewed and ground for subsequent abuse.” In

other words, Opana ER was still crushable. Indeed, Endo’s own studies dating from 2009 and 2010

showed that Opana ER could be crushed and ground, and, in its correspondence with the FDA,


93
     ENDO-CHI_LIT-00141071.
94
     ENDO-CHI_LIT-00401875.



                                                 82
         Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 92 of 324. PageID #: 92




Endo admitted that “[i]t has not been established that this new formulation of Opana ER is less

subject to misuse, abuse, diversion, overdose, or addiction.”

             286.   Further, a January 4, 2011 FDA Discipline Review letter made clear to Endo that

“[t]he totality of these claims and presentations suggest that, as a result of its new formulation,

Opana ER offers a therapeutic advantage over the original formulation when this has not been

demonstrated by substantial evidence or substantial clinical experience. In addition these claims

misleadingly minimize the risks associated with Opana ER by suggesting that the new

formulation’s “INTAC” technology confers some form of abuse-deterrence properties when this

has not been demonstrated by substantial evidence.”95 The FDA acknowledged that while there is

“evidence to support some limited improvement” provided by the new coating, but it would not

let Endo promote any benefit because “there are several limitations to this data.”96 Also, Endo

was required to add language to its label specifically indicating that “Opana ER tablets may be

abused by crushing, chewing, snorting, or injecting the product. These practices will result in less

controlled delivery of the opioid and pose a significant risk to the abuser that could result in

overdose and death.”97

             287.   The FDA expressed similar concerns in nearly identical language in a May 7, 2012

letter to Endo responding to a February 2, 2012, “request … for comments on a launch Draft

Professional Detail Aid … for Opana ER.” The FDA’s May 2012 letter also includes a full two

pages of comments regarding “Omissions of material facts” that Endo left out of the promotional

materials.

             288.   Endo consciously chose not to do any post-approval studies that might satisfy the


95
     ENDO-CHI_LIT-00075639-45, at 40.
96
     Id., at 1.
97
     Id., at 39.



                                                   83
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 93 of 324. PageID #: 93




FDA. According to internal documents, the company decided, by the time its studies would be

done, generics would be on the market and “any advantages for commercials will have

disappeared.98 However, this lack of evidence did not deter Endo from marketing Opana ER as

ADF while its commercial window remained open.

          289.    Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it was

less able to be crushed and snorted and that it was resistant injection by syringe. Borrowing a page

from Purdue’s playbook, Endo announced it would withdraw original Opana ER from the market

and sought a determination that its decision was made for safety reasons (its lack of abuse-

deterrence), which would prevent generic copies of original Opana ER.

          290.    Endo then sued the FDA, seeking to force expedited consideration of its citizen

petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its

lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the FDA

did not block generic competition, $125 million, which Endo spent on developing the reformulated

drug to “promote the public welfare” would be lost.99 The FDA responded that: “Endo’s true

interest in expedited FDA consideration stems from business concerns rather than protection of

the public health.”100

          291.    Despite Endo’s purported concern with public safety, not only did Endo continue



98
     ENDO CHI LIG 65055-59, at 57.
99
  Plf.’s Opp. to Defs.’ and Intervenor’s Motions to Dismiss and Plf.’s Reply in Supp. of Motion for Prelim. Inj. (“Endo
Br.”), [ECF No. 23] Endo Pharms, Inc. v. U.S. Food and Drug Admin., et al., No. 1:12-cv-01936, at 20 (D.D.C.
Dec.14, 2012).
100
    Defs.’ Resp. to the Court’s Nov. 30, 2012 Order, [ECF No. 9] Endo Pharms., Inc. v. U.S. Food and Drug Admin.,
et al.., No. 1:12-cv-01936, at 6 (D.D.C. Dec. 3, 2012).



                                                         84
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 94 of 324. PageID #: 94




to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

became available, it declined to recall original Opana ER despite its dangers. In fact, Endo claimed

in September 2012 to be “proud” that “almost all remaining inventory” of the original Opana ER

had “been utilized.”101

        292.     In its citizen petition, Endo asserted that redesigned Opana ER had “safety

advantages.” Endo even relied on its rejected assertion that Opana was less crushable to argue that

it developed Opana ER for patient safety reasons and that the new formulation would help, for

example, “where children unintentionally chew the tablets prior to an accidental ingestion.”102

        293.     However, in rejecting the petition in a 2013 decision, the FDA found that “study

data show that the reformulated version’s extended-release features can be compromised when

subjected to ... cutting, grinding, or chewing.” The FDA also determined that “reformulated Opana

ER” could also be “readily prepared for injections and more easily injected[.]” In fact, the FDA

warned that preliminary data—including in Endo’s own studies—suggested that a higher

percentage of reformulated Opana ER abuse is via injection than was the case with the original

formulation.

        294.     Meanwhile, in 2012, an internal memorandum to Endo account executives noted

that abuse of Opana ER had “increased significantly” in the wake of the purportedly abuse-

deterrent formulation. In February 2013, Endo received abuse data regarding Opana ER from

Inflexxion, Inc., which gathers information from substance abusers entering treatment and reviews

abuse-focused internet discussions, that confirmed continued abuse, particularly by injection.




101
    Id.; Endo News Release, (Sept. 6, 2012) [ECF No. 18-4], Endo Pharms., Inc. v. U.S. Food and Drug Admin., et
al., No. 1:12-cv-01936, Doc. 18-4(D.D.C. Dec. 9, 2012).
102
   CP, FDA Docket 2012-8-0895, at 2., https://www.documentcloud.org/documents/2086687-endo-pharmaceuticals-
inc-citizen-petition.html.



                                                     85
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 95 of 324. PageID #: 95




        295.    In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by

injection, compared with 36% for the old formulation.103 The transition into injection of Opana

ER made the drug even less safe than the original formulation. Injection carries risks of HIV,

Hepatitis C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder thrombotic

thrombocytopenic purpura (TTP), which can cause kidney failure.

        296.    Publicly, Endo sought to marginalize the problem. On a 2013 call with investors,

when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo sought to limit

its import by assigning it to “a very, very distinct area of the country.”

        297.    Despite its knowledge that Opana ER was widely abused and injected, Endo

marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief, based on

the company’s detailing elsewhere, Endo sales representatives informed doctors that Opana ER

was abuse-deterrent, could not be tampered with, and was safe. In addition, sales representatives

did not disclose evidence that Opana was easier to abuse intravenously and, if pressed by

prescribers, claimed that while outlier patients might find a way to abuse the drug, most would be

protected.

        298.    A review of national surveys of prescribers regarding their “take-aways” from

pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

advantages of Opana ER, according to participating doctors, was its “low abuse potential.” An



103
    Theresa Cassidy, The Changing Abuse Ecology: Implications for Evaluating the Abuse Pattern of Extended-
Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Pain Week Abstract 2014,
https://www.painweek.org/assets/documents/general/724-painweek2014acceptedabstracts.pdf.



                                                   86
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 96 of 324. PageID #: 96




internal Endo document also notes that market research showed that, “[l]ow abuse potential

continues as the primary factor influencing physicians’ anticipated increase in use of Opana ER

over the next 6 months.”104

          299.    In its written materials, Endo marketed Opana ER as having been designed to be

crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-resistant

and that this crush-resistant quality would make Opana ER less likely to be abused. For example,

a June 14, 2012 Endo press release announced, “the completion of the company’s transition of its

Opana ER franchise to the new formulation designed to be crush resistant.”

          300.    The press release further stated that: “We firmly believe that the new formulation

of Opana ER, coupled with our long-term commitment to awareness and education around

appropriate use of opioids will benefit patients, physicians and payers. The press release described

the old formulation of Opana as subject to abuse and misuse but failed to disclose the absence of

evidence that reformulated Opana was any better. In September 2012, another Endo press release

stressed that reformulated Opana ER employed “INTAC Technology” and continued to describe

the drug as “designed to be crush-resistant.”

          301.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER was

“designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in part on

an Endo press release, described Opana ER as “crush-resistant.” This article was posted on the

Pain Medicine News website, which was accessible to patients and prescribers.

          302.    Endo, upon information and belief, targeted particular geographies for the

redesigned Opana ER where abuse was most rampant.105



104
      ENDO-CHI_LIT-00156509 at 97.
105
      ENDO-CHI_LIT-00054637, at 4.



                                                 87
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 97 of 324. PageID #: 97




           303.    In March 2017, because Opana ER could be “readily prepared for injection” and

was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana

be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017.106 Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.107

However, by this point, the damage had been done. Even then, Endo continued to insist, falsely,

that it “has taken significant steps over the years to combat misuse and abuse.”

                                          iii.    Other Marketing Defendants’ misrepresentations
                                                  regarding abuse deterrence

           304.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide declares that

“unique pharmaceutical formulation of KADIAN may offer some protection from extraction of

morphine sulfate for intravenous use by illicit users,” and “KADIAN may be less likely to be
                                                                                                         108
abused by health care providers and illicit users” because of its “[s]low onset of action.”

Kadian, however, was not approved by the FDA as abuse deterrent, and, upon information and

belief, Actavis had no studies to suggest it was.

           305.    Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

may make it difficult to extract the active ingredient using common forms of physical and chemical

tampering, including chewing, crushing and dissolving.”109 One member of the FDA’s Controlled


106
    Press Release, “FDA Requests Removal of Opana ER for Risks Related to Abuse,” June 8, 2017,
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
107
   Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse (June
8, 2017), https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
108
      ACTAVIS0947868-72, at 68-69.
109
      Mallinckrodt Press Release, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone HCl) Extended-Release


                                                    88
        Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 98 of 324. PageID #: 98




Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse potential

comparable to oxycodone” and further stated that “we predict that Exalgo will have high levels of

abuse and diversion.”110

           306.     With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

“XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

active ingredient from the large quantity of inactive and deterrent ingredients.”111 In anticipation

of Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

CEO Mark Trudeau said the drug could generate “hundreds of millions in revenue.”112

           307.     While Marketing Defendants promote patented technology as the solution to opioid

abuse and addiction, none of their “technology” addresses the most common form of abuse—oral

ingestion—and their statements regarding abuse-deterrent formulations give the misleading

impression that these reformulated opioids can be prescribed safely.

           308.     In sum, each of the nine categories of misrepresentations discussed above regarding

the use of opioids to treat chronic pain was not supported by or was contrary to the scientific

evidence. In addition, the misrepresentations and omissions set forth above and elsewhere in this

Complaint are misleading and contrary to the Marketing Defendants’ products’ labels.

                        2. The Marketing Defendants Disseminated Their Misleading Messages
                           About Opioids Through Multiple Channels

           309.     The Marketing Defendants’ false marketing campaign not only targeted the medical

community who had to treat chronic pain, but also patients who experience chronic pain.


Tablets 32 mg (CII) for Opioid-Tolerant Patients with Moderate-to-Severe Chronic Pain (Aug. 27, 2012),
http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-newsArticle&ID=2004159.
110
      https://www.markey.senate.gov/imo/media/doc/2016-02-19-Markey-ADF-Opioid-timeline.pdf.
111
      Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014).
112
    Samantha Liss, Mallinckrodt Banks on New Painkillers for Sales, St. Louis Bus. J. (Dec. 30, 2013),
http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/.



                                                        89
         Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 99 of 324. PageID #: 99




             310.   The Marketing Defendants utilized various channels to carry out their marketing

scheme of targeting the medical community and patients with deceptive information about opioids:

(1) “Front Groups” with the appearance of independence from the Marketing Defendants; (2)

”KOLs”, that is, doctors who were paid by the Marketing Defendants to promote their pro-opioid

message; (3) CME programs controlled and/or funded by the Marketing Defendants; (4) branded

advertising; (5) unbranded advertising; (6) publications; (7) direct, targeted communications with

prescribers by sales representatives or “detailers”; and (8) speakers bureaus and programs.

                              a.      The Marketing Defendants Directed Front Groups to
                                      Deceptively Promote Opioid Use

             311.   Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to them,

as well as through KOLs who served on their boards. These “Front Groups” put out patient

education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

pain, overstated their benefits, and understated their risks.113 Marketing Defendants funded these

Front Groups in order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages—often at the expense

of their own constituencies.

             312.   “Patient advocacy organizations and professional societies like the Front Groups

‘play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.’”114 “Even small organizations—




113
   U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, (February 12,
2018), https://www.hsdl.org/?view&did=808171 at 3 (“Fueling an Epidemic”), at 3.
114
      Id. at 2.



                                                  90
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 100 of 324. PageID #: 100




with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”115

Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial Ties Between

Opioid Manufacturers and Third Party Advocacy Groups,116 which arose out of a 2017 Senate

investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

manufacturers, “provides the first comprehensive snapshot of the financial connections between

opioid manufacturers and advocacy groups and professional societies operating in the area of

opioids policy,”117 found that the Marketing Defendants gave millions of dollars in contributions

to various Front Groups.118

             313.     The Marketing Defendants also “made substantial payments to individual group

executives, staff members, board members, and advisory board members” affiliated with the Front

Groups subject to the Senate Committee’s study.119

             314.     As the Senate Fueling an Epidemic Report found, the Front Groups “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”120 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians




115
      Id.
116
      Id. at 3.
117
      Id. at 1.
118
      Id. at 3.
119
      Id. at 10.
120
      Id. at 12-15.



                                                    91
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 101 of 324. PageID #: 101




and industry executives responsible for over prescription and misbranding.”121

            315.   The Marketing Defendants took an active role in guiding, reviewing, and approving

many of the false and misleading statements issued by the Front Groups, ensuring that Marketing

Defendants were consistently in control of their content. By funding, directing, editing, approving,

and distributing these materials, Marketing Defendants exercised control over and adopted their

false and deceptive messages and acted in concert with the Front Groups and through the Front

groups, with each other to deceptively promote the use of opioids for the treatment of chronic pain.

                                         i.     American Pain Foundation

            316.   The most prominent of the Front Groups was the American Pain Foundation

(“APF”). While APF held itself out as an independent patient advocacy organization, in reality it

received 90% of its funding in 2010 from the drug and medical-device industry, including from

defendants Purdue, Endo, Janssen and Cephalon. APF received more than $10 million in funding

from opioid manufacturers from 2007 until it closed its doors in May 2012. By 2011, APF was

entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others to

avoid using its line of credit. Endo was APF’s largest donor and provided more than half of its

$10 million in funding from 2007 to 2012.

            317.   For example, APF published a guide sponsored by Cephalon and Purdue titled

Treatment Options: A Guide for People Living with Pain and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use which are discussed below.

            318.   APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

facially unaffiliated website, www.painknowledge.com. NIPC promoted itself as an education


121
      Id. at 12.



                                                  92
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 102 of 324. PageID #: 102




initiative led by its expert leadership team, including purported experts in the pain management

field. NIPC published unaccredited prescriber education programs (accredited programs are

reviewed by a third party and must meet certain requirements of independence from

pharmaceutical companies), including a series of “dinner dialogues.” But it was Endo that

substantially controlled NIPC, by funding NIPC projects, developing, specifying, and reviewing

its content, and distributing NIPC materials. Endo’s control of NIPC was such that Endo listed it

as one of its “professional education initiative[s]” in a plan Endo submitted to the FDA. Yet,

Endo’s involvement in NIPC was nowhere disclosed on the website pages describing NIPC or

www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through NIPC.

       319.    APF was often called upon to provide “patient representatives” for the Marketing

Defendants’ promotional activities, including for Purdue’s “Partners Against Pain” and Janssen’s

“Let’s Talk Pain.” Although APF presented itself as a patient advocacy organization, it functioned

largely as an advocate for the interests of the Marketing Defendants, not patients. As Purdue told

APF in 2001, the basis of a grant to the organization was Purdue’s desire to strategically align its

investments in nonprofit organizations that share [its] business interests.

       320.    In practice, APF operated in close collaboration with Marketing Defendants,

submitting grant proposals seeking to fund activities and publications suggested by Marketing

Defendants and assisting in marketing projects for Marketing Defendants.

       321.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered into

a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave Purdue

substantial rights to control APF’s work related to a specific promotional project. Moreover, based

on the assignment of particular Purdue “contacts” for each project and APF’s periodic reporting




                                                93
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 103 of 324. PageID #: 103




on their progress, the agreement enabled Purdue to be regularly aware of the misrepresentations

APF was disseminating regarding the use of opioids to treat chronic pain in connection with that

project. The agreement gave Purdue—but not APF—the right to end the project (and, thus, APF’s

funding) for any reason. Even for projects not produced during the terms of this Agreement, the

Agreement demonstrates APF’s lack of independence and willingness to harness itself to Purdue’s

control and commercial interests, which would have carried across all of APF’s work.

       322.   APF’s Board of Directors was largely comprised of doctors who were on the

Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The close

relationship between APF and the Marketing Defendants demonstrates APF’s clear lack of

independence, in its finances, management, and mission, and its willingness to allow Marketing

Defendants to control its activities and messages supports an inference that each Marketing

Defendant that worked with it was able to exercise editorial control over its publications—even

when Marketing Defendants’ messages contradicted APF’s internal conclusions. For example, a

roundtable convened by APF and funded by Endo also acknowledged the lack of evidence to

support chronic opioid therapy. APF’s formal summary of the meeting notes concluded that: “[An]

important barrier[] to appropriate opioid management [is] the lack of confirmatory data about the

long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative clinical

evidence.”

       323.   In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted

to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

exist, effective immediately.” Without support from Marketing Defendants, to whom APF could




                                              94
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 104 of 324. PageID #: 104




no longer be helpful, APF was no longer financially viable.

                                            ii.      American Academy of Pain Medicine and the
                                                     American Pain Society

         324.    The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that endorsed

opioids to treat chronic pain and claimed that the risk that patients would become addicted to

opioids was low.122 The Chair of the committee that issued the statement, Dr. J. David Haddox,

was at the time a paid speaker for Purdue. The sole consultant to the committee was Dr. Russell

Portenoy, who was also a spokesperson for Purdue. The consensus statement, which also formed

the foundation of the 1998 Guidelines, was published on the AAPM’s website.

         325.    AAPM’s corporate council includes Purdue, Depomed, Teva and other

pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Dr. Scott Fishman

(“Fishman”) (2005), Dr. Perry G. Fine (“Fine”) (2011) and Dr. Lynn R. Webster (“Webster”)

(2013), all of whose connections to the opioid manufacturers are well-documented as set forth

below.

         326.    Fishman, who also served as a KOL for Marketing Defendants, stated that he would

place the organization “at the forefront” of teaching that “the risks of addiction are . . . small and

can be managed.”123

         327.    AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per


122
   Consensus Statement by the Am. Acad. of Pain Med. & the Am. Pain Soc’y, The Use of Opioids for the Treatment
of Chronic Pain, APS & AAPM (1997), http://www.stgeorgeutah.com/wp-content/uploads/2016/05/OPIOIDES.
DOLORCRONICO.pdf (August 18, 2017).
123
   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief of
the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at http://www.medscape.org/viewarticle/500829.



                                                       95
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 105 of 324. PageID #: 105




year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM’s marquee event – its

annual meeting held in Palm Springs, California, or other resort locations.

        328.   AAPM describes the annual event as an “exclusive venue” for offering CMEs to

doctors. Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Marketing

Defendants Endo, Purdue, and Cephalon were members of the council and presented deceptive

programs to doctors who attended this annual event. The conferences sponsored by AAPM heavily

emphasized CME sessions on opioids – 37 out of roughly 40 at one conference alone.

        329.   AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and regular

funding and the leadership of pro-opioid KOLs within the organization.

        330.   AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”) AAPM,

with the assistance, prompting, involvement, and funding of Marketing Defendants, issued the

treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including KOL

Dr. Fine, received support from Defendants Janssen, Cephalon, Endo, and Purdue. Of these

individuals, six received support from Purdue, eight from Teva, nine from Janssen, and nine from

Endo.

        331.   One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug

companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations and




                                               96
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 106 of 324. PageID #: 106




committee members.

           332.    Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who served on the AAPM/APS Guidelines panel, has since described them

as “skewed” by drug companies and “biased in many important respects,” including the high

presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and claims of

a low risk of addiction.

           333.    The 2009 Guidelines have been a particularly effective channel of deception. They

have influenced not only treating physicians, but also the scientific literature on opioids; they were

reprinted in the Journal of Pain, have been cited hundreds of times in academic literature, were

disseminated during the relevant time period, and were and are available online. Treatment

guidelines are especially influential with primary care physicians and family doctors to whom

Marketing Defendants promoted opioids, whose lack of specialized training in pain management

and opioids makes them more reliant on, and less able to evaluate, these guidelines. For that reason,

the CDC has recognized that treatment guidelines can “change prescribing practices.”124

           334.    The 2009 Guidelines are relied upon by doctors, especially general practitioners

and family doctors who have no specific training in treating chronic pain.

           335.    The Marketing Defendants widely cited and promoted the 2009 Guidelines without

disclosing the lack of evidence to support their conclusions, their involvement in the development

of the Guidelines or their financial backing of the authors of these Guidelines. For example, a

speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the Management

of Moderate to Severe Chronic Pain relies on the AAPM/APS Guidelines while omitting their

disclaimer regarding the lack of evidence for recommending the use of opioids for chronic pain.


124
      2016 CDC Guideline at 2.



                                                  97
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 107 of 324. PageID #: 107




                                      iii.    FSMB

       336.    The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that comprise

the FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians.

       337.    The FSMB finances opioid- and pain-specific programs through grants from

Marketing Defendants.

       338.    Since 1998, the FSMB has been developing treatment guidelines for the use of

opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

author taught not that opioids could be appropriate in only limited cases after other treatments had

failed, but that opioids were “essential” for treatment of chronic pain, including as a first

prescription option.

       339.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

online and were available to and intended to reach physicians nationwide, including in Plaintiff’s

Community.

       340.    FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo and Cephalon. The publication also received support

from the American Pain Foundation and the American Academy of Pain Medicine. The

publication was written by Dr. Fishman, and Dr. Fine served on the Board of Advisors. In all,

163,131 copies of Responsible Opioid Prescribing were distributed by state medical boards (and

through the boards, to practicing doctors). The FSMB website describes the book as “the leading


                                                98
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 108 of 324. PageID #: 108




continuing medical education (CME) activity for prescribers of opioid medications.” This

publication asserted that opioid therapy to relieve pain and improve function is a legitimate

medical practice for acute and chronic pain of both cancer and non-cancer origins; that pain is

under-treated, and that patients should not be denied opioid medications except in light of clear

evidence that such medications are harmful to the patient.125

           341.     The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

message that “under-treatment of pain” would result in official discipline, but no discipline would

result if opioids were prescribed as part of an ongoing patient relationship and prescription

decisions were documented. FSMB turned doctors’ fear of discipline on its head: doctors, who

used to believe that they would be disciplined if their patients became addicted to opioids, were

taught instead that they would be punished if they failed to prescribe opioids to their patients with

chronic pain.

                                             iv.      The Alliance for Patient Access

           342.     Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

patient advocacy and health professional organization that styles itself as “a national network of

physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

care.”126 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

2006.127 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The

list includes Johnson & Johnson, Endo, Mallinckrodt, Purdue and Cephalon.


125
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9 (Waterford Life Sciences 2007).
126
   About AfPA, The Alliance for Patient Access, http://allianceforpatientaccess.org/about-afpa (last visited Apr. 25,
2018). References herein to APA include two affiliated groups: the Global Alliance for Patient Access and the Institute
for Patient Access.
127
   Mary Chris Jaklevic, Alliance for Patient Access Uses Journalists and Politicians to Push Big Pharma’s Agenda,
Health News Review (Oct. 2, 2017), https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-
uses-journalists-politicians-push-big-pharmas-agenda/ (hereinafter “Jaklevic, Non-Profit Alliance for Patient
Access”).



                                                         99
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 109 of 324. PageID #: 109




         343.    APA’s board members have also directly received substantial funding from

pharmaceutical companies.128 For instance, board vice president Dr. Srinivas Nalamachu

(“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015

from pharmaceutical companies—nearly all of it from manufacturers of opioids or drugs that treat

opioids’ side effects, including from Defendants Endo, Insys, Purdue and Cephalon. Nalamachu’s

clinic was raided by FBI agents in connection with an investigation of Insys and its payment of

kickbacks to physicians who prescribed Subsys.129 Other board members include Dr. Robert A.

Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

pharmaceutical companies, including payments by Defendants Cephalon and Mallinckrodt; Dr.

Jack D. Schim from California, who received more than $240,000 between 2013 and 2015 from

pharmaceutical companies, including Defendants Endo, Mallinckrodt and Cephalon; Dr. Howard

Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from pharmaceutical

companies, including Defendants Endo, Purdue, Insys, Mallinckrodt and Cephalon; and Dr. Robin

K. Dore from California, who received $700,000 between 2013 and 2015 from pharmaceutical

companies.

         344.    Among its activities, APA issued a “white paper” titled “Prescription Pain

Medication: Preserving Patient Access While Curbing Abuse.”130 Among other things, the white

paper criticizes prescription monitoring programs, purporting to express concern that they are

burdensome, not user friendly, and of questionable efficacy:

         Prescription monitoring programs that are difficult to use and cumbersome can

  All information concerning pharmaceutical company payments to doctors in this paragraph is from ProPublica’s
128

Dollars for Docs database, https://projects.propublica.org/docdollars/.
129
   Andy Marso, FBI Seizes Records of Overland Park Pain Doctor Tied to Insys, Kansas City Star (July 20, 2017),
http://www.kansascity.com/news/business/health-care/article162569383.html.
130
  Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for Patient Access (Dec.
2013),    http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-content/uploads/2013/12/PT_White-
Paper_Finala.pdf.



                                                      100
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 110 of 324. PageID #: 110




            place substantial burdens on physicians and their staff, ultimately leading many to
            stop prescribing pain medications altogether. This forces patients to seek pain relief
            medications elsewhere, which may be much less convenient and familiar and may
            even be dangerous or illegal.

                                              *       *       *

            In some states, physicians who fail to consult prescription monitoring databases
            before prescribing pain medications for their patients are subject to fines; those who
            repeatedly fail to consult the databases face loss of their professional licensure.
            Such penalties seem excessive and may inadvertently target older physicians in
            rural areas who may not be facile with computers and may not have the requisite
            office staff. Moreover, threatening and fining physicians in an attempt to induce
            compliance with prescription monitoring programs represents a system based on
            punishment as opposed to incentives. . . .

            We cannot merely assume that these programs will reduce prescription pain
            medication use and abuse.131

            345.    The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:

            Although well intentioned, many of the policies designed to address this problem
            have made it difficult for legitimate pain management centers to operate. For
            instance, in some states, [pain management centers] must be owned by physicians
            or professional corporations, must have a Board certified medical director, may
            need to pay for annual inspections, and are subject to increased record keeping and
            reporting requirements. . . . [I]t is not even certain that the regulations are helping
            prevent abuses.132

            346.    In addition, in an echo of earlier industry efforts to push back against what they

termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

pain medication:

            Both pain patients and physicians can face negative perceptions and outright
            stigma. When patients with chronic pain can’t get their prescriptions for pain
            medication filled at a pharmacy, they may feel like they are doing something wrong
            – or even criminal. . . . Physicians can face similar stigma from peers.
            Physicians in non-pain specialty areas often look down on those who specialize in
            pain management – a situation fueled by the numerous regulations and fines that

131
      Id. at 4-5.
132
      Id. at 5-6.



                                                     101
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 111 of 324. PageID #: 111




             surround prescription pain medications.133

             347.    In conclusion, the white paper states that “[p]rescription pain medications, and

specifically the opioids, can provide substantial relief for people who are recovering from surgery,

afflicted by chronic painful diseases, or experiencing pain associated with other conditions that

does not adequately respond to over-the-counter drugs.”134

             348.    The APA also issues “Patient Access Champion” financial awards to members of

Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

from unnamed donors. While the awards are ostensibly given for protecting patients’ access to

Medicare and are thus touted by their recipients as demonstrating a commitment to protecting the

rights of senior citizens and the middle class, they appear to be given to provide cover to and

reward members of Congress who have supported the APA’s agenda.135

             349.    The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing the

“suspicious orders” provision of the Comprehensive Drug Abuse Prevention and Control Act of

1970, 21 U.S.C. § 801 et seq. (“CSA” or “Controlled Substances Act”). The AAPM is also a

signatory to this letter. An internal U.S. Department of Justice (“DOJ”) memo stated that the

proposed bill “‘could actually result in increased diversion, abuse, and public health and safety

consequences’”136 and, according to DEA chief administrative law judge John J. Mulrooney

(“Mulrooney”), the law would make it “all but logically impossible” to prosecute manufacturers



133
      Id. at 6.
134
      Id. at 7.
135
      Jaklevic, Non-profit Alliance for Patient Access, supra.
136
   Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS News (Oct. 17, 2017),
https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-drug-industry-and-congress/ (hereinafter,
“Whitaker, Opioid Crisis Fueled by Drug Industry”).



                                                           102
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 112 of 324. PageID #: 112




and distributors, like the defendants here, in the federal courts.137 The bill passed both houses of

Congress and was signed into law in 2016.

                                             v.       The U.S. Pain Foundation (“USPF”)

           350.     The USPF was another Front Group with systematic connections and interpersonal

relationships with the Marketing Defendants. The USPF was one of the largest recipients of

contributions from the Marketing Defendants, collecting nearly $3 million in payments between

2012 and 2015 alone.138 The USPF was also a critical component of the Marketing Defendants’

lobbying efforts to reduce the limits on over-prescription. The U.S. Pain Foundation advertises its

ties to the Marketing Defendants, listing opioid manufacturers like Pfizer, Teva, Depomed, Endo,

Purdue, McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate

members.139         Industry Front Groups like the American Academy of Pain Management, the

American Academy of Pain Medicine, the American Pain Society, and PhRMA are also members

of varying levels in the USPF.

                                             vi.      American Geriatrics Society (“AGS”)

           351.     The AGS was another Front Group with systematic connections and interpersonal

relationships with the Marketing Defendants. The AGS was a large recipient of contributions from

the Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with Purdue,

Endo and Janssen to disseminate guidelines regarding the use of opioids for chronic pain in 2002

(The Management of Persistent Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and




137
  John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion Law: Hidden Rocks in
Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. 15 (2017).
138
      Fueling an Epidemic, supra.
139
  Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/ (last visited on March 9,
2018).



                                                        103
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 113 of 324. PageID #: 113




2009 (Pharmacological Management of Persistent Pain in Older Persons,140 hereinafter “2009

AGS Guidelines”). According to news reports, AGS has received at least $344,000 in funding

from opioid manufacturers since 2009.141          AGS’s complicity in the common purpose with the

Marketing Defendants is evidenced by the fact that AGS internal discussions in August 2009

reveal that it did not want to receive-up front funding from drug companies, which would suggest

drug company influence, but would instead accept commercial support to disseminate pro-opioid

publications.

           352.    The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

severe pain . . . should be considered for opioid therapy.” The panel made “strong

recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse.142 These Guidelines

further recommended that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse.” These recommendations are not supported by any study

or other reliable scientific evidence. Nevertheless, they have been cited as many as 1,833 times in

Google Scholar (which allows users to search scholarly publications that would be have been relied

on by researchers and prescribers) since their 2009 publication and as recently as this year.

           353.    Representatives of the Marketing Defendants, often at informal meetings at

conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS then

submitted grant proposals seeking to fund these activities and publications, knowing that drug



140
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf (last visited
Apr.25, 2018)
  John Fauber & Ellen Gabler, “Narcotic Painkiller Use Booming Among Elderly,” Milwaukee J. Sentinel, May 30,
141

2012, https://medpagetoday.com/geriatrics/painmanagement/32967.
142
      2009 AGS Guidelines at 1342.



                                                    104
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 114 of 324. PageID #: 114




companies would support projects conceived as a result of these communications.

       354.    Members of AGS Board of Directors were doctors who were on the Marketing

Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

many of the KOLs also served in leadership positions within the AGS.

                          b.     The Marketing Defendants Paid Key Opinion Leaders to
                                 Deceptively Promote Opioid Use

       355.    To falsely promote their opioids, the Marketing Defendants paid and cultivated a

select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

supportive messages. As set forth below, pro-opioid doctors have been at the hub of the Marketing

Defendants’ well-funded, pervasive marketing scheme since its inception and were used to create

the grave misperception that science and respected medical professionals favored the broader use

of opioids. These doctors include Dr. Russell Portenoy, Dr. Lynn Webster, Dr. Perry Fine, and Dr.

Scott Fishman, as set forth below.

       356.    Although these KOLs were funded by the Marketing Defendants, the KOLs were

used extensively to present the appearance that unbiased and reliable medical research supporting

the broad use of opioid therapy for chronic pain had been conducted and was being reported on by

independent medical professionals.

       357.    As the Marketing Defendants’ false marketing scheme picked up steam, these pro-

opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and gave

speeches and CMEs supportive of opioid therapy for chronic pain. They served on committees that

developed treatment guidelines that strongly encouraged the use of opioids to treat chronic pain

and they were placed on boards of pro-opioid advocacy groups and professional societies that

develop, select, and present CMEs.

       358.    Through use of their KOLs and strategic placement of these KOLs throughout



                                              105
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 115 of 324. PageID #: 115




every critical distribution channel of information within the medical community, the Marketing

Defendants were able to exert control of each of these modalities through which doctors receive

their information.

       359.    In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs received

money, prestige, recognition, research funding, and avenues to publish. For example, Dr. Webster

has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received funding from

Janssen, Cephalon, Endo, and Purdue.

       360.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

likely to remain on-message and supportive of the Marketing Defendants’ agenda. The Marketing

Defendants also kept close tabs on the content of the materials published by these KOLs. And, of

course, the Marketing Defendants kept these KOLs well-funded to enable them to push the

Marketing Defendants’ deceptive message out to the medical community.

       361.    Once the Marketing Defendants identified and funded KOLs and those KOLs began

to publish “scientific” papers supporting the Marketing Defendants’ false position that opioids

were safe and effective for treatment of chronic pain, the Marketing Defendants poured significant

funds and resources into a marketing machine that widely cited and promoted their KOLs and

studies or articles by their KOLs to drive prescription of opioids for chronic pain. The Marketing

Defendants cited to, distributed, and marketed these studies and articles by their KOLs as if they

were independent medical literature so that it would be well-received by the medical community.

By contrast, the Marketing Defendants did not support, acknowledge, or disseminate the truly

independent publications of doctors critical of the use of chronic opioid therapy.

       362.    In their promotion of the use of opioids to treat chronic pain, the Marketing

Defendants’ KOLs knew that their statements were false and misleading, or they recklessly




                                               106
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 116 of 324. PageID #: 116




disregarded the truth in doing so, but they continued to publish their misstatements to benefit

themselves and the Marketing Defendants.

                                           i.      Dr. Russell Portenoy

         363.    In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

time serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy.”143

         364.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-term use of opioids:

         The traditional approach to chronic non-malignant pain does not accept the long-
         term administration of opioid drugs. This perspective has been justified by the
         perceived likelihood of tolerance, which would attenuate any beneficial effects over
         time, and the potential for side effects, worsening disability, and addiction.
         According to conventional thinking, the initial response to an opioid drug may
         appear favorable, with partial analgesia and salutary mood changes, but adverse
         effects inevitably occur thereafter. It is assumed that the motivation to improve
         function will cease as mental clouding occurs and the belief takes hold that the drug
         can, by itself, return the patient to a normal life. Serious management problems are
         anticipated, including difficulty in discontinuing a problematic therapy and the
         development of drug seeking behavior induced by the desire to maintain analgesic
         effects, avoid withdrawal, and perpetuate reinforcing psychic effects. There is an
         implicit assumption that little separates these outcomes from the highly aberrant
         behaviors associated with addiction.144

According to Dr. Portenoy, the foregoing problems could constitute “compelling reasons to reject

long-term opioid administration as a therapeutic strategy in all but the most desperate cases of




143
  R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 cases, 25(2) Pain
171 (1986).
144
  Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain Res. &
Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis added).



                                                     107
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 117 of 324. PageID #: 117




chronic nonmalignant pain.”145

            365.    Despite having taken this position on long-term opioid treatment, Dr. Portenoy

ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

use of prescription opioids and minimizing their risks. A respected leader in the field of pain

treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians for

Responsible Opioid Prescribing, described him “lecturing around the country as a religious-like

figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him speak.

It was a compelling message: ‘Docs have been letting patients suffer; nobody really gets addicted;

it’s been studied.’”146

            366.    As one organizer of CME seminars who worked with Portenoy and Purdue pointed

out, “had Portenoy not had Purdue’s money behind him, he would have published some papers,

made some speeches, and his influence would have been minor. With Purdue’s millions behind

him, his message, which dovetailed with their marketing plans, was hugely magnified.”147

            367.    Dr. Portenoy was also a critical component of the Marketing Defendants’ control

over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the APF. He

was also the President of the APS.

            368.    In recent years, some of the Marketing Defendants’ KOLs have conceded that many

of their past claims in support of opioid use lacked evidence or support in the scientific literature.148

Dr. Portenoy has now admitted that he minimized the risks of opioids, and that he “gave



145
      Id.
146
      Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury Press 2015).
147
      Id. at 136.
148
     See, e.g., John Fauber, Painkiller Boom Fueled by Networking, Journal Sentinel (Feb. 18, 2012),
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html/ (reporting that a key Endo KOL acknowledged that opioid marketing went too far).



                                                      108
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 118 of 324. PageID #: 118




innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.”149 He mused,

“Did I teach about pain management, specifically about opioid therapy, in a way that reflects

misinformation? Well, against the standards of 2012, I guess I did . . .”150

            369.    In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and left

real evidence behind:

            I gave so many lectures to primary care audiences in which the Porter and Jick
            article was just one piece of data that I would then cite, and I would cite six, seven,
            maybe ten different avenues of thought or avenues of evidence, none of which
            represented real evidence, and yet what I was trying to do was to create a narrative
            so that the primary care audience would look at this information in [total] and feel
            more comfortable about opioids in a way they hadn’t before. In essence this was
            education to destigmatize [opioids], and because the primary goal was to
            destigmatize, we often left evidence behind.151

            370.    Several years earlier, when interviewed by journalist Barry Meier for his 2003

book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to have

always to live with that one.”152

                                           ii.     Dr. Lynn Webster

            371.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was President

in 2013 and is a current board member of AAPM, a Front Group that ardently supports chronic



149
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street Journal Street Journal
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604. (Last updated Dec. 17, 2012
11:36 AM).
150
      Id.
151
    Harrison Jacobs, This 1-Paragraph Letter May Have Launched the Opioid Epidemic, AOL (May 26, 2016),
https://www.aol.com/article/2016/05/26/letter-may-have-launched-opioid-epidemic/21384408/; Andrew Kolodny,
Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30, 2011), https://www.youtube.com/
watch?v=DgyuBWN9D4w&feature=youtu.be.
152
      Meier, supra, at 277.



                                                     109
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 119 of 324. PageID #: 119




opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published Endo’s

special advertising supplements touting Opana ER. Dr. Webster was the author of numerous CMEs

sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving

significant funding from Defendants (including nearly $2 million from Cephalon).

       372.    Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage the

risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool (“ORT”) appear on, or are linked to,

websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via

webinar, a program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the

Need and the Risk. Dr. Webster recommended use of risk screening tools, urine testing, and patient

agreements to prevent “overuse of prescriptions” and “overdose deaths.” This webinar was

available to and was intended to reach doctors in Plaintiff’s Community.

       373.    Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from

overdoses. In keeping with the Marketing Defendants’ promotional messages, Dr. Webster

apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids: he

prescribed staggering quantities of pills.

       374.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

sponsored a presentation by Webster and others titled, “Open-label study of fentanyl effervescent

buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results.” The




                                                110
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 120 of 324. PageID #: 120




presentation’s agenda description states: “Most patients with chronic pain experience episodes of

breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment.” The

presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal tablets

in the chronic pain setting and promises to show the “[i]nterim results of this study suggest that

FEBT is safe and well-tolerated in patients with chronic pain and BTP.” This CME effectively

amounted to off-label promotion of Cephalon’s opioids – the only drugs in this category – for

chronic pain, even though they were approved only for cancer pain.

         375.    Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid Treatment

for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007 through December

15, 2008. The CME taught that non-opioid analgesics and combination opioids containing non-

opioids such as aspirin and acetaminophen are less effective at treating breakthrough pain because

of dose limitations on the non-opioid component.

                                           iii.     Dr. Perry Fine

         376.    Dr. Perry Fine’s ties to the Marketing Defendants have been well documented. He

has authored articles and testified in court cases and before state and federal committees, and he,

too, has argued against legislation restricting high-dose opioid prescription for non-cancer patients.

He has served on Purdue’s advisory board, provided medical legal consulting for Janssen, and

participated in CME activities for Endo, along with serving in these capacities for several other

drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as treasurer of the

AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and was also on the

board of directors of APF.153



153
   Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion,
306 (13) JAMA 1445 (Sept. 20, 2011), https://jamanetwork.com/journals/jama/article-abstract/1104464?redirect=true
(hereinafter, “Fishman”).



                                                      111
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 121 of 324. PageID #: 121




         377.    Multiple videos feature Fine delivering educational talks about prescription

opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

Smith for pain did not make her an addict before her death.

         378.    He has also acknowledged having failed to disclose numerous conflicts of interest.

For example, Dr. Fine failed to fully disclose payments received as required by his employer, the

University of Utah—telling the university that he had received under $5,000 in 2010 from Johnson

& Johnson for providing “educational” services, but Johnson & Johnson’s website states that the

company paid him $32,017 for consulting, promotional talks, meals and travel that year.154

         379.    Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in which

they downplayed the risks of opioid treatment, such as respiratory depression and addiction:

         At clinically appropriate doses, . . . respiratory rate typically does not decline.
         Tolerance to the respiratory effects usually develops quickly, and doses can be
         steadily increased without risk.

         Overall, the literature provides evidence that the outcomes of drug abuse and
         addiction are rare among patients who receive opioids for a short period (i.e., for
         acute pain) and among those with no history of abuse who receive long-term
         therapy for medical indications.155
         380. In November 2010, Dr. Fine and others published an article presenting the results

of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl

Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

Pain: An 18-Month Study.”156 In that article, Dr. Fine explained that the 18-month “open-label”

study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP


154
   Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry, ProPublica
(Dec. 23,2011, 9:14 AM), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-
industry (hereinafter, “Weber”).
155
  Perry G. Fine, MD & Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20 and 34, McGraw-Hill
Companies (2004), at 20, 34. http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
156
   Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the Treatment of
Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month Study, 40(5) J. Pain & Symptom
Mgmt. 747-60 (Nov. 2010).



                                                      112
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 122 of 324. PageID #: 122




in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for

noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady increase in the use

of opioids for the management of chronic noncancer pain over the past two decades”; (b) the

“widespread acceptance” had led to the publishing of practice guidelines “to provide evidence-

and consensus-based recommendations for the optimal use of opioids in the management of

chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and harms of

opioid therapy for chronic pain.”157

            381.    The article concluded: “[T]he safety and tolerability profile of FBT in this study

was generally typical of a potent opioid. The [adverse events] observed were, in most cases,

predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

events was “small.”158

            382.    Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic

Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only for

cancer patients, but for non-cancer patients, and suggests it may take four or five switches over a

person’s “lifetime” to manage pain.159 He states the “goal is to improve effectiveness which is

different from efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a balance

of therapeutic good and adverse events over the course of years.” The entire program assumes that

opioids are appropriate treatment over a “protracted period of time” and even over a patient’s entire

“lifetime.” He even suggests that opioids can be used to treat sleep apnea. He further states that

the associated risks of addiction and abuse can be managed by doctors and evaluated with “tools,”


157
      Id. at 748.
158
      Id. at 759.
159
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012), https://www.youtube.com/
watch?v=_G3II9yqgXI.



                                                   113
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 123 of 324. PageID #: 123




but leaves that for “a whole other lecture.”160

                                           iv.      Dr. Scott Fishman

            383.   Dr. Scott Fishman is a physician whose ties to the opioid drug industry are legion.

He has served as an APF board member and as president of the AAPM, and has participated yearly

in numerous CME activities for which he received “market rate honoraria.” As discussed below,

he has authored publications, including the seminal guides on opioid prescribing, which were

funded by the Marketing Defendants. He has also worked to oppose legislation requiring doctors

and others to consult pain specialists before prescribing high doses of opioids to non-cancer

patients. He has himself acknowledged his failure to disclose all potential conflicts of interest in a

letter in the Journal of the American Medical Association titled “Incomplete Financial Disclosures

in a Letter on Reducing Opioid Abuse and Diversion.”161

            384.   Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic pain

titled “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term opioid

treatment was a viable and safe option for treating chronic pain.

            385.   In 2012, Dr. Fishman updated the guide and continued emphasizing the

“catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

            Given the magnitude of the problems related to opioid analgesics, it can be tempting
            to resort to draconian solutions: clinicians may simply stop prescribing opioids, or
            legislation intended to improve pharmacovigilance may inadvertently curtail
            patient access to care. As we work to reduce diversion and misuse of prescription
            opioids, it’s critical to remember that the problem of unrelieved pain remains as
            urgent as ever.162

160
      Id.
161
   Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion, 306(13)
JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug
Industry, ProPublica (Dec. 23, 2011, 2:14 PM), https://www.propublica.org/article/two-leaders-in-pain-treatment-
have-long-ties-to-drug-industry.
162
   Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11 (Waterford Life
Sciences 2d ed. 2012).



                                                      114
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 124 of 324. PageID #: 124




            386.   The updated guide still assures that “[o]pioid therapy to relieve pain and improve

function is legitimate medical practice for acute and chronic pain of both cancer and noncancer

origins.”163

            387.   In another guide by Dr. Fishman, he continues to downplay the risk of addiction:

“I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction between a

‘chemical coper’ and an addict.”164 The guide also continues to present symptoms of addiction as

symptoms of “pseudoaddiction.”

                              c.     The   Marketing      Defendants   Disseminated    Their
                                     Misrepresentations Through Continuing Medical Education
                                     Programs

            388.   Now that the Marketing Defendants had both a group of physician promoters and

had built a false body of “literature,” Marketing Defendants needed to make sure their false

marketing message was widely distributed.

            389.   One way the Marketing Defendants aggressively distributed their false message

was through thousands of Continuing Medical Education courses (“CMEs”).

            390.   A CME is a professional education program provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, and online, or through written publications. Doctors rely on CMEs not

only to satisfy licensing requirements, but also to get information on new developments in

medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are




163
      Id.
  Scott M. Fishman, Listening to Pain: A Clinician’s Guide to Improving Pain Management Through Better
164

Communication 45 (Oxford University Press 2012).



                                                  115
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 125 of 324. PageID #: 125




taught by KOLs who are highly respected in their fields, and are thought to reflect these physicians’

medical expertise, they can be especially influential with doctors.

          391.    The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Marketing Defendants aimed to reach general practitioners, whose broad area of practice

and lack of expertise and specialized training in pain management made them particularly

dependent upon CMEs and, as a result, especially susceptible to the Marketing Defendants’

deceptions.

          392.    The Marketing Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled to relate

to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments, inflate

the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

          393.    Cephalon sponsored numerous CME programs, which were made widely available

through organizations like Medscape, LLC (“Medscape”) and which disseminated false and

misleading information to physicians across the country.

          394.    Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

Treatment Rationale with Opioids was available on Medscape starting September 16, 2003 and

was given by a self-professed pain management doctor who “previously operated back, complex

pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a non-

time-dependent continuum that requires a balanced analgesia approach using “targeted

pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”165 The doctor lists



165
      Daniel S. Bennett, Breakthrough Pain: Treatment Rationale with Opioids, Medscape, (Sept 16, 2003),


                                                   116
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 126 of 324. PageID #: 126




fentanyl as one of the most effective opioids available for treating breakthrough pain, describing

its use as an expected and normal part of the pain management process. Nowhere in the CME is

cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be limited

to cancer-related pain.

           395.     Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or

noncancer-related has limited utility” and recommended Actiq and Fentora for patients with

chronic pain. The CME is still available online.

           396.     Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

FSMB website described it as the “leading continuing medical education (CME) activity for

prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

Opioid Prescribing with a special introductory letter from Dr. Scott Fishman.

           397.     In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.

           398.     The American Medical Association (“AMA”) recognized the impropriety that

pharmaceutical company-funded CMEs creates; stating that support from drug companies with a

financial interest in the content being promoted “creates conditions in which external interests

could influence the availability and/or content” of the programs and urges that “[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter.”166




http://www.medscape.org/viewarticle/461612.
166
      Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov. 2011), at 1.



                                                        117
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 127 of 324. PageID #: 127




         399.    Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

during the relevant time period and were misled by them.

         400.    By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Marketing Defendants could expect instructors to deliver messages favorable to them,

as these organizations were dependent on the Marketing Defendants for other projects. The

sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs had a direct

and immediate effect on prescribers’ views on opioids. Producers of CMEs and the Marketing

Defendants both measure the effects of CMEs on prescribers’ views on opioids and their

absorption of specific messages, confirming the strategic marketing purpose in supporting them.

                              d.       The Marketing Defendants Used “Branded” Advertising to
                                       Promote Their Products to Doctors and Consumers

         401.    The Marketing Defendants engaged in widespread advertising campaigns touting

the benefits of their branded drugs. The Marketing Defendants published print advertisements in

a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal

of the American Medical Association. The Marketing Defendants collectively spent more than $14

million on the medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.

         402.    The Marketing Defendants also targeted consumers in their advertising. They knew

that physicians are more likely to prescribe a drug if a patient specifically requests it.167 They also

knew that this willingness to acquiesce to such patient requests holds true even for opioids and for


167
   In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a prescription for it,
compared with 1% of those making no specific request. J.B. McKinlay et al., Effects of Patient Medication Requests
on Physician Prescribing Behavior, Results of a Factorial Experiment, 52(2) Med. Care 294 -99 (April 2014).



                                                      118
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 128 of 324. PageID #: 128




conditions for which they are not approved.168 Endo’s research, for example, also found that such

communications resulted in greater patient “brand loyalty,” with longer durations of Opana ER

therapy and fewer discontinuations. The Marketing Defendants thus increasingly took their opioid

sales campaigns directly to consumers, including through patient-focused “education and support”

materials in the form of pamphlets, videos, or other publications that patients could view in their

physician’s office.

                             e.     The Marketing Defendants Used “Unbranded” Advertising
                                    To Promote Opioid Use For Chronic Pain Without FDA
                                    Review

            403.   The Marketing Defendants also aggressively promoted opioids through “unbranded

advertising” to generally tout the benefits of opioids without specifically naming a particular

brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

without promoting a specific product and, therefore, without providing balanced disclosures about

the product’s limits and risks. In contrast, a pharmaceutical company’s “branded” advertisement

that identifies a specific medication and its indication (i.e., the condition which the drug is

approved to treat) must also include possible side effects and contraindications—what the FDA

Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is also

subject to FDA review for consistency with the drug’s FDA-approved label. Through unbranded

materials, the Marketing Defendants expanded the overall acceptance of and demand for chronic

opioid therapy without the restrictions imposed by regulations on branded advertising.

            404.   Many of the Marketing Defendants utilized unbranded websites to promote opioid

use without promoting a specific branded drug, such as Purdue’s pain-management website,


168
      Id.



                                                 119
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 129 of 324. PageID #: 129




www.inthefaceofpain.com. The website contained testimonials from several dozen “advocates,”

including health care providers, urging more pain treatment. The website presented the advocates

as neutral and unbiased, but an investigation by the New York Attorney General later revealed that

Purdue paid the advocates hundreds of thousands of dollars.

                           f.     The Marketing Defendants Funded, Edited And Distributed
                                  Publications That Supported Their Misrepresentations

       405.    The Marketing Defendants created a body of false, misleading, and unsupported

medical and popular literature about opioids that (a) understated the risks and overstated the

benefits of long-term use; (b) appeared to be the result of independent, objective research; and (c)

was likely to shape the perceptions of prescribers, patients, and payors. This literature served

marketing goals, rather than scientific standards, and was intended to persuade doctors and

consumers that the benefits of long-term opioid use outweighed the risks.

       406.    To accomplish their goal, the Marketing Defendants—sometimes through third-

party consultants and/or Front Groups—commissioned, edited, and arranged for the placement of

favorable articles in academic journals.

       407.    The Marketing Defendants’ plans for these materials did not originate in the

departments with the organizations that were responsible for research, development, or any other

area that would have specialized knowledge about the drugs and their effects on patients; rather,

they originated in the Marketing Defendants’ marketing departments.

       408.    The Marketing Defendants made sure that favorable articles were disseminated and

cited widely in the medical literature, even when the Marketing Defendants knew that the articles

distorted the significance or meaning of the underlying study, as with the Porter & Jick letter. The

Marketing Defendants also frequently relied on unpublished data or posters, neither of which are

subject to peer review, but were presented as valid scientific evidence.



                                                120
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 130 of 324. PageID #: 130




            409.   The Marketing Defendants published or commissioned deceptive review articles,

letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

suppressing negative information that contradicted their claims or raised concerns about chronic

opioid therapy.

            410.   For example, in 2007 Cephalon sponsored the publication of an article titled

“Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain: Patient

Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”169 published in the

nationally circulated journal Pain Medicine, to support its effort to expand the use of its branded

fentanyl products. The article’s authors (including Dr. Lynn Webster, discussed above) stated that

the “OTFC [fentanyl] has been shown to relieve BTP more rapidly than conventional oral, normal-

release, or ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a qualitative

evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.” The number-

one-diagnosed cause of chronic pain in the patients studied was back pain (44%), followed by

musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and recommends

fentanyl for non-cancer BTP patients:

            In summary, BTP appears to be a clinically important condition in patients with
            chronic noncancer pain and is associated with an adverse impact on QoL. This
            qualitative study on the negative impact of BTP and the potential benefits of BTP-
            specific therapy suggests several domains that may be helpful in developing BTP-
            specific, QoL assessment tools.170

                              g.      The Marketing Defendants Used Detailing To Directly
                                      Disseminate Their Misrepresentations To Prescribers

            411.   The Marketing Defendants’ sales representatives executed carefully crafted


169
   Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With Chronic, Noncancer
Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal Fentanyl Citrate (OTFC, ACTIQ), 8(3)
Pain Med. 281-88 (Mar. 2007).
170
      Id.



                                                     121
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 131 of 324. PageID #: 131




marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

doctors with centrally orchestrated messages. The Marketing Defendants’ sales representatives

also distributed third-party marketing material to their target audience that was deceptive.

       412.    Each Marketing Defendant promoted opioids through sales representatives (also

called “detailers”) and, upon information and belief, small group speaker programs to reach out to

individual prescribers. By establishing close relationships with doctors, the Marketing Defendants

were able to disseminate their misrepresentations in targeted, one-on-one settings that allowed

them to promote their opioids and to allay individual prescribers’ concerns about prescribing

opioids for chronic pain.

       413.    In accordance with common industry practice, the Marketing Defendants purchase

and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare data

collection, management and analytics corporation. This data allows them to track precisely the

rates of initial and renewal prescribing by individual doctors, which allows them to target and tailor

their appeals. Sales representatives visited hundreds of thousands of doctors and disseminated the

misinformation and materials described above.

       414.    Marketing Defendants devoted and continue to devote massive resources to direct

sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on detailing

branded opioids to doctors. This amount is twice as much as Marketing Defendants spent on

detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by Janssen, $13

million by Teva, and $10 million by Endo.

       415.    Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:




                                                 122
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 132 of 324. PageID #: 132




       416.    Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than $38

million for the year in 2007) and more than $8 million coinciding with the launch of a reformulated

version in 2012 (and nearly $34 million for the year):




                                               123
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 133 of 324. PageID #: 133




       417.   Janssen’s quarterly spending dramatically rose from less than $5 million in 2000 to

more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly spending

at $142 million for 2011), as shown below:




                                              124
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 134 of 324. PageID #: 134




       418.    Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue came

under investigation by the Department of Justice, but then spiked to above $25 million in 2011

(for a total of $110 million that year), and continues to rise, as shown below:




       419.    For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

patients and by oncologists and pain management doctors experienced in treating cancer pain.

       420.    Thousands of prescribers attended Cephalon speaking programs.

                           h.     Marketing Defendants Used Speakers’ Bureaus and
                                  Programs to Spread Their Deceptive Messages.

       421.    In addition to making sales calls, Marketing Defendants’ detailers also identified

doctors to serve, for payment, on their speakers’ bureaus and to attend programs with speakers and

meals paid for by the Marketing Defendants. These speaker programs and associated speaker

trainings serve three purposes: they provide an incentive to doctors to prescribe, or increase their



                                                125
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 135 of 324. PageID #: 135




prescriptions of, a particular drug; to qualify to be selected a forum in which to further market to

the speaker himself or herself; and an opportunity to market to the speaker’s peers. The Marketing

Defendants grade their speakers, and future opportunities are based on speaking performance,

post-program sales, and product usage. Purdue, Janssen, Endo, Cephalon, and Mallinckrodt each

made thousands of payments to physicians nationwide, for activities including participating on

speakers’ bureaus, providing consulting services, and other services.

       422.    As detailed below, Insys paid prescribers for fake speakers’ programs in exchange

for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’ programs at

which the designated speaker did not speak, and, on many occasions, speaker programs at which

the only attendees at the events were the speaker and an Insys sales representative. It was a pay-

to-prescribe program.

       423.    Insys used speakers’ programs as a front to pay for prescriptions, and paid to push

opioids onto patients who did not need them.

                   3. The Marketing Defendants Targeted Vulnerable Populations

       424.    The Marketing Defendants specifically targeted their marketing at two vulnerable

populations—the elderly and veterans.

       425.    Elderly patients taking opioids have been found to be exposed to elevated fracture

risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression which occurs more frequently in elderly patients.

       426.    The Marketing Defendants promoted the notion—without adequate scientific

foundation—that the elderly are particularly unlikely to become addicted to opioids. The AGS

2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

addiction as “exceedingly low in older patients with no current or past history of substance abuse.”




                                                126
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 136 of 324. PageID #: 136




(emphasis added). As another example, an Endo-sponsored CME put on by NIPC, Persistent Pain

in the Older Adult, taught that prescribing opioids to older patients carried “possibly less potential

for abuse than in younger patients.” Contrary to these assertions, however, a 2010 study examining

overdoses among long-term opioid users found that patients 65 or older were among those with the

largest number of serious overdoses.

           427.   Similarly, Endo targeted marketing of Opana ER towards patients over 55 years

old. Such documents show Endo treated Medicare Part D patients among the “most valuable

customer segments.”171 However, in 2013, one pharmaceutical benefits management company

recommended against the use of Opana ER for elderly patients and unequivocally concluded:

“[f]or patients 65 and older these medications are not safe, so consult your doctor.”

           428.   According to a study published in the 2013 Journal of American Medicine, veterans

returning from Iraq and Afghanistan who were prescribed opioids have a higher incidence of

adverse clinical outcomes, such as overdoses and self-inflicted and accidental injuries. A 2008

survey showed that prescription drug misuse among military personnel doubled from 2002 to

2005, and then nearly tripled again over the next three years. Veterans are twice as likely as non-

veterans to die from an opioid overdose.

           429.   Yet the Marketing Defendants deliberately targeted veterans with deceptive

marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

distributed by APF with grants from Janssen, and Endo, was written as a personal narrative of one

veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the publication

describes opioids as “underused” and the “gold standard of pain medications” while failing to

disclose significant risks of opioid use, including the risks of fatal interactions with


171
      ENDO-CHI_LIT-00050369, at p.8; ENDO-CHI_LIT-00076029, at p.6.



                                                   127
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 137 of 324. PageID #: 137




benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

of respiratory depression from the two drugs together.

         430.   Opioid prescriptions have dramatically increased for veterans and the elderly. Since

2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults between

the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for narcotic

pain pills—four times as many as they did in 2001.

                    4. Insys Employed Fraudulent, Illegal, and Misleading Marketing
                       Schemes to Promote Subsys

         431.   Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl (“TIRF”).

         432.   To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.”172 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

         433.   Since its launch, Subsys has been an extremely expensive medication and its price



172
   Press Release, FDA, U.S. Food & Drug Admin., FDA Approves Shared System REMS for TIRF Products, (Dec.
29, 2011).



                                                 128
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 138 of 324. PageID #: 138




continues to rise each year. Depending on a patient’s dosage and frequency of use, a month’s

supply of Subsys could cost in the thousands of dollars.

           434.     Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they

will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

of these factors was not present, the prior authorization would be denied . . . .”173

           435.     These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical histories

of patients, falsely claiming that patients had cancer, and providing misleading information to

insurers and payors regarding patients’ diagnoses and medical conditions.

           436.     Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

           437.     Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through its


173
      Fueling an Epidemic, supra.



                                                    129
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 139 of 324. PageID #: 139




sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe and

appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses and misrepresented the appropriateness of Subsys for treatment those

conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers’

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes had

the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

            438.   Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many

of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted toward

commissions and rewarded reps more for selling higher (and more expensive) doses of Subsys, a

“highly unusual” practice because most companies consider dosing a patient-specific decision that

should be made by a doctor.174

            439.   The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money in

the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

instead of 200 micrograms), would receive the invitations to the program—and the checks.”175 It

was a pay-to-prescribe program.

            440.   Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and


174
      Id.
175
   Roddy Boyd, Insys Therapeutics and the New ‘Killing It’, Southern Investigative Reporting Foundation, The
Investigator, April 24, 2015, http://sirf-online.org/2015/04/24/the-new-killing-it/.



                                                   130
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 140 of 324. PageID #: 140




prescribers across the country, as well as in a number of lawsuits against the company itself.

       441.    In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

of Subsys, though neither were oncologists. According to prosecutors, the doctors received illegal

kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat neck,

back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to conspiracy

to commit health care fraud, including engaging in a kickback scheme in order to induce one of

these doctors to prescribe Subsys. The plea agreement states that nearly all of the Subsys

prescriptions written by the doctor were off-label to non-cancer patients. In May of 2017 one of

the doctors was sentenced to 20 years in prison.

       442.    In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid the

nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event; however,

she did not give any presentations. In her guilty plea, the nurse admitted receiving the speaker fees

in exchange for writing prescriptions for Subsys.

       443.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       444.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of opioid




                                                131
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 141 of 324. PageID #: 141




drugs instead of to oncologists whose patients experienced the breakthrough cancer pain for which

the drug is indicated. The Illinois Complaint also details how Insys used its speaker program to

pay high-volume prescribers to prescribe Subsys. The speaker events took place at upscale

restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging from $700

to $5,100, and they were allowed to order as much food and alcohol as they wanted. At most of

the events, the “speaker” being paid by Insys did not speak, and, on many occasions, the only

attendees at the events were the speaker and an Insys sales representative.

            445.   In December of 2016, six Insys executives and managers were indicted and then,

in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.”176 A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and overdose

have a special obligation to operate in a trustworthy, transparent manner, because their customers’

health and safety and, indeed, very lives depend on it.”177




  Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical
176

Company Insys Arrested and Charged with Racketeering (Oct. 26, 2017), https://www.justice.gov/usao-
ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-and-charged-racketeering.
177
      Id.



                                                      132
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 142 of 324. PageID #: 142




                    5. The Marketing Defendants’ Scheme Succeeded, Creating a Public
                       Health Epidemic.

                            a.      Marketing Defendants dramatically expanded opioid
                                    prescribing and use.

         446.   The Marketing Defendants necessarily expected a return on the enormous

investment they made in their deceptive marketing scheme and worked to measure and expand

their success. Their own documents show that they knew they were influencing prescribers and

increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of addiction

and abuse.

         447.   Endo, for example directed the majority of its marketing budget to sales

representatives—with good results: 84% of its prescriptions were from the doctors they detailed.

Moreover, as of 2008, cancer and post-operative pain accounted for only 10% of Opana ER’s uses;

virtually all of Endo’s opioid sales—and profits—were from a market that did not exist ten years

earlier. Internal emails from Endo staff attributed increases in Opana ER sales to the

aggressiveness and persistence of sales representatives.

         448.   Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and “ongoing

changes to [its] marketing approach including hiring additional sales representatives and targeting

our marketing efforts to pain specialists.”178 Actiq became Cephalon’s second best-selling drug.

By the end of 2006, Actiq’s sales had exceeded $500 million.179 Only 1% of the 187,076

prescriptions for Actiq filled at retail pharmacies during the first six months of 2006 were

178
        Cephalon,    Inc.    Annual      Report    (Form    10-K)    at    28     (Mar.   31,   2003),
https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
179
    John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, WSJ (Nov. 3, 2006),
https://www.wsj.com/articles/SB116252463810112292.



                                                  133
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 143 of 324. PageID #: 143




prescribed by oncologists. One measure suggested that “more than 80 percent of patients who

use[d] the drug don’t have cancer.”180

            449.   Upon information and belief, each of the Marketing Defendants tracked the impact

of their marketing efforts to measure their impact in changing doctors’ perceptions and prescribing

of their drugs. They purchased prescribing and survey data that allowed them to closely monitor

these trends, and they did actively monitor them. For instance, they monitored doctors’ prescribing

before and after detailing visits, and at various levels of detailing intensity, and before and after

speaker programs. Marketing Defendants continued and, in many cases, expanded and refined

their aggressive and deceptive marketing for one reason: it worked. As described in this Complaint,

both in specific instances, and more generally, Marketing Defendants’ marketing changed

prescribers’ willingness to prescribe opioids, led them to prescribe more of their opioids, and

persuaded them to continue prescribing opioids or to switch to supposedly “safer” opioids, such as

ADF.

            450.   This success would have come as no surprise. Drug company marketing materially

impacts doctors’ prescribing behavior.181 The effects of sales calls on prescribers’ behavior is well

documented in the literature, including a 2017 study that found that physicians ordered fewer

promoted brand-name medications and prescribed more cost-effective generic versions if they

worked in hospitals that instituted rules about when and how pharmaceutical sales representatives



180
      Id.
181
   See, e.g., P. Manchanda & P. Chintagunta, Responsiveness of Physician Prescription Behavior to Salesforce Effort:
An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) (detailing has a positive impact on prescriptions
written); I. Larkin, Restrictions on Pharmaceutical Detailing Reduced Off-Label Prescribing of Antidepressants and
Antipsychotics in Children, 33(6) Health Affairs 1014 (2014) (finding academic medical centers that restricted direct
promotion by pharmaceutical sales representatives resulted in a 34% decline in on-label use of promoted drugs); see
also A. Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2)
Am J. Pub. Health 221 (2009) (correlating an increase of OxyContin prescriptions from 670,000 annually in 1997 to
6.2 million in 2002 to a doubling of Purdue’s sales force and trebling of annual sales calls).



                                                        134
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 144 of 324. PageID #: 144




were allowed to detail prescribers. The changes in prescribing behavior appeared strongest at

hospitals that implemented the strictest detailing policies and included enforcement measures.

Another study examined four practices, including visits by sales representatives, medical journal

advertisements, direct-to-consumer advertising, and pricing, and found that sales representatives

have the strongest effect on drug utilization. An additional study found that doctor meetings with

sales representatives are related to changes in both prescribing practices and requests by physicians

to add the drugs to hospitals’ formularies.

         451.   Marketing Defendants spent millions of dollars to market their drugs to prescribers

and patients and meticulously tracked their return on that investment. In one recent survey

published by the AMA, even though nine in ten general practitioners reported prescription drug

abuse to be a moderate to large problem in their communities, 88% of the respondents said they

were confident in their prescribing skills, and nearly half were comfortable using opioids for

chronic non-cancer pain.182 These results are directly due to the Marketing Defendants’ fraudulent

marketing campaign focused on several misrepresentations.

         452.   Thus, both independent studies and Marketing Defendants’ own tracking confirm

that Marketing Defendants’ marketing scheme dramatically increased their sales.

                             b.      Marketing Defendants’ deception in expanding their market
                                     created and fueled the opioid epidemic.

         453.   Independent research demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”183 It has been



182
  Catherine S. Hwang, et al., Prescription Drug Abuse: A National Survey of Primary Care Physicians, 175 (2)
JAMA Intern. Med. (Dec. 8, 2014).
183
   Theodore J. Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid Analgesics in Rural,
Suburban, and Urban Locations in the United States, 16.8 Pharmacopidemiology and Drug Safety, 827-40 (2007).



                                                   135
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 145 of 324. PageID #: 145




estimated that 60% of the opioids that are abused come, directly or indirectly, through physicians’

prescriptions.

         454.    There is a parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes. The opioid epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”184

         455.    In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

            E.      Defendants Throughout the Supply Chain Deliberately Disregarded Their
                    Duties to Maintain Effective Controls and to Identify, Report, and Take
                    Steps to Halt Suspicious Orders

         456.    The Marketing Defendants created a vastly and dangerously larger market for

opioids. All of the Defendants compounded this harm by facilitating the supply of far more opioids

that could have been justified to serve that market. The failure of the Defendants to maintain

effective controls, and to investigate, report, and take steps to halt orders that they knew or should

have known were suspicious breached both their statutory and common law duties.

         457.    For over a decade, as the Marketing Defendants increased the demand for opioids,

all the Defendants aggressively sought to bolster their revenue, increase profit, and grow their

share of the prescription painkiller market by unlawfully and surreptitiously increasing the volume




184
    Robert M. Califf, M.D., et al., A Proactive Response to Prescription Opioid Abuse, New Eng. J. Med.,
http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.



                                                  136
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 146 of 324. PageID #: 146




of opioids they sold. However, Defendants are not permitted to engage in a limitless expansion of

their sales through the unlawful sales of regulated painkillers. Rather, as described below,

Defendants are subject to various duties to report the quantity of Schedule II controlled substances

in order to monitor such substances and prevent oversupply and diversion into the illicit market.

         458.   Defendants are all required to register as either manufacturers or distributors

pursuant to 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.

         459.   Marketing Defendants’ scheme was resoundingly successful. Chronic opioid

therapy—the prescribing of opioids long-term to treat chronic pain—has become a commonplace,

and often first-line, treatment. Marketing Defendants’ deceptive marketing caused prescribing not

only of their opioids, but of opioids as a class, to skyrocket. According to the CDC opioid

prescriptions, as measured by number of prescriptions and morphine milligram equivalent

(“MME”) per person, tripled from 1999 to 2015. In 2015, on an average day, more than 650,000

opioid prescriptions were dispensed in the U.S. While previously a small minority of opioid sales,

today between 80% and 90% of opioids (measured by weight) used are for chronic pain.

Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

population over 45, have used opioids. Opioids are the most common treatment for chronic pain,

and 20% of office visits now include the prescription of an opioid.

         460.   In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”185                    Patients

receiving opioid prescriptions for chronic pain account for the majority of overdoses. For these

reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are



185
   Rose A. Rudd, et al. “Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2000–2014.”, 64
(50 &51) Ctrs. For Disease Control and Prevention, Morbidity & Mortality Wkly. Rep. 1323-1327 (2016),
https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6450a3.htm.



                                                    137
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 147 of 324. PageID #: 147




critical “to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related

morbidity.”186

                      a. All Defendants Have a Duty to Report Suspicious Orders and Not to
                         Ship Those Orders Unless Due Diligence Disproves Their Suspicions

            461.   Multiple sources impose duties on the Defendants to report suspicious orders and

further to not ship those orders unless due diligence disproves those suspicions.

            462.   First, under the common law, the Defendants had a duty to exercise reasonable care

in delivering dangerous narcotic substances. By flooding Plaintiff’s Community and Louisiana

generally with more opioids than could be used for legitimate medical purposes and by filling and

failing to report orders that they knew or should have realized were likely being diverted for illicit

uses, Defendants breached that duty and both created and failed to prevent a foreseeable risk of

harm.

            463.   Second, each of the Defendants assumed a duty, when speaking publicly about

opioids and their efforts to combat diversion, to speak accurately and truthfully.

            464.   Third, each of the Defendants was required to register with the DEA to manufacture

and/or distribute Schedule II controlled substances. See 21 U.S.C. § 823(a)-(b), (e); 28 C.F.R. §

0.100. As registrants, Defendants were required to “maint[ain] . . . effective controls against

diversion” and to “design and operate a system to disclose . . . suspicious orders of controlled

substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74. Defendants were further required to

take steps to halt suspicious orders. Defendants violated their obligations under federal law.

            465.   Fourth, as described below, Defendants also had duties under applicable state laws.

            466.   Each Defendant was required under Louisiana law to obtain a license as a



186
      Id.



                                                   138
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 148 of 324. PageID #: 148




wholesaler of controlled substances from the Louisiana Board of Drug and Device Distributors.187

           467.     Each of the Defendants is licensed by the Louisiana Board of Drug and Device

Distributors and is a “registrant” as a wholesale distributor in the chain of distribution of Schedule

II controlled substances and assumed a duty to comply with all security requirements imposed

under the regulations adopted by the Louisiana Board of Drug and Device Distributors.188

           468.     Each Defendant Wholesale Distributor breached its duty to design and operate a

system to disclose suspicious orders of controlled substances and failed to inform the Louisiana

Board of Drug and Device Distributors and the DEA of “suspicious orders for drugs when

discovered” in violation of Louisiana Administrative Code, Title 46, Part XXXIV § 313, and 21

CFR § 1301.74(b).

           469.     Recognizing a need for greater scrutiny over controlled substances due to their

potential for abuse and danger to public health and safety, the United States Congress enacted the

Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

system of distribution for all controlled substances and listed chemicals. Congress specifically

designed the closed chain of distribution to prevent the diversion of legally produced controlled

substances into the illicit market. Congress was concerned with the diversion of drugs out of

legitimate channels of distribution and acted to halt the “widespread diversion of [controlled

substances] out of legitimate channels into the illegal market.” Moreover, the closed-system was

specifically designed to ensure that there are multiple ways of identifying and preventing diversion

through active participation by registrants within the drug delivery chain. All registrants – which

includes all manufacturers and distributors of controlled substances – must adhere to the specific



187
      La. Admin. Code. tit. 46, pt. XCI, § 301, 46 LA ADC Pt XCI, § 301.
188
      La. R.S. § 37:3471.



                                                         139
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 149 of 324. PageID #: 149




security, recordkeeping, monitoring, and reporting requirements that are designed to identify or

prevent diversion. When registrants at any level fail to fulfill their obligations, the necessary checks

and balances collapse. The result is the scourge of addiction that has occurred.

        470.     The CSA requires manufacturers and distributors of Schedule II substances like

opioids to: (a) limit sales within a quota set by the DEA for the overall production of Schedule II

substances like opioids; (b) register to manufacture or distribute opioids; (c) maintain effective

controls against diversion of the controlled substances that they manufacture or distribute; and (d)

design and operate a system to identify suspicious orders of controlled substances, halt such

unlawful sales, and report them to the DEA.

        471.     Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by

controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.” When evaluating

production quotas, the DEA was instructed to consider the following information:

            a.      Information provided by the Department of Health and Human
                    Services;

            b.      Total net disposal of the basic class [of each drug] by all
                    manufacturers;

            c.      Trends in the national rate of disposal of the basic class [of drug];

            d.      An applicant’s production cycle and current inventory position;

            e.      Total actual or estimated inventories of the class [of drug] and of all
                    substances manufactured from the class and trends in inventory
                    accumulation; and

            f.      Other factors such as: changes in the currently accepted medical use
                    of substances manufactured for a basic class; the economic and



                                                  140
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 150 of 324. PageID #: 150




                   physical availability of raw materials; yield and sustainability
                   issues; potential disruptions to production; and unforeseen
                   emergencies.

       472.    It is unlawful to manufacture a controlled substance in Schedule II, like prescription

opioids, in excess of a quota assigned to that class of controlled substances by the DEA.

       473.    To ensure that even drugs produced within quota are not diverted, Federal

regulations issued under the CSA mandate that all registrants, manufacturers and distributors alike,

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances.” 21 C.F.R. § 1301.74(b). Registrants are not entitled to be passive (but profitable)

observers, but rather “shall inform the Field Division Office of the Administration in his area of

suspicious orders when discovered by the registrant.” Id. Suspicious orders include orders of

unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency. Id. Other red flags may include, for example, “[o]rdering the same controlled substance

from multiple distributors.”

       474.    These criteria are disjunctive and are not all inclusive. For example, if an order

deviates substantially from a normal pattern, the size of the order does not matter and the order

should be reported as suspicious. Likewise, a distributor or manufacturer need not wait for a

normal pattern to develop over time before determining whether a particular order is suspicious.

The size of an order alone, regardless of whether it deviates from a normal pattern, is enough to

trigger the responsibility to report the order as suspicious. The determination of whether an order

is suspicious depends not only on the ordering patterns of the particular customer but also on the

patterns of the entirety of the customer base and the patterns throughout the relevant segment of

the industry. For this reason, identification of suspicious orders serves also to identify excessive

volume of the controlled substance being shipped to a particular region.




                                                141
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 151 of 324. PageID #: 151




       475.    In sum, Defendants have several responsibilities under state and federal law with

respect to control of the supply chain of opioids. First, they must set up a system to prevent

diversion, including excessive volume and other suspicious orders. That would include reviewing

their own data, relying on their observations of prescribers and pharmacies, and following up on

reports or concerns of potential diversion. All suspicious orders must be reported to relevant

enforcement authorities. Further, they must also stop shipment of any order which is flagged as

suspicious and only ship orders which were flagged as potentially suspicious if, after conducting

due diligence, they can determine that the order is not likely to be diverted into illegal channels.

       476.    State and federal statutes and regulations reflect a standard of conduct and care

below which reasonably prudent manufacturers and distributors would not fall. Together, these

laws and industry guidelines make clear that Distributor and Marketing Defendants alike possess

and are expected to possess specialized and sophisticated knowledge, skill, information, and

understanding of both the market for scheduled prescription narcotics and of the risks and dangers

of the diversion of prescription narcotics when the supply chain is not properly controlled.

       477.    Further, these laws and industry guidelines make clear that the Distributor

Defendants and Marketing Defendants alike have a duty and responsibility to exercise their

specialized and sophisticated knowledge, information, skill, and understanding to prevent the

oversupply of prescription opioids and minimize the risk of their diversion into an illicit market.

       478.    The FTC has recognized the unique role of distributors. Since their inception,

Distributor Defendants have continued to integrate vertically by acquiring businesses that are

related to the distribution of pharmaceutical products and health care supplies. In addition to the

actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

pharmacy, or dispensing, customers a broad range of added services. For example, Distributor




                                                142
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 152 of 324. PageID #: 152




Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

management system and distribution facility that allows customers to reduce inventory carrying

costs. Distributor Defendants are also able to use the combined purchase volume of their customers

to negotiate the cost of goods with manufacturers and offer services that include software

assistance and other database management support. See Fed. Trade Comm’n v. Cardinal Health,

Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for preliminary injunction

and holding that the potential benefits to customers did not outweigh the potential anti-competitive

effect of a proposed merger between Cardinal Health, Inc. and Bergen Brunswig Corp.). As a result

of their acquisition of a diverse assortment of related businesses within the pharmaceutical

industry, as well as the assortment of additional services they offer, Distributor Defendants have a

unique insight into the ordering patterns and activities of their dispensing customers.

       479.    Marketing Defendants also have specialized and detailed knowledge of the

potential suspicious prescribing and dispensing of opioids through their regular visits to doctors’

offices and pharmacies, and from their purchase of data from commercial sources, such as IMS

Health (now IQVIA). Their extensive boots-on-the-ground through their sales force, allows

Marketing Defendants to observe the signs of suspicious prescribing and dispensing discussed

elsewhere in the Complaint—lines of seemingly healthy patients, out-of-state license plates, and

cash transactions, to name only a few. In addition, Marketing Defendants regularly mined data,

including, upon information and belief, chargeback data, that allowed them to monitor the volume

and type of prescribing of doctors, including sudden increases in prescribing and unusually high

dose prescribing, that would have alerted them, independent of their sales representatives, to

suspicious prescribing. These information points gave Marketing Defendants insight into

prescribing and dispensing conduct that enabled them to play a valuable role in the preventing




                                                143
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 153 of 324. PageID #: 153




diversion and fulfilling their obligations under the CSA.

       480.    Defendants have a duty to, and are expected, to be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

       481.    Defendants breached these duties by failing to: (a) control the supply chain; (b)

prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in quantities they

knew or should have known could not be justified and were indicative of serious overuse of

opioids.

                   2. Defendants Were Aware of and Have Acknowledged Their Obligations
                      to Prevent Diversion and to Report and Take Steps to Halt Suspicious
                      Orders

       482.    The reason for the reporting rules is to create a “closed” system intended to control

the supply and reduce the diversion of these drugs out of legitimate channels into the illicit market,

while at the same time providing the legitimate drug industry with a unified approach to narcotic

and dangerous drug control. Both because distributors handle such large volumes of controlled

substances, and because they are uniquely positioned, based on their knowledge of their customers

and orders, as the first line of defense in the movement of legal pharmaceutical controlled

substances from legitimate channels into the illicit market, distributors’ obligation to maintain

effective controls to prevent diversion of controlled substances is critical. Should a distributor

deviate from these checks and balances, the closed system of distribution, designed to prevent

diversion, collapses.

       483.    Defendants were well aware they had an important role to play in this system, and

also knew or should have known that their failure to comply with their obligations would have

serious consequences.

       484.    Recently, Mallinckrodt, admitted in a settlement with DEA that “[a]s a registrant




                                                 144
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 154 of 324. PageID #: 154




under the CSA, Mallinckrodt had a responsibility to maintain effective controls against diversion,

including a requirement that it review and monitor these sales and report suspicious orders to

DEA.” Mallinckrodt further stated that it “recognizes the importance of the prevention of diversion

of the controlled substances they manufacture” and agreed that it would “design and operate a

system that meets the requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all

available transaction information to identify suspicious orders of any Mallinckrodt product.”

Mallinckrodt specifically agreed “to notify DEA of any diversion and/or suspicious circumstances

involving any Mallinckrodt controlled substances that Mallinckrodt discovers.”

       485.    Trade organizations to which Defendants belong have acknowledged that

wholesale distributors have been responsible for reporting suspicious orders for more than 40

years. The Healthcare Distribution Management Association (“HDMA”), now known as the

Healthcare Distribution Alliance (“HDA”)), a trade association of pharmaceutical distributors to

which Distributor Defendants belong, has long taken the position that distributors have

responsibilities to “prevent diversion of controlled prescription drugs” not only because they have

statutory and regulatory obligations do so, but “as responsible members of society.” Guidelines

established by the HDA also explain that distributors, “[a]t the center of a sophisticated supply

chain . . . are uniquely situated to perform due diligence in order to help support the security of the

controlled substances they deliver to their customers.”

       486.    The DEA also repeatedly reminded the Defendants of their obligations to report

and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

customers, the DEA began a major push to remind distributors of their obligations to prevent these

kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA has




                                                 145
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 155 of 324. PageID #: 155




hosted at least five conferences that provided registrants with updated information about diversion

trends and regulatory changes. Each of the Distributor Defendants attended at least one of these

conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and due diligence

responsibilities since 2006. During these briefings, the DEA pointed out the red flags wholesale

distributors should look for to identify potential diversion.

       487.    The DEA also advised in a September 27, 2006 letter to every commercial entity

registered to distribute controlled substances that they are “one of the key components of the

distribution chain. If the closed system is to function properly . . . distributors must be vigilant in

deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes. This responsibility is critical, as . . . the illegal distribution of controlled

substances has a substantial and detrimental effect on the health and general welfare of the

American people.” The DEA’s September 27, 2006 letter also expressly reminded them that

registrants, in addition to reporting suspicious orders, have a “statutory responsibility to exercise

due diligence to avoid filling suspicious orders that might be diverted into other than legitimate

medical, scientific, and industrial channels.” The same letter reminds distributors of the importance

of their obligation to “be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes,” and warns that “even just one distributor

that uses its DEA registration to facilitate diversion can cause enormous harm.”

       488.    The DEA sent another letter to Defendants on December 27, 2007, reminding them

that, as registered manufacturers and distributors of controlled substances, they share, and must

each abide by, statutory and regulatory duties to “maintain effective controls against diversion”

and “design and operate a system to disclose to the registrant suspicious orders of controlled

substances.” The DEA’s December 27, 2007 letter reiterated the obligation to detect, report, and




                                                 146
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 156 of 324. PageID #: 156




not fill suspicious orders and provided detailed guidance on what constitutes a suspicious order

and how to report (e.g., by specifically identifying an order as suspicious, not merely transmitting

data to the DEA). Finally, the letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”

                   3. Defendants Worked Together to Inflate the Quotas of Opioids They
                      Could Distribute

       489.    Finding it impossible to legally achieve their ever-increasing sales ambitions

Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

increasing the quotas that governed the manufacture and distribution of their prescription opioids.

       490.    Wholesale distributors such as the Distributor Defendants had close financial

relationships with both Marketing Defendants and customers, for whom they provide a broad range

of value added services that render them uniquely positioned to obtain information and control

against diversion. These services often otherwise would not be provided by manufacturers to their

dispensing customers and would be difficult and costly for the dispenser to reproduce. For

example, “[w]holesalers have sophisticated ordering systems that allow customers to

electronically order and confirm their purchases, as well as to confirm the availability and prices

of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C.

1998). Through their generic source programs, wholesalers are also able “to combine the purchase

volumes of customers and negotiate the cost of goods with manufacturers.” Wholesalers typically

also offer marketing programs, patient services, and other software to assist their dispensing

customers.

       491.    Distributor Defendants had financial incentives from the Marketing Defendants to



                                                147
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 157 of 324. PageID #: 157




distribute higher volumes, and thus to refrain from reporting or declining to fill suspicious orders.

Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

manufacturers based on market share and volume. As a result, higher volumes may decrease the

cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

the increased sales volumes result in increased profits. The Marketing Defendants engaged in the

practice of paying rebates and/or chargebacks to the Distributor Defendants for sales of

prescription opioids as a way to help them boost sales and better target their marketing efforts. The

Washington Post has described the practice as industry-wide, and the HDA includes a “Contracts

and Chargebacks Working Group,” suggesting a standard practice. Further, in a recent settlement

with the DEA, Mallinckrodt, acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors).” The transaction information contains data relating to the direct customer sales of

controlled substances to ‘downstream’ registrants,” meaning pharmacies or other dispensaries,

such as hospitals. Marketing Defendants buy data from pharmacies as well. This exchange of

information, upon information, and belief, would have opened channels providing for the exchange

of information revealing suspicious orders as well.

       492.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities for

the manufacture and distribution of their opioids. The manufacturers negotiated agreements

whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

exchange for agreements to maintain minimum sales performance thresholds. These agreements




                                                 148
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 158 of 324. PageID #: 158




were used by the Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements.

            493.   In addition, Defendants worked together to achieve their common purpose through

trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

            494.   The PCF has been described as a coalition of drug makers, trade groups and dozens

of non-profit organizations supported by industry funding, including the Front Groups described

in this Complaint. The PCF recently became a national news story when it was discovered that

lobbyists for members of the PCF quietly shaped federal and state policies regarding the use of

prescription opioids for more than a decade.

            495.   The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”189 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.190

            496.   The Defendants who stood to profit from expanded prescription opioid use are

members of and/or participants in the PCF. In 2012, membership and participating organizations

included Endo, Purdue, Actavis and Cephalon. Each of the Marketing Defendants worked together

through the PCF. But, the Marketing Defendants were not alone. The Distributor Defendants

actively participated, and continue to participate in the PCF, at a minimum, through their trade

organization, the HDA.191 The Distributor Defendants participated directly in the PCF as well.


189
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity,
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-amid-drug-epidemic.
(Last Updated Dec. 15, 2016, 9:09 AM) (emphasis added).
190
      Id.
191
  Id; The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic


                                                      149
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 159 of 324. PageID #: 159




            497.   Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants

including Actavis, Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA.

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Marketing Defendants by advocating for the many benefits

of members, including “strengthen[ing] . . . alliances.”192

            498.   Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading partners,”

and “make connections.”193 Clearly, the HDA and the Defendants believed that membership in the

HDA was an opportunity to create interpersonal and ongoing organizational relationships and

“alliances” between the Marketing and Distributor Defendants.

            499.   The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other’s

businesses.194 For example, the manufacturer membership application must be signed by a “senior



Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance, https://www.healthcaredistribution.org/about/
executive-committee (last accessed Apr. 25, 2018).
192
  Manufacturer Membership, Healthcare Distribution Alliance, https://healthcaredistribution.org/about/membership/
manufacturer (last accessed Apr. 25, 2018).
193
      Id.
194
   Manufacturer Membership Application, Healthcare Distribution Alliance, https://www.healthcaredistribution.org/
~/media/pdfs/membership/manufacturer-membership-application.ashx?la=en.



                                                      150
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 160 of 324. PageID #: 160




company executive,” and it requests that the manufacturer applicant identify a key contact and any

additional contacts from within its company.

            500.   The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information. Manufacturer

members were also asked to identify their “most recent year end net sales” through wholesale

distributors, including the Distributor Defendants AmerisourceBergen, Cardinal Health, and

McKesson and their subsidiaries.

            501.   The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Marketing and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the enterprise.

            502.   The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Marketing Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”195      The conferences also gave the Marketing and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”196 The HDA and its conferences were significant opportunities

for the Marketing and Distributor Defendants to interact at a high-level of leadership. It is clear

that the Marketing Defendants embraced this opportunity by attending and sponsoring these

events.197


195
    Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-manufacturers.
196
      Id.
197
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, https://www.healthcare
distribution.org/events/2015-distribution-management-conference.



                                                    151
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 161 of 324. PageID #: 161




       503.   After becoming members of HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:

                  a.      Industry Relations Council: “This council, composed of
                          distributor and manufacturer members, provides leadership
                          on pharmaceutical distribution and supply chain issues.”

                  b.      Business Technology Committee: “This committee provides
                          guidance to HDA and its members through the development
                          of collaborative e-commerce business solutions. The
                          committee’s major areas of focus within pharmaceutical
                          distribution include information systems, operational
                          integration and the impact of e-commerce.” Participation in
                          this committee includes distributor and manufacturer
                          members.

                  c.      Logistics Operation Committee: “This committee initiates
                          projects designed to help members enhance the productivity,
                          efficiency and customer satisfaction within the healthcare
                          supply chain. Its major areas of focus include process
                          automation, information systems, operational integration,
                          resource management and quality improvement.”
                          Participation in this committee includes distributor and
                          manufacturer members.

                  d.      Manufacturer Government Affairs Advisory Committee:
                          “This committee provides a forum for briefing HDA’s
                          manufacturer members on federal and state legislative and
                          regulatory activity affecting the pharmaceutical distribution
                          channel. Topics discussed include such issues as
                          prescription drug traceability, distributor licensing, FDA
                          and DEA regulation of distribution, importation and
                          Medicaid/Medicare reimbursement.” Participation in this
                          committee includes manufacturer members.

                  e.      Contracts and Chargebacks Working Group: “This working
                          group explores how the contract administration process can
                          be streamlined through process improvements or technical
                          efficiencies. It also creates and exchanges industry
                          knowledge of interest to contract and chargeback
                          professionals.” Participation in this group includes
                          manufacturer and distributor members.

       504.   The Distributor Defendants and Marketing Defendants also participated, through




                                              152
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 162 of 324. PageID #: 162




the HDA, in Webinars and other meetings designed to exchange detailed information regarding

their prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

invoices.198 For example, on April 27, 2011, the HDA offered a Webinar to “accurately and

effectively exchange business transactions between distributors and manufacturers….” The

Marketing Defendants used this information to gather high-level data regarding overall distribution

and direct the Distributor Defendants on how to most effectively sell prescription opioids.

         505.   Taken together, the interaction and length of the relationships between and among

the Marketing and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Marketing and Distributor Defendants were not

two separate groups operating in isolation or two groups forced to work together in a closed

system. Defendants operated together as a united entity, working together on multiple fronts, to

engage in the unlawful sale of prescription opioids.

         506.   The HDA and the PCF are but two examples of the overlapping relationships and

concerted joint efforts to accomplish common goals and demonstrates that the leaders of each of

the Defendants were in communication and cooperation.

         507.   Publications and guidelines issued by the HDA nevertheless confirm that the

Defendants utilized their membership in the HDA to form agreements. Specifically, in the fall of

2008, the HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”) regarding

diversion. As the HDA explained in an amicus brief, the Industry Compliance Guidelines were the

result of “[a] committee of HDMA members contribut[ing] to the development of this publication”


198
   Webinar Leveraging EDI: Order-to-Cash Transactions CD Box Set, Healthcare Distribution Alliance, (Apr.
27,2011), https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.




                                                  153
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 163 of 324. PageID #: 163




beginning in late 2007.

       508.    This statement by the HDA and the Industry Compliance Guidelines support the

allegation that Defendants utilized the HDA to form agreements about their approach to their

duties under the CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and

Commerce Subcommittee on Health in April 2014, is “difficult to find the right balance between

proactive anti-diversion efforts while not inadvertently limiting access to appropriately prescribed

and dispensed medications.” Here, it is apparent that all of the Defendants found the same balance

– an overwhelming pattern and practice of failing to identify, report or halt suspicious orders, and

failure to prevent diversion.

       509.    The Defendants’ scheme had a decision-making structure driven by the Marketing

Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

together to control the state and federal government’s response to the manufacture and distribution

of prescription opioids by increasing production quotas through a systematic refusal to maintain

effective controls against diversion, to identify suspicious orders, to report suspicious orders to the

DEA, or to take steps to halt the suspicious orders.

       510.    The Defendants worked together to control the flow of information and influence

state and federal governments to pass legislation that supported the use of opioids and limited the

authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

       511.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially high

and ensured that suspicious orders were not reported to the DEA in order to ensure that the DEA

had no basis for refusing to increase or decrease production quotas due to diversion.




                                                 154
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 164 of 324. PageID #: 164




       512.    The Defendants also had reciprocal obligations under the CSA to report suspicious

orders of other parties if they became aware of them. Defendants were thus collectively responsible

for each other’s compliance with their reporting obligations.

       513.    Defendants thus knew that their own conduct could be reported by other distributors

or manufacturers and that their failure to report suspicious orders they filled could be brought to

the DEA’s attention. As a result, Defendants had an incentive to communicate with each other

about the reporting of suspicious orders to ensure consistency in their dealings with DEA.

       514.    The desired consistency was achieved. As described below, none of the Defendants

reported suspicious orders and the flow of opioids continued unimpeded.

                    4. Defendants Kept Careful Track of Prescribing Data and Knew About
                       Suspicious Orders and Prescribers

       515.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. The data

necessary to identify with specificity the transactions that were suspicious is in possession of the

Distributor and Marketing Defendants but has not been disclosed to the public.

       516.    Publicly available information confirms that Distributor and Marketing Defendants

funneled far more opioids into communities across the United States than could have been

expected to serve legitimate medical use and ignored other red flags of suspicious orders. This

information, along with the information known only to Distributor and Marketing Defendants,

would have alerted them to potentially suspicious orders of opioids.

       517.    This information includes the following facts:

               a.      distributors and manufacturers have access to detailed
                       transaction-level data on the sale and distribution of opioids,
                       which can be broken down by zip code, prescriber, and
                       pharmacy and includes the volume of opioids, dose, and the
                       distribution of other controlled and non-controlled substances;



                                                155
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 165 of 324. PageID #: 165




              b.      manufacturers make use of that data to target their marketing
                      and, for that purpose, regularly monitor the activity of doctors
                      and pharmacies;

              c.      manufacturers and distributors regularly visit pharmacies and
                      doctors to promote and provide their products and services,
                      which allows them to observe red flags of diversion, as
                      described in paragraphs 186 and 200;

              d.      Distributor Defendants together account for approximately 90%
                      of all revenues from prescription drug distribution in the United
                      States, and each plays such a large part in the distribution of
                      opioids that its own volume provides a ready vehicle for
                      measuring the overall flow of opioids into a pharmacy or
                      geographic area; and

              e.      Marketing Defendants purchased chargeback data (in return for
                      discounts to Distributor Defendants) that allowed them to
                      monitor the combined flow of opioids into a pharmacy or
                      geographic area.

       518.   The conclusion that Defendants were on notice of the problems of abuse and

diversion follows inescapably from the fact that they flooded communities with opioids in

quantities that they knew or should have known exceeded any legitimate market for opioids-even

the wider market for chronic pain.

       519.   At all relevant times, the Defendants were in possession of national, regional, state,

and local prescriber and patient-level data that allowed them to track prescribing patterns over

time. They obtained this information from data companies, including but not limited to: IMS

Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics, NDS

Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters

Kluwer, and/or PRA Health Science, and all of their predecessors or successors in interest (the

“Data Vendors”).

       520.   The Distributor Defendants developed “know your customer” questionnaires and




                                               156
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 166 of 324. PageID #: 166




files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the Defendants identify suspicious orders or customers who were likely to divert

prescription opioids.199 The “know your customer” questionnaires informed the Defendants of the

number of pills that the pharmacies sold, how many non-controlled substances were sold compared

to controlled substances, whether the pharmacy buys from other distributors, the types of medical

providers in the area, including pain clinics, general practitioners, hospice facilities, cancer

treatment facilities, among others, and these questionnaires put the recipients on notice of

suspicious orders.

         521.    Defendants purchased nationwide, regional, state, and local prescriber and patient-

level data from the Data Vendors that allowed them to track prescribing trends, identify suspicious

orders, identify patients who were doctor shopping, identify pill mills, etc. The Data Vendors’

information purchased by the Defendants allowed them to view, analyze, compute, and track their

competitors’ sales, and to compare and analyze market share information.200

         522.    IMS Health, for example, provided Defendants with reports detailing prescriber

behavior and the number of prescriptions written between competing products.201

         523.    Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the Defendants

with charts analyzing the weekly prescribing patterns of multiple physicians, organized by


199
    Suggested Questions a Distributor Should Ask Prior to Shipping Controlled Substances, Drug Enforcement Admin.
Diversion Control Div., https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf;
Richard Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue
Pharma and McGuireWoods LLC (Oct. 2010), https://www.mcguirewoods.com/news-resources/publications/
lifesciences/product_diversion_beyond_pdma.pdf.
  A Verispan representative testified that the Supply Chain Defendants use the prescribing information to “drive
200

market share.” Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 661712, *9-10 (Feb. 22, 2011).
201
   Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How We Turned a Mountain of Data into a Few
Information-Rich Molehills, (accessed on February 15, 2018), http://citeseerx.ist.psu.edu/viewdoc/download?
doi=10.1.1.198.349&rep=rep1&type=pdf, Figure 2 at p.3.



                                                      157
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 167 of 324. PageID #: 167




territory, regarding competing drugs, and analyzed the market share of those drugs.202

            524.    This information allowed the Defendants to track and identify instances of

overprescribing. In fact, one of the Data Vendors’ experts testified that the Data Vendors’

information could be used to track, identify, report and halt suspicious orders of controlled

substances.203

            525.    Defendants were, therefore, collectively aware of the suspicious orders that flowed

daily from their manufacturing and distribution facilities.

            526.    Defendants refused to identify, investigate and report suspicious orders to the DEA

when they became aware of the same despite their actual knowledge of drug diversion rings. As

described in detail below, Defendants refused to identify suspicious orders and diverted drugs

despite the DEA issuing final decisions against the Distributor Defendants in 178 registrant actions

between 2008 and 2012204 and 117 recommended decisions in registrant actions from The Office

of Administrative Law Judges. These numbers include seventy-six (76) actions involving orders

to show cause and forty-one (41) actions involving immediate suspension orders, all for failure to

report suspicious orders.205

            527.    Sales representatives were also aware that the prescription opioids they were

promoting were being diverted, often with lethal consequences. As a sales representative wrote on

a public forum:

            Actions have consequences – so some patient gets Rx’d the 80mg OxyContin when

202
      Joint Appendix in Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 705207, *467-471 (Feb. 22, 2011).
203
   In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vendor, that “a firm that sells narcotic
analgesics was able to use prescriber-identifiable information to identify physicians that seemed to be prescribing an
inordinately high number of prescriptions for their product.” Id; see also Joint Appendix in Sorrell v. IMS Health, No.
10-779, 2011 WL 687134, at *204 (Feb. 22, 2011).
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
204

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
205
      Id.



                                                         158
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 168 of 324. PageID #: 168




            they probably could have done okay on the 20mg (but their doctor got “sold” on
            the 80mg) and their teen son/daughter/child’s teen friend finds the pill bottle and
            takes out a few 80’s... next they’re at a pill party with other teens and some kid
            picks out a green pill from the bowl... they go to sleep and don’t wake up (because
            they don’t understand respiratory depression) Stupid decision for a teen to
            make...yes... but do they really deserve to die?

            528.    Moreover, Defendants’ sales incentives rewarded sales representatives who

happened to have pill mills within their territories, enticing those representatives to look the other

way even when their in-person visits to such clinics should have raised numerous red flags. In one

example, a pain clinic in South Carolina was diverting massive quantities of OxyContin. People

traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s diversion

unit raided the clinic, and prosecutors eventually filed criminal charges against the doctors. But

Purdue’s sales representative for that territory, Eric Wilson, continued to promote OxyContin sales

at the clinic. He reportedly told another local physician that this clinic accounted for 40% of the

OxyContin sales in his territory. At that time, Wilson was Purdue’s top-ranked sales

representative.206         In response to news stories about this clinic, Purdue issued a statement,

declaring that “if a doctor is intent on prescribing our medication inappropriately, such activity

would continue regardless of whether we contacted the doctor or not.”207

            529.    In another example, a Purdue sales manager informed her supervisors in 2009 about

a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic with her

sales representative, “it was packed with a line out the door, with people who looked like gang

members,” and that she felt “very certain that this an organized drug ring[.]”208 She wrote, “This



206
      Meier, supra, at 298-300.
207
      Id.
208
   Harriet Ryan et al., More Than 1 million OxyContin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, LOS ANGELES TIMES (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-
part2/.



                                                     159
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 169 of 324. PageID #: 169




is clearly diversion. Shouldn’t the DEA be contacted about this?” But her supervisor at Purdue

responded that while they were “considering all angles,” it was “really up to [the wholesaler] to

make the report.”209 This pill mill was the source of 1.1 million pills trafficked to Everett,

Washington, a city of around 100,000 people. Purdue waited until after the clinic was shut down

in 2010 to inform the authorities.

            530.    A Kadian prescriber guide discusses abuse potential of Kadian. It is full of

disclaimers that Actavis has not done any studies on the topic and that the guide is “only intended

to assist you in forming your own conclusion.” However, the guide includes the following

statements: 1) “unique pharmaceutical formulation of KADIAN may offer some protection from

extraction of morphine sulfate for intravenous use by illicit users,” and 2) “KADIAN may be less

likely to be abused by health care providers and illicit users” because of “Slow onset of action,”

“Lower peak plasma morphine levels than equivalent doses of other formulations of morphine,”

“Long duration of action,” and “Minimal fluctuations in peak to trough plasma levels of morphine

at steady state.”210 The guide is copyrighted by Actavis in 2007, before Actavis officially

purchased Kadian from Alpharma.211

            531.    Defendants’ obligation to report suspicious prescribing ran head on into their

marketing strategy. Defendants did identify doctors who were their most prolific prescribers, not

to report them, but to market to them. It would make little sense to focus on marketing to doctors

who may be engaged in improper prescribing only to report them to law enforcement, nor to report

those doctors who drove Defendants’ sales.




209
      Id.
210
      ACTAVIS0947868-72, at 68-69.
211
      Id., at 72.



                                                  160
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 170 of 324. PageID #: 170




          532.    Defendants purchased data from IMS Health (now IQVIA) or other proprietary

sources to identify doctors to target for marketing and to monitor their own and competitors’ sales.

Marketing visits were focused on increasing, sustaining, or converting the prescriptions of the

biggest prescribers, particularly through aggressive, high frequency detailing visits.

          533.    For example, at a national sales meeting presentation in 2011, Actavis pressed its

sales representatives to focus on its high prescribers: “To meet and exceed our quota, we must

continue to get Kadian scripts from our loyalists. MCOs will continue to manage the pain products

more closely. We MUST have new patient starts or we will fall back into ‘the big leak’. We need

to fill the bucket faster than it leaks.” “The selling message should reflect the opportunity and

prescribing preferences of each account. High Kadian Writers / Protect and Grow/ Grow = New

Patient Starts and Conversions.” In an example of how new patients + a high-volume physician

can impact performance: “102% of quota was achieved by just one high volume physician

initiating Kadian on 2-3 new patients per week.”212

          534.    This focus on marketing to the highest prescribers demonstrates that manufacturers

were keenly aware of the doctors who were writing large quantities of opioids. But instead of

investigating or reporting those doctors, Defendants were singularly focused on maintaining,

capturing, or increasing their sales.

          535.    Whenever examples of opioid diversion and abuse have drawn media attention,

Purdue and other Marketing Defendants have consistently blamed “bad actors.” For example, in

2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

questions about how it was that Purdue could utilize IMS Health data to assess their marketing

efforts but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named


212
      ACTAVIS0969604, at 616.



                                                 161
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 171 of 324. PageID #: 171




Richard Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is painted

in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon this

community, who caused untold suffering. And he fooled us all. He fooled law enforcement. He

fooled the DEA. He fooled local law enforcement. He fooled us.”213

           536.     But given the closeness with which Defendants monitored prescribing patterns

through IMS Health data, it is highly improbable that they were “fooled.” In fact, a local

pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and alerted

authorities. Purdue had the prescribing data from the clinic and alerted no one. Indeed, a Purdue

executive referred to Purdue’s tracking system and database as a “gold mine” and acknowledged

that Purdue could identify highly suspicious volumes of prescriptions.

           537.     As discussed below, Endo knew that Opana ER was being widely abused. Yet, the

New York Attorney General revealed, based on information obtained in an investigation into Endo,

that Endo sales representatives were not aware that they had a duty to report suspicious activity

and were not trained on the company’s policies or duties to report suspicious activity, and Endo

paid bonuses to sales representatives for detailing prescribers who were subsequently arrested for

illegal prescribing.

           538.     Sales representatives making in-person visits to such clinics were likewise not

fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

egregious examples eventually made the nightly news.




213
      Meier, supra, at 179.



                                                  162
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 172 of 324. PageID #: 172




                    5. Defendants Failed to Report Suspicious Orders or Otherwise Act to
                       Prevent Diversion

        539.    As discussed above, Defendants failed to report suspicious orders, prevent

diversion, or otherwise control the supply of opioids following into communities across America.

Despite the notice described above, and in disregard of their duties, Defendants continued to pump

massive quantities of opioids despite their obligations to control the supply, prevent diversion,

report and take steps to halt suspicious orders.

        540.    Governmental agencies and regulators have confirmed (and in some cases

Defendants have admitted) that Defendants did not meet their obligations and have uncovered

especially blatant wrongdoing.

        541.    For example, on January 5, 2017, McKesson entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for,

inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO; Aurora, IL;

Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI; Methuen,

MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA. McKesson

admitted that, at various times during the period from January 1, 2009 through the effective date

of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA certain orders

placed by certain pharmacies which should have been detected by McKesson as suspicious based

on the guidance contained in the DEA Letters.”

        542.    McKesson further admitted that, during this time period, it “failed to maintain

effective controls against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in violation of the

CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

Distribution Centers.” Due to these violations, McKesson agreed to a partial suspension of its



                                                   163
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 173 of 324. PageID #: 173




authority to distribute controlled substances from certain of its facilities some of which

investigators found “were supplying pharmacies that sold to criminal drug rings.”

       543.    Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. The government alleged that “Mallinckrodt failed to design and

implement an effective system to detect and report ‘suspicious orders’ for controlled substances –

orders that are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

orders.”

       544.    On December 23, 2016, Cardinal Health agreed to pay the United States $44 million

to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida and New

York by failing to report suspicious orders of controlled substances, including oxycodone, to the

DEA. In the settlement agreement, Cardinal Health admitted, accepted, and acknowledged that it

had violated the CSA between January 1, 2009 and May 14, 2012 by failing to:

               a.      “timely identify suspicious orders of controlled substances and
                       inform the DEA of those orders, as required by 21 C.F.R.
                       §1301.74(b)”;

               b.      “maintain effective controls against diversion of particular
                       controlled substances into other than legitimate medical,
                       scientific, and industrial channels, as required by 21 C.F.R.
                       §1301.74, including the failure to make records and reports
                       required by the CSA or DEA’s regulations for which a penalty
                       may be imposed under 21 U.S.C. §842(a)(5)”; and

               c.      “execute, fill, cancel, correct, file with the DEA, and otherwise
                       handle DEA ‘Form 222’ order forms and their electronic
                       equivalent for Schedule II controlled substances, as required by
                       21 U.S.C. §828 and 21 C.F.R. Part 1305.”




                                                164
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 174 of 324. PageID #: 174




         545.    In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal Health,

as well as several smaller wholesalers, for numerous causes of action, including violations of the

CSA, consumer credit and protection, and antitrust laws and the creation of a public nuisance.

Unsealed court records from that case demonstrate that AmerisourceBergen, along with McKesson

and Cardinal Health, together shipped 423 million pain pills to West Virginia between 2007 and

2012. AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4 million

oxycodone pills during that time period. These quantities alone are sufficient to show that the

Defendants failed to control the supply chain or to report and take steps to halt suspicious orders.

In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit for $16 million to the state;

Cardinal Health settled for $20 million.

         546.    H. D. Smith has also routinely been found to have violated its duties to report

suspicious orders and halt suspicious shipments of prescription opioids. According to a recent

letter from the U.S. House of Representatives Committee on Energy and Commerce, data provided

to the Committee showed that between 2007 and 2008, H. D. Smith provided two pharmacies in

Williamson, WV, a town with a population of 3,191, combined total of nearly 5 million

hydrocodone and oxycodone pills - approximately 1,565 hydrocodone and oxycodone pills for

every man, woman, and child in Williamson, WV.214 According to press reports, H. D. Smith

distributed approximately 13.7 million hydrocodone and 4.4 million oxycodone pills to West

Virginia between 2007 and 2012.215           Press accounts further indicate that H. D. Smith did not




214
   See January 26, 2018 Letter to J. Christopher Smith, President and CEO, H. D. Smith, from the House Committee
on Energy and Commerce.
215
   Eric Eyre, Drug wholesaler agrees to pay $3.5M to settle WV lawsuit, Charleston Gazette-Mail, Jan. 3, 2017
available       at      https://www.wvgazettemail.com/news/health/drug-wholesaler-agrees-to-pay-m-to-settle-wv-
lawsuit/article_4e8c7f4c-cec5-5173-a199-c19374a6250c.html



                                                     165
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 175 of 324. PageID #: 175




submit any suspicious order reports to the state for at least a decade.216 Upon information and

belief, H. D. Smith engaged in similar wrongful activities in Louisiana.

            547.   Thus, it is the various governmental agencies who have alleged or found—and the

Defendants themselves who have admitted—that the Defendants, acting in disregard of their

duties, pumped massive quantities of opioids into communities around the country despite their

obligations to control the supply, prevent diversions, and report and take steps to halt suspicious

orders.

                      6. Defendants Delayed a Response to the Opioid Crisis by Pretending to
                         Cooperate with Law Enforcement

            548.   When a manufacturer or distributor does not report or stop suspicious orders,

prescriptions for controlled substances may be written and dispensed to individuals who abuse

them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

enforcement may be delayed in taking action – or may not know to take action at all.

            549.   After being caught for failing to comply with particular obligations at particular

facilities, Distributor Defendants made broad promises to change their ways and insisted that they

sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the DEA,

McKesson claimed to have “taken steps to prevent such conduct from occurring in the future,”

including specific measures delineated in a “Compliance Addendum” to the Settlement. Yet, in

2017, McKesson paid $150 million to resolve an investigation by the U.S. DOJ for again failing

to report suspicious orders of certain drugs, including opioids. Even though McKesson had been

sanctioned in 2008 for failure to comply with its legal obligations regarding controlling diversion



216
      Id.



                                                  166
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 176 of 324. PageID #: 176




and reporting suspicious orders, and even though McKesson had specifically agreed in 2008 that

it would no longer violate those obligations, McKesson continued to violate the laws in contrast

to its written agreement not to do so.

        550.   More generally, the Distributor Defendants publicly portrayed themselves as

committed to working with law enforcement, opioid manufacturers, and others to prevent

diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We challenge

ourselves to best utilize our assets, expertise and influence to make our communities stronger and

our world more sustainable, while governing our activities as a good corporate citizen in

compliance with all regulatory requirements and with a belief that doing ‘the right thing’ serves

everyone.” Defendant Cardinal likewise claims to “lead [its] industry in anti-diversion strategies

to help prevent opioids from being diverted for misuse or abuse.” Along the same lines, it claims

to “maintain a sophisticated, state-of-the-art program to identify, block and report to regulators

those orders of prescription controlled medications that do not meet [its] strict criteria.” Defendant

Cardinal also promotes funding it provides for “Generation Rx,” which funds grants related to

prescription drug misuse. A Cardinal executive recently claimed that Cardinal uses “advanced

analytics” to monitor its supply chain; Cardinal assured the public it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”

        551.   Along the same lines, Defendant McKesson publicly claims that its “customized

analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

every step of the supply chain process,” creating the impression that McKesson uses this tracking

to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is




                                                 167
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 177 of 324. PageID #: 177




“deeply passionate about curbing the opioid epidemic in our country.”

         552.   Defendant AmerisourceBergen, too, has taken the public position that it is

“work[ing] diligently to combat diversion and [is] working closely with regulatory agencies and

other partners in pharmaceutical and healthcare delivery to help find solutions that will support

appropriate access while limiting misuse of controlled substances.” A company spokeswoman also

provided assurance that: “At AmerisourceBergen, we are committed to the safe and efficient

delivery of controlled substances to meet the medical needs of patients.”

         553.   Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Defendants, through their trade associations, HDMA and NACDS, filed an

amicus brief in Masters Pharmaceuticals, which made the following statements:217

                a.     “HDMA and NACDS members not only have statutory and regulatory
                       responsibilities to guard against diversion of controlled prescription drugs,
                       but undertake such efforts as responsible members of society.”

                b.     “Distributors take seriously their duty to report suspicious orders, utilizing
                       both computer algorithms and human review to detect suspicious orders
                       based on the generalized information that is available to them in the
                       ordering process.”

         554.   Through the above statements made on their behalf by their trade associations, and

other similar statements assuring their continued compliance with their legal obligations, the

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

         555.   Defendant Mallinckrodt similarly claims to be “committed . . . to fighting opioid

misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond what is required

by law. We address diversion and abuse through a multidimensional approach that includes


217
   Brief for HDMA and NACDS, Masters Pharms., Inc. v. U.S. Drug Enf’t Admin., Case No 15-1335, 2016 WL
1321983, (D.C. Cir. April 4, 2016) at *3-4, *25.



                                                 168
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 178 of 324. PageID #: 178




educational efforts, monitoring for suspicious orders of controlled substances . . . .”

         556.   Other Marketing Defendants also misrepresented their compliance with their legal

duties and their cooperation with law enforcement. Purdue serves as a hallmark example of such

wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its “constructive

role in the fight against opioid abuse,” including its commitment to ADF opioids and its “strong

record of coordination with law enforcement.”218

         557.   At the heart of Purdue’s public outreach is the claim that it works hand-in-glove

with law enforcement and government agencies to combat opioid abuse and diversion. Purdue has

consistently trumpeted this partnership since at least 2008, and the message of close cooperation

is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

         558.   Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are acutely

aware of the public health risks these powerful medications create . . . . That’s why we work with

health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid

abuse and misuse . . . .”219 Purdue’s statement on “Opioids Corporate Responsibility” likewise

states that “[f]or many years, Purdue has committed substantial resources to combat opioid abuse

by partnering with . . . communities, law enforcement, and government.”220 And, responding to

criticism of Purdue’s failure to report suspicious prescribing to government regulatory and



218
      Purdue, Setting The Record Straight On OxyContin’s FDA-Approved Label, May 5, 2016,
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-oxycontins-fda-approved-
label/; Setting The Record Straight On Our Anti-Diversion Programs, Purdue Pharma (July 11, 2016),
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-diversion-
programs/.
219
    Opioids With Abuse-Deterrent Properties, Purdue Pharma, http://www.purduepharma.com/healthcare-
professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/.
220
    Opioids & Corporate Responsibility, Purdue Pharma, http://www.purduepharma.com/news-media/opioids-
corporate-responsibility/.



                                                   169
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 179 of 324. PageID #: 179




enforcement authorities, the website similarly proclaims that Purdue “ha[s] a long record of close

coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

diversion.”221

         559.    These public pronouncements create the misimpression that Purdue is proactively

working with law enforcement and government authorities nationwide to root out drug diversion,

including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its past

conduct in deceptively marketing opioids and make its current marketing seem more trustworthy

and truthful.

         560.    Public statements by the Defendants and their associates created the false and

misleading impression to regulators, prescribers, and the public that the Defendants rigorously

carried out their legal duties, including their duty to report suspicious orders and exercise due

diligence to prevent diversion of these dangerous drugs, and further created the false impression

that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

responsibility to the communities their business practices would necessarily impact.

                      7. The National Retail Pharmacies Were on Notice of and Contributed to
                         Illegal Diversion of Prescription Opioids

         561.    National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids. They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors and

dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.



221
     Setting The Record Straight On Our Anti-Diversion Programs, Purdue Pharma (July 11, 2016),
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-diversion-
programs/. Contrary to its public statements, Purdue seems to have worked behind the scenes to push back against law
enforcement.



                                                       170
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 180 of 324. PageID #: 180




       562.    Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

       563.    The National Retail Pharmacies failed to take meaningful action to stop this

diversion, despite their knowledge of it, and contributed substantially to the diversion problem.

       564.    The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in Louisiana in particular. They used the data

to evaluate their own sales activities and workforce. On information and belief, the National Retail

Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

valuable resource that they could have used to help stop diversion but failed to do so.

                          a.      The National Retail Pharmacies Have a Duty to Prevent
                                  Diversion

       565.    Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring, and reporting suspicious activity.

       566.    The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are required

to “provide effective controls and procedures to guard against theft and diversion of controlled

substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states, “[t]he

responsibility for the proper prescribing and dispensing of controlled substances is upon the

prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills the

prescription.” Because pharmacies themselves are registrants under the CSA, the duty to prevent



                                                171
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 181 of 324. PageID #: 181




diversion lies with the pharmacy entity, not the individual pharmacist alone.

          567.   The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify suspicious

orders and other evidence of diversion.

          568.   Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the pharmacy,

orders that deviate from a normal pattern and/or orders of unusual frequency and duration, among

others.

          569.   Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared to other practitioners in the area; (2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for antagonistic

drugs, such as depressants and stimulants, at the same time; (4) prescriptions that look “too good”

or where the prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

differ from usual medical usage; (6) prescriptions that do not comply with standard abbreviations

and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing

different handwriting. Most of the time, these attributes are not difficult to detect and should be

easily recognizable by pharmacies.

          570.   Suspicious pharmacy orders are red flags for, if not direct evidence, of diversion.

          571.   Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe patterns

or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.




                                                 172
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 182 of 324. PageID #: 182




       572.    According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       573.    Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur—and they did so knowingly.

       574.    Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy or

customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       575.    Upon information and belief, this problem was compounded by the Pharmacies’

failure to adequately train their pharmacists and pharmacy technicians on how to properly and

adequately handle prescriptions for opioid painkillers, including what constitutes a proper inquiry

into whether a prescription is legitimate, whether a prescription is likely for a condition for which

the FDA has approved treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when suspicious

circumstances are present, including when prescriptions are procured and pills supplied for the

purpose of illegal diversion and drug trafficking.

       576.    Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers of

prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data




                                                173
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 183 of 324. PageID #: 183




available to them to do statistical analysis to prevent the filling of prescriptions that were illegally

diverted or otherwise contributed to the opioid crisis.

        577.    Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

the number of opioid prescriptions filled by individual pharmacies relative to the population of the

pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number of

opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.

        578.    Upon information and belief, the National Retail Pharmacies also failed to conduct

adequate internal or external audits of their opioid sales to identify patterns regarding prescriptions

that should not have been filled and to create policies accordingly, or if they conducted such audits,

they failed to take any meaningful action as a result.

        579.    Upon information and belief, the National Retail Pharmacies also failed to

effectively respond to concerns raised by their own employees regarding inadequate policies and

procedures regarding the filling of opioid prescriptions.

        580.    The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they were

complying with their duties and obligations under the law with regard to controlled substances.

                            b.      Multiple Enforcement Actions against the National Retail
                                    Pharmacies Confirms their Compliance Failures.

        581.    The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their

illegal prescription opioid practices. Upon information and belief, based upon the widespread



                                                  174
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 184 of 324. PageID #: 184




nature of these violations, these enforcement actions are the product of, and confirm, national

policies and practices of the National Retail Pharmacies.

                                           i.       CVS

         582.    CVS is one of the largest companies in the world, with annual revenue of more than

$150 billion. According to news reports, it manages medications for nearly 90 million customers

at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

like other Defendants, CVS sought profits over people.

         583.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States Department

of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed

its pharmacies to continue dispensing opioids in quantities significantly higher than any plausible

medical need would require, and to continue violating its recordkeeping and dispensing obligations

under the CSA.

         584.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.222

         585.    This fine was preceded by numerous others throughout the country.

         586.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

the CSA and filling prescriptions with no legitimate medical purpose.223


222
   Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged Violations
of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-
pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.
223
   Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million Settlement Agreement with
CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (Feb. 12, 2016),
https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-cvs-unlawful-


                                                      175
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 185 of 324. PageID #: 185




         587.     In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.224

         588.     In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

monitoring program website and review a patient’s prescription history before dispensing certain

opioid drugs.225

         589.     In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances— mostly

addictive painkillers—more than 500 times between 2011 and 2014.226

         590.     In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

to prescribe that drug. Additionally, the government alleged that CVS had recordkeeping

deficiencies.227


distribution-controlled.
224
   Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle Controlled
Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-
pays-600000-settle-controlled-substances-act-allegations.
225
   Dialynn Dwyer, CVS Will Pay 4795,000, Strengthen Policies Around Dispensing Opioids in Agreement With State,
Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-news/2016/09/01/cvs-will-pay-795000-strengthen-
policies-around-dispensing-opioids-in-agreement-with-state.
226
   Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve Allegations that
Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016), https://www.justice.gov/usao-ma/pr/cvs-
pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions.
  Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS Health Corp. Resolved
227

With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015), https://www.justice.gov/usao-ri/pr/drug-


                                                       176
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 186 of 324. PageID #: 186




         591.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”228

         592.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.229

         593.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.230

         594.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.231




diversion-claims-against-cvs-health-corp-resolved-450000-civil-settlement.
228
   Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million Settlement Agreement
With CVS For Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful-
distribution.
229
    Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-5736554.php.
230
   Andrew Knittle, Oklahoma Pharmacy Board Stays Busy, Hands Out Massive Fines at Times, NewsOK (May 3,
2015), http://newsok.com/article/5415840.
231
   Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penalty Claims
Involving Violations of Controlled Substances Act, U.S. Dep’t of Just. (Apr. 3, 2013), https://www.justice.gov/usao-
wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-involving-violations-controlled.



                                                       177
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 187 of 324. PageID #: 187




                                          ii.     Walgreens

         595.   Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens operates

more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in

fiscal 2017.

         596.   Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing violations

of the CSA, including negligently allowing controlled substances such as oxycodone and other

prescription opioids to be diverted for abuse and illegal black-market sales.232

         597.   The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

         598.   Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each allegedly

ordered more than one million dosage units of oxycodone in 2011—more than ten times the

average amount.233

         599.   They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these


232
    Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record Settlement Of $80
Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t of Just. (June 11, 2013),
https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-settlement-80-million-civil-penalties-under-
controlled.
  Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens Co. (Drug Enf’t
233

Admin. Sept. 13, 2012).



                                                    178
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 188 of 324. PageID #: 188




abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health of

communities.234

            600.   Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.235

            601.   Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).236

            602.   The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

use of some Medicaid patients who were considered high-risk.


234
      Id.
235
      Id.
236
     Walgreens to Pay $200,000 Settlement for Lapses with Opioids, APhA              (Jan.   25,   2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.



                                                   179
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 189 of 324. PageID #: 189




            603.   In January 2017, an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

professional judgment when dispensing opioids and other controlled substances—despite the

context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.237

                                             iii.     Rite Aid

            604.   With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid

is the largest drugstore chain on the East Coast and the third-largest in the United States, with

annual revenue of more than $21 billion.

            605.   In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

the CSA.238

            606.   The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

country had a pattern of non-compliance with the requirements of the CSA and federal regulations

that lead to the diversion of prescription opioids in and around the communities of the Rite Aid

pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances

in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).239

            607.   Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this



237
      Id.
238
   Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million in Civil Penalties to
Resolve Violations in Eight States of the Controlled Substances Act, U.S. Dep’t of Just. (Jan. 12, 2009),
https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-penalties-resolve-
violations.
239
      Id.



                                                        180
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 190 of 324. PageID #: 190




Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.

       608.      The litany of state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operation procedure, violated their

legal obligations under the CSA and other laws and regulations that govern the distribution and

dispensing of prescription opioids.

       609.      Throughout the country and in Louisiana in particular, the National Retail

Pharmacies were or should have been aware of numerous red flags of potential suspicious activity

and diversion.

       610.      On information and belief, from the catbird seat of their retail pharmacy operations,

the National Retail Pharmacies knew or reasonably should have known about the disproportionate

flow of opioids into Louisiana and the operation of “pill mills” that generated opioid prescriptions

that, by their quantity or nature, were red flags for if not direct evidence of illicit supply and

diversion. Additional information was provided by news reports, and state and federal regulatory

actions, including prosecutions of pill mills in the area.

       611.      On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in Plaintiff’s Community.

       612.      On information and belief, because of (among other sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription drug

sale data that they developed and monitored, the National Retail Pharmacies were well aware that




                                                 181
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 191 of 324. PageID #: 191




their distribution and dispensing activities fell far short of legal requirements.

         613.    The National Retail Pharmacies’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

            F.       Louisiana Specific Facts and The Effects of the Opioid Crisis on Hospitals
                     and their Communities.

         614.    Hospitals across the United States encounter patients with opioid-related conditions

daily. On one hand, hospitals must deal with patients who have serious medical conditions that

require extra care and expense because the patient is opioid addicted, and on the other hand,

hospitals must utilize their resources to handle “pill seekers.”

         615.    Hospitals around the United States are the front-line treatment for victims of the

opioid epidemic. Hospitals – legally and morally – are compelled to treat patients with opioid-

related conditions and, as a result, have been directly damaged by the epidemic. In addition to the

cost of the opioid drugs themselves, hospitals have and continue to incur millions of dollars in

damages for the costs of uncompensated care resulting from the unlawful marketing, distribution

and sale of opioids.

         616.    Across the country, hospitals are struggling from the relentless and crushing

financial burdens resulting from the epidemic of opioid addiction and abuse. Every day, more than

115 Americans lose their lives after overdosing on opioids.240 The effects of the opioid epidemic

on hospitals may soon become even worse. The coverage rules under the Affordable Care Act

(ACA) are in transition, thus creating the possibility of increased costs for hospitals for treatment

of opioid-addicted patients admitted under the Emergency Medical Treatment and Labor Act



240
   Opioid Overdose Crisis, National Institute on Drug Abuse (revised March 2018),
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis#one. (“Opioid Crisis, NIH”).


                                                     182
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 192 of 324. PageID #: 192




(“EMTALA”), 42 U.S.C. § 1395dd.241

         617.    Perhaps more than any other institution, hospitals directly bear the brunt of the

opioid crisis. The state of Louisiana has been one of the most affected states in the nation.

         618.    The national opioid crisis has especially affected Louisiana and Plaintiff’s

Community in particular.

         619.    Opioid abuse costs Louisianans $296 million per year in healthcare costs alone.242

And for the indigent, uninsured or underinsured patient, these costs are being passed down to, and

absorbed by, hospitals and other healthcare providers who are obligated to treat addicted persons

and do not receive full or any financial reimbursement for their services and treatment. Unabated,

these costs will continue to increase as the epidemic continues to spread.

         620.    Louisiana is one of the top states relating to painkiller prescription frequency. It is

estimated that, on average, Louisiana physicians write 108 to 122 prescriptions per 100 persons

per year (i.e. there are more opioid prescriptions than Louisiana residents).243 According to the

CDC, Louisiana ranked 7th in 2013, 8th in 2014, 8th in 2015, and 5th in 2016 in the United States

for prescription rate of opioids. Over the last six years, Louisiana averaged 39% higher than the

national average in prescription rates for opioids. Corrected data concerning overdose deaths in

Louisiana resulting from opioid use in 2014 evidenced a 125% increase from that originally




241
   American Hospital Association, AHA Priorities to Address the Opioid Crisis,
https://www.aha.org/guidesreports/2018-03-02-aha-priorities-address-opioid-crisis, (last accessed April 28, 2018).
242
    Matrix Global Advisors, LLC (2014) Health Care Costs from Opioid Abuse: A State by State Analysis, available
at https://drugfree.org/wp-content/uploads/2015/Matrix_Opioidabuse_040415.pdf.
243
  Louisiana Commission on Preventing Opioid Abuse, The Opioid Epidemic: Evidence Based Strategies Legislative
Report,    April    2017,     available   at   http://www.lsbme.la.gov/sites/default/files/documents/Healthcare%
20Resources%20for%20the%20Practitioner/LA%20Commission%20on%20Opioid%20Abuse.pdf; see also, IMS
Health, Vector One: National, years 1991-1996, Data Extracted 201. IMS Health, National Prescription Audit, Years
1997-2013, Data Extracted 2014; Louisiana PMP, Data Extracted 2016 and compared to U.S. Census Data.



                                                        183
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 193 of 324. PageID #: 193




published.244

            621.   Only six states average more prescriptions a year than Louisiana.245

            622.   Louisiana is one of eight states that has more opioid prescriptions than it has

residents. In 2013, Louisiana ranked first in opioid prescribing according to the CDC Morbidity

and Mortality Weekly Report and the Louisiana Department of Health and Hospitals. The state

was found to have the sixth highest prescription-per-capita rate at 1.03 pain killer prescriptions

written per Louisiana resident in 2015, meaning that in 2015 there were more opioid prescriptions

written in Louisiana than there were people living in Louisiana.246

            623.   As the Louisiana Department of Health Secretary Dr. Rebekah Gee has said, “the

opioid epidemic [has] become one of the worst public health scourges in America. It has led to

deaths in every parish in this state.”247 According to the Trust for America's Health, the number of

deaths caused by opioid overdose has tripled in Louisiana since 1999.248 Louisiana recorded nearly

780 overdose deaths in 2014 alone.249 And according to a new study by researcher Christopher

Ruhm of the University of Virginia, published in the American Journal of Medicine, due to

limitations in opioid death data collection and reporting, actual opioid deaths for 2014 were likely

24% higher nationally than previously estimated and more than 100% higher than reported in


244
  Ruhm, C.J. (2017) American Journal of Preventive Medicine, Geographic Variation in Opioid and Heroin Involved
Drug Poisoning Mortality Rate, available at http://dx.doi.org/10.1016/j.amepre.2017.06.009.
245
   Louisiana Commission on Preventing Opioid Abuse, The Opioid Epidemic: Evidence Based Strategies Legislative
Report, April 2017, available at http://www.lsbme.la.gov/sites/default/files/documents/Healthcare%20Resources%
20for%20the%20Practitioner/LA%20Commission%20on%20Opioid%20Abuse.pdf.
246
    Louisiana Department of Health: Frequently Asked Questions about Opioid Prescribing, available at
http://ldh.la.gov/assets/opioid/OpioidFAQFactSheet.pdf.
247
   Rebekah Allen, “Bill to combat opioid abuse signed into law, limits prescriptions, aims to stop ‘doctor shopping’”
The Advocate June 12, 2017, available at http://www.theadvocate.com/baton_rouge/news/politics/
legislature/article_0b34c0f6-4fa3-11e7-9088-abcacae397bc.html.
248
        Key    Health     Data     About     Louisiana.     Trust    for    America's     Health,    available     at
http://healthyamericans.org/states/?stateid=LA.
249
      Id.



                                                          184
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 194 of 324. PageID #: 194




certain states, including Louisiana.250 Drug overdoses are now the leading cause of injury death in

Louisiana, surpassing motor-vehicle related deaths.251s

         624.     A 2016 Centers for Disease Control and Prevention study estimated the national

economic impact of prescription opioid overdoses, abuse and dependence to be $78.5 billion

annually. The study broke down the distribution of this impact further:

                      •    Lost Productivity: $42 billion (53.3 %)

                      •    Health Insurance: $26.1 billion (33.3%)

                      •    Criminal Justice: $7.6 billion (9.7%)

                      •    Substance Abuse Treatment $28 billion (3.6%)

         625.     Louisiana has suffered and continues to suffer catastrophic damages from the

opioid crisis. Contrary to the false propaganda published and disseminated by Defendants, opioid

analgesic pain relievers represent a health crisis both nationally and in Louisiana. The supernatural

addictive qualities of Defendants’ products (opioid analgesic pain relievers or “opioids”) and

resulting impact are easily confirmed by available data. For instance, opioid analgesic pain

relievers represent 289 million prescriptions written per year.252 As opioid dispensation and use

increased, so did the number of emergency department visits which increased by more than 200

percent from 2005 to 2011.253 Along with the dramatic increase in emergency department visits,



250
    Christopher J. Ruhm, “Geographic Variation in Opioid and Heroin Involved Drug Poisoning Mortality Rates”
American Journal of Preventative Medicine Published Online, August 7, 2017, available at
https://www.ajpmonline.org/article/S0749-3797(17)30313-6/fulltext.
251
    “The Facts Hurt: A State-By-State Injury Prevention Policy Report” Trust for America's Health, available at
http://healthyamericans.org/reports/injuryprevention15/.
252
  Levy, B., Paulozzi, L. Mack, K.A., & Jones, C.M. (2015). Trends in opioid analgesic-prescribing rates by specialty,
US, 2007-2012. American Journal of Preventative Medicine, 49(3), 409-413.
253
  Crane, E. H. (2013). The CBHSQ Report: Emergency department visits involving narcotic pain relievers. Rockville,
MD: Substance Abuse and Mental Health Services Administration, Center for Behavioral Health Statistics and
Quality.



                                                        185
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 195 of 324. PageID #: 195




overdose deaths caused by opioid analgesic pain relievers reached epic proportions in 2014 when

25,760 people died in the United States as result of prescription drugs.254 In addition to these direct

deaths, the secondary heroin market created by the addiction to opioid analgesic pain relievers

resulted in an increase of five times the number of heroin overdose deaths from 1,878 deaths in

2004 to 10,574 deaths in 2014.255 During that time period, Defendants’ drugs earned poignant

street names such as: “Hillbilly Heroin” and “O.C.” (OxyContin, Percodan, and Percocet); “O

Bomb” and “Stop Signs” (Opana); “Murder 8,” “China White,” “Goodfella,” and “TNT” (Actiq

and Duragesic).256

         626.    Defendants’ misrepresentations prompted Louisiana health care providers to

prescribe, patients to take, and payors to cover opioids for the treatment of chronic pain. Through

their marketing, the Marketing Defendants overcame barriers to widespread prescribing of opioids

for chronic pain with deceptive messages about the risks and benefits of long-term opioid use.

Defendants compounded these harms by supplying opioids beyond even what this expanded

market could bear, funneling so many opioids into Louisiana communities that they could only

have been delivering opioids for diversion and illicit use. The massive number of opioids that

flooded into Louisiana as a result of Defendants’ wrongful conduct has devastated communities

across the State.

         627.    Defendants’ deceptive marketing substantially contributed to an explosion in the

use of opioids across the country. Approximately 20% of the population between the ages of 30

254
   Centers for Disease Control and Prevention. (2016). CDC Wonder: Multiple cause of death 1999 -2014. Retrieved
from https://wonder.cdc.gov/wonder/help/mcd.html.
255
  Rudd, R. A., Aleshire, N., Zibbel, J.E., & Gladden, R. M. (2016). Increases in drug and opioid overdose deaths -
United States, 2000-2014. MMWR, 64(50), 1378-1382.
256
    NIDA, (2016) & DEA, (2015). See also National Institutes of Health: Office of Research Services,
https://www.nihlibrary.nih.gov/resources/subject-guides/opioids/street-commercial-names; Facing Addiction in
America: The Surgeon General’s Report on Alcohol, Drugs, and Health, https://www.ncbi.nlm.
nih.gov/books/NBK424847/table/appd.t14/.



                                                       186
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 196 of 324. PageID #: 196




and 44, and nearly 30% of the population over 45, have used opioids. Opioids are the most common

treatment for chronic pain, and 20% of office visits now include the prescription of an opioid.

         628.    The sharp increase in opioid use resulting from Defendants’ conduct has led

directly to a dramatic increase in opioid abuse, addiction, overdose, and death throughout the

United States, including in Louisiana. Representing the NIH’s National Institute of Drug Abuse in

hearings before the Senate Caucus on International Narcotics Control in May 2014, Dr. Nora

Volkow explained that “aggressive marketing by pharmaceutical companies” is “likely to have

contributed to the severity of the current prescription drug abuse problem.”

         629.    In August 2016, then U.S. Surgeon General Vivek Murthy published an open letter

to physicians nationwide, enlisting their help in combating this “urgent health crisis” and linking

that crisis to deceptive marketing. He wrote that the push to aggressively treat pain, and the

“devastating” results that followed, had “coincided with heavy marketing to doctors . . . . [m]any

of [whom] were even taught—incorrectly—that opioids are not addictive when prescribed for

legitimate pain.”

         630.    Scientific evidence demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”

         631.    There is a parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes. The opioid epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”257




257
  Robert M. Califf, M.D., Janet Woodcock, M.D., and Stephen Ostroff, M.D., A Proactive Response to Prescription
Opioid Abuse, The New Eng. J. Med., April 14, 2016, http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.



                                                     187
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 197 of 324. PageID #: 197




       632.    In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

       633.    By continuing to fill and failing to report suspicious orders of opioids, Defendants

have enabled an oversupply of opioids, which allows non-patients to become exposed to opioids,

and facilitates access to opioids for both patients who could no longer access or afford prescription

opioids and individuals struggling with addiction and relapse. Defendants had financial incentives

to distribute higher volumes and not to report suspicious orders or guard against diversion.

Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

manufacturers based on market share and volume. As a result, higher volumes may decrease the

cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

the increased sales volumes result in increased profits.

       634.    It has been estimated that 60% of the opioids that are abused come, directly or

indirectly, through physicians’ prescriptions. In 2011, 71% of people who abused prescription

opioids got them through friends or relatives, not from drug dealers or the internet.

       635.    Individuals addicted to prescription opioids often transition to heroin due to its

lower cost, ready availability, and similar high. In fact, people who are addicted to prescription

opioid painkillers are 40 times more likely to be addicted to heroin. The CDC identified addiction

to prescription pain medication as the strongest risk factor for heroin addiction. Roughly 80% of




                                                 188
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 198 of 324. PageID #: 198




heroin users previously used prescription opioids.

       636.    A recent, even more deadly problem stemming from the prescription opioid

epidemic involves fentanyl—a powerful opioid prescribed for cancer pain or in hospital settings

that has made its way into Louisiana communities.

       637.    Carfentanil, a powerful derivative of fentanyl, has increasingly been found in heroin

and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary medicine

to sedate large wild animals such as elephants and has been researched as a chemical weapon. A

dose the size of a grain of salt can rapidly lead to deadly overdose in humans.

       638.    Defendants were fully aware of doctors and clinics whose prescribing activities

were questionable. Yet, upon information and belief, Defendants did nothing to stop the pills mills

from operating, and to the contrary encouraged their activities by sending sales representatives to

the pill mills and continuing to supply excessive quantities of opioids.

       639.    Across the state, Louisiana families and communities have faced heartbreaking

tragedies that cannot be adequately conveyed by these statistics and have faced them all too often.

Many grieving families have been financially tapped out by the costs of repeated cycles of

addiction treatment programs; others have lost hope and given up. This increasing number of cases

also takes both a physical and mental toll on investigators and first responders.

       640.    Overdose deaths are only one consequence. Opioid addiction and misuse also result

in an increase in emergency room visits, emergency responses, and emergency medical

technicians’ administration of Narcan or naloxone-the antidote to opioid overdose. In fact, the rate

of opioid-related emergency department visits increased in almost all states from 2009 to 2014

according to data from the Agency of Healthcare Research and Quality.

       641.    Further, children of parents addicted to opioids are invisible victims of the




                                                 189
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 199 of 324. PageID #: 199




epidemic, which unfortunately results in these children flooding into the State’s child protection

system.

       642.    Meanwhile, case-workers burn-out as a result of the frustration at the difficulty of

reuniting families due to the relapses associated with opioids, and in some cases, significant

secondary trauma. To successfully reunify children of parents with opioid addiction requires much

more intensive casework, and according to some local agencies, more children are being placed in

permanent custody than returning to their parents.

       643.    Children removed from homes with drug abuse tend to stay in foster care longer

and to enter foster care having experienced more significant trauma, which makes their care more

expensive.

       644.    Increasingly, children entering the foster care system from homes with drug abuse

are dealing with significant mental health issues, requiring intensive treatment that may cost as

much as hundreds of dollars per day per child, because of what they have seen or experienced.

       645.    Even infants have not been immune to the impact of opioid abuse. There has been

a dramatic rise in the number of infants who are born addicted to opioids due to prenatal exposure

and suffer from neonatal abstinence syndrome (“NAS,” also known as neonatal opioid withdrawal

syndrome, or “NOWS”). These infants painfully withdraw from the drug once they are born, cry

nonstop from the pain and stress of withdrawal, experience convulsions or tremors, have difficulty

sleeping and feeding, and suffer from diarrhea, vomiting, and low weight gain, among other

serious symptoms. The long-term developmental effects are still unknown, though research in

other states has indicated that these children are likely to suffer from continued, serious neurologic

and cognitive impacts, including hyperactivity, attention deficit disorder, lack of impulse control,

and a higher risk of future addiction. When untreated, NAS can be life-threatening. In 2009, more




                                                 190
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 200 of 324. PageID #: 200




than 13,000 infants in the United States were born with NAS, or about one every hour.

         646.    This dramatic rise in NAS may be described as an epidemic within an epidemic.

         647.    Rising opioid use and abuse have negative social and economic consequences far

beyond overdoses in other respects as well. According to a recent analysis by a Princeton

University economist, approximately one out of every three working age men who are not in the

labor force take daily prescription pain medication. The same research finds that opioid prescribing

alone accounts for 20% of the overall decline in the labor force participation for this group from

2014-16, and 25% of the decline in labor force participation among women. Many of those taking

opioids still said they experienced pain daily.

         648.    In particular, the opioid epidemic has been devastating in Plaintiff’s Community.

         649.    According to the CDC, St. Landry Parish had an estimated death rate due to drug

poisoning in 2016 of 20 to 21 deaths per 100,000 residents, up from a rate of 6 to 7 deaths in

1999.258

         650.    From 2014 to 2016 there were 32 drug poisoning deaths in St. Landry Parish, for a

drug overdose mortality rate of 13 deaths per 100,000 people.259 From 2012 to 2014 there were

27 drug poisoning deaths in St. Landry Parish, for a drug overdose mortality rate of 11 deaths per

100,000 people.260 From 2006 to 2012 there were 92 drug poisoning deaths in St. Landry Parish,

for a drug overdose mortality rate of 16 deaths per 100,000 people.261


258
   CDC, National Center for Health Statistics, Drug Poisoning Mortality in the United States, 1999-2016, “County
Estimates” spreadsheet, (information for St. Landy Parish, LA) available at https://www.cdc.gov/nchs/data-
visualization/drug-poisoning-mortality/.
259
   County Health Rankings & Roadmaps, Drug overdose deaths, available at
http://www.countyhealthrankings.org/app/louisiana/2018/measure/factors/138/data.
260
   County Health Rankings & Roadmaps, Drug overdose deaths, available at
http://www.countyhealthrankings.org/app/louisiana/2016/measure/factors/138/data.
261
   County Health Rankings & Roadmaps, Drug poisoning deaths, available at
http://www.countyhealthrankings.org/app/louisiana/2015/measure/factors/138/data.



                                                      191
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 201 of 324. PageID #: 201




            651.    The CDC has tracked prescription rates per county in the United States, identifying

the geographic “hotspots” for rates of opioid prescriptions.262 The CDC has calculated the

geographic distribution at county levels of opioid prescriptions dispensed per 100 persons,

revealing that St. Landry Parish has been a consistent hotspot for at least the past decade.

            652.    According to data compiled by the CDC, in 2016 the rate at which opioids were

prescribed in St. Landry Parish was 145.5 opioid prescriptions dispensed for every 100 people,263

which was more than double the national average of 66.5 prescriptions per 100 people.264 The

CDC’s statistics prove that the opioid prescription rates in St. Landry Parish have exceeded any

legitimate medical, scientific, or industrial purpose. The overall opioid prescribing rate in 2015 in

the United States was 70.6 prescriptions per 100 people.265 The prescription rate for St. Landry

Parish in 2015 was even higher than in 2016 at 151.2 per 100 people – more than one and a half

prescriptions for every man, woman and child living in St. Landry Parish.266

            653.    Unfortunately, the 2015 and 2016 high rates of opioid prescriptions were not an

aberration for St. Landry Parish. Consistently, the opioid prescribing rates in St. Landry Parish

have been significantly greater than the national average, which is itself too high. Compared to a

national average of 75.6 opioid prescriptions per 100 people in 2014,267 the opioid prescription

rate in St. Landry Parish was 158.1 per 100 people.268


262
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
263
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates 2016 (reporting for “St. Landry, LA”
here and below), available at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html.
264
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
265
      Id.
266
   U.S. County Prescribing Rates, 2015, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html.
267
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
268
   U.S. County Prescribing Rates, 2014, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html.



                                                        192
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 202 of 324. PageID #: 202




           654.     In 2013, compared to a national prescribing rate of 78.1 per 100 persons,269 the

prescription rate in St. Landry Parish was 161.6 per 100 persons.270 Compared to a national

prescribing rate of 81.3 per 100 persons in 2012,271 the prescription rate in St. Landry Parish was

161.0 per 100 persons.272

           655.     Compared to a national prescribing rate of 80.9 per 100 persons in 2011,273 the

prescription rate in St. Landry Parish was 156.9 per 100 persons.274 In 2010, compared to a

national prescribing rate of 81.2 per 100 persons in 2010,275 the prescription rate in St. Landry

Parish was 159.8 per 100 persons.276

           656.     The sheer volume of these dangerously addictive drugs was destined to create the

present crisis of addiction, abuse, and overdose deaths in Louisiana and, in particular, Plaintiff’s

Community.

           657.     Opioid abuse has quickly become one of the nation’s most pressing health

management issues, not only because of its toll on patients, but increasingly because of the

financial impact on hospitals and the rest of the healthcare system.277



269
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
270
   U.S. County Prescribing Rates, 2013, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html.
271
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
272
   U.S. County Prescribing Rates, 2012, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html.
273
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
274
   U.S. County Prescribing Rates, 2011, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html.
275
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
276
   U.S. County Prescribing Rates, 2010, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html.
277
   Jennifer Bresnick, Hospitals Face Higher Costs, More ED Visits from Opioid Abuse, HealthIT Analytics (Dec.
21, 2016), https://healthitanalytics.com/news/hospitals-face-higher-costs-more-ed-visits- from-opioid-abuse, (last
accessed on April 26, 2018).



                                                        193
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 203 of 324. PageID #: 203




            658.   Defendants extract billions of dollars of revenue from the addicted American public

while tens of millions of dollars of injury are caused to hospitals as the reasonably foreseeable

consequences of the prescription opioid addiction epidemic. Indeed, Defendants depended on the

hospitals to mitigate the health consequences of their illegal activities – at no cost to the defendants

– thereby permitting the defendants to perpetuate their scheme. The Defendants knew that but for

the hospitals providing at least some aspect of a safety net, the number of overdose deaths and

other related health consequences arising from opioid addictions would have even been far greater

than actually occurred, and the public outcry and political backlash threatening their profitmaking

activities would have come far swifter and far more certain.

            659.   The statistics are startling. Adult hospitalizations due to opioid misuse or

dependence doubled from 2000 to 2012. From 2005 to 2014, emergency department visits

exhibited a 99.4% cumulative increase.278

            660.   Between 2005 and 2014 there was a dramatic increase nationally in hospitalizations

involving opioids: the rate of opioid-related inpatient stays increased 64 percent, and the rate of

opioid-related emergency department (ED) visits nearly doubled.279

            661.   The average health care costs for opioid abusers were 8 times higher than those of

non-abusers.280

            662.   The cost to hospitalize those with opioid abuse or dependence problems has more

than tripled in a decade, up to nearly $15 billion in 2012. Similarly, the number of patients



278
      Id.
279
   Audrey J. Weiss, et al, Patient Characteristics of Opioid-Related Inpatient Stays and Emergency
 Department Visits Nationally and by State, 2014 (June 2017), https://www.hcup-
us.ahrq.gov/reports/statbriefs/sb224-Patient-Characteristics-Opioid-Hospital-Stays-ED-Visits-by- State.pdf.
280
   Alan G. White, PhD, et al., Direct Costs of Opioid Abuse in an Insured Population in the United States, Journal
of Managed Care Pharmacy, Vol. 11, No. 6 July/August 2005, at 469.


                                                       194
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 204 of 324. PageID #: 204




hospitalized for the effects of these drugs surged by more than 72% in 2012, although overall

hospitalizations during that time stayed relatively flat.281

            663.    Private insurance is only covering a portion of that. The burden is carried out by

the hospitals, the patients and the government programs.282 In 2012, hospitals provided almost $15

billion for opioid related inpatient care, more than double of what they billed in 2002.283 A

substantial portion of these costs were under-insured or unreimbursed.

            664.    In 2012, an average hospital stay for an opioid patient cost about $28,000, and only

about 20% of the discharges related to those incidents were covered by private insurance. The

number increased to $107,000 if there was an associated infection, with merely 14% covered by

insurance.284

            665.    Patients with complex opioid-related histories (medically and psychosocially) often

cannot get treatment at skilled nursing facilities if they are discharged by hospitals. As a result,

they wind up staying in hospitals longer, so the cost of their care goes up.285

            666.    The cost of treating opioid overdose victims in hospital intensive care units jumped

58 percent in a seven-year span. Between 2009 and 2015, the average cost of care per opioid

admission increased from $58,000 to $92,400. This was during a period where the overall medical

cost escalation was about 19 percent. This cost increase also highlights a troubling trend: overdose




281
    Marty Stempniak, Opioids Add to a Sharp Rise in Hospitalizations, Costs, (May 5, 2016),
https://www.hhnmag.com/articles/7231-opioids-contribute-to-a-sharp-rise-in-hospitalizations-health-care- costs,
(last accessed on April 28, 2018).
282
    Id.
283
  Shefali Luthra, Opioid Epidemic Fueling Hospitalizations, Hospital Costs, KAISER HEALTH NEWS (May 2,
2016), https://khn.org/news/opioid-epidemic-fueling-hospitalizations-hospital-costs/.
284
      Id.
285
      https://khn.org/news/opioid-epidemic-fueling-hospitalizations-hospital-costs/ last accessed on April 25, 2018.


                                                           195
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 205 of 324. PageID #: 205




patients are arriving in worse shape, requiring longer stays and a higher level of treatment.286

         667.   Defendants were aware of federal and Louisiana laws which required hospitals to

admit and treat opioid-addicted patients when they engaged in their unlawful marketing and

distribution scheme.

         668.   The impacts of Defendants’ conduct foreseeably include America’s hospitals.

Under EMTALA, hospitals are not only required to “provide medical screening examination for

individuals” that visit their emergency departments for any emergency medical condition, but also

to provide treatment to stabilize the medical condition, or appropriately transfer the individual to

another hospital. 42 U.S.C. §§ 1395dd (a) & (b). “In general any individual (whether or not eligible

for benefits under this subchapter) comes to a hospital and the hospital determines that the

individual has an emergency medical condition, the hospital must provide either – (A) within the

staff and facilities available at the hospital, for such further medical examination and such

treatment as may be required to stabilize the medical condition, or (B) for transfer of the individual

to another medical facility in accordance with subsection (c).” 42 U.S.C. § 1395dd (b).

         669.   Under EMTALA, “emergency medical condition” means – (A) a medical condition

manifesting itself by acute symptoms of sufficient severity (including severe pain) such that the

absence of immediate medical attention could reasonably be expected to result in – (i) placing the

health of the individual (or, with respect to a pregnant woman, the health of the woman or her

unborn child) in serious jeopardy, (ii) serious impairment to bodily functions, or (iii) serious

dysfunction of any bodily organ or part; or (B) with respect to a pregnant woman who is having

contractions – (i) that there is inadequate time to effect a safe transfer to another hospital before




286
   Casey Ross, The Cost of Treating Opioid Overdose Victims is Skyrocketing, STAT NEWS (August 11, 2017),
https://www.statnews.com/2017/08/11/opioid-overdose-costs/.


                                                    196
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 206 of 324. PageID #: 206




delivery, or (ii) that transfer may pose a threat to the health or safety of the woman or the unborn

child. 42 U.S.C § 1395dd(e)(1).

           670.     Louisiana has its own EMTALA-like counterpart known as the Louisiana “anti-

dumping” statute.287

           671.     Louisiana’s anti-dumping law states, in relevant part:

                    Any general hospital licensed under this Part, which is owned or operated, or both,
                    by a hospital service district, which benefits from being financed by the sale of
                    bonds that are exempt from taxation as provided by Louisiana law, or which
                    receives any other type of financial assistance from the state of Louisiana and which
                    offers emergency room services to the public and is actually offering such services
                    at the time, shall make its emergency services available to all persons residing in
                    the territorial area of the hospital regardless of whether the person is covered by
                    private, federal Medicare or Medicaid, or other insurance. Each person shall receive
                    these services free from discrimination based on race, religion, or national ancestry
                    and from arbitrary, capricious, or unreasonable discrimination based on age, sex,
                    or physical condition and economic status. However, in no event shall emergency
                    treatment be denied to anyone on account of inability to pay. Any such hospital
                    found to be in violation of this Section shall not receive any client referrals from
                    the Department of Health and Hospitals.288

           672.     As a result, hospitals in Louisiana must admit opioid addicts, who present

themselves in need of intensive care or who display symptoms of addiction or related mental

illness. In addition, if an opioid addict is pregnant, and presents herself for treatment, hospitals

also have to provide care for both the opioid-addicted mother and her opioid-addicted baby.

           673.     Because of the opioid addiction epidemic in the area which Plaintiff serves, opioid-

addicted patients routinely occupy services in Plaintiff’s facility. Many of those patients have no

insurance and do not pay for their care.

           674.     Plaintiff has treated, and continues to treat, numerous patients for opioid-related

conditions, including: (1) opioid overdose; (2) opioid addiction; and (3) psychiatric and related


287
      La. Rev. Stat. 40:2113.4-2113.6.
288
      La. Rev. Stat. 40:2113.4.



                                                    197
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 207 of 324. PageID #: 207




treatment for opioid users who present as in need of mental health treatment programs.

       675.    Plaintiff has incurred and continues to incur substantial unreimbursed charges for

its treatment of patients with opioid conditions. These patients with opioid-related conditions

presented for treatment to Plaintiff as a proximate result of the opioid epidemic created and

engineered by Defendants. As a result, Plaintiff’s monetary losses with respect to treatment of

these patients are foreseeable to Defendants and are the proximate result of Defendants’ acts and

omissions previously specified herein.

       676.    Plaintiff admitted and treated many of these patients as a result of its obligations

under EMTALA and the Louisiana “anti-dumping” statute.

       677.    Plaintiff also has incurred and continues to incur operational costs in the form of

surgical procedures and other care that have been and are more complex and expensive than would

otherwise be the case if the patients were not opioid addicts. Surgical procedures on opioid addicts

have been and are more complicated and costly and require special protective measures and related

prescription drugs.

       678.    Additionally, opioid users have presented and continue to present themselves to

Plaintiff claiming to have illnesses and medical problems, which are actually pretexts for obtaining

opioids to satisfy their cravings. Plaintiff has incurred and continues to incur operational costs

related to the time and expenses in diagnosing, testing, and otherwise dealing with “pill seekers”

before their true status can be determined and they can be rejected as patients.

       679.    The costs incurred by these hospitals are the direct and proximate result of the

opioid epidemic created and engineered by Defendants.

       680.    Because opioids are very dangerous and highly addictive drugs, it was foreseeable

to Defendants that the opioid epidemic would result in a corresponding epidemic of patients with




                                                198
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 208 of 324. PageID #: 208




opioid-related conditions going to hospitals for treatment, including Plaintiff. It was also

foreseeable to Defendants that Plaintiff would suffer and continues to suffer substantial monetary

losses because of the opioid epidemic, since hospitals are on the front-line of treatment for these

patients and must bear the additional costs of treating these patients.

        681.    It was also foreseeable that Defendants would face claims from hospitals for their

costs treating opioid-related illnesses. Hospital lien laws enacted in many states, including

Louisiana, provide hospitals with a lien to recover for their costs and services related to any

incident that gave rise to injury to the hospital’s patients for the hospital’s charges resulting

therefrom. However, recovery on these liens is rarely realized.

        682.    The Defendants have marketed and continue to market their opiate products directly

to Plaintiff and other hospitals, and to doctors on staff at those hospitals, and thus Plaintiff was and

is a direct customer and victim of the Defendants’ false, deceptive and unfair marketing of opioids

described hereafter.

        683.    As a direct and proximate result of Defendants’ misconduct, Plaintiff has purchased

opiates from the Defendants, and used them as falsely and deceptively marketed by Defendants,

and suffered damages as a direct and proximate cause of Defendants’ acts as described in this

Complaint.

        684.    Plaintiff brings this civil action to recover monetary losses that have been incurred

as a direct and proximate result of Defendants’ false, deceptive, and unfair marketing of

prescription opioids. Such economic damages were foreseeable to Defendants and were sustained

because of Defendants’ unlawful actions and omissions.

        685.    Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioid, falsely representing to




                                                  199
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 209 of 324. PageID #: 209




doctors that patients would only rarely succumb to drug addiction.                  These pharmaceutical

companies aggressively advertised to and persuaded hospitals and their doctors to purchase and

prescribe highly addictive, dangerous opioids, and turned patients into drug addicts for their own

corporate profit. Such actions were unlawful.

        686.        Plaintiff also brings this suit against the wholesale distributors and retailers of these

highly addictive drugs. The distributors and manufacturers unlawfully breached their legal duties

under federal law to monitor, detect, investigate, and report suspicious orders of prescription

opiates which allowed the manufacturers’ deceptive advertising to result in sales of their products

to hospitals, including Plaintiff’s hospital.

        687.        Ultimately, the Defendants’ course of conduct has violated and continues to violate

Louisiana and federal law as laid out in Plaintiff’s Claims for Relief herein, including but not

limited to:

               a.       La. R.S. § 40:625, in that Defendants have engaged in false
                        advertising, which conduct causes harm to Plaintiff;
               b.       La. R.S. § 40:617, in that Defendants have engaged in misbranding
                        drugs or devices, which conduct causes harm to Plaintiff;
               c.       La. R.S. § 51:1404, et seq., in that Defendants have engaged in unfair
                        acts or practices prohibited by the Louisiana Unfair Trade Practices
                        Act, which acts cause substantial harm to Plaintiff;
               d.       La. R.S. § 15:1353, et seq. and La. R.S. § 40:70.1, in that Defendants
                        derived profits from a pattern of racketeering activity and invested
                        that profit derived in part from knowingly making false claims or
                        causing false claims to be made to the Louisiana state Medicaid
                        program for the purpose of obtaining greater compensation to which
                        they were legally entitled, which conduct causes harm to Plaintiff;
               e.       La. R.S. 9:2800.51, et seq., in that Defendant manufacturers created a
                        product that was unreasonably dangerous because of their failure to
                        provide adequate warnings and breaches of express warranties made
                        about their product, which conduct causes harm to Plaintiff;
               f.       La. C.C. Art. 2315, in that Defendants did breach a duty they owed
                        to the public and health care providers and payors by creating an
                        unreasonable risk through the spreading of falsehoods about the


                                                      200
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 210 of 324. PageID #: 210




                   risks and efficacy of opioid pain medication and by violating
                   Louisiana legal prohibitions against false advertising and
                   misbranding drugs, which conduct causes harm to Plaintiff;
              g.   Fraud, in that Defendants did make misrepresentations of material
                   fact with the intent to deceive, causing justifiable and reasonable
                   reliance by and resultant injury to Plaintiff.
              h.   La. C.C. Art 2298, enrichment without cause, in that all Defendants
                   have unjustly been enriched without cause at the expense of Plaintiff.

           G.      The Opioids the Defendants Sold Migrated into Other Jurisdictions

       688.     As the demand for prescription opioids grew, fueled by their potency and purity,

interstate commerce flourished: opioids moved from areas of high supply to areas of high demand,

traveling across state lines in a variety of ways.

       689.     First, prescriptions written in one state would, under some circumstances, be filled

in a different state. But even more significantly, individuals transported opioids from one

jurisdiction specifically to sell them in another.

       690.     When authorities in states such as Ohio and Kentucky cracked down on opioid

suppliers, out-of-state suppliers filled the gaps. Florida in particular assumed a prominent role, as

its lack of regulatory oversight created a fertile ground for pill mills. Residents of Ohio and other

states would simply drive to Florida, stock up on pills from a pill mill, and transport them back to

home to sell. The practice became so common that authorities dubbed these individuals

“prescription tourists.”

       691.     The facts surrounding numerous criminal prosecutions illustrate the common

practice. For example, one man from Warren County, Ohio, was sentenced to four years for

transporting prescription opioids from Florida to Ohio, explained that he could get a prescription

for 180 pills from a quick appointment in West Palm Beach, and that back home, people were




                                                 201
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 211 of 324. PageID #: 211




willing to pay as much as $100 a pill—ten times the pharmacy price.289 In Columbus, Ohio, a

DEA investigation led to the 2011 prosecution of sixteen individuals involved in the “oxycodone

pipeline between Ohio and Florida.”290 When officers searched the Ohio home of the alleged leader

of the group, they found thousands of prescriptions pills, including oxycodone and hydrocodone,

and $80,000 in cash. In 2015, another Columbus man was sentenced for the same conduct—paying

couriers to travel to Florida and bring back thousands of prescription opioids, and, in the words of

U.S. District Judge Michael Watson, contributing to a “pipeline of death.”291

         692.    Outside of Atlanta, Georgia, four individuals pled guilty in 2015 to operating a pill

mill; the U.S. attorney’s office found that most of the pain clinic’s customers came from other

states, including North Carolina, Kentucky, Tennessee, Ohio, South Carolina, and Florida.292

Another investigation in Atlanta led to the 2017 conviction of two pharmacists who dispensed

opioids to customers of a pill mill across from the pharmacy; many of those customers were from

other states, including Ohio and Alabama.293

         693.    In yet another case, defendants who operated a pill mill in south Florida within

Broward County were tried in eastern Kentucky based on evidence that large numbers of

customers transported oxycodone back to the area for both use and distribution by local drug


289
   Andrew Welsh-Huggins, ‘Prescription Tourists’ Thwart States’ Crackdown on Illegal Sale of Painkillers, NBC
News (July 8, 2012), http://www.nbcnews.com/id/48111639/ns/us_news-crime_and_courts/t/prescription-tourists-
thwart-states-crackdown-illegal-sale-painkillers/#WtdyKE2Wy71.
290
    16 Charged in Pill Mill Pipeline, Columbus Dispatch (June 7, 2011), http://www.dispatch.com/content/
stories/loal/2011/06/07/16-charged-in-pill-mill-pipeline.html.
291
      Leader of Ohio Pill Mill Trafficking Scheme Sentenced, Star Beacon (July 16, 2015),
http://www.starbeacon.com/news/leader-of-Ohio-pill-mill-trafficking-scheme-sentenced/article_5fb058f5-deb8-
5963-b936-d71c279ef17c.html.
292
   Press Release, U.S. Dep’t of Just., U.S. Atty’s Off., Northern District of Ga., Four Defendants Plead Guilty to
Operating a “Pill Mill” in Lilburn, Georgia (May 14, 2015), https://www.justice.gov/usao-ndga/pr/four-Defendants-
plead-gulity-operating-pill-mill-lilburn-georgia.
293
    Press Release, U.S Dep’t of Just., U.S. Atty’s Off., Northern District of Ga, Two Pharmacists Convicted for
Illegally Dispensing to Patients of a Pill Mill (Mar. 29, 2017), https://gdna.georgia.gov/press-releases/2017-03-
30/two-pharmacists-convicted-illegally-dispensing-patients-pill-mill.



                                                      202
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 212 of 324. PageID #: 212




trafficking organizations. As explained by the Sixth Circuit in its decision upholding the venue

decision, “[d]uring its existence, the clinic generated over $10 million in profits. To earn this sum

required more business than the local market alone could provide. Indeed, only about half of the

[Pain Center of Broward’s] customers came from Florida. Instead, the clinic grew prosperous on

a flow of out-of-state traffic, with prospective patients traveling to the clinic from locations far

outside Ft. Lauderdale, including from Ohio, Georgia, and Massachusetts.”294 The court further

noted that the pill mill “gained massive financial benefits by taking advantage of the demand for

oxycodone by Kentucky residents.”295

            694.     The route from Florida and Georgia to Kentucky, Ohio, and West Virginia was so

well traveled that it became known as the Blue Highway, a reference to the color of the 30mg

Roxicodone pills manufactured by Mallinckrodt.296 Eventually, as police began to stop vehicles

with certain out-of-state tags cruising north on I-75, the prescription tourists adapted. They rented

cars just over the Georgia state line to avoid the telltale out-of-state tag.297 If they were visiting

multiple pill mills on one trip, they would stop at FedEx between clinics to mail the pills home and

avoid the risk of being caught with multiple prescriptions if pulled over.298 Or they avoided the

roads altogether: Allegiant Air, which offered several flights between Appalachia and Florida, was

so popular with drug couriers that it was nicknamed the “Oxy Express.”299

            695.     While the I-75 corridor was well utilized, prescription tourists also came from other


294
      United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
295
      Id. at 861.
296
      John Temple, American Pain 171 (2016).
297
      Id. at 172.
298
      Id. at 171.
299
   Id.; see also Welsh-Huggins, supra. Note that Interstate 75 was also called as the Oxy Express; for example, the
Peabody Award-winning documentary named The OxyContin Express focuses on the transport of prescription opioids
along I-75, https://www.youtube.com/watch?v=wGZEvXNqzkM



                                                            203
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 213 of 324. PageID #: 213




states. The director of the Georgia drugs and narcotics agency observed that visitors to Georgia

pill mills come from as far away as Arizona and Nebraska.300

            696.   Similar pipelines developed in other regions of the country. For example, the I-95

corridor was another transport route for prescription pills. As the director of the Maine Drug

Enforcement Agency explained, the oxycodone in Maine was coming up extensively from Florida,

Georgia and California.301 And, according to the FBI, Michigan plays an important role in the

opioid epidemic in other states; opioids prescribed in Michigan are often trafficked down to West

Virginia, Ohio, and Kentucky.302

            697.   Along the West Coast, over a million pills were transported from the Lake Medical

pain clinic in Los Angeles and cooperating pharmacies to the City of Everett, Washington.303

Couriers drove up I-5 through California and Oregon, or flew from Los Angeles to Seattle.304 The

Everett-based dealer who received the pills from southern California wore a diamond necklace in

the shape of the West Coast states with a trail of green gemstones—the color of 80-milligram

OxyContin—connecting Los Angeles and Washington state.305




300
      The OxyContin Express, YouTube (Feb. 26, 2014), http://www.youtube.com/watch?v=wGZEvXNqzkM.
301
   Nok-Noi Ricker, Slaying of Florida Firefighter in Maine Puts Focus on Interstate 95 Drug Running, Bangor Daily
News (March 9, 2012), http://bangordailynews.com/2012/03/09/news/state/slaying-of-florida-firefighter-in-maine-
puts-focus-on-interstate-95-drug-running.
302
   Julia Smillie, Michigan’s Opioid Epidemic Tackled From All Directions By Detroit FBI, Workit Health (October
6, 2017), https://www.workithealth.com/blog/fbi-michigan-opioid-crisis.
303
   Harriet Ryan et al., How Black-Market Oxycontin Spurred a Town’s Descent Into Crime, Addiction and
Heartbreak, Los Angeles Times (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-everett/.
304
      Id.
305
      Id.



                                                      204
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 214 of 324. PageID #: 214




       698.     Abundant evidence, thus, establishes that prescription opioids migrated between

cities, counties, and states, including into Louisiana from West Virginia, Kentucky, Illinois,

Georgia, and Florida. As a result, prescription data from any particular jurisdiction does not capture

the full scope of the misuse, oversupply and diversion problem in that specific area. As the criminal

prosecutions referenced above show, if prescription opioid pills were hard to get in one area, they

migrated from another. The manufacturers and distributors were fully aware of this phenomenon

and profited from it.

           H.      The Defendants Conspired To Engage In The Wrongful Conduct
                   Complained Of Herein and Intended To Benefit Both Independently and
                   Jointly From Their Conspiracy

                   1. Conspiracy Among Marketing Defendants

       699.     The Marketing Defendants agreed among themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of opioids for the management

of pain in order to mislead physicians, patients, health care providers, and health care payors

through misrepresentations and omissions regarding the appropriate uses, risks, and safety of

opioids, to increase sales, revenue, and profit from their opioid products.

       700.     This interconnected and interrelated network relied on the Marketing Defendants’

collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs, patient


                                                 205
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 215 of 324. PageID #: 215




education materials, and Front Groups developed and funded collectively by the Marketing

Defendants intended to mislead consumers and medical providers of the appropriate uses, risks,

and safety of opioids.

       701.    The Marketing Defendants’ collective marketing scheme to increase opioid

prescriptions, sales, revenues and profits centered around the development, the dissemination, and

reinforcement of nine false propositions: (1) that addiction is rare among patients taking opioids

for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of addiction

exhibited by opioid patients are actually symptoms of an invented condition dubbed “pseudo

addiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no significant

risks; (6) that long-term use of opioids improves function; (7) that the risks of alternative forms of

pain treatment are greater than the adverse effects of opioids; (8) that use of time-released dosing

prevents addiction; and (9) that abuse-deterrent formulations provide a solution to opioid abuse.

       702.    The Marketing Defendants knew that none of these propositions is true and that

there was no evidence to support them.

       703.    Each Marketing Defendant worked individually and collectively to develop and

actively promulgate these nine false propositions in order to mislead physicians, patients, health

care providers, and healthcare payors regarding the appropriate uses, risks, and safety of opioids.

       704.    What is particularly remarkable about the Marketing Defendants’ effort is the

seamless method in which the Marketing Defendants joined forces to achieve their collective goal:

to persuade consumers and medical providers of the safety of opioids, and to hide their actual risks

and dangers. In doing so, the Marketing Defendants effectively built a new – and extremely

lucrative – opioid marketplace for their select group of industry players.

       705.    The Marketing Defendants’ unbranded promotion and marketing network was a




                                                 206
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 216 of 324. PageID #: 216




wildly successful marketing tool that achieved marketing goals that would have been impossible

to have been met by a single or even a handful of the network’s distinct corporate members.

       706.    For example, the network members pooled their vast marketing funds and dedicated

them to expansive and normally cost-prohibitive marketing ventures, such as the creation of Front

Groups. These collaborative networking tactics allowed each Marketing Defendant to diversify its

marketing efforts, all the while sharing any risk and exposure, financial and/or legal, with other

Marketing Defendants.

       707.    The most unnerving tactic utilized by the Marketing Defendants’ network, was their

unabashed mimicry of the scientific method of citing “references” in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective unbiased

and disinterested experts in the field, scientific method, and an unfounded theory or proposition

would, or should, never gain traction.

       708.    Marketing Defendants put their own twist on the scientific method: they worked

together to manufacture wide support for their unfounded theories and propositions involving

opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

a false consensus through their materials and references.

       709.    An illustrative example of the Marketing Defendants’ utilization of this tactic is the

wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction “rare”

for patients treated with opioids. The authors had analyzed a database of hospitalized patients who

were given opioids in a controlled setting to ease suffering from acute pain. These patients were

not given long-term opioid prescriptions or provided opioids to administer to themselves at home,

nor was it known how frequently or infrequently and in what doses the patients were given their

narcotics. Rather, it appears the patients were treated with opioids for short periods of time under




                                                207
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 217 of 324. PageID #: 217




in-hospital doctor supervision.

        710.    Nonetheless, Marketing Defendants widely and repeatedly cited this letter as proof

of the low addiction risk in connection with taking opioids in connection with taking opioids

despite its obvious shortcomings. Marketing Defendants’ egregious misrepresentations based on

this letter included claims that less than one percent of opioid users became addicted.

        711.    Marketing Defendants’ collective misuse of the Porter & Jick Letter helped the

opioid manufacturers convince patients and healthcare providers that opioids were not a concern.

The enormous impact of Marketing Defendants’ misleading amplification of this letter was well

documented in another letter published in the NEJM on June 1, 2017, describing the way the one-

paragraph 1980 letter had been irresponsibly cited and, in some cases, “grossly misrepresented.”

In particularly, the authors of this letter explained:

        [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
        and uncritically cited as evidence that addiction was rare with long-term opioid
        therapy. We believe that this citation pattern contributed to the North American
        opioid crises by helping to shape a narrative that allayed prescribers’ concerns
        about the risk of addiction associated with long-term opioid therapy…

By knowingly misrepresenting the appropriate uses, risks, and safety of opioids, the Marketing

Defendants committed overt acts in furtherance of their conspiracy.

                    2. Conspiracy Among All Defendants

        712.    In addition, and on an even broader level, all Defendants took advantage of the

industry structure, including end-running its internal checks and balances, to their collective

advantage. Defendants agreed among themselves to increasing the supply of opioids and

fraudulently increasing the quotas that governed the manufacture and supply of prescription

opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

        713.    The interaction and length of the relationships between and among the Defendants




                                                  208
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 218 of 324. PageID #: 218




reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry.

The Marketing and Distributor Defendants were not two separate groups operating in isolation or

two groups forced to work together in a closed system. The Defendants operated together as a

united entity, working together on multiple fronts, to engage in the unlawful sale of prescription

opioids.

       714.    Defendants collaborated to expand the opioid market in an interconnected and

interrelated network in the following ways, as set forth more fully below, including, for example,

membership in the Healthcare Distribution Alliance (“HDA”).

       715.    Defendants utilized their membership in the HDA and other forms of collaboration

to form agreements about their approach to their duties under the CSA to report suspicious orders.

The Defendants overwhelmingly agreed on the same approach – to fail to identify, report or halt

suspicious opioid orders, and fail to prevent diversion. Defendants’ agreement to restrict reporting

provided an added layer of insulation from DEA scrutiny for the entire industry as Defendants

were thus collectively responsible for each other’s compliance with their reporting obligations.

Defendants were aware, both individually and collectively aware of the suspicious orders that

flowed directly from Defendants’ facilities.

       716.    Defendants knew that their own conduct could be reported by other Defendants and

that their failure to report suspicious orders they filled could be brought to the DEA’s attention.

As a result, Defendants had an incentive to communicate with each other about the reporting or

suspicious orders to ensure consistency in their dealings with DEA.

       717.    The Defendants also worked together to ensure that the opioid quotas allowed by

the DEA remained artificially high and ensured that suspicious orders were not reported to the

DEA in order to ensure that the DEA had not basis for refusing to increase or decrease production




                                                209
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 219 of 324. PageID #: 219




quotas due to diversion.

       718.      The desired consistency, and collective end goal was achieved. Defendants

achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

opioids.

            I.      Statutes Of Limitations Are Tolled and Defendants Are Estopped From
                    Asserting Statutes Of Limitations As Defenses

                    1. Continuing Conduct.

       719.      Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

       720.      The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been incurred

until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has not ceased.

The public nuisance remains unabated. The conduct causing the damages remains unabated.

                    2. Equitable Estoppel and Fraudulent Concealment

       721.      Defendants are equitably estopped from relying upon a statute of limitations (or

prescription) defense because they undertook active efforts to deceive Plaintiff and to purposefully

conceal their unlawful conduct and fraudulently assure the public, including the State, Plaintiff,

and Plaintiff’s Community, that they were undertaking efforts to comply with their obligations

under the state and federal controlled substances laws, all with the goal of protecting their

registered manufacturer or distributor status in the State and to continue generating profits.

Notwithstanding the allegations set forth above, the Defendants affirmatively assured the public,

including the State, Plaintiff, and Plaintiff’s Community, that they are working to curb the opioid

epidemic.



                                                210
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 220 of 324. PageID #: 220




       722.    The Defendants were deliberate in taking steps to conceal their conspiratorial

behavior and active role in the deceptive marketing and the oversupply of opioids through

overprescribing and suspicious sales, all of which fueled the opioid epidemic.

       723.    As set forth herein, the Marketing Defendants deliberately worked through Front

Groups purporting to be patient advocacy and professional organizations, through public relations

companies hired to work with the Front Groups and through paid KOLs to secretly control

messaging, influence prescribing practices and drive sales. The Marketing Defendants concealed

their role in shaping, editing, and approving the content of prescribing guidelines, informational

brochures, KOL presentations and other false and misleading materials addressing pain

management and opioids that were widely disseminated to regulators, prescribers and the public

at large. They concealed the addictive nature and dangers associated with opioid use and denied

blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing. They

manipulated scientific literature and promotional materials to make it appear that misleading

statements about the risks, safety and superiority of opioids were actually accurate, truthful, and

supported by substantial scientific evidence. Through their public statements, omissions,

marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiff of actual or

implied knowledge of facts sufficient to put Plaintiff on notice of potential claims.

       724.    Defendants also concealed from Plaintiff the existence of Plaintiff’s claims by

hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the

public that their legal duties to report suspicious sales had been satisfied through public assurances

that they were working to curb the opioid epidemic. They publicly portrayed themselves as

committed to working diligently with law enforcement and others to prevent diversion of these

dangerous drugs and curb the opioid epidemic, and they made broad promises to change their ways




                                                 211
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 221 of 324. PageID #: 221




insisting they were good corporate citizens. These repeated misrepresentations misled regulators,

prescribers and the public, including Plaintiff, and deprived Plaintiff of actual or implied

knowledge of facts sufficient to put Plaintiff on notice of potential claims.

       725.    Plaintiff did not discover the nature, scope and magnitude of Defendants’

misconduct, and its full impact on jurisdiction, and could not have acquired such knowledge earlier

through the exercise of reasonable diligence.

       726.    The Marketing Defendants’ campaign to misrepresent and conceal the truth about

the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s Community

deceived the medical community, consumers, the State, and Plaintiff’s Community.

       727.    Further, Defendants have also concealed and prevented discovery of information,

including data from the ARCOS database, that will confirm their identities and the extent of their

wrongful and illegal activities. On April 11, 2018, the Northern District of Ohio Ordered the

transactional ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the

Court reviewed its previous decisions on this data and held that, because the transaction data had

not yet been produced, Plaintiff could not identify the potential defendants in this litigation, and

further held that such information was “critical”:

       This means Plaintiffs still do not know: (a) which manufacturers (b) sold what types
       of pills (c) to which distributors; nor do they know (d) which distributors (e) sold
       what types of pills (f) to which retailers (g) in what locations. In any given case,
       therefore, the Plaintiff still cannot know for sure who are the correct defendants, or
       the scope of their potential liability. For example, the ARCOS spreadsheets
       produced by DEA show the top five distributors of oxycodone in Ohio in 2014 were
       Cardinal Health, AmerisourceBergen, McKesson, Walmart, and Miami-Luken; but
       there is no way to know whether (or how much) any of these five entities distributed
       oxycodone into Seneca County, Ohio (or any other particular venue). . . . [The]
       DEA and [the] defendants . . . [have] conceded the data was relevant and necessary
       to litigation . . . . Discovery of precisely which manufacturers sent which drugs to
       which distributors, and which distributors sent which drugs to which pharmacies
       and doctors, is critical not only to all of plaintiffs’ claims, but also to the Court’s
       understanding of the width and depth of this litigation.



                                                212
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 222 of 324. PageID #: 222




MDL 2804, Order of April 11, 2018 [Doc. 233] at pp. 6-7 (footnotes omitted).

          728.    Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

know and did not have the means to know the truth, due to Defendants’ actions and omissions.

          729.    Plaintiff and Plaintiff’s Community reasonably relied on Defendants’ affirmative

statements regarding their purported compliance with their obligations under the law and consent

orders.

             J.      Facts Pertaining to Punitive Damages

          730.    As set forth above, Defendants acted deliberately to increase sales of, and profits

from, opioid drugs. The Marketing Defendants knew there was no support for their claims that

addiction was rare, that addiction risk could be effectively managed, that signs of addiction were

merely “pseudo addiction,” that withdrawal is easily managed, that higher doses pose no

significant additional risks, that long-term use of opioids improves function, or that time-release

or abuse-deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly

promoted these falsehoods in order to increase the market for their addictive drugs.

          731.    All of the Defendants, moreover, knew that large and suspicious quantities of

opioids were being poured into communities throughout the United States, yet, despite this

knowledge, took no steps to report suspicious orders, control the supply of opioids, or otherwise

prevent diversion. Indeed, as described above, Defendants acted in concert together to maintain

high levels of quotas for their products and to ensure that suspicious orders would not be reported

to regulators.

          732.    Defendants’ conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and



                                                  213
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 223 of 324. PageID #: 223




regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and supply schemes. This ongoing course of conduct knowingly, deliberately

and repeatedly threatened and accomplished harm and risk of harm to public health and safety,

and large scale economic loss to communities and government liabilities across the country.

       733.    Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the rights

and safety of other persons, even though that conduct had a great probability of causing substantial

harm. The Marketing Defendants’ fraudulent wrongdoing was done with a particularly gross and

conscious disregard.

                    1. The Marketing Defendants Persisted in Their Fraudulent Scheme
                       Despite Repeated Admonitions, Warnings, and Even Prosecutions

       734.    So determined were the Marketing Defendants to sell more opioids that they simply

ignored multiple admonitions, warnings, and prosecutions. These governmental and regulatory

actions included:

                          a.      FDA Warnings to Janssen Failed to Deter Janssen’s
                                  Misleading Promotion of Duragesic

       735.    On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they contain

misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

claims, and lack fair balance.” The March 30, 2000 letter detailed numerous ways in which

Janssen’s marketing was misleading.

       736.    The letter did not stop Janssen. On September 2, 2004, the U.S. Department of




                                                214
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 224 of 324. PageID #: 224




Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

“false or misleading claims about the abuse potential and other risks of the drug, and . . .

unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

2004 letter detailed a series of unsubstantiated, false or misleading claims.

       737.    One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been “‘examining

the circumstances of product use to determine if the reported adverse events may be related to

inappropriate use of the patch’” and noted the possibility “that patients and physicians might be

unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic

approved only for chronic pain in opioid-tolerant patients that could not be treated by other drugs.

                           b.      Governmental Action, Including Large Monetary Fines,
                                   Failed to Stop Cephalon from Falsely Marketing Actiq for
                                   Off-Label Uses

       738.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in civil

and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil). According to a DOJ press release, Cephalon had trained sales representatives to

disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses.

       739.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and the

massive settlement, Cephalon has continued its deceptive marketing strategy.




                                                215
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 225 of 324. PageID #: 225




                            c.     FDA Warnings Did Not Prevent Cephalon from Continuing
                                   False and Off-Label Marketing of Fentora

       740.    On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically denied

Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment of non-

cancer breakthrough pain and use in patients who were not already opioid-tolerant.

       741.    Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009, the

FDA warned Cephalon against its misleading advertising of Fentora (“Warning Letter”). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden “the indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It further

criticized Cephalon’s other direct Fentora advertisements because they did not disclose the risks

associated with the drug.

       742.    Despite this warning, Cephalon continued to use the same sales tactics to push

Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite

the repeated warnings of the dangers associated with the use of the drugs beyond their limited

indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

judicious use of opioids can facilitate effective and safe management of chronic pain.”




                                                 216
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 226 of 324. PageID #: 226




                           d.     A Guilty Plea and a Large Fine Did Not Deter Purdue from
                                  Continuing Its Fraudulent Marketing of OxyContin

        743.   In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

the risk of addiction and was unsupported by science. Additionally, Michael Friedman the

company’s president, pled guilty to a misbranding charge and agreed to pay $19 million in fines;

Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and

Paul D. Goldenheim, its former medical director, pled guilty as well and agreed to pay $7.5 million

in fines.

        744.   Nevertheless, even after the settlement, Purdue continued to pay doctors on

speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

seemingly neutral organizations to disseminate the message that opioids were non-addictive as

well as other misrepresentations. At least until early 2018, Purdue continued to deceptively market

the benefits of opioids for chronic pain while diminishing the associated dangers of addiction.

After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight any legislative

actions that might encroach on its business. Between 2006 and 2015, Purdue and other opioid

producers, along with their associated nonprofits, spent nearly $900 million dollars on lobbying

and political contributions – eight times what the gun lobby spent during that period.

                   2. Repeated Admonishments and Fines Did Not Stop Defendants from
                      Ignoring Their Obligations to Control the Supply Chain and Prevent
                      Diversion

        745.   Defendants were repeatedly admonished and even fined by regulatory authorities,

but continued to disregard their obligations to control the supply chain of dangerous opioids and



                                                217
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 227 of 324. PageID #: 227




to institute controls to prevent diversion.

         746.    In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they wanna

do, and not worry about what the law is. And if they don’t follow the law in drug supply, people

die. That’s just it. People die.”306 He further explained that:

             JOE RANNAZZISI: The three largest distributors are Cardinal Health,
             McKesson, and AmerisourceBergen. They control probably 85 or 90
             percent of the drugs going downstream.

             [INTERVIEWER]: You know the implication of what you’re saying, that
             these big companies knew that they were pumping drugs into American
             communities that were killing people.

             JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly
             what they did.

         747.    Another DEA veteran similarly stated that these companies failed to make even a

“good faith effort” to “do the right thing.” He further explained that “I can tell you with 100 percent

accuracy that we were in there on multiple occasions trying to get them to change their behavior.

And they just flat out ignored us.”

         748.    Government actions against the Defendants with respect to their obligations to

control the supply chain and prevent diversion include:

                      a.       On April 24, 2007, the DEA issued an Order to Show Cause
                               and Immediate Suspension Order against the
                               AmerisourceBergen Orlando, Florida distribution center
                               (“Orlando Facility”) alleging failure to maintain effective
                               controls against diversion of controlled substances. On June
                               22, 2007, AmerisourceBergen entered into a settlement that
                               resulted in the suspension of its DEA registration;

                      b.       On November 28, 2007, the DEA issued an Order to Show
                               Cause and Immediate Suspension Order against the Cardinal

306
   “Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress”, 60 MINUTES (June 17, 2018), available at
https://www.cbsnews.com/news/60-minutes-ex-dea-agent-opioid-crisis-fueled-by-drug-industry-and-congress/.



                                                        218
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 228 of 324. PageID #: 228




                        Health Auburn, Washington Distribution Center (“Auburn
                        Facility”) for failure to maintain effective controls against
                        diversion of hydrocodone;

                c.      On December 5, 2007, the DEA issued an Order to Show
                        Cause and Immediate Suspension Order against the Cardinal
                        Health Lakeland, Florida Distribution Center (“Lakeland
                        Facility”) for failure to maintain effective controls against
                        diversion of hydrocodone;

                d.      On December 7, 2007, the DEA issued an Order to Show
                        Cause and Immediate Suspension Order against the Cardinal
                        Health Swedesboro, New Jersey Distribution Center
                        (“Swedesboro Facility”) for failure to maintain effective
                        controls against diversion of hydrocodone;

                e.      On January 30, 2008, the DEA      issued an Order to Show
                        Cause against the Cardinal        Health Stafford, Texas
                        Distribution Center (“Stafford    Facility”) for failure to
                        maintain effective controls         against diversion of
                        hydrocodone;

                f.      On September 30, 2008, Cardinal Health entered into a
                        Settlement and Release Agreement and Administrative
                        Memorandum of Agreement with the DEA related to its
                        Auburn, Lakeland, Swedesboro and Stafford Facilities. The
                        document also referenced allegations by the DEA that
                        Cardinal failed to maintain effective controls against the
                        diversion of controlled substances at its distribution
                        facilities located in McDonough, Georgia (“McDonough
                        Facility”), Valencia, California (“Valencia Facility”) and
                        Denver, Colorado (“Denver Facility”);

                g.      On February 2, 2012, the DEA issued an Order to Show
                        Cause and Immediate Suspension Order against the Cardinal
                        Health’s Lakeland Facility for failure to maintain effective
                        controls against diversion of oxycodone; and

                h.      On December 23, 2016, Cardinal Health agreed to pay a $44
                        million fine to the DEA to resolve the civil penalty portion
                        of the administrative action taken against its Lakeland
                        Facility.

      749.   McKesson’s deliberate disregard of its obligations was especially flagrant. On May

2, 2008, McKesson Corporation entered into an Administrative Memorandum of Agreement



                                            219
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 229 of 324. PageID #: 229




(“2008 McKesson MOA”) with the DEA which provided that McKesson would “maintain a

compliance program designed to detect and prevent the diversion of controlled substances, inform

DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures

established by its Controlled Substance Monitoring Program.”

       750.    Despite its 2008 agreement with DEA, McKesson continued to fail to report

suspicious orders between 2008 and 2012 and did not fully implement or follow the monitoring

program it agreed to. It failed to conduct adequate due diligence of its customers, failed to keep

complete and accurate records in the CSMP files maintained for many of its customers and

bypassed suspicious order reporting procedures set forth in the CSMP. It failed to take these actions

despite its awareness of the great probability that its failure to do so would cause substantial harm.

       751.    On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

in Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista,

NE; Livonia, MI; Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West

Sacramento, CA. McKesson’s 2017 agreement with DEA documents that McKesson continued to

breach its admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or

report suspicious orders to DEA, in accordance with McKesson’s obligations.”

       752.    As The Washington Post and 60 Minutes recently reported, DEA staff

recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s

continued and renewed breach of its duties, as much as a billion dollars, and delicensing of certain

facilities. A DEA memo outlining the investigative findings in connection with the administrative

case against 12 McKesson distribution centers included in the 2017 Settlement stated that




                                                 220
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 230 of 324. PageID #: 230




McKesson “[s]upplied controlled substances in support of criminal diversion activities”;

“[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”; “[f]ailed to review

orders or suspicious activity”; and “[i]gnored [the company’s] own procedures designed to prevent

diversion.”

         753.    On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

Special Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

              DAVID SCHILLER: If they would stayed in compliance with their
              authority and held those that they’re supplying the pills to, the epidemic
              would be nowhere near where it is right now. Nowhere near.

                                                    ***

              They had hundreds of thousands of suspicious orders they should have
              reported, and they didn’t report any. There’s not a day that goes by in the
              pharmaceutical world, in the McKesson world, in the distribution world,
              where there’s not something suspicious. It happens every day.

              [INTERVIEWER:] And they had none.

              DAVID SCHILLER: They weren’t reporting any. I mean, you have to
              understand that, nothing was suspicious?307

         754.    Following the 2017 settlement, McKesson shareholders made a books and records

request of the company. According to a separate action pending on their behalf, the Company’s

records show that the Company’s Audit Committee failed to monitor McKesson’s information

reporting system to assess the state of the Company’s compliance with the CSA and McKesson’s

2008 Settlements. More particularly, the shareholder action alleges that the records show that in

October 2008, the Audit Committee had an initial discussion of the 2008 Settlements and results



307
   Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s Largest Drug Distributor,
CBS News (Dec. 17, 2017), https://www.cbsnews.com/news/whistleblowers-deaattorneys-went-easy-on-mckesson-
the-countrys-largest-drug-distributor/.



                                                    221
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 231 of 324. PageID #: 231




of internal auditing, which revealed glaring omissions; specifically:

                   a.      some customers had “not yet been assigned thresholds in the
                           system to flag large shipments of controlled substances for
                           review”;

                   b.      “[d]ocumentation evidencing new customer due diligence
                           was incomplete”;

                   c.      “documentation supporting the company’s decision to
                           change thresholds for existing customers was also
                           incomplete”; and

                   d.      Internal Audit “identified opportunities to enhance the
                           Standard Operating Procedures.”

Yet, instead of correcting these deficiencies, after that time, for a period of more than four years,

the Audit Committee failed to address the CSMP or perform any more audits of McKesson’s

compliance with the CSA or the 2008 Settlements, the shareholder action’s description of

McKesson’s internal documents reveals. During that period of time, McKesson’s Audit Committee

failed to inquire whether the Company was in compliance with obligations set forth in those

agreements and with the controlled substances regulations more generally. It was only in January

2013 that the Audit Committee received an Internal Audit report touching on these issues.

       755.    In short, McKesson, was “neither rehabilitated nor deterred by the 2008

[agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

continued and escalated to a level of egregiousness not seen before.” According to statements of

“DEA investigators, agents and supervisors who worked on the McKesson case” reported in The

Washington Post, “the company paid little or no attention to the unusually large and frequent orders

placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the DEA

officials said, the company raised its own self-imposed limits, known as thresholds, on orders from

pharmacies and continued to ship increasing amounts of drugs in the face of numerous red flags.”




                                                222
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 232 of 324. PageID #: 232




           756.   Since at least 2002, Purdue has maintained a database of health care providers

suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

to this database based on observed indicators of illicit prescribing such as excessive numbers of

patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength pills

(80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

diversion). Purdue claims that health care providers added to the database no longer were detailed,

and that sales representatives received no compensation tied to these providers’ prescriptions.

           757.   Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy level –

meaning Purdue continued to generate sales revenue from their prescriptions – and failed to report

these providers to state medical boards or law enforcement. Purdue’s former senior compliance

officer acknowledged in an interview with the Los Angeles Times that in five years of investigating

suspicious pharmacies, the company never stopped the supply of its opioids to a pharmacy, even

where Purdue employees personally witnessed the diversion of its drugs.

           758.   The same was true of prescribers. For example, as discussed above, despite

Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law

enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

tablets.

           759.   Indeed, the New York Attorney General found that Purdue placed 103 New York

health care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and that

Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

period.




                                                  223
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 233 of 324. PageID #: 233




       760.    The New York Attorney General similarly found that Endo knew, as early as 2011,

that Opana ER was being abused in New York, but certain sales representatives who detailed New

York health care providers testified that they did not know about any policy or duty to report

problematic conduct. The New York Attorney General further determined that Endo detailed

health care providers who were subsequently arrested or convicted for illegal prescribing of

opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for Opana

ER (although the subsequent criminal charges at issue did not involve Opana ER).

       761.    As all of the governmental actions against the Marketing Defendants and against

all the Defendants shows, Defendants knew that their actions were unlawful, and yet deliberately

refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.




                                                224
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 234 of 324. PageID #: 234




 II.         FACTS PERTAINING TO CLAIMS UNDER RACKETEER-INFLUENCED
             AND CORRUPT ORGANIZATIONS (“RICO”) ACT

             A.      The Opioid Marketing Enterprise

                     1. The Common Purpose and Scheme of the Opioid Marketing Enterprise

         762.     Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants308 formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market, through

repeated and systematic misrepresentations about the safety and efficacy of opioids for treating

long-term chronic pain.

         763.     In order to unlawfully increase the demand for opioids, the RICO Marketing

Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”) with the

“Front Groups” and KOLs described above. Through their personal relationships, the members of

the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance of the

Opioid Marketing Enterprise’s common purpose. The RICO Marketing Defendants’ substantial

financial contribution to the Opioid Marketing Enterprise, and the advancement of opioids-friendly

messaging, fueled the U.S. opioids epidemic.309

         764.     The RICO Marketing Defendants, through the Opioid Marketing Enterprise,

concealed the true risks and dangers of opioids from the medical community and the public,

including Plaintiff, and made misleading statements and misrepresentations about opioids that

downplayed the risk of addiction and exaggerated the benefits of opioid use. The misleading

308
  The RICO Marketing Defendants referred to in this section are those named in the First Claim for Relief under 28
U.S.C. § 1964(c), including Purdue, Cephalon, Janssen, Endo, and Mallinckrodt.
309
   See Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018, https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.



                                                      225
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 235 of 324. PageID #: 235




statements included: (1) that addiction is rare among patients taking opioids for pain; (2) that

addiction risk can be effectively managed; (3) that symptoms of addiction exhibited by opioid

patients are actually symptoms of an invented condition the RICO Marketing Defendants named

“pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no

significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

solution to opioid abuse.

       765.    The scheme devised, implemented and conducted by the RICO Marketing

Defendants was a common course of conduct designed to ensure that the RICO Marketing

Defendants unlawfully increased their sales and profits through concealment and

misrepresentations about the addictive nature and effective use of the RICO Marketing

Defendants’ drugs. The RICO Marketing Defendants, the Front Groups, and the KOLs acted

together for a common purpose and perpetuated the Opioid Marketing Enterprise’s scheme,

including through the unbranded promotion and marketing network as described above.

       766.    There was regular communication between the RICO Marketing Defendants, Front

Groups and KOLs, in which information was shared, misrepresentations are coordinated, and

payments were exchanged. Typically, the coordination, communication and payment occurred,

and continues to occur, through the repeated and continuing use of the wires and mail in which the

RICO Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

Front Groups and KOLs functioned as a continuing unit for the purpose of implementing the

Opioid Marketing Enterprise’s scheme and common purpose, and each agreed and took actions to




                                                226
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 236 of 324. PageID #: 236




hide the scheme and continue its existence.

       767.    At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in and beneficiaries of that conduct.

Each Front Group also knew, but did not disclose, that the other Front Groups were engaged in the

same scheme, to the detriment of consumers, prescribers, and Plaintiff. But for the Opioid

Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive to disclose the

deceit by the RICO Marketing Defendants and the Opioid Marketing Enterprise to their members

and constituents. By failing to disclose this information, Front Groups perpetuated the Opioid

Marketing Enterprise’s scheme and common purpose, and reaped substantial benefits

       768.    At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLs and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and Plaintiff. But for the Opioid Marketing Enterprise’s unlawful conduct,

the KOLs would have had incentive to disclose the deceit by the RICO Marketing Defendants and

the Opioid Marketing Enterprise, and to protect their patients and the patients of other physicians.

By failing to disclose this information, KOLs furthered the Opioid Marketing Enterprise’s scheme

and common purpose, and reaped substantial benefits.

       769.    As public scrutiny and media coverage focused on how opioids ravaged




                                                227
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 237 of 324. PageID #: 237




communities in Louisiana and throughout the United States, the Front Groups and KOLS did not

challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

       770.    The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

Enterprise. As described herein, the Opioid Marketing Enterprise’s conduct in furtherance of the

common purpose of the Opioid Marketing Enterprise involved: (1) misrepresentations regarding

the risk of addiction and safe use of prescription opioids for long-term chronic pain (described in

detail above); (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize

or undermine CDC guidelines; and (4) efforts to limit prescriber accountability.

       771.    In addition to disseminating misrepresentations about the risks and benefits of

opioids, the Opioid Marketing Enterprise also furthered its common purpose by criticizing or

undermining CDC guidelines. Members of the Opioid Marketing Enterprise criticized or

undermined the CDC Guidelines which represented “an important step — and perhaps the first

major step from the federal government — toward limiting opioid prescriptions for chronic pain.”

       772.    Several Front Groups, including the U.S. Pain Foundation and the AAPM,

criticized the draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were

not transparent relative to process and failed to disclose the names, affiliation, and conflicts of

interest of the individuals who participated in the construction of these guidelines.”

       773.    The AAPM criticized the prescribing guidelines in 2016, through its immediate past

president, stating “that the CDC guideline makes disproportionately strong recommendations




                                                 228
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 238 of 324. PageID #: 238




based upon a narrowly selected portion of the available clinical evidence.”

       774.    The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as “neutral” and more “scientific” than the RICO Marketing Defendants

themselves. Without the work of the Front Groups and KOLs in spreading misrepresentations

about opioids, the Opioid Marketing Enterprise could not have achieved its common purpose.

       775.    The impact of the Opioid Marketing Enterprise’s scheme is still in place – i.e., the

opioids continue to be prescribed and used for chronic pain throughout the area of Plaintiff’s

Community, and the epidemic continues to injure Plaintiff, and consume the resources of

Plaintiff’s health care systems.

       776.    As a result, it is clear that the RICO Marketing Defendants, the Front Groups, and

the KOLs were each willing participant in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

                   2. The Conduct of the Opioid Marketing Enterprise violated Civil RICO

       777.    From approximately the late 1990s to the present, each of the Marketing Defendants

exerted control over the Opioid Marketing Enterprise and participated in the operation or

management of the affairs of the Opioid Marketing Enterprise, directly or indirectly, in the

following ways:

                   a.      Creating and providing a body of deceptive, misleading and
                           unsupported medical and popular literature about opioids
                           that (i) understated the risks and overstated the benefits of
                           long-term use; (ii) appeared to be the result of independent,
                           objective research; and (iii) was thus more likely to be relied
                           upon by physicians, patients, and payors;

                   b.      Creating and providing a body of deceptive, misleading and



                                                229
Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 239 of 324. PageID #: 239




                  unsupported electronic and print advertisements about
                  opioids that (i) understated the risks and overstated the
                  benefits of long-term use; (ii) appeared to be the result of
                  independent, objective research; and (iii) was thus more
                  likely to be relied upon by physicians, patients, and payors;

            c.    Creating and providing a body of deceptive, misleading and
                  unsupported sales and promotional training materials about
                  opioids that (i) understated the risks and overstated the
                  benefits of long-term use; (ii) appeared to be the result of
                  independent, objective research; and (iii) was thus more
                  likely to be relied upon by physicians, patients, and payors;

            d.    Creating and providing a body of deceptive, misleading and
                  unsupported CMEs and speaker presentations about opioids
                  that (i) understated the risks and overstated the benefits of
                  long-term use; (ii) appeared to be the result of independent,
                  objective research; and (iii) was thus more likely to be relied
                  upon by physicians, patients, and payors;

            e.    Selecting, cultivating, promoting and paying KOLs based
                  solely on their willingness to communicate and distribute the
                  RICO Marketing Defendants’ messages about the use of
                  opioids for chronic pain;

            f.    Providing substantial opportunities for KOLs to participate
                  in research studies on topics the RICO Marketing
                  Defendants suggested or chose, with the predictable effect
                  of ensuring that many favorable studies appeared in the
                  academic literature;

            g.    Paying KOLs to serve as consultants or on the RICO
                  Marketing Defendants’ advisory boards, on the advisory
                  boards and in leadership positions on Front Groups, and to
                  give talks or present CMEs, typically over meals or at
                  conferences;

            h.    Selecting, cultivating, promoting, creating and paying Front
                  Groups based solely on their willingness to communicate
                  and distribute the RICO Marketing Defendants’ messages
                  about the use of opioids for chronic pain;

            i.    Providing substantial opportunities for Front Groups to
                  participate in and/or publish research studies on topics the
                  RICO Marketing Defendants suggested or chose (and paid
                  for), with the predictable effect of ensuring that many



                                       230
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 240 of 324. PageID #: 240




                         favorable studies appeared in the academic literature;

                  j.     Paying significant amounts of money to the leaders and
                         individuals associated with Front Groups;

                  k.     Donating to Front Groups to support talks or CMEs, that
                         were typically presented over meals or at conferences;

                  l.     Disseminating many of their false, misleading, imbalanced,
                         and unsupported statements through unbranded materials
                         that appeared to be independent publications from Front
                         Groups;

                  m.     Sponsoring CME programs put on by Front Groups that
                         focused exclusively on the use of opioids for chronic pain;

                  n.     Developing and disseminating pro-opioid treatment
                         guidelines with the help of the KOLs as authors and
                         promoters, and the help of the Front Groups as publishers,
                         and supporters;

                  o.     Encouraging Front Groups to disseminate their pro-opioid
                         messages to groups targeted by the RICO Marketing
                         Defendants, such as veterans and the elderly, and then
                         funding that distribution;

                  p.     Concealing their relationship to and control of Front Groups
                         and KOLs from Plaintiff and the public at large; and

                  q.     Intending that Front Groups and KOLs would distribute
                         through the U.S. mail and interstate wire facilities,
                         promotional and other materials that claimed opioids could
                         be safely used for chronic pain.

       778.   The Opioid Marketing Enterprise had a hierarchical decision-making structure that

was headed by the RICO Marketing Defendants and corroborated by the KOLs and Front Groups.

The RICO Marketing Defendants controlled representations made about their opioids and their

drugs, doled out funds to PBMs and payments to KOLs, and ensured that representations made by

KOLs, Front Groups, and the RICO Marketing Defendants’ sales detailers were consistent with

the Marketing Defendants’ messaging throughout the United States and Louisiana. The Front




                                             231
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 241 of 324. PageID #: 241




Groups and KOLS in the Opioid Marketing Enterprise were dependent on the Marketing

Defendants for their financial structure and for career development and promotion opportunities.

             779.   The Front Groups also conducted and participated in the conduct of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

                       a.     The Front Groups promised to, and did, make
                              representations regarding opioids and the RICO Marketing
                              Defendants’ drugs that were consistent with the RICO
                              Marketing Defendants’ messages;

                       b.     The Front Groups distributed, through the U.S. Mail and
                              interstate wire facilities, promotional and other materials
                              which claimed that opioids could be safely used for chronic
                              pain without addiction, and misrepresented the benefits of
                              using opioids for chronic pain outweighed the risks;

                       c.     The Front Groups echoed and amplified messages favorable
                              to increased opioid use—and ultimately, the financial
                              interests of the RICO Marketing Defendants;

                       d.     The Front Groups issued guidelines and policies minimizing
                              the risk of opioid addiction and promoting opioids for
                              chronic pain;

                       e.     The Front Groups strongly criticized the 2016 guidelines
                              from the Center for Disease Control and Prevention (CDC)
                              that recommended limits on opioid prescriptions for chronic
                              pain; and

                       f.     The Front Groups concealed their connections to the KOLs
                              and the RICO Marketing Defendants.

             780.   The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The larger Front Groups “likely have a substantial effect on policies relevant to their

industry sponsors.”310 “By aligning medical culture with industry goals in this way, many of the




310
      Id. at 1.



                                                  232
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 242 of 324. PageID #: 242




groups described in this report may have played a significant role in creating the necessary

conditions for the U.S. opioid epidemic.”311

               781.   The KOLs also participated in the conduct of the affairs of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

                         a.      The KOLs promised to, and did, make representations
                                 regarding opioids and the RICO Marketing Defendants’
                                 drugs that were consistent with the Marketing Defendants’
                                 messages themselves;

                         b.      The KOLs distributed, through the U.S. Mail and interstate
                                 wire facilities, promotional and other materials which
                                 claimed that opioids could be safely used for chronic pain
                                 without addiction, and misrepresented the benefits of using
                                 opioids for chronic pain outweighed the risks;

                         c.      The KOLs echoed and amplified messages favorable to
                                 increased opioid use—and ultimately, the financial interests
                                 of the RICO Marketing Defendants;

                         d.      The KOLs issued guidelines and policies minimizing the
                                 risk of opioid addiction and promoting opioids for chronic
                                 pain;

                         e.      The KOLs strongly criticized the 2016 guidelines from the
                                 Center for Disease Control and Prevention (CDC) that
                                 recommended limits on opioid prescriptions for chronic
                                 pain; and

                         f.      The KOLs concealed their connections to the Front Groups
                                 and the RICO Marketing Defendants, and their sponsorship
                                 by the RICO Marketing Defendants.

               782.   The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course of


311
      Id. 2.



                                                     233
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 243 of 324. PageID #: 243




conduct, and many aspects of it continue through to the present.

                   3. The RICO Marketing Defendants Controlled and Paid Front Groups
                      and KOLs to Promote and Maximize Opioid Use

       783.    As discussed in detail above, the RICO Marketing Defendants funded and

controlled the various Front Groups, including APF, AAPM/APS, FSMB, Alliance for Patient

Access, USPF, and AGS. The Front Groups, which appeared to be independent, but were not,

transmitted the RICO Marketing Defendants’ misrepresentations. The RICO Marketing

Defendants and the Front Groups thus worked together to promote the goals of the Opioid

Marketing Enterprise.

       784.    The RICO Marketing Defendants worked together with each other through the

Front Groups that they jointly funded and through which they collaborated on the joint promotional

materials described above.

       785.    Similarly, as discussed in detail above, the RICO Marketing Defendants paid

KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to spread their misrepresentations

and promote their products. The RICO Marketing Defendants and the KOLs thus worked together

to promote the goals of the Opioid Marketing Enterprise.

                   4. Pattern of Racketeering Activity

       786.    The RICO Marketing Defendants’ scheme described herein was perpetrated, in

part, through multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering

activity as described herein.

       787.    The pattern of racketeering activity used by the RICO Marketing Defendants and

the Opioid Marketing Enterprise likely involved thousands of separate instances of the use of the

U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid Marketing Enterprise,

including essentially uniform misrepresentations, concealments and material omissions regarding



                                               234
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 244 of 324. PageID #: 244




the beneficial uses and non-addictive qualities for the long-term treatment of chronic, non-acute

and non-cancer pain, with the goal of profiting from increased sales of the RICO Marketing

Defendants’ drugs induced by consumers, prescribers, regulators and Plaintiff’s reliance on the

RICO Marketing Defendants’ misrepresentations.

       788.    Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

through which the RICO Marketing Defendants, the Front Groups and the KOLs defrauded and

intended to defraud Louisiana consumers, the State, and other intended victims.

       789.    The RICO Marketing Defendants devised and knowingly carried out an illegal

scheme and artifice to defraud by means of materially false or fraudulent pretenses,

representations, promises, or omissions of material facts regarding the safe, non-addictive and

effective use of opioids for long-term chronic, non-acute and non-cancer pain. The RICO

Marketing Defendants and members of the Opioid Marketing Enterprise knew that these

representations violated the FDA approved use these drugs and were not supported by actual

evidence. The RICO Marketing Defendants intended that that their common purpose and scheme

to defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally and

knowingly with the specific intent to advance, and for the purpose of executing, their illegal

scheme.

       790.    By intentionally concealing the material risks and affirmatively misrepresenting the

benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including

Plaintiff, the RICO Marketing Defendants, the Front Groups and the KOLs engaged in a fraudulent

and unlawful course of conduct constituting a pattern of racketeering activity.

       791.    The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire facilities




                                                 235
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 245 of 324. PageID #: 245




to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

                   a.      Marketing materials about opioids, and their risks and
                           benefits, which the RICO Marketing Defendants sent to
                           health care providers, transmitted through the internet and
                           television, published, and transmitted to Front Groups and
                           KOLs located across the country and the State;

                   b.      Written representations and telephone calls between the
                           RICO Marketing Defendants and Front Groups regarding
                           the misrepresentations, marketing
                           statements and claims about opioids, including the non-
                           addictive, safe use of chronic long-term pain generally;

                   c.      Written representations and telephone calls between the
                           RICO Marketing Defendants and KOLs regarding the
                           misrepresentations, marketing statements and claims about
                           opioids, including the non-addictive, safe use of chronic
                           long-term pain generally

                   d.      E-mails, telephone and written communications between the
                           RICO Marketing Defendants and the Front Groups agreeing
                           to or implementing the opioids marketing scheme;

                   e.      E-mails, telephone and written communications between the
                           RICO Marketing Defendants and the KOLs agreeing to or
                           implementing the opioids marketing scheme;

                   f.      Communications between the RICO Marketing Defendants,
                           Front Groups and the media regarding publication, drafting
                           of treatment guidelines, and the dissemination of the same
                           as part of the Opioid Marketing Enterprise;

                   g.      Communications between the RICO Marketing Defendants,
                           KOLs and the media regarding publication, drafting of
                           treatment guidelines, and the dissemination of the same as
                           part of the Opioid Marketing Enterprise;

                   h.      Written and oral communications directed to State agencies,
                           federal and state courts, and private insurers throughout the
                           State that fraudulently misrepresented the risks and benefits
                           of using opioids for chronic pain; and

                   i.      Receipts of increased profits sent through the U.S. Mail and



                                               236
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 246 of 324. PageID #: 246




                           interstate wire facilities — the wrongful proceeds of the
                           scheme.

         792.   In addition to the above-referenced predicate acts, it was intended by and

foreseeable to the RICO Marketing Defendants that the Front Groups and the KOLs would

distribute publications through the U.S. Mail and by interstate wire facilities, and, in those

publications, claim that the benefits of using opioids for chronic pain outweighed the risks of doing

so.

         793.   To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

consumers, prescribers, regulators and Plaintiff: (a) the fraudulent nature of the RICO Marketing

Defendants’ marketing scheme; (b) the fraudulent nature of statements made by the RICO

Marketing Defendants and by their KOLs, Front Groups and other third parties regarding the safety

and efficacy of prescription opioids; and (c) the true nature of the relationship between the

members of the Opioid Marketing Enterprise.

         794.   The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

         795.   Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

them had to agree to implement similar tactics regarding fraudulent marketing of prescription

opioids. This conclusion is supported by the fact that the RICO Marketing Defendants each

financed, supported, and worked through the same KOLs and Front Groups, and often collaborated

on and mutually supported the same publications, CMEs, presentations, and prescription

guidelines



                                                237
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 247 of 324. PageID #: 247




         796.    The RICO Marketing Defendants’ predicate acts all had the purpose of creating the

opioid epidemic that substantially injured Plaintiff’s business and property, while simultaneously

generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

acts were committed or caused to be committed by the RICO Marketing Defendants through their

participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.

            B.       The Opioid Supply Chain Enterprise

         797.    Faced with the reality that they will now be held accountable for the consequences

of the opioid epidemic they created, members of the industry resort to “a categorical denial of any

criminal behavior or intent.”312 Defendants’ actions went far beyond what could be considered

ordinary business conduct. For more than a decade, certain Defendants, the “RICO Supply Chain

Defendants” (Purdue, Cephalon, Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and

AmerisourceBergen) worked together in an illicit enterprise, engaging in conduct that was not only

illegal, but in certain respects anti-competitive, with the common purpose and achievement of

vastly increasing their respective profits and revenues by exponentially expanding a market that

the law intended to restrict.

         798.    Knowing that dangerous drugs have a limited place in our society, and that their

dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

abuse and addiction causes to individuals, society and governments, Congress enacted the

Controlled Substances Act (“CSA”). Specifically, through the CSA, which created a closed system

of distribution for controlled substances, Congress established an enterprise for good. The CSA

imposes a reporting duty that cuts across company lines. Regulations adopted under the CSA



312
   McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the Federal Government,
McKesson, http://www.mckesson.com/about-mckesson/fighting-opioid-abuse/60-minutes-response (last visited, Apr.
21, 2018).



                                                    238
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 248 of 324. PageID #: 248




require that companies who are entrusted with permission to operate with within this system cannot

simply operate as competitive in an “anything goes” profit-maximizing market. Instead, the statute

tasks them to watch over each other with a careful eye for suspicious activity. Driven by greed,

Defendants betrayed that trust and subverted the constraints of the CSA’s closed system to conduct

their own enterprise for evil.

           799.     As “registrants” under the CSA, the RICO Supply Chain Defendants are duty bound

to identify and report “orders of unusual size, orders deviating substantially from a normal pattern,

and orders of unusual frequency.”313 Critically, these Defendants’ responsibilities do not end with

the products they manufacture or distribute — there is no such limitation in the law because their

duties cut across company lines. Thus, when these Defendants obtain information about the sales

and distribution of other companies’ opioid products, as they did through data mining companies

like IMS Health, they were legally obligated to report that activity to the DEA.

           800.     If morality and the law did not suffice, competition dictates that the RICO Supply

Chain Defendants would turn in their rivals when they had reason to suspect suspicious activity.

Indeed, if a manufacturer or distributor could gain market share by reporting a competitor’s illegal

behavior (causing it to lose a license to operate, or otherwise inhibit its activity), ordinary business

conduct dictates that it would do so. Under the CSA this whistleblower or watchdog function is

not only a protected choice, but a statutory mandate. Unfortunately, however, that is not what

happened. Instead, knowing that investigations into potential diversion would only lead to

shrinking markets. The RICO Supply Chain Defendants elected to operate in a conspiracy of

silence, in violation of both the CSA and RICO.

           801.     The RICO Supply Chain Defendants’ scheme required the participation of all. If


313
      21 C.F.R. 1301.74(b).



                                                   239
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 249 of 324. PageID #: 249




any one member broke rank, its compliance activities would highlight deficiencies of the others,

and the artificially high quotas they maintained through their scheme would crumble. But, if all

the members of the enterprise conducted themselves in the same manner, it would be difficult for

the DEA to go after any one of them. Accordingly, through the connections they made as a result

of their participation in the Healthcare Distribution Alliance (“HDA”), the RICO Supply Chain

Defendants chose to flout the closed system designed to protect the citizens. Publicly, in 2008, they

announced their formulation of “Industry Compliance Guidelines: Reporting Suspicious Orders

and Prevention Diversion of Controlled Substances.” But, privately, the RICO Supply Chain

Defendants refused to act and through their lobbying efforts, they collectively sought to undermine

the impact of the CSA. Indeed, despite the issuance of these Industry Compliance Guidelines,

which recognize these Defendants’ duties under the law, as illustrated by the subsequent industry-

wide enforcement actions and consent orders issued after that time, none of them complied. John

Gray, President and CEO of the HDA said to Congress in 2014, it is “difficult to find the right

balance between proactive anti-diversion efforts while not inadvertently limiting access to

appropriately prescribed and dispensed medications.” Yet, the RICO Supply Chain Defendants

apparently all found the same profit-maximizing balance—intentionally remaining silent to ensure

the largest possible financial return.

       802.    As described above, at all relevant times, the RICO Supply Chain Defendants

operated as an association-in-fact enterprise formed for the purpose of unlawfully increasing sales,

revenues and profits by fraudulently increasing the quotas set by the DEA that would allow them

to collectively benefit from a greater pool of prescription opioids to manufacture and distribute. In

support of this common purpose and fraudulent scheme, the RICO Supply Chain Defendants

jointly agreed to disregard their statutory duties to identify, investigate, halt and report suspicious




                                                 240
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 250 of 324. PageID #: 250




orders of opioids and diversion of their drugs into the illicit market so that those orders would not

result in a decrease, or prevent an increase in, the necessary quotas.

           803.     At all relevant times, as described above, the RICO Supply Chain Defendants

exerted control over, conducted and/or participated in the Opioid Supply Chain Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

           804.     The RICO Supply Chain Defendants disseminated false and misleading statements

to state and federal regulators claiming that:

                        a.      the quotas for prescription opioids should be increased;

                        b.      they were complying with their obligations to maintain
                                effective controls against diversion of their prescription
                                opioids;

                        c.      they were complying with their obligations to design and
                                operate a system to disclose to the registrant suspicious
                                orders of their prescription opioids;

                        d.      they were complying with their obligation to notify the DEA
                                of any suspicious orders or diversion of their prescription
                                opioids; and

                        e.      they did not have the capability to identify suspicious orders
                                of controlled substances.

           805.     The Defendants applied political and other pressure on the DOJ and DEA to halt

prosecutions for failure to report suspicious orders of prescription opioids and lobbied Congress

to strip the DEA of its ability to immediately suspend registrations pending investigation by

passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”314


314
      See HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July


                                                       241
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 251 of 324. PageID #: 251




        806.     The CSA and the Code of Federal Regulations, require the RICO Supply Chain

Defendants to make reports to the DEA of any suspicious orders identified through the design and

operation of their system to disclose suspicious orders. The failure to make reports as required by

the CSA and Code of Federal Regulations amounts to a criminal violation of the statute.

        807.     The RICO Supply Chain Defendants knowingly and intentionally furnished false

or fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

material information from reports, records and other document required to be filed with the DEA

including the Marketing Defendants’ applications for production quotas. Specifically, the RICO

Supply Chain Defendants were aware of suspicious orders of prescription opioids and the diversion

of their prescription opioids into the illicit market and failed to report this information to the DEA

in their mandatory reports and their applications for production quotas.

        808.     The RICO Supply Chain Defendants used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

        809.     In devising and executing the illegal scheme, the RICO Supply Chain Defendants



6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/;
Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out
of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-
while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html;
Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-
investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had No Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail (Feb. 18,
2017), http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-
pills-.



                                                      242
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 252 of 324. PageID #: 252




devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

       810.    For the purpose of executing the illegal scheme, the RICO Supply Chain

Defendants committed racketeering acts, which number in the thousands, intentionally and

knowingly with the specific intent to advance the illegal scheme. These racketeering acts, which

included repeated acts of mail fraud and wire fraud, constituted a pattern of racketeering.

       811.    The RICO Supply Chain Defendants’ use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Marketing Defendants,

the Distributor Defendants, or third parties that were foreseeably caused to be sent as a result of

the RICO Supply Chain Defendants’ illegal scheme, including but not limited to:

                   a.      The prescription opioids themselves;

                   b.      Documents and communications that supported and/or
                           facilitated the RICO Supply Chain Defendants’ request for
                           higher aggregate production quotas, individual production
                           quotas, and procurement quotas;

                   c.      Documents and communications that facilitated the
                           manufacture, purchase and sale of prescription opioids;

                   d.      RICO Supply Chain Defendants’ DEA registrations;

                   e.      Documents and communications that supported and/or
                           facilitated RICO Supply Chain Defendants’ DEA
                           registrations;

                   f.      RICO Supply Chain Defendants’ records and reports that
                           were required to be submitted to the DEA pursuant to 21
                           U.S.C. § 827;

                   g.      Documents and communications related to the RICO Supply
                           Chain Defendants’ mandatory DEA reports pursuant to 21
                           U.S.C. § 823 and 21
                           C.F.R. § 1301.74;

                   h.      Documents intended to facilitate the manufacture and



                                                243
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 253 of 324. PageID #: 253




                           distribution of the RICO Supply Chain Defendants’
                           prescription opioids, including bills of lading, invoices,
                           shipping records, reports and correspondence;

                   i.      Documents for processing and receiving payment for
                           prescription opioids;

                   j.      Payments from the Distributors to the Marketing
                           Defendants;

                   k.      Rebates and chargebacks from the Marketing Defendants to
                           the Distributors Defendants;

                   l.      Payments to the RICO Supply Chain Defendants’ lobbyists
                           through the PCF;

                   m.      Payments to the RICO Supply Chain Defendants’ trade
                           organizations, like the HDA, for memberships and/or
                           sponsorships;

                   n.      Deposits of proceeds from the RICO Supply Chain
                           Defendants’ manufacture and distribution of prescription
                           opioids; and

                   o.      Other documents       and    things,   including     electronic
                           communications.

       812.    The RICO Supply Chain Defendants (and/or their agents), for the purpose of

executing the illegal scheme, sent and/or received (or caused to be sent and/or received) by mail

or by private or interstate carrier, shipments of prescription opioids and related documents by mail

or by private carrier affecting interstate commerce, including the following:




                                                244
 Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 254 of 324. PageID #: 254




 Defendant                                               Drugs
Group Name       Company Names           Drug Name    Chemical Name       CSA
                                                                          Schedule
                                                      Oxycodone
                                        OxyContin     hydrochloride      Schedule II
                                                      extended release
                                        MS Contin     Morphine sulfate   Schedule II
                                                      extended release
             (1) Purdue Pharma, LP,
             (2) Purdue Pharma, Inc.,   Dilaudid      Hydromorphone      Schedule II
  Purdue     (3) The Purdue Frederick                 hydrochloride
             Company                    Dilaudid-HP   Hydromorphone      Schedule II
                                                      hydrochloride
                                        Butrans       Buprenorphine      Schedule II
                                        Hysinga ER    Hydrocodone        Schedule II
                                                      bitartrate
                                        Targiniq ER   Oxycodone          Schedule II
                                                      hydrochloride
             (1) Cephalon, Inc.,        Actiq         Fentanyl citrate   Schedule II
             (2) Teva Pharmaceutical
 Cephalon    Industries, Ltd.,          Fentora       Fentanyl citrate   Schedule II
             (3) Teva Pharmaceuticals
             USA, Inc.                  Generic       Oxycodone          Schedule II
                                        oxycontin     hydrochloride
                                                      Oxymorphone
                                        Opana ER      hydrochloride      Schedule II
                                                      extended release
                                        Opana         Oxymorphone        Schedule II
                                                      hydrochloride
             (1) Endo Health
             Solutions, Inc.,                         Oxycodone
             (2) Endo Pharmaceuticals   Percodan      hydrochloride      Schedule II
  Endo       Inc.,                                    and aspirin
             (3) Qualitest                            Oxycodone
             Pharmaceuticals, Inc.      Percocet      hydrochloride      Schedule II
             (wholly-owned subsidiary                 and
             of Endo)                                 acetaminophen
                                        Generic oxycodone                Schedule II
                                        Generic oxymorphone              Schedule II
                                        Generic hydromorphone            Schedule II
                                        Generic hydrocodone              Schedule II


                                        245
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 255 of 324. PageID #: 255




                   (1) Mallinckrodt PLC,         Exalgo          Hydromorphone        Schedule II
 Mallinckrodt      (2) Mallinckrodt LLC                          hydrochloride
                   (wholly-owned subsidiary
                                                 Roxicodone      Oxycodone            Schedule II
                   of Mallinckrodt PLC)
                                                                 hydrochloride
                   (1) Allergan Plc,             Kadian          Morphine Sulfate Schedule II
                   (2) Actavis LLC,
                   (3) Actavis Pharma, Inc.,     Norco           Hydrocodone
                   (4) Actavis Plc,              (Generic of     and                  Schedule II
    Actavis        (5) Actavis, Inc.,            Kadian)         acetaminophen
                   (6) Watson
                   Pharmaceuticals, Inc.,        Generic         Fentanyl             Schedule II
                   Watson Pharma, Inc.           Duragesic
                                                 Generic         Oxymorphone          Schedule II
                                                 Opana           hydrochloride


       813.    Each of the RICO Supply Chain Defendants identified manufactured, shipped, paid

for and received payment for the drugs identified above, throughout the United States.

       814.    The RICO Supply Chain Defendants used the internet and other electronic facilities

to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

Supply Chain Defendants made misrepresentations about their compliance with Federal and State

laws requiring them to identify, investigate and report suspicious orders of prescription opioids

and/or diversion of the same into the illicit market.

       815.    At the same time, the RICO Supply Chain Defendants misrepresented the superior

safety features of their order monitoring programs, ability to detect suspicious orders, commitment

to preventing diversion of prescription opioids, and their compliance with all state and federal

regulations regarding the identification and reporting of suspicious orders of prescription opioids.

       816.    The RICO Supply Chain Defendants utilized the internet and other electronic

resources to exchange communications, to exchange information regarding prescription opioid

sales, and to transmit payments and rebates/chargebacks.

       817.    The RICO Supply Chain Defendants also communicated by U.S. Mail, by interstate



                                                246
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 256 of 324. PageID #: 256




facsimile, and by interstate electronic mail with each other and with various other affiliates,

regional offices, regulators, distributors, and other third-party entities in furtherance of the scheme.

          818.   The mail and wire transmissions described herein were made in furtherance of the

RICO Supply Chain Defendants’ scheme and common course of conduct to deceive regulators,

the public and Plaintiff that these Defendants were complying with their state and federal

obligations to identify and report suspicious orders of prescription opioids all while Defendants

were knowingly allowing millions of doses of prescription opioids to divert into the illicit drug

market. The RICO Supply Chain Defendants’ scheme and common course of conduct was to

increase or maintain high production quotas for their prescription opioids from which they could

profit.

          819.   Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants’ books and records. However, Plaintiff has described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

          820.   The RICO Supply Chain Defendants did not undertake the practices described

herein in isolation, but as part of a common scheme. Various other persons, firms, and

corporations, including third-party entities and individuals not named as defendants in this

Complaint, may have contributed to and/or participated in the scheme with these Defendants in

these offenses and have performed acts in furtherance of the scheme to increase revenues, increase

market share, and /or minimize the losses for the RICO Supply Chain Defendants.

          821.   The predicate acts constituted a variety of unlawful activities, each conducted with




                                                  247
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 257 of 324. PageID #: 257




the common purpose of obtaining significant monies and revenues from the sale of their highly

addictive and dangerous drugs. The predicate acts also had the same or similar results, participants,

victims, and methods of commission. The predicate acts were related and not isolated events.

         822.   The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

committed or caused to be committed by the Defendants through their participation in the Opioid

Supply Chain Enterprise and in furtherance of its fraudulent scheme.

         823.   As described above, the RICO Supply Chain Defendants were repeatedly warned,

fined, and found to be in violation of applicable law and regulations, and yet they persisted. The

sheer volume of enforcement actions against the RICO Supply Chain Defendants supports this

conclusion that the RICO Supply Chain Defendants operated through a pattern and practice of

willfully and intentionally omitting information from their mandatory reports to the DEA as

required by 21 C.F.R. § 1301.74.315

         824.   Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiff’s Community and Plaintiff. The RICO Supply Chain

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or Plaintiff. The RICO Supply Chain Defendants were aware that

Plaintiff and the citizens of this jurisdiction rely on these Defendants to maintain a closed system




  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
315

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.



                                                    248
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 258 of 324. PageID #: 258




of manufacturing and distribution to protect against the non-medical diversion and use of their

dangerously addictive opioid drugs.

       825.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Supply Chain Defendants engaged in a fraudulent scheme and unlawful course

of conduct constituting a pattern of racketeering activity.




                                                249
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 259 of 324. PageID #: 259




                                      CLAIMS FOR RELIEF


                                  FIRST CLAIM FOR RELIEF

        Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing Enterprise
   (Against Defendants Purdue, Cephalon, Janssen, Endo, and Mallinckrodt (the “RICO
                               Marketing Defendants”))

        826.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        827.    The RICO Marketing Defendants – through the use of “Front Groups” that

appeared to be independent of the RICO Marketing Defendants; through the dissemination of

publications that supported the RICO Marketing Defendants’ scheme; through continuing medical

education (“CME”) programs controlled and/or funded by the RICO Marketing Defendants; by

the hiring and deployment of so-called “key opinion leaders,” (“KOLs”) who were paid by the

RICO Marketing Defendants to promote their message; and through the “detailing” activities of

the RICO Marketing Defendants’ sales forces – conducted an association-in-fact enterprise, and/or

participated in the conduct of an enterprise through a pattern of illegal activities (the predicate

racketeering acts of mail and wire fraud) to carry-out the common purpose of the Opioid Marketing

Enterprise, i.e., to unlawfully increase profits and revenues from the continued prescription and

use of opioids for long-term chronic pain. Through the racketeering activities of the Opioid

Marketing Enterprise sought to further the common purpose of the enterprise through a fraudulent

scheme to change prescriber habits and public perception about the safety and efficacy of opioid

use by convincing them that each of the nine false propositions alleged earlier were true. In so

doing, each of the RICO Marketing Defendants knowingly conducted and participated in the

conduct of the Opioid Marketing Activities by engaging in mail and wire fraud in violation of 18



                                                  250
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 260 of 324. PageID #: 260




U.S.C. §§ 1962(c) and (d).

        828.   The Opioid Marketing Enterprise alleged above, is an association-in-fact enterprise

that consists of the RICO Marketing Defendants (Purdue Cephalon, Janssen, Endo, and

Mallinckrodt); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS); and the KOLs

(Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).

        829.   Each of the RICO Marketing Defendants and the other members of the Opioid

Marketing Enterprise conducted and participated in the conduct of the Opioid Marketing

Enterprise by playing a distinct role in furthering the enterprise’s common purpose of increasing

profits and sales through the knowing and intentional dissemination of false and misleading

information about the safety and efficacy of long-term opioid use, and the risks and symptoms of

addiction, in order increase the market for prescription opioids by changing prescriber habits and

public perceptions and increase the market for opioids.

        830.   Specifically, the RICO Marketing Defendants each worked together to coordinate

the enterprise’s goals and conceal their role, and the enterprise’s existence, from the public by,

among other things, (i) funding, editing and distributing publications that supported and advanced

their false messages; (ii) funding KOLs to further promote their false messages; (iii) funding,

editing and distributing CME programs to advance their false messages; and (iv) tasking their own

employees to direct deceptive marketing materials and pitches directly at physicians and, in

particular, at physicians lacking the expertise of pain care specialists (a practice known as sales

detailing).

        831.   Each of the Front Groups helped disguise the role of RICO Marketing Defendants

by purporting to be unbiased, independent patient-advocacy and professional organizations in

order to disseminate patient education materials, a body of biased and unsupported scientific




                                               251
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 261 of 324. PageID #: 261




“literature,” and “treatment guidelines” that promoted the RICO Marketing Defendants false

messages.

       832.    Each of the KOLs were physicians chosen and paid by each of the RICO Marketing

Defendants to influence their peers’ medical practice by promoting the Marketing Defendant’s

false message through, among other things, writing favorable journal articles and delivering

supportive CMEs as if they were independent medical professionals, thereby further obscuring the

RICO Marketing Defendants’ role in the enterprise and the enterprise’s existence.

       833.    Further, each of the RICO Marketing Defendants, KOLs and Front Groups that

made-up the Opioid Marketing Enterprise had systematic links to and personal relationships with

each other through joint participation in lobbying groups, trade industry organizations, contractual

relationships and continuing coordination of activities. The systematic links and personal

relationships that were formed and developed allowed members of the Opioid Marketing

Enterprise the opportunity to form the common purpose and agree to conduct and participate in

the conduct of the Opioid Marketing Enterprise. Specifically, each of the RICO Marketing

Defendants coordinated their efforts through the same KOLs and Front Groups, based on their

agreement and understanding that the Front Groups and KOLs were industry friendly and would

work together with the RICO Marketing Defendants to advance the common purpose of the Opioid

Marketing Enterprise; each of the individuals and entities who formed the Opioid Marketing

Enterprise acted to enable the common purpose and fraudulent scheme of the Opioid Marketing

Enterprise.

       834.    At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate

and distinct from each RICO Marketing Defendant and its members; (b) was separate and distinct

from the pattern of racketeering in which the RICO Marketing Defendants engaged; (c) was an




                                                252
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 262 of 324. PageID #: 262




ongoing and continuing organization consisting of individuals, persons, and legal entities,

including each of the RICO Marketing Defendants; (d) was characterized by interpersonal

relationships between and among each member of the Opioid Marketing Enterprise, including

between the RICO Marketing Defendants and each of the Front Groups and KOLs; (e) had

sufficient longevity for the enterprise to pursue its purpose and functioned as a continuing unit.

       835.    The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

       836.    The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity that employed the use of

mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to

increase profits and revenue by changing prescriber habits and public perceptions in order to

increase the prescription and use of prescription opioids, and expand the market for opioids.

       837.    The RICO Marketing Defendants each committed, conspired to commit, and/or

aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

telephones and the Internet to transmit mailings and wires in interstate or foreign commerce.




                                                253
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 263 of 324. PageID #: 263




       838.    The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

               a. Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. §
                  1341 by sending or receiving, or by causing to be sent and/or
                  received, materials via U.S. mail or commercial interstate carriers
                  for the purpose of executing the unlawful scheme to design,
                  manufacture, market, and sell the prescription opioids by means of
                  false pretenses, misrepresentations, promises, and omissions.

               b. Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. §
                  1343 by transmitting and/or receiving, or by causing to be
                  transmitted and/or received, materials by wire for the purpose of
                  executing the unlawful scheme to design, manufacture, market, and
                  sell the prescription opioids by means of false pretenses,
                  misrepresentations, promises, and omissions.

       839.    Indeed, as summarized herein, the RICO Marketing Defendants used the mail and

wires to send or receive thousands of communications, publications, representations, statements,

electronic transmissions and payments to carry-out the Opioid Marketing Enterprise’s fraudulent

scheme.

       840.    Because the RICO Marketing Defendants disguised their participation in the

enterprise, and worked to keep even the enterprise’s existence secret so as to give the false

appearance that their false messages reflected the views of independent third parties, many of the

precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate wire

facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and cannot

be alleged without access to the books and records maintained by the RICO Marketing Defendants,

Front Groups, and KOLs. Indeed, an essential part of the successful operation of the Opioid

Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiff has described the

occasions on which the RICO Marketing Defendants, Front Groups, and KOLs disseminated

misrepresentations and false statements to Louisiana consumers, prescribers, regulators and




                                               254
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 264 of 324. PageID #: 264




Plaintiff, and how those acts were in furtherance of the scheme.

       841.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Louisiana consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own

profits remained high. In designing and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the integrity of the

pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific

evidence regarding the RICO Marketing Defendants’ products.

       842.    The RICO Marketing Defendants’ pattern of racketeering activity alleged herein,

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the RICO

Marketing Defendants are distinct from the Opioid Marketing Enterprise.

       843.    The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined by

this Court.

       844.    The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Louisiana consumers, prescribers, regulators and Plaintiff. Each separate use

of the U.S. Mail and/or interstate wire facilities employed by Defendants was related, had similar

intended purposes, involved similar participants and methods of execution, and had the same

results affecting the same victims, including Louisiana consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants have engaged in the pattern of racketeering activity for




                                                255
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 265 of 324. PageID #: 265




the purpose of conducting the ongoing business affairs of the Opioid Marketing Enterprise.

           845.     Each of the RICO Marketing Defendants aided and abetted others in the violations

of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and

1343 offenses.

           846.     As described herein, the RICO Marketing Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant money and revenue

from the marketing and sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

           847.     The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

           848.     The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business and property.

The RICO Marketing Defendants’ pattern of racketeering activity logically, substantially and

foreseeably caused an opioid epidemic. Plaintiff’s injuries, as described below, were not

unexpected, unforeseen or independent.316 Rather, as Plaintiff alleges, the RICO Marketing

Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-acute, and

non-cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly




316
      Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026 (2017).



                                                           256
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 266 of 324. PageID #: 266




addictive and subject to abuse.317 Nevertheless, the RICO Marketing Defendants engaged in a

scheme of deception that utilized the mail and wires in order to carry-out the Opioid Marketing

Enterprises’ fraudulent scheme, thereby increasing sales of their opioid products.

            849.   It was foreseeable and expected that the RICO Marketing Defendants creating and

then participating in the Opioid Marketing Enterprise through a pattern of racketeering activities

to carry-out their fraudulent scheme would lead to a nationwide opioid epidemic, including

increased opioid addiction and overdose.318

            850.   Specifically, the RICO Marketing Defendants’ creation of, and then participation

in, the Opioid Marketing Enterprise through a pattern of racketeering activities to carry-out their

fraudulent scheme has injured Plaintiff in the form of substantial losses of money and property

that logically, directly and foreseeably arise from the opioid-addiction epidemic. Plaintiff’s

injuries, as alleged throughout this complaint, and expressly incorporated herein by reference,

include:

                   a. Losses caused by the decrease in funding available for Plaintiff’s
                      public services for which funding was lost because it was diverted
                      to other public services designed to address the opioid epidemic;

                   b. Costs for providing healthcare and medical care, additional
                      therapeutic, and prescription drug purchases, and other treatments
                      for patients suffering from opioid-related addiction or disease,
                      including overdoses and deaths;

                   c. Costs of training emergency and/or first responders in the proper
                      treatment of drug overdoses;

                   d. Costs associated with providing police officers, firefighters, and
                      emergency and/or first responders with naloxone – an opioid
                      antagonist used to block the deadly effects of opioids in the context
                      of overdose;

317
      Id.
318
      Id.



                                                   257
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 267 of 324. PageID #: 267




              e. Costs associated with emergency responses by police officers,
                 firefighters, and emergency and/or first responders to opioid
                 overdoses;

              f. Costs for providing mental-health services, treatment, counseling,
                 rehabilitation services, and social services to victims of the opioid
                 epidemic and their families;

              g. Costs for providing treatment of infants born with opioid-related
                 medical conditions, or born dependent on opioids due to drug use by
                 mother during pregnancy;

              h. Costs associated with law enforcement and public safety relating to
                 the opioid epidemic, including but not limited to attempts to stop the
                 flow of opioids into local communities, to arrest and prosecute
                 street-level dealers, to prevent the current opioid epidemic from
                 spreading and worsening, and to deal with the increased levels of
                 crimes that have directly resulted from the increased homeless and
                 drug-addicted population;

              i. Costs associated with increased burden on Plaintiff’s judicial
                 system, including increased security, increased staff, and the
                 increased cost of adjudicating criminal matters due to the increase
                 in crime directly resulting from opioid addiction;

              j. Costs associated with extensive clean-up of public parks, spaces and
                 facilities of needles and other debris and detritus of opioid addiction.

              k. Loss of tax revenue due to the decreased efficiency and size of the
                 working population in Plaintiff’s Community;

              l. Losses caused by diminished property values in neighborhoods
                 where the opioid epidemic has taken root; and

              m. Losses caused by diminished property values in the form of
                 decreased business investment and tax revenue.

       851.   Plaintiff’s injuries were directly and thus proximately caused by these Defendants’

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiff’s injuries. But for the opioid-addiction epidemic the RICO Marketing Defendants created

through their Opioid Marketing Enterprise, Plaintiff would not have lost money or property.




                                               258
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 268 of 324. PageID #: 268




        852.   Plaintiff is the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.

        853.   Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages; treble damages; equitable and/or injunctive relief in the form of court-supervised

corrective communication, actions and programs; forfeiture as deemed proper by the Court;

attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, including, inter

alia:

               a. Actual damages and treble damages, including pre-suit and post-
                  judgment interest;

               b. An order enjoining any further violations of RICO;

               c. An order enjoining any further violations of any statutes alleged to
                  have been violated in this Complaint;

               d. An order enjoining the commission of any tortious conduct, as
                  alleged in this Complaint;

               e. An order enjoining any future marketing or misrepresentations
                  regarding the health benefits or risks of prescription opioids use,
                  except as specifically approved by the FDA;

               f. An order enjoining any future marketing of opioids through non-
                  branded marketing including through the Front Groups, KOLs,
                  websites, or in any other manner alleged in this Complaint that
                  deviates from the manner or method in which such marketing has
                  been approved by the FDA;

               g. An order enjoining any future marketing to vulnerable populations,
                  including but not limited to, persons over the age of fifty-five,
                  anyone under the age of twenty-one, and veterans;

               h. An order compelling the Defendants to make corrective advertising
                  statements that shall be made in the form, manner and duration as
                  determined by the Court, but not less than print advertisements in
                  national and regional newspapers and medical journals, televised
                  broadcast on major television networks, and displayed on their
                  websites, concerning: (1) the risk of addiction among patients taking
                  opioids for pain; (2) the ability to manage the risk of addiction; (3)



                                                 259
Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 269 of 324. PageID #: 269




            pseudoaddiction is really addiction, not a sign of undertreated
            addiction; (4) withdrawal from opioids is not easily managed; (5)
            increasing opioid dosing presents significant risks, including
            addiction and overdose; (6) long term use of opioids has no
            demonstrated improvement of unction; (8) use of time-released
            opioids does not prevent addiction; (9) abuse-deterrent formulations
            do not prevent opioid abuse; and (10) that manufacturers and
            distributors have duties under the CSA to monitor, identify,
            investigate, report and halt suspicious orders and diversion but failed
            to do so;

         i. An order enjoining any future lobbying or legislative efforts
            regarding the manufacturer, marketing, distribution, diversion,
            prescription, or use of opioids;

         j. An order requiring all Defendants to publicly disclose all
            documents, communications, records, data, information, research or
            studies concerning the health risks or benefits of opioid use;

         k. An order prohibiting all Defendants from entering into any new
            payment or sponsorship agreement with, or related to, any: Front
            Group, trade association, doctor, speaker, CME, or any other person,
            entity, or association, regarding the manufacturer, marketing,
            distribution, diversion, prescription, or use of opioids;

         l. An order establishing a National Foundation for education, research,
            publication, scholarship, and dissemination of information
            regarding the health risks of opioid use and abuse to be financed by
            the Defendants in an amount to be determined by the Court;

         m. An order enjoining any diversion of opioids or any failure to
            monitor, identify, investigate, report and halt suspicious orders or
            diversion of opioids;

         n. An order requiring all Defendants to publicly disclose all
            documents, communications, records, information, or data,
            regarding any prescriber, facility, pharmacy, clinic, hospital,
            manufacturer, distributor, person, entity or association regarding
            suspicious orders for or the diversion of opioids;

         o. An order divesting each Defendant of any interest in, and the
            proceeds of any interest in, the Marketing and Supply Chain
            Enterprises, including any interest in property associated with the
            Marketing and Supply Chain Enterprises;

         p. Dissolution   and/or    reorganization    of   any    trade   industry



                                         260
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 270 of 324. PageID #: 270




                    organization, Front Group, or any other entity or association
                    associated with the Marketing and Supply Chain Enterprises
                    identified in this Complaint, as the Court sees fit;

                q. Dissolution and/or reorganization of any Defendant named in this
                   Complaint as the Court sees fit;

                r. Suspension and/or revocation of the license, registration, permit, or
                   prior approval granted to any Defendant, entity, association or
                   enterprise named in the Complaint regarding the manufacture or
                   distribution of opioids;

                s. Forfeiture as deemed appropriate by the Court; and

                t. Attorney’s fees and all costs and expenses of suit.


                                 SECOND CLAIM FOR RELIEF

      Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply Chain Enterprise
(Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis, McKesson, Cardinal,
            and AmerisourceBergen (the “RICO Supply Chain Defendants”))

        854.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        855.    At all relevant times, the RICO Supply Chain Defendants were and are “persons”

under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

beneficial interest in property.”

        856.    The RICO Supply Chain Defendants together formed an association-in-fact

enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing the quota for and

profiting from the increased volume of opioid sales in the United States. The Opioid Supply Chain

Enterprise is an association-in-fact enterprise within the meaning of § 1961. The Opioid Supply

Chain Enterprise consists of the RICO Supply Chain Defendants.

        857.    The RICO Supply Chain Defendants were of members the Healthcare Distribution



                                                  261
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 271 of 324. PageID #: 271




Alliance (the “HDA”).319 Each of the RICO Supply Chain Defendants is a member, participant,

and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA to form the

interpersonal relationships of the Opioid Supply Chain Enterprise and to assist them in engaging

in the pattern of racketeering activity that gives rise to the Count.

         858.      At all relevant times, the Opioid Supply Chain Enterprise: (a) had an existence

separate and distinct from each of the RICO Supply Chain Defendants; (b) was separate and

distinct from the pattern of racketeering in which the RICO Supply Chain Defendants engaged;

(c) was an ongoing and continuing organization consisting of legal entities, including each of the

RICO Supply Chain Defendants; (d) was characterized by interpersonal relationships among the

RICO Supply Chain Defendants; (e) had sufficient longevity for the enterprise to pursue its

purpose; and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

Enterprise participated in the conduct of the enterprise, including patterns of racketeering activity,

and shared in the astounding growth of profits supplied by fraudulently inflating opioid quotas and

resulting sales.

         859.      The RICO Supply Chain Defendants carried out, or attempted to carry out, a

scheme to defraud federal and state regulators, and the American public by knowingly conducting

or participating in the conduct of the Opioid Supply Chain Enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and

wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

         860.      The RICO Supply Chain Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations




319
        History,  Health     Distribution     Alliance,   (last   accessed   on   September   15,   2017),
https://www.healthcaredistribution.org/about/hda-history.



                                                       262
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 272 of 324. PageID #: 272




of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

that the RICO Supply Chain Defendants committed, or aided and abetted in the commission of,

were related to each other, posed a threat of continued racketeering activity, and therefore

constitute a “pattern of racketeering activity.” The racketeering activity was made possible by the

RICO Supply Chain Defendants’ regular use of the facilities, services, distribution channels, and

employees of the Opioid Supply Chain Enterprise. The RICO Supply Chain Defendants

participated in the scheme to defraud by using mail, telephone and the Internet to transmit mailings

and wires in interstate or foreign commerce.

       861.    The RICO Supply Chain Defendants also conducted and participated in the conduct

of the affairs of the Opioid Supply Chain Enterprise through a pattern of racketeering activity by

the felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing in a controlled substance or listed chemical (as defined in section 102 of the Controlled

Substance Act), punishable under any law of the United States.

       862.    The RICO Supply Chain Defendants committed crimes that are punishable as

felonies under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful

for any person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other document required to be made,

kept or filed under this subchapter. A violation of § 843(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 843(d)(1).

       863.    Each of the RICO Supply Chain Defendants is a registrant as defined in the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious orders




                                                   263
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 273 of 324. PageID #: 273




when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

        864.      The RICO Supply Chain Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

                  a. Mail Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                     § 1341 by sending or receiving, or by causing to be sent and/or
                     received, materials via U.S. mail or commercial interstate carriers
                     for the purpose of executing the unlawful scheme to design,
                     manufacture, market, and sell the prescription opioids by means of
                     false pretenses, misrepresentations, promises, and omissions.

                  b. Wire Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                     § 1343 by transmitting and/or receiving, or by causing to be
                     transmitted and/or received, materials by wire for the purpose of
                     executing the unlawful scheme to design, manufacture, market, and
                     sell the prescription opioids by means of false pretenses,
                     misrepresentations, promises, and omissions.

                  c. Controlled Substance Violations: The RICO Supply Chain
                     Defendants violated 21 U.S.C. § 843 by knowingly or intentionally
                     furnishing false or fraudulent information in, and/or omitting
                     material information from, documents filed with the DEA.

        865.      The RICO Supply Chain Defendants conducted their pattern of racketeering

activity in this jurisdiction and throughout the United States through this enterprise.

        866.      The RICO Supply Chain Defendants aided and abetted others in the violations of

the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

        867.      The RICO Supply Chain Defendants hid from the general public and suppressed

and/or ignored warnings from third parties, whistleblowers and governmental entities about the

reality of the suspicious orders that the RICO Supply Chain Defendants were filling on a daily

basis – leading to the diversion of hundreds of millions of doses of prescriptions opioids into the

illicit market.

        868.      The RICO Supply Chain Defendants, with knowledge and intent, agreed to the



                                                 264
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 274 of 324. PageID #: 274




overall objective of their fraudulent scheme and participated in the common course of conduct to

commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

       869.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding manufacturing and distribution of prescription

opioids and refusing to report suspicious orders.

       870.    As described herein, the RICO Supply Chain Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and revenues

from the sale of their highly addictive and dangerous drugs. The predicate acts also had the same

or similar results, participants, victims, and methods of commission. The predicate acts were

related and not isolated events.

       871.    The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

committed or caused to be committed by the RICO Supply Chain Defendants through their

participation in the Opioid Supply Chain Enterprise and in furtherance of its fraudulent scheme.

       872.    The pattern of racketeering activity alleged herein and the Opioid Supply Chain

Enterprise are separate and distinct from each other. Likewise, the RICO Supply Chain Defendants

are distinct from the enterprise.

       873.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       874.    Many of the precise dates of the RICO Supply Chain Defendants’ criminal actions




                                                265
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 275 of 324. PageID #: 275




at issue here have been hidden by Defendants and cannot be alleged without access to Defendants’

books and records. Indeed, an essential part of the successful operation of the Opioid Supply Chain

Enterprise alleged herein depended upon secrecy.

       875.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       876.    It was foreseeable to the RICO Supply Chain Defendants that Plaintiff would be

harmed when they refused to report and halt suspicious orders, because their violation of the duties

imposed by the CSA and Code of Federal Regulations allowed the widespread diversion of

prescription opioids out of appropriate medical channels and into the illicit drug market – causing

the opioid epidemic that the CSA intended to prevent.

       877.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

       878.    The RICO Supply Chain Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business and property.

The RICO Supply Chain Defendants’ pattern of racketeering activity, including their refusal to

identify, report and halt suspicious orders of controlled substances, logically, substantially and

foreseeably cause an opioid epidemic. Plaintiff was injured by the RICO Supply Chain

Defendants’ pattern of racketeering activity and the opioid epidemic that they created.

       879.    The RICO Supply Chain Defendants knew that the opioids they manufactured and

supplied were unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain, or for

any other use not approved by the FDA, and knew that opioids were highly addictive and subject




                                                266
       Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 276 of 324. PageID #: 276




to abuse.320 Nevertheless, the RICO Supply Chain Defendants engaged in a scheme of deception,

that utilized the mail and wires as part of their fraud, in order to increase sales of their opioid

products by refusing to identify, report suspicious orders of prescription opioids that they knew

were highly addictive, subject to abuse, and were actually being diverted into the illegal market.321

           880.     The RICO Supply Chain Defendants’ predicate acts and pattern of racketeering

activity were a cause of the opioid epidemic which has injured Plaintiff in the form of substantial

losses of money and property that logically, directly and foreseeably arise from the opioid-

addiction epidemic.

           881.     Specifically, Plaintiff’s injuries, as alleged throughout this complaint, and expressly

incorporated herein by reference, include:

                    a. Losses caused by the decrease in funding available for Plaintiff’s
                       public services for which funding was lost because it was diverted
                       to other public services designed to address the opioid epidemic;

                    b. Costs for providing healthcare and medical care, additional
                       therapeutic, and prescription drug purchases, and other treatments
                       for patients suffering from opioid-related addiction or disease,
                       including overdoses and deaths;

                    c. Costs of training emergency and/or first responders in the proper
                       treatment of drug overdoses;

                    d. Costs associated with providing police officers, firefighters, and
                       emergency and/or first responders with naloxone – an opioid
                       antagonist used to block the deadly effects of opioids in the context
                       of overdose;

                    e. Costs associated with emergency responses by police officers,
                       firefighters, and emergency and/or first responders to opioid
                       overdoses;

                    f. Costs for providing mental-health services, treatment, counseling,

320
      Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026 (2017).
321
   City of Everett v. Purdue Pharma L.P., Case No. 17-cv-00209, 2017 WL 4236062, *2 (W.D. Wash. Sept. 25,
2017).



                                                           267
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 277 of 324. PageID #: 277




                   rehabilitation services, and social services to victims of the opioid
                   epidemic and their families;

               g. Costs for providing treatment of infants born with opioid-related
                  medical conditions, or born dependent on opioids due to drug use by
                  mother during pregnancy;

               h. Costs associated with law enforcement and public safety relating to
                  the opioid epidemic, including but not limited to attempts to stop the
                  flow of opioids into local communities, to arrest and prosecute
                  street-level dealers, to prevent the current opioid epidemic from
                  spreading and worsening, and to deal with the increased levels of
                  crimes that have directly resulted from the increased homeless and
                  drug-addicted population;

               i. Costs associated with increased burden on Plaintiff’s judicial
                  system, including increased security, increased staff, and the
                  increased cost of adjudicating criminal matters due to the increase
                  in crime directly resulting from opioid addiction;

               j. Loss of tax revenue due to the decreased efficiency and size of the
                  working population in Plaintiff’s Community;

               k. Losses caused by diminished property values in neighborhoods
                  where the opioid epidemic has taken root; and

               l. Losses caused by diminished property values in the form of
                  decreased business investment and tax revenue.

       882.    Plaintiff’s injuries were proximately caused by Defendants’ racketeering activities

because they were the logical, substantial and foreseeable cause of Plaintiff’s injuries. But for the

opioid-addiction epidemic created by Defendants’ conduct, Plaintiff would not have lost money

or property.

       883.    Plaintiff’s injuries were directly caused by the RICO Supply Chain Defendants’

pattern of racketeering activities.

       884.    Plaintiff is the most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

       885.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,



                                                268
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 278 of 324. PageID #: 278




actual damages; treble damages; equitable and/or injunctive relief in the form of court-supervised

corrective communication, actions and programs; forfeiture as deemed proper by the Court;

attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, and all of the

relief sought into the First Claim for Relief, as the Court deems just and applicable.


                                  THIRD CLAIM FOR RELIEF

                   Conspiracy to Violate RICO, 18 U.S.C. § 1961 et seq.
        (Against RICO Marketing Defendants and RICO Supply Chain Defendants)

        886.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, specifically repeats

and re-alleges the allegations under the First and Second Claims for Relief concerning RICO

liability, and further alleges as follows:

        887.    Based on the aforementioned acts and inactions, Defendants did conspire to acquire

and maintain an interest in a RICO enterprise engaged in a pattern of racketeering activity, in

violation.

        888.    Defendants did cooperate jointly and severally in the commission of two (2) or

more of the predicate acts that are itemized at 18 U.S.C. §§ 1961(1)(A) and (B), in violation of 18

U.S.C. § 1962(d).

        889.    Plaintiff further alleges that Defendants did commit two (2) or more of the offenses

itemized above in a manner which they calculated and premeditated intentionally to threaten

continuity, i.e. a continuing threat of their respective racketeering activities, also in violation of 18

U.S.C. § 1962(d) (prohibited activities).




                                                  269
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 279 of 324. PageID #: 279




                                 FOURTH CLAIM FOR RELIEF

               Violation of the Louisiana Racketeering Act, La. R.S. 15:1351 et seq.
                                     (Against All Defendants)

        890.     Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        891.     Louisiana Racketeering Act § 15:1353 provides in pertinent part:

                 A. It is unlawful for any person who has knowingly received any
                 proceeds derived, directly or indirectly, from a pattern of
                 racketeering activity to use or invest, whether directly or indirectly,
                 any part of such proceeds, or the proceeds derived from the
                 investment or use thereof, in the acquisition of any title to, or any
                 right, interest, or equity in immovable property or in the
                 establishment or operation of any enterprise. B. It is unlawful for
                 any person, through a pattern of racketeering activity, knowingly to
                 acquire or maintain, directly or indirectly, any interest in or control
                 of any enterprise or immovable property. C. It is unlawful for any
                 person employed by, or associated with, any enterprise knowingly
                 to conduct or participate in, directly or indirectly, such enterprise
                 through a pattern of racketeering activity. D. It is unlawful for any
                 person to conspire or attempt to violate any of the provisions of
                 Subsections A, B, or C of this Section.

        892.     Under Louisiana Revised Statutes § 15:1352, “pattern of racketeering” is defined

in pertinent part as:

                 Engaging in at least two incidents of racketeering activity that have
                 the same or similar intents, results, principals, victims, or methods
                 of commission or otherwise are interrelated by distinguishing
                 characteristics and are not isolated events.

        893.     Under Louisiana Revised Statutes § 15:1352, “racketeering activity” is defined in

pertinent part as:

                 Committing, attempting to commit, conspiring to commit, or
                 soliciting, coercing, or intimidating another person to commit any
                 crime that is punishable under the following provisions of Title 14
                 of the Louisiana Revised Statutes of 1950... (63) R.S. 14:70.1



                                                  270
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 280 of 324. PageID #: 280




               (Medicaid fraud)

       894.    Louisiana Revised Statutes § 14.70.1 provides in pertinent part:

               A. The crime of Medicaid fraud is the act of any person who, with
               the intent to defraud the state or any person or entity through any
               medical assistance program created under the federal Social
               Security Act and administered by the Louisiana Department of
               Health or any other state agency, does any of the following: (1)
               Presents for allowance or payment any false or fraudulent claim for
               furnishing services or merchandise. (2) Knowingly submits false
               information for the purpose of obtaining greater compensation than
               that to which he is legally entitled for furnishing services or
               merchandise. (3) Knowingly submits false information for
               furnishing services or merchandise.

       895.    Louisiana Revised Statutes § 15:1356(E) specifically provides:

               Any person who is injured by reason of any violation of R.S.
               15:1353 shall have a cause of action against any person engaged in
               racketeering activity who violates a provision of R.S. 15:1353. Such
               injured person shall be entitled to recover three times the actual
               damages sustained or ten thousand dollars, whichever is greater.
               Such person shall also recover attorney fees in the trial and appellate
               courts and costs of investigation and litigation reasonably incurred.

       896.    At all times relevant to this Complaint, Defendants, directly, through their control

of third parties, and by acting in concert with third parties committed, attempted to commit,

conspired to commit, or solicited other persons to commit violations of Louisiana Revised Statutes

§ 14:70.1 through acts that intended to defraud Louisiana or other political subdivisions and

entities by knowingly submitting or causing the submission of false information for the purpose

of obtaining authorization for furnishing services or merchandise through a medical assistance

program created under the Social Security Act and administered by an agency of Louisiana.

       897.    Defendants’ scheme caused prescribers to write prescriptions for opioids to treat

chronic pain that were presented to Medicaid for payment. Each claim for reimbursement to the

Louisiana State Medicaid program for chronic opioid therapy is the direct result of Defendants’




                                                271
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 281 of 324. PageID #: 281




marketing, which presented to prescribers’ false information about the risks, benefits, and

superiority of opioids for the long-term treatment of pain.

        898.    The misrepresentations made by Defendants and third parties they controlled

violated Louisiana Revised Statutes § 40:617 and § 40:625, rendering the drugs misbranded and

therefore ineligible for reimbursement by Louisiana Medicaid.

        899.    The misrepresentations were material because if the public and state agencies had

known of the false statements disseminated by Defendants and that doctors, pharmacies, other

health care providers, and/or the health plans certified and/or determined that opioids were

medically necessary and reasonably required based on those false statements, they would have

refused to authorize payment for opioid prescriptions. Instead, opioid prescriptions proliferated

throughout Louisiana via the state Medicaid program and contributed significantly to the

widespread epidemic of abuse, addiction, and consequent social harms which have caused damage

to Plaintiff.

        900.    By virtue of the above-described acts, Defendants knowingly made or caused to be

made false claims with the intent to induce the state agency to approve and pay such false and

fraudulent claims, with the goal of widespread use of Defendant manufacturers’ products.

        901.    By virtue of the above-described acts, Defendants acted in concert with third parties

to make misleading statements about the risks, benefits, and superiority of opioids to treat chronic

pain. Defendants were aware of the misleading nature of the misstatements and material omissions

made by third parties, and yet Defendants provided them substantial assistance and encouragement

by helping them develop, refine and promote these misstatements and material omissions and

distributing them to a broader audience. Defendants also substantially encouraged the

dissemination of these misstatements and material omissions by providing third parties with




                                                272
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 282 of 324. PageID #: 282




funding and technical support for the shared purpose of issuing misleading, pro-opioid messaging.

Defendants knew or should have known that these marketing and promotional efforts created an

untrue, false, and misleading impression about the risks, benefits, and superiority of opioids for

chronic pain and would result in the submission of false claims to the state Medicaid program for

opioid prescriptions written to treat chronic pain.

       902.    By reason of the Defendants conspiracy to commit Medicaid fraud and repeated

acts of Medicaid fraud, opioid prescriptions have proliferated throughout Louisiana, as has opioid-

and heroin-related crime. Plaintiff has thereby been injured in that Defendants’ unbranded

marketing caused the doctors to prescribe and the Medicaid to pay for long-term opioid treatment

using opioids manufactured or distributed by Defendants, and Defendants have received, or will

receive, income, profits, and other benefits, which they would not have received if they had not

engaged in the violations of Louisiana Revised Statutes § 15:1351 as described in this Complaint

and have used or invested those ill-gotten proceeds, or the proceeds derived from the investment

or use thereof in violation of Louisiana Revised Statutes § 15:1351. Defendants’ pattern of

racketeering activity has caused an explosion of opioids on the streets throughout Louisiana and a

rise in opioid- and heroin-related crime that have caused harm to Plaintiff including through costs

to house, feed, and provide medical treatment to those arrested or jailed for crimes related to

opioids, heroin, or synthetics. Defendants caused and are responsible for those costs and claims,

as well as their unjust enrichment.




                                                273
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 283 of 324. PageID #: 283




                                  FIFTH CLAIM FOR RELIEF

                                         Public Nuisance
                                     (Against All Defendants)

        903.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        904.    “For more than sixty years, the Louisiana Legislature enacted laws to protect the

public from the detrimental effects of misusing substances which are susceptible to abuse or which

lead to addiction.” La. R.S. § 40:996.1.

        905.    Defendants’ unlawful actions have created a public nuisance under Louisiana law.

Each Defendant is liable for public nuisance.

        906.    Defendants intentionally, unlawfully, recklessly, and negligently manufacture,

market, distribute, and sell prescription opioids that Defendants know, or reasonably should know,

will be diverted, causing widespread distribution of prescription opioids in and/or to Plaintiff’s

Community, resulting in addiction and abuse, an elevated level of crime, death and injuries to the

residents of Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to

Plaintiff and the residents to Plaintiff’s Community, and direct costs to Plaintiff.

        907.    Defendants’ nuisance-causing activities include selling or facilitating the sale of

prescription opioids to the patients of Plaintiff, as well as to unintended users, including children,

people at risk of overdose or suicide, and criminals.

        908.    Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was illegal. Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or



                                                  274
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 284 of 324. PageID #: 284




stop shipment of suspicious orders.

         909.   Defendants’ conduct in unlawfully distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, when Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used unlawfully in the State of Louisiana,

including within Plaintiff’s Community is of a continuing nature.

         910.   Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

         911.   A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State of Louisiana is a public nuisance.

         912.   Defendants’ distribution of opioids while failing to maintain effective controls

against diversion is proscribed by federal and state law.

         913.   Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids they allow and/or cause to be unlawfully distributed and possessed in the State of Louisiana

and in Plaintiff’s Community will be diverted, leading to abuse, addiction, crime, and public health

costs.

         914.   Because of the continued use and addiction caused by these unlawfully distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

         915.   Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

         916.   Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are




                                                 275
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 285 of 324. PageID #: 285




in the business of manufacturing, marketing, selling, and distributing prescription drugs, including

opioids, which are specifically known to Defendants to be dangerous under federal law.

       917.    Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know, will likely be diverted for non-legitimate,

non-medical use, creates a strong likelihood that these illegal distributions of opioids will cause

death and injuries to residents in Plaintiff’s Community and otherwise significantly and

unreasonably interfere with public health, safety, and welfare, and with the public’s, and

Plaintiff’s, right to be free from disturbance and reasonable apprehension of danger to person and

property.

       918.    It is reasonably foreseeable to defendants that their conduct will cause deaths and

injuries to residents in Plaintiff’s Community and will otherwise significantly and unreasonably

interfere with public health, safety, and welfare, and with the public’s right to be free from

disturbance and reasonable apprehension of danger to person and property.

       919.    The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only causes

deaths and injuries, but also creates a palpable climate of fear among residents in Plaintiff’s

Community where opioid diversion, abuse, and addiction are present and where diverted opioids

tend to be used frequently.

       920.    Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

       921.    Defendants’ conduct is a direct and proximate cause of death(s) and injury(ies) to

the residents of Plaintiff’s Community, costs borne by Plaintiff, and a significant and unreasonable




                                                276
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 286 of 324. PageID #: 286




interference with public health, safety, and welfare, and with the public’s, and Plaintiff’s, right to

be free from disturbance and reasonable apprehension of danger to person and property.

       922.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

to threaten the health, safety, and welfare of the residents of Plaintiff’s Community, creating an

atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

       923.    Defendants created this nuisance of the abuse of opioids, which are dangerously

addictive, and the ensuing associated plague of prescription opioid and heroin addiction.

Defendants knew the dangers to public health and safety that diversion of opioids would create in

Plaintiff’s Community, however, Defendants intentionally and/or unlawfully failed to maintain

effective controls against diversion through proper monitoring, reporting, and refusal to fill

suspicious orders of opioids. Defendants intentionally and/or unlawfully distributed opioids or

caused opioids to be distributed without reporting or refusing to fill suspicious orders or taking

other measures to maintain effective controls against diversion. Defendants intentionally and/or

unlawfully continued to ship and failed to halt suspicious orders of opioids or caused such orders

to be shipped. Defendants intentionally and/or unlawfully marketed opioids in manners they knew

to be false and misleading. Such actions were inherently dangerous.

       924.    Defendants knew the prescription of opioids have a high likelihood of being

diverted. It was foreseeable to Defendants that where Defendants distributed prescription opioids

or caused such opioids to be distributed without maintaining effective controls against diversion,

including monitoring, reporting, and refusing shipment of suspicious orders, that the opioids would

be diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

       925.    Defendants acted with actual malice because Defendants acted with a conscious




                                                 277
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 287 of 324. PageID #: 287




disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

         926.   As a direct result of Defendants’ conduct, Plaintiff has suffered actual injury and

damages including, but not limited to, significant expenses for providing unreimbursed or under-

reimbursed medical and health services, and costs related to opioid addiction and overdose

treatment.

         927.   Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions.

         928.   The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to Plaintiff’s community. The harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from the

Defendants’ abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants’ fraudulent marketing activities, have caused harm to Plaintiff.

         929.   Defendants’ activities unreasonably interfere with the economic rights of Plaintiff.

         930.   The Defendants’ interference with these rights of Plaintiff is unreasonable because

it:

                a. Has harmed and will continue to harm the public health services of
                   and public peace of Plaintiff;

                b. Has harmed and will continue to harm the communities and
                   neighborhoods which Plaintiff serves;

                c. Is proscribed by statutes and regulation, including the CSA,
                   pharmacy regulations, and consumer protection laws;

                d. Is of a continuing nature and it has produced long-lasting effects;

                e. Defendants have reason to know their conduct has a significant
                   effect upon Plaintiff; and




                                                278
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 288 of 324. PageID #: 288




                  f. Has inflicted substantial costs on Plaintiff.

        931.      Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory, treble, and punitive damages, and all damages allowed by law to be paid

by the Defendants, attorney fees and costs, and pre- and post-judgment interest.


                                    SIXTH CLAIM FOR RELIEF

                            Negligence and Negligent Misrepresentation
                                     (Against All Defendants)

        932.      Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        933.      Plaintiff seeks economic damages which were the foreseeable result of Defendants’

intentional and/or unlawful actions and omissions.

        934.      Under State law, to establish actionable negligence, one must show in addition to

the existence of a duty, a breach of that duty, and injury resulting proximately therefrom and/or

that was substantially caused thereby. All such essential elements exist here.

        935.      Further, Louisiana Civil Code article 2315 states, “Every act whatever of man that

causes damage to another obliges him by whose fault it happened to repair it.”

        936.      In addition, Louisiana Civil Code article 2316 states, “Every person is responsible

for the damage he occasions not merely by his act, but by his negligence, his imprudence, or his

want of skill.”

        937.      Each Defendant owed a duty to Plaintiff, and to the public health and safety in

Plaintiff’s Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.




                                                   279
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 289 of 324. PageID #: 289




       938.    Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.”

       939.    Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       940.    Each Defendant had an obligation to exercise due care in manufacturing, marketing,

selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s Community.

       941.    Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and the

significant costs which would be imposed upon the governmental entities associated with those

communities. The closed system of opioid distribution whereby wholesale distributors are the

gatekeepers between manufacturers and pharmacies, and where in all links in the chain have a duty

to prevent diversion, exists to control dangerous substances such as opioids and preventing

diversion and abuse.

       942.    Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to

the illegal drug market because of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       943.    Defendants, individually and through their employees and agents, and in concert

with each other, created an unreasonable risk in making misrepresentations about the safety and




                                               280
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 290 of 324. PageID #: 290




efficacy of opioids and violated their duty to Plaintiff through their negligent acts including acts

of negligence per se, in that Defendants violated legal prohibitions against false advertising and

misbranding drugs and devices.

       944.    Defendants, individually and through their employees and agents, and in concert

with each other, breached their duty to the public to provide accurate information about opioid

pain medication. Defendants breached this duty to the public at large and payors such as Plaintiff

when they willfully disseminated information they knew to be false, misleading, or not based on

scientific evidence about opioids, their effects, and potential for addiction.

       945.    Defendants breached their legal duty to refrain from disseminating false

advertisements and misbranded drugs.

       946.    Defendants, individually and through their employees and agents, and in concert

with each other, so saturated the stream of information to make it impossible for the public,

prescribers, or payors such as Plaintiff to get accurate information about the true risks and adverse

effects of opioid pain medication. Moreover, Defendants willfully targeted general practitioners,

family doctors, and other medical professionals without the expertise to evaluate their claims in

order to increase sales of opioid pain medication, even encouraging doctors to respond to the

warning signs for addiction by prescribing more opioid pain medication. In so doing, Defendants

created an unreasonable risk of a public epidemic of opioid addiction exactly of the type and scale

that is now ravaging towns and communities across the nation, including Louisiana and Plaintiff’s

Community, today.

       947.    Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

       948.    The escalating amounts of addictive drugs flowing through Defendants’ businesses,




                                                 281
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 291 of 324. PageID #: 291




and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

fueling increased consumption and that legitimate medical purposes were not being served. As

described above in allegations expressly incorporated herein, Distributor Defendants breached

their duties to exercise due care in the business of wholesale distribution of dangerous opioids,

which are Schedule II Controlled Substances, by failing to monitor for failing to report, and filling

highly suspicious orders time and again. Because the very purpose of these duties was to prevent

the resulting harm-diversion of highly addictive drugs for nonmedical purposes-the causal

connection between Defendants’ breach of duties and the ensuing harm was entirely foreseeable.

       949.    As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law and

concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

       950.    As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled Substances,

and by misrepresenting the nature of the drugs and aggressively promoting them for chronic pain

for which they knew the drugs were not safe or suitable.

       951.    The Manufacturer Defendants misrepresented and concealed the addictive nature

of prescription opioids and its lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       952.    All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.




                                                282
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 292 of 324. PageID #: 292




       953.    The    causal   connection    between    Defendants’    breaches    of   duties   and

misrepresentations and the ensuing harm was entirely foreseeable.

       954.    Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants’ knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

industrial channels. However, Defendants breached their duties to monitor for, report, and halt

suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

their duties were and their compliance with their legal duties.

       955.    It was directly foreseeable that Defendants’ concerted effort to create both a

massive supply of and massive demand for opioids would lead to an illicit black market for not

only drugs manufactured by Defendants and generic derivations thereof, but also for cheaper and

more potent opioids and synthetics like heroin and Fentanyl and fuel a rise in crime that would

strain the resources of law enforcement divisions around the country, including Plaintiff’s

Community. These foreseeable and directly attributable costs include increased personnel costs,

transportation costs, housing costs, and medical care for inmates and detainees.

       956.    It was also directly foreseeable that Defendants’ misleading or false information

about the safety and efficacy of opioids would result in higher health care and pharmaceutical care

costs and lost productivity, including those associated with paying injured employee medical

benefits.

       957.    The Defendants failed to disclose the material facts that, inter alia, they were not

in compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and refuse

suspicious orders. But for these material factual omissions, Defendants would not have been able




                                                283
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 293 of 324. PageID #: 293




to sell opioids.

        958.       As alleged herein, each Manufacturer Defendant misrepresented that the opioid

prescription medications they manufactured, marketed, and sold had characteristics, uses, or

benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented that

the opioids were safe and effective when the Manufacturer Defendants knew, or should have

known, such representations were untrue, false, and misleading. The Manufacturer Defendants

made deceptive representations about the use of opioids to treat chronic non-cancer pain.

        959.       Because of the dangerously addictive nature of these drugs, which the Manufacturer

Defendants concealed and misrepresented, they lacked medical value, and in fact caused addiction

and overdose deaths. Each Defendant’s omissions rendered even their seemingly truthful

statements about opioids deceptive.

        960.       As a direct result of Defendants’ breach of duty and creation of unreasonable risk,

Plaintiff has suffered harms directly attributable to and proximately caused by Defendants'

misconduct.

        961.       Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

negligence under State law.

        962.       Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ actions and omissions.

        963.       Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.




                                                   284
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 294 of 324. PageID #: 294




                                SEVENTH CLAIM FOR RELIEF

               Products Liability: Creation of an Unreasonably Dangerous Product
                                     (Against All Defendants)

        964.     Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        965.     Louisiana Revised Statutes § 9:2800.54(A) states that “The manufacturer of a

product shall be liable to a claimant for damage proximately caused by a characteristic of the

product that renders the product unreasonably dangerous when such damage arose from a

reasonably anticipated use of the product by the claimant or another person or entity.”

        966.     Under Louisiana Revised Statutes § 9:2800.53(5) “damages” include “all damage

caused by a product” and includes “damage to the product itself and economic loss arising from a

deficiency in... the product....”

        967.     Under Louisiana Revised Statutes § 9:2800.53(7) “reasonably anticipated use”

means “a use or handling of a product that the product’s manufacturer should reasonably expect

of an ordinary person in the same or similar circumstances.” Reasonably anticipated use also

includes some misuses.

        968.     Defendants’ product was unreasonably dangerous because it lacked adequate

warning under Louisiana Revised Statutes § 9:2800.57.

        969.     “Adequate warning” is defined under Louisiana Revised Statutes § 9:2800.53(9) as

“a warning or instruction that would lead an ordinary reasonable user... of a product to contemplate

the danger in using... the product and either decline to use... the product or, if possible, to use... the

product in such a manner as to avoid the damage for which the claim is made.”

        970.     Defendants knew that, barring exceptional circumstances, opioids are too addictive



                                                  285
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 295 of 324. PageID #: 295




and too debilitating for long-term use for chronic pain.

        971.    Defendants knew that, with prolonged use, the effectiveness of opioids wanes,

requiring increases in doses to achieve pain relief and markedly increasing the risk of significant

side effects and addiction.

        972.    Defendants knew that while opioids may work as acceptably well for a while, when

they are used on a long-term basis, function generally declines, and over time, even high doses of

opioids fail to control pain. Defendants also knew that increasing tolerance and dependence on

their product led to addiction and problematic addictive behaviors that could often only be

managed by daily medication therapy or a hard-to-manage weaning process that involved

significant and very painful withdrawal symptoms for the addicted.

        973.    The risk of opioid addiction is serious and grave. Defendants had a duty to warn

about those risks.

        974.    Moreover, providing such a warning would have been very feasible.

        975.    However, instead of providing that warning, Defendants waged a multimillion

dollar marketing and advertising campaign that promoted falsehoods and minimized the risk of

addiction and withdrawal. To do so, Defendants marshalled help from consultants and public

relations firms and collectively developed and executed a common strategy to manipulate the

“common understanding” of the relative risks and benefits of chronic opioid therapy. Rather than

add to the collective body of medical knowledge concerning the best ways to treat pain and

improve quality of life, Defendants instead sought to distort medical and public perception of

existing scientific data.

        976.    Defendants, collectively and individually, poured vast sums of money into

generating articles, CMEs, and other “educational” materials. Defendants conducted sales visits to




                                                286
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 296 of 324. PageID #: 296




doctors, and supported a network of professional societies and advocacy groups to create a new

but phony “consensus” that continues supporting the long-term use of opioids and so thoroughly

muddying the waters in the pool of information about opioids that the true risks would not be

apparent to a reasonable ordinary user.

        977.    Damage to Plaintiff comes in the form of increased operating costs; opioid therapy

on behalf of its employees, residents and communities that it would not have otherwise paid for;

jail and law enforcement costs associated with opioid-related crime; and medical care for addicting

offenders was the result of a reasonably anticipated use.

        978.    Because of Defendant’s knowledge of the risk of opioid addiction; collective

scheme to proliferate opioids to users for whom the drugs were not appropriate; and realization

that causing customers to become physically addicted would increase the likelihood that they could

realize blockbuster profits off the sale of opioids indefinitely, both the as-prescribed use of opioid

pain medication and the predictable abuse of opioid pain medication constitutes a reasonably

anticipated use under the statute. Defendants are liable from all resulting damage caused to

Plaintiff.

        979.    Defendants’ product was also unreasonably dangerous because it failed to conform

to express warranties of the manufacturer under Louisiana Revised Statutes § 9:2800.58.

        980.    “Express warranty” is defined under Louisiana Revised Statutes § 9:2800.53(6) as

“a representation, statement of alleged fact or promise about a product or its nature, material or

workmanship that represents, affirms or promises that the product or its nature, material or

workmanship possesses specified characteristics or qualities or will meet a specified level of

performance.”

        981.    To date, there have been no long-term studies demonstrating the safety and efficacy




                                                 287
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 297 of 324. PageID #: 297




of opioids for long-term use.

       982.    Nonetheless, Defendants, individually and collectively, warranted that:

               a.   Addiction to opioids is rare and limited to extreme cases of
                    unauthorized dose escalations;

               b.   Taking opioids as prescribed usually does not result in addiction or
                    addictive disorders;

               c.   Opioids improve patients’ function;

               d.   Opioids improve patients’ quality of life;

               e.   The addiction risk of opioids can be easily managed;

               f.   Withdrawal from opioids is easily managed;

               g.   Long-term opioid therapy is appropriate for chronic, non-cancer
                    pain;

               h.   Increased dosing of opioids poses no significant additional risks.

       983.    Defendants disseminated many of these warranties through the vehicles because

they appeared to uninformed observers to be independent. As described throughout this Complaint,

Defendants collectively and individually adopted this strategy to defraud healthcare consumers,

insurers, doctors, patients, and the public at large and cannot now disavow these warranties as

anything but their own.

       984.    Even where such unbranded messages were disseminated through third-party

vehicles, Defendants adopted these messages as their own when they cited to, edited, approved,

and distributed such materials knowing they were false, misleading, unsubstantiated, imbalanced,

and incomplete.

       985.    Moreover, Defendants took an active role in guiding, reviewing, and approving

many of the false warranties issued by third parties, ensuring that Defendants were consistently in

control of their content and third-party mouth pieces. By funding, directing, editing, and



                                               288
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 298 of 324. PageID #: 298




distributing these materials, Defendants exercised control over their deceptive messages and acted

in concert with these third parties fraudulently to promote the use of opioids for treatment of

chronic pain by use of false warranties and other misleading statements.

        986.    Doctors were induced to prescribe, and residents of Plaintiff’s Community were

induced to purchase opioids because they believed Defendants warranties to be true when they

were not. This constitutes a reasonably anticipated use under the statute.

        987.    By reason of the Defendants conduct, opioid prescriptions have proliferated

throughout Louisiana, as has opioid- and heroin-related medical ailments and emergencies which

require medical or other services provided by hospitals like Plaintiff. Plaintiff has thereby been

injured in that Defendants’ conduct caused the doctors to prescribe and the payors to pay for long-

term opioid treatment using opioids manufactured or distributed by Defendants. Defendants’

conduct has caused an explosion of opioids on the streets of Plaintiff’s Community and throughout

Louisiana, as well as a rise in opioid- and heroin-related health detriments and emergencies that

have caused harm to Plaintiff. Defendants caused and are responsible for those costs and claims.


                                 EIGHTH CLAIM FOR RELIEF

                                           Redhibition
                                     (Against All Defendants)

        988.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        989.    Pursuant to Louisiana Civil Code 2520, et seq., through the manufacture,

marketing, and sale of opioid medications, including but not exclusively limited to, OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER, Percocet, Actiq,




                                                  289
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 299 of 324. PageID #: 299




Fentora, Duragesic, Opana/Opana ER, Percodan, Zydone, Kadian, oxycodone, hydrocodone, and

Norco, Defendants warranted to Plaintiff, Louisiana patients, medical assistance programs, and

government payors that opioid medications were free of any redhibitory defects.

        990.    By virtue of the acts alleged above, Defendants had reason to know that Plaintiff,

patients, their insurers, public health care providers, prescribers, public entities, medical assistance

programs, and government payors were purchasing and using opioid medications for the treatment

of unapproved indications or for ineffective treatment. Therefore, pursuant to Louisiana Civil Code

article 2520, Defendants warranted to Plaintiff, Louisiana patients, their insurers, public health

care providers, prescribers, public entities, medical assistance programs, and government payors

that opioid medications were for those particular purposes.

        991.    Opioid medications contain redhibitory defects unknown and undiscoverable to

Plaintiff but for Defendants’ false representations and omissions regarding unapproved indications

and uses for opioid medications. Louisiana healthcare professionals would not have prescribed

opioid medications for such unapproved indications and uses, and consequently, Plaintiff would

not have purchased and/or paid for opioid medications.

        992.    The redhibitory defects existed at the time opioid medications were purchased

and/or paid for by Plaintiff, and Plaintiff had no knowledge of the redhibitory defects when it paid

for opioid medications and it could not have reasonably discovered the hidden redhibitory defects

in opioid medications.

        993.    Defendants breached their warranty of redhibition and as a direct result of this

breach of warranty, Plaintiff has suffered and will continue to suffer damages.

        994.    Pursuant to Louisiana Civil Code article 2545, Defendants are liable to Plaintiff for

the return of the price with interest from the time it was paid for, reimbursement of the reasonable




                                                  290
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 300 of 324. PageID #: 300




expenses occasioned by the sale, and for damages, including any consequential damages for

medical care and expenses related to the undisclosed adverse effects and side effects of opioid

medications in a total amount to be determined at trial, as well as reasonable attorney fees to be

set by the Court.


                                  NINTH CLAIM FOR RELIEF

                                               Fraud
                                      (Against All Defendants)

        995.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        996.    Louisiana jurisprudence indicates that the elements of the tort of fraud are: (1) a

misrepresentation of material fact made with the intent to deceive when there was, (2) reasonable

or justifiable reliance by the plaintiff, and (3) resulting injury.

        997.    Defendants, individually and through their employees and agents, and in concert

with each other, misrepresented material facts with regards to the use of opioids to treat chronic

pain through various means including but not limited to:

                a. Creating and/or disseminating advertisements, scientific studies,
                   CMFs, and patient and prescriber education materials that contained
                   false, misleading, and untrue statements concerning the ability of
                   opioids to improve function long-term;

                b. Creating and/or disseminating advertisements, scientific studies,
                   CMEs, and patient and prescriber education materials that contained
                   false, misleading, and untrue statements concerning the ability of
                   opioids to improve quality of life while concealing contrary data;

                c. Creating and/or disseminating advertisements, scientific studies,
                   CMEs, and patient and prescriber education materials that contained
                   false, misleading, and untrue statements concerning the evidence
                   supporting the efficacy of opioids long-term for the treatment of



                                                  291
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 301 of 324. PageID #: 301




                   chronic non-cancer pain, including known rates of abuse and
                   addiction and lack of validation for long-term efficacy;

               d. Disseminating misleading statements concealing the true risk of
                  addiction and promoting the misleading concept of
                  “pseudoaddiction,” even for high-risk patients;

               e. Disseminating misleading statements concealing the true risk of
                  addiction in the elderly;

               f. Endorsing, directly distributing, and assisting in the distribution of
                  publications that presented an imbalanced treatment of the
                  long-term and dose-dependent risks of opioids versus NSAIDs;

               g. Falsely claiming that withdrawal is simply managed;

               h. Misrepresenting that increased doses of opioids pose no significant
                  additional risks.

       998.    Specifically, Defendants’ knowing deceptions during the relevant period, which

were intended to induce reliance, include but are not limited to:

               a. Defendants’ misrepresentations overstating the benefits of, and
                  evidence for, the use of opioids for chronic pain;

               b. Defendants’ misrepresentations that the risks of long-term opioid
                  use, especially the risk of addiction, were overblown;

               c. Defendants’ misrepresentations that opioid doses can be safely and
                  effectively increased until pain relief is achieved;

               d. Defendants’ misrepresentations that signs of addiction were
                  “pseudoaddiction” and thus reflected undertreated pain, which
                  should be responded to with more opioids;

               e. Defendants’ misrepresentations that screening tools effectively
                  prevent addiction;

               f. Defendants’ misrepresentations concerning the comparative risks of
                  NSAIDs and opioids;

               g. Defendants’ misrepresentations that opioids differ from NSAIDs in
                  that opioids have no ceiling dose;

               h. Defendants’ misrepresentations that evidence supports the long-
                  term use of opioids for chronic pain;


                                                292
Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 302 of 324. PageID #: 302




         i. Defendants’ misrepresentations that chronic opioid therapy would
            improve patients’ function and quality of life;

         j. Defendants’ false portrayal of their efforts and/or commitment to
            rein in the diversion and abuse of opioids;

         k. Defendants’ misrepresentations that withdrawal is easily managed;

         l. Purdue’s and Endo’s misrepresentations that alleged abuse-
            deterrent opioids reduce tampering and abuse;

         m. Purdue’s misrepresentations that OxyContin provides a full 12 hours
            of pain relief;

         n. Purdue’s misrepresentations that it cooperates with and supports
            efforts to prevent opioid abuse and diversion;

         o. Mallinckrodt’s misrepresentations that it meets or exceeds legal
            requirements for controlling against diversion of controlled
            substances it has been entrusted to handle;

         p. Insys’s misrepresentations that Subsys was appropriate for
            treatment of non-cancer pain and its failure to disclose that Subsys
            was not approved for such use;

         q. Insys’s misrepresentations to third-party payors to secure approval
            for coverage;

         r. Insys’s use of speaker bureaus to disguise kickbacks to prescribers;

         s. Teva’s misrepresentations that Actiq and Fentora were appropriate
            for treatment of non-cancer pain and its failure to disclose that Actiq
            and Fentora were not approved for such use;

         t. Cephalon’s unsubstantiated claims that Actiq and Fentora were
            appropriate for treatment of non-cancer pain;

         u. Defendants’ use of front groups to misrepresent that the deceptive
            statements from the sources described in this Complaint came from
            objective, independent sources;

         v. Defendants’ creation of a body of deceptive, misleading and
            unsupported medical and popular literature, advertisements, training
            materials, and speaker presentations about opioids that (i)
            understated the risks and overstated the benefits of long-term use;



                                          293
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 303 of 324. PageID #: 303




                   (ii) appeared to be the result of independent, objective research; and
                   (iii) was thus more likely to be relied upon by physicians, patients,
                   and payors; and,

               w. Such other misrepresentations and deceptions outlined above.

       999.    By engaging in the acts and practices alleged herein, Defendants, in the relevant

time period, with the intent that others rely on their omissions or suppression of information,

omitted material facts that Defendants had a duty to disclose by virtue of these Defendants’ other

representations, including but not limited to:

               a. opioids are highly addictive and may result in overdose or death;

               b. no credible scientific evidence supports the use of screening tools as
                  a strategy for reducing abuse or diversion;

               c. high dose opioids subject the user to greater risks of addiction, other
                  injury, and/or death;

               d. opioids present the risks of hyperalgesia, hormonal dysfunction,
                  decline in immune function, mental clouding, confusion, dizziness,
                  increased falls and fractures in the elderly, neonatal abstinence
                  syndrome, and potentially fatal interactions with alcohol or
                  benzodiazepines; these omissions were made while Defendants
                  exaggerated the risks of competing products such as NSAIDs;

               e. claims regarding the benefits of chronic opioid therapy lacked
                  scientific support or were contrary to the scientific evidence;

               f. Purdue’s 12-hour OxyContin fails to last a full twelve hours in many
                  patients;

               g. Purdue’s and Endo’s abuse-deterrent formulations are not designed
                  to address, and have no effect on, the common route of abuse (oral
                  abuse), can be defeated with relative ease, and may increase overall
                  abuse;

               h. Defendants’ failure to report suspicious prescribers and/or orders;

               i. Insys’s use of kickback and insurance fraud schemes;

               j. Insys’s failure to disclose that Subsys was not approved for non-
                  cancer pain;



                                                 294
      Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 304 of 324. PageID #: 304




                 k. Cephalon’s failure to disclose that Actiq and Fentora were not
                    approved for non-cancer pain;

                 l. Defendants’ failure to disclose their financial ties to and role in
                    connection with KOLs, front groups, and deceptive literature and
                    materials, as more fully described above; and

                 m. Such other omissions and concealments as described above.

         1000. In each of the circumstances described in inter alia the foregoing paragraph,

Defendants knew that their failure to disclose rendered their prior representations untrue or

misleading. Thus, Defendants had a duty not to deceive Plaintiff.

         1001. Defendants’ false representations and concealments were made with the intent to

deceive Louisiana consumers who used or paid for opioids for chronic pain; Louisiana physicians

who prescribed opioids to consumers to treat chronic pain; and Louisiana payors, who purchased,

or covered the purchase of, opioids for chronic pain.

         1002. Defendants knew that, barring exceptional circumstances, opioids are too addictive

and too debilitating for long-term use for chronic pain.

         1003. Defendants knew that, with prolonged use, the effectiveness of opioids wanes,

requiring increases in doses to achieve pain relief and markedly increasing the risk of significant

side effects and addiction.322

         1004. Defendants knew that controlled studies of the safety and efficacy of opioids were

limited to short-term use in managed settings where the risk of addiction and other adverse

outcomes was significantly minimized.

         1005. Despite the foregoing knowledge, in order to expand the market for opioids and




322
  See, e.g., Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain
Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994).



                                                      295
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 305 of 324. PageID #: 305




realize blockbuster profits, Defendants sought to create a false perception of the safety and efficacy

of opioids in the minds of medical professionals and members of the public that would encourage

the use of opioids for longer periods of time and to treat a wider range of problems, including such

common aches and pains as lower back pain, arthritis, and headaches, and did so through their

material misrepresentations including those listed above.

        1006. Because Defendants’ false marketing campaign did so completely saturate the

market, were promulgated in part by third parties positioned as experts and extend to almost every

available source of information including prescribing guidelines, CMEs, patient educational

materials, journal publications, etc., Plaintiff did reasonably rely on these false representations

made by Defendants and third parties in their control.

        1007. But for these false representations and concealments of material fact, Plaintiff

would not have purchased or covered the purchase of opioids for chronic pain. But for these false

representations, there would not have been a massive opioid addiction and overdose epidemic that

has strained the budgets of law enforcement agencies, such as Plaintiff.

        1008. As a direct and proximate case of Defendants’ fraudulent conduct, Plaintiff has

been injured, suffering actual pecuniary damage.


                                 TENTH CLAIM FOR RELIEF

                                        False Advertising
                                     (Against All Defendants)

        1009. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        1010. Louisiana Revised Statutes § 40:625(A) states that “An advertisement of a...




                                                  296
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 306 of 324. PageID #: 306




drug...is false if it is false or misleading in any particular regarding the… drug...Any representation

concerning any effect of a drug...is false under this Sub-section if it is not supported by

demonstrable scientific facts or substantial and reliable medical or scientific opinion.”

       1011. “Advertisement” includes all representations of fact or opinion disseminated to the

public in any manner, or by any means other than labelling. La. R.S. § 40:602.

       1012. Defendants violated Louisiana Revised Statutes § 40:625, because they engaged in

false advertising in the conduct of a business, trade, or commerce in Louisiana.

       1013. At all times relevant to this Complaint, Defendants, directly and/or through their

control of third parties, and by aiding and abetting third parties, violated Louisiana Revised

Statutes § 40:625 by making and disseminating untrue, false, and misleading advertisements to

Louisiana consumers to promote the sale and use of opioids to treat chronic pain, and by causing

untrue, false, and misleading advertisements about opioids to be made or disseminated to

Louisiana consumers in order to promote the sale and use of opioids to treat chronic pain. These

untrue, false, and misleading statements in advertisements and other patient brochures included,

but were not limited to:

               a. Misrepresenting the truth about how opioids lead to addiction;

               b. Misrepresenting that opioids improve function;

               c. Misrepresenting that addiction risk can be managed;

               d. Misleading patients through            the   use   of   misleading
                  terms like “pseudoaddiction”;

               e. Falsely claiming that withdrawal is simply managed;

               f. Misrepresenting that increased doses pose no significant additional
                  risks;

               g. Falsely omitting or minimizing the adverse effects of opioids and
                  overstating the risks of alternative forms of pain treatment.




                                                 297
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 307 of 324. PageID #: 307




       1014. At all times relevant to this Complaint, Defendants, directly and/or through their

control of third parties, and by aiding and abetting third parties, also violated Louisiana Revised

Statutes § 40:625 through misleading advertisements in various marketing channels, including but

not limited to: advertisements, brochures, and other patient education materials that omitted or

concealed material facts to promote the sale and use of opioids to treat chronic pain. Defendants

and their third-party allies repeatedly failed to disclose or minimized material facts about the risks

of opioids, including the risk of addiction, and their risks compared to alternative treatments. Such

material omissions were deceptive and misleading in their own right, and further rendered

otherwise truthful statements about opioids untrue, false, and misleading, creating a misleading

impression of the risks, benefits, and superiority of opioids for treatment of chronic pain.

       1015. Defendants knew at the time of making or disseminating these misstatements and

material omissions or causing these misstatements and material omissions statements to be made

or disseminated, that they were untrue, false, or misleading and would deceive the public. In

addition, Defendants knew or should have known that their marketing and promotional efforts

created an untrue, false, and misleading impression of the risks, benefits, and superiority of

opioids.

       1016. In sum, Defendants: (a) directly engaged in untrue, false, and misleading

advertising; (b) disseminated the untrue, false, and misleading advertisements through third

parties; and (c) aided and abetted the untrue, false, and misleading advertising by third parties.

       1017. All of this conduct, separately and collectively, was intended to deceive Louisiana

consumers who used or paid for opioids for chronic pain and Louisiana payors, including Plaintiff

and Plaintiff’s residents and communities who purchased, or covered the purchase of, opioids for

chronic pain; and the political subdivisions of Louisiana charged with maintaining law and order




                                                 298
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 308 of 324. PageID #: 308




in the cities who bore increased costs associated with foreseeable criminal activity arising from

the rise in addiction that was a direct consequence of Defendants’ promotion of misleading

advertisements about opioid risks and benefits.

        1018. By reason of the foregoing, Plaintiff was injured and continues to be injured in that

Defendants’ false advertisements that caused consumers to request, doctors to prescribe, and

payors such as Plaintiff to pay for long-term opioid treatment and using opioids manufactured or

distributed by Defendants and other drug makers that they would not have otherwise paid for were

it not for Defendants’ false advertising. But for Defendants’ false advertising, Plaintiff would not

have incurred increased law enforcement and social services costs associated with addiction and

criminal activity directly attributable to Defendants’ misconduct. Defendants caused and are

responsible for those costs and claims. Plaintiff has been injured by reason of Defendants’ violation

of Louisiana Revised Statutes § 40:625.


                               ELEVENTH CLAIM FOR RELIEF

                                  Misbranding Drugs or Devices
                                    (Against All Defendants)

        1019. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        1020. Louisiana Revised Statutes § 40:617(A)(2) states that a drug is considered

misbranded if it “is dangerous to health under the conditions of use prescribed in the labeling or

advertising thereof ....”

        1021. Additionally, in Louisiana, a manufacturer illegally “misbrands” a drug if the

drug’s labeling is false or misleading. La. R.S. § 40:617(A).




                                                  299
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 309 of 324. PageID #: 309




       1022. “Labeling” includes all labels and other written, printed, and graphic matter, in any

form whatsoever, accompanying any drug. La. R.S. § 40:602.

       1023. Any representation concerning any effect of a drug is considered false if the

representation is not supported by demonstrable scientific facts, or substantial and reliable medical

or scientific opinion. La. R.S. § 40:617.

       1024. Defendants violated Louisiana Revised Statutes § 40:617, because they misbranded

drugs in the conduct of a business, trade or commerce in Louisiana.

       1025. By falsely promoting the message, inter alia, that opioids were unlikely to lead to

addiction; that the rare incidence of addiction could be easily managed; that opioids were

appropriate and first-line treatment for chronic pain; that withdrawal is easily managed; that

increased doses of opioids posed no additional risks; and by falsely omitting or minimizing the

adverse effects of opioids Defendants and their third-party allies promoted a product that was

dangerous to health under the conditions and use prescribed in their advertisements and marketing

and therefore misbranded.

       1026. Defendants also violated Louisiana Revised Statutes § 40:617, because Defendants

and their third-party allies promoted a product through advertising and marketing was not

supported by demonstrable scientific facts or substantial and reliable medical or scientific opinion,

thereby rendering their drugs misbranded. Defendants’ misbranding was achieved through the

promulgation of false and misleading advertising and marketing, inter alia, that opioids were

unlikely to lead to addiction; that rare incidence of addiction could be easily managed; that opioids

were appropriate and first-line treatment for chronic pain; that withdrawal is easily managed; that

increased doses of opioids posed no additional risks, and by falsely omitting or minimizing the

adverse effects of opioids, in their advertising and marketing efforts.




                                                300
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 310 of 324. PageID #: 310




        1027. By reason of the foregoing, Plaintiff was injured and continues to be injured in that

Defendants offered drugs dangerous to health under the use prescribed in their labeling, and in that

Defendants’ labeling contained representations that were not supported by demonstrable scientific

facts or substantial and reliable medical or scientific opinion. Such labeling caused consumers to

request, doctors to prescribe, and payors to pay for long-term opioid treatment using opioids

manufactured or distributed by Defendants as well as other drug makers that they would not have

otherwise paid for were it not for Defendants’ misbranding. But for Defendants’ faulty labeling,

Plaintiff would not have occurred increased law enforcement and criminal justice costs associated

with addiction and criminal activity directly attributable to Defendants’ misbranding. Defendants

caused and are responsible for those costs and claims. Plaintiff has been injured by reason of

Defendants’ violation of Louisiana Revised Statutes § 40:617.


                               TWELFTH CLAIM FOR RELIEF

                                  Unfair and Deceptive Practices
                                    (Against All Defendants)

        1028. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        1029. Louisiana Revised Statutes § 51:1405 (“Louisiana Unfair Trade Practices Act”,

otherwise known as LUTPA) says that, “[U]nfair or deceptive acts or practices in the conduct of

any trade or commerce are hereby declared unlawful.”

        1030. Defendants’ practices as described herein are unfair and deceptive practices that

violate LUTPA because the practices were and are intended to deceive consumers and occurred

and continue to occur in the course of conduct involving trade and commerce in Plaintiff’s




                                                  301
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 311 of 324. PageID #: 311




Community and throughout Louisiana.

       1031. At all times relevant to this Complaint, Defendants, directly and/or through their

control of third parties, and by aiding and abetting third parties, violated LUTPA by making and

disseminating untrue, false, and misleading statements to Louisiana prescribers and consumers to

promote the sale and use of opioids to treat chronic pain, or by causing untrue, false, and

misleading statements about opioids to be made or disseminated to Louisiana prescribers and

consumers in order to promote the sale and use of opioids to treat chronic pain. By virtue of the

acts alleged herein, Defendants engaged in methods, acts, and practices with the intent to defraud

health care providers, prescribers, health care payors, and Louisiana elder and disabled persons.

These untrue, false, and misleading statements included, but were not limited to:

               a. Misrepresenting the truth about how opioids lead to addiction;

               b. Misrepresenting that opioids improve function;

               c. Misrepresenting that addiction risk can be managed;

               d. Misleading doctors, patients, and payors through the use of
                  misleading terms like “pseudoaddiction”;

               e. Falsely claiming that withdrawal is simply managed;

               f. Misrepresenting that increased doses pose no significant additional
                  risks;

               g. Falsely omitting or minimizing the adverse effects of opioids and
                  overstating the risks of alternative forms of pain treatment.

       1032. At all times relevant to this Complaint, Defendants, directly, through their control

of third parties, and by aiding and abetting third parties, also violated LUTPA by making

statements that omitted or concealed material facts to promote the sale and use of opioids to treat

chronic pain. Defendants and their third-party allies repeatedly failed to disclose or minimized

material facts about the risks of opioids, including the risk of addiction, and their risks compared




                                                302
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 312 of 324. PageID #: 312




to alternative treatments. Such material omissions were deceptive and misleading in their own

right, and further rendered even otherwise truthful statements about opioids untrue, false, and

misleading. Therefore, they created a misleading impression of the risks, benefits, and superiority

of opioids for treatment of chronic pain.

       1033. At all times relevant to this Complaint, the Defendants, directly, through their

control of third parties, and by aiding and abetting third parties, violated LUTPA by engaging in

unfair acts or practices to promote the sale and use of opioids to treat chronic pain. These acts or

practices are unfair in that they offend public policy; are immoral, unethical, oppressive, or

unscrupulous; and have resulted in substantial injury to Louisiana consumers, health care payors,

and service providers, including Plaintiff.

       1034. The Defendants’ unfair acts or practices include, but are not limited to:

               a. Targeting a vulnerable population – the elderly – for promotion of
                  opioids to treat chronic pain in the face of the known, heightened
                  risks of opioid use to the elderly; including risks of addiction,
                  adverse effects, hospitalization, and death;

               b. Targeting a vulnerable population – veterans – for promotion of
                  opioids to treat chronic pain in the face of the known, heightened
                  risks of opioid use to veterans, including risks of addiction,
                  overdose, and self-inflicted or accidental injury;

               c. Targeting susceptible providers;

               d. Deliberately using unbranded marketing to evade FDA oversight
                  and rules prohibiting deceptive marketing;

               e. Violating legal prohibitions against misbranding (La. R.S. §
                  40:617); and

               f. Violating legal prohibitions against false advertisement (La. R.S. §
                  40:625).

       1035. Defendants engaged in these practices both directly and through third parties that

they controlled and which they aided and abetted. Defendants were aware of the unfair conduct of




                                                303
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 313 of 324. PageID #: 313




the third parties, and yet Defendants provided them with substantial assistance and encouragement

by helping them engage in the unfair practices. Defendants also substantially encouraged the unfair

practices by providing the third parties with funding and technical support for the shared purpose

of issuing unfair, pro-opioid messaging.

       1036. The Defendants’ promotional practices as described above offend deep-seated

public policies. Nevertheless, by engaging in the conduct alleged above, Defendants actively

worked to conceal the risk of addiction related to opioids from Louisiana patients and prescribers

in the hopes of selling greater quantities of dangerous drugs. Defendants also worked to undermine

public policy, enshrined by regulations contained in state and federal law, that is aimed at ensuring

honest marketing and safe and appropriate use of pharmaceutical drugs.

       1037. Defendants’ conduct also was oppressive to both patients and prescribers. Patients

are laypersons who put their trust in physicians to appropriately convey and balance the risks and

benefits of various treatment options. Physicians, in turn, are inclined to trust the advice of KOLs,

Front Groups, and other seemingly independent sources of objective medical information. By

engaging in the conduct described above, Defendants co-opted the sources reasonable physicians

relied upon to convince those physicians that the risks related to opioids were minimal, that the

benefits were substantial, and – as a result – that opioids were medically necessary to treat their

patients’ chronic pain. Defendants deliberately targeted non-specialist physicians and non-

physician prescribers, who lacked the time and expertise to evaluate their deceptive claims. This

is even more true of the patients who were both the subject and object of the Defendants’

marketing; patients have little ability to independently evaluate the medical necessity of the

treatments they are prescribed and rely on the judgment of their physicians instead – the same

judgment that was compromised by the Defendants’ unlawful conduct.




                                                304
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 314 of 324. PageID #: 314




       1038. The profound injuries to Louisiana consumers, the costs of which are passed on to

Plaintiff as laid out herein, are substantial. No public policy justifies the Defendants’ conduct in

overstating the benefits, denying or downplaying the risks, and misrepresenting the superiority of

opioids for chronic pain, all of which deprived Louisiana patients and doctors of the honest and

complete information they need to make informed choices about their treatment. In light of this

campaign of misinformation (and especially given the addictive nature of these drugs), neither

Louisiana consumers nor Plaintiff could reasonably have avoided their injuries.

       1039. Plaintiff was injured as a result of Defendants’ unfair and deceptive acts and

practices targeted toward Louisiana consumers.

       1040. Louisiana Revised Statutes § 51:1409(A) allows any person (including any legal

entity, pursuant to Louisiana Revised Statutes § 51:1402(8)) who suffers “any ascertainable loss

of money or movable property, corporeal or incorporeal, as a result of the use or employment of

an unfair or deceptive method, act, or practice declared unlawful by R.S. § 51:1405” to bring an

action to recover actual damages.

       1041. Louisiana Revised Statutes § 51:1409(A) further instructs that “If the court finds

the unfair or deceptive method, act, or practice was knowingly used, after being put on notice by

the attorney general, the court shall award three times the actual damages sustained...[and]

reasonable attorney fees and costs.”

       1042. At all times relevant to this Complaint, Defendants, directly, through their control

of third parties, and by aiding and abetting third parties, made and disseminated the foregoing

untrue, false and misleading statements, and material omissions, through an array of marketing

channels, including but not limited to: in-person and other forms of detailing; speaker events,

including meals, conferences, and teleconferences; CMEs; studies, journal articles, and




                                                305
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 315 of 324. PageID #: 315




supplements; advertisements; and brochures and other patient education materials.

       1043. Defendants knew at the time of making or disseminating these misstatements and

material omissions or causing these misstatements and material omissions statements to be made

or disseminated, that they were untrue, false, or misleading and therefore likely to deceive the

public. In addition, Defendants knew or should have known that their marketing and promotional

efforts created an untrue, false, and misleading impression of the risks, benefits, and superiority of

opioids.

       1044. To summarize, Defendants: (a) directly engaged in untrue, false, and misleading

marketing; (b) disseminated the untrue, false, and misleading marketing through third parties; and

(c) aided and abetted the untrue false, and misleading marketing third parties.

       1045. All of this conduct, separately and collectively, was intended to deceive: (1)

Louisiana consumers who used or paid for opioids for chronic pain, (2) Louisiana physicians who

prescribed opioids to consumers to treat chronic pain, (3) Louisiana payors, including Plaintiff,

who purchased, or covered the purchase of, opioids for chronic pain; and (4) the political

subdivisions of Louisiana charged with maintaining law and order in the cities who bore increased

costs associated with foreseeable criminal activity arising from the rise in addiction that was a

direct consequence of Defendants promotion of misleading messages about opioid risks and

benefits. As a direct result of the foregoing acts and practices, the Defendants have received, or

will receive, income, profits, and other benefits, which they would not have received if they had

not engaged in the violations of LUIPA as described in this Complaint. As a direct result of the

foregoing acts and practices, Plaintiff has incurred and will continue to incur costs which they

would have not otherwise incurred if Defendants had not engaged in the violations of LUTPA as

described in this Complaint.




                                                 306
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 316 of 324. PageID #: 316




          1046. By reason of the foregoing, Plaintiff was injured in that Defendants’ unbranded and

misleading marketing of opioids for chronic pain and other unfair trade practices that caused the

doctors to prescribe and Plaintiff to pay for long-term opioid treatment and using opioids

manufactured or distributed by Defendants as well as other drug makers, as well as increased law

enforcement and social programming and rehabilitation costs associated with directly attributable

criminal activity. Defendants caused and are responsible for those costs and claims.


                              THIRTEENTH CLAIM FOR RELIEF

                                         Civil Conspiracy
                                      (Against All Defendants)

          1047. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

          1048. Defendants engaged in a civil conspiracy to create a public nuisance in conjunction

with their unlawful marketing, sale, distribution and/or diversion of opioids into the State and

Plaintiff’s Community.

          1049. In pursuance of the conspiracy, all Defendants committed the following overt

act(s):

                 a. All Defendants engaged in a civil conspiracy to commit fraud and
                    misrepresentation in conjunction with their unlawful distribution
                    and diversion of opioids into Louisiana and around Plaintiff’s
                    Community.

                 b. Through an express or implied agreement among them, all
                    Defendants were involved in a concerted action to perpetrate a fraud
                    on Plaintiff by the unlawful distribution and diversion of opioids
                    into Louisiana and around Plaintiff’s Community.

                 c. All Defendants acted in furtherance of their agreement which was a
                    concerted action between and among Defendants.



                                                  307
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 317 of 324. PageID #: 317




               d. Specifically, Marketing Defendants led a nationwide conspiracy to
                  bribe medical practitioners to unnecessarily prescribe opioids.

               e. All Defendants acted with malice, purposefully, unlawfully, and
                  without reasonable excuse.

               f. All Defendants’ conspiracy to bribe practitioners generated
                  substantial profits for Defendants, their companies, and for co-
                  conspirators.

               g. The purpose of the concerted action was to accomplish a criminal or
                  unlawful goal or to accomplish a lawful purpose by the use of
                  criminal or unlawful means.

               h. All Defendants unlawfully failed to act to prevent the fraud and
                  failed to monitor, report, and prevent suspicious orders of opioids.

               i. All Defendants acted with a common understanding and design to
                  commit unlawful acts as alleged, acted purposefully, without
                  reasonable or lawful excuse, to create injuries alleged herein.

               j. All Defendants knew of, or acquiesced in, this wrongful and
                  fraudulent conduct.

       1050. Defendants engaged in a civil conspiracy to commit fraud and misrepresentation in

conjunction with their unlawful distribution and diversion of opioids into the State and Plaintiff’s

Community.

       1051. Defendants engaged in a civil conspiracy to unlawfully divert opioids and create

opioid dependence and abuse in the State and Plaintiff’s Community. Distributor and Manufacturer

Defendants unlawfully failed to act to prevent diversion and failed to monitor for, report, and

prevent suspicious orders of opioids. The Manufacturer Defendants further unlawfully marketed

opioids in the State and Plaintiff’s Community in furtherance of that conspiracy.

       1052. Defendants acted tortuously in concert with each other and/or in pursuit of a

common design, and/or Defendants knew each other’s conduct constituted a breach of their legal

duties and provided substantial assistance and/or encouragement in the conduct. Defendants



                                                308
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 318 of 324. PageID #: 318




conspiracy is a continuing conspiracy, and the overt acts performed in compliance with the

conspiracy’s objective(s) are ongoing and/or have occurred within the last year.

       1053. Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

above including, without limitation, in Plaintiff’s racketeering allegations. Such allegations are

incorporated herein.

       1054. Defendants acted with a common understanding or design to commit unlawful acts,

as alleged herein, and acted purposely, without a reasonable or lawful excuse, to create the injuries

alleged herein.

       1055. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.

       1056. Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, proximately caused and/or substantially contributed to the direct and foreseeable losses

alleged herein.

       1057. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ civil conspiracy.

       1058. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Defendants,

attorney fees and costs, and pre- and post-judgment interest.


                            FOURTEENTH CLAIM FOR RELIEF

                                   Enrichment without Cause
                                    (Against All Defendants)

       1059. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation




                                                309
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 319 of 324. PageID #: 319




set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows and pleads unjust enrichment in the alternative if Plaintiff has no other remedy at law:

        1060. Louisiana Civil Code article 2298 states, “A person who has been enriched without

cause at the expense of another person is bound to compensate that person.”

        1061. As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have unjustly profited and benefited from opioid purchases made by

Plaintiff to Plaintiff’s detriment, and the Defendants’ retention of the benefit violates the

fundamental principles of justice, equity, and good conscience.

        1062. By virtue of the acts alleged herein, Defendants knowingly, willfully, and

intentionally marketed and promoted opioid pain medication in a false and deceptive manner and

knowingly, willfully, intentionally, and without justification withhold information from Louisiana

patients, their insurers, public health providers, prescribers, medical assistance programs and other

government payors regarding the risks associated with long term opioid therapy.

        1063. By illegally and deceptively promoting opioids to treat chronic pain, directly,

through their control of third parties, and by acting in concert with third parties, Defendants have

unjustly enriched themselves at Plaintiff’s expense. Plaintiff has made payments for opioid

prescriptions, and Defendants benefited from those payments. Because of their deceptive

promotion of opioids, Defendants obtained enrichment they would not otherwise have obtained.

The enrichment was without justification.

        1064. In addition, and by reason of the foregoing, Plaintiff was harmed and continues to

be harmed in that Defendants’ ongoing concerted actions in illegally and deceptively marketing

opioids caused doctors and other health care providers to prescribe and Plaintiff to pay for long-

term opioid treatment using opioids manufactured by Defendants or by other drug makers.




                                                  310
    Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 320 of 324. PageID #: 320




Defendants caused and are responsible for those costs and claims. Plaintiff has suffered additional

damages in law enforcement, criminal justice, and social services costs as a result of Defendants’

deceptive marketing campaign and resulting proliferation of opioids, opioid addiction, and opioid-

and heroin-related crime.

        1065. Defendants have been enriched without cause as a result of their fraudulent

marketing practices and misrepresentations at the expense of Plaintiff.


                              FIFTEENTH CLAIM FOR RELIEF

                                        Punitive Damages
                                     (Against All Defendants)

        1066. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth in all other paragraphs of this Complaint as if fully set forth herein, and further alleges as

follows:

        1067. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly, and oppressively. Defendants acted with conscious

disregard to the rights of others and/or in a reckless, wanton, willful, or grossly negligent manner.

Defendants acted with a prolonged indifference to the adverse consequences of their actions and/or

omissions. Defendants acted with a conscious disregard for the rights and safety of others in a

manner that had a great probability of causing substantial harm. Defendants acted toward Plaintiff

with fraud, oppression, and/or malice, and/or were grossly negligent in failing to perform the duties

and obligations imposed upon them under applicable federal, Louisiana, and common law.

        1068. Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or




                                                  311
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 321 of 324. PageID #: 321




diverted to other than legitimate medical, scientific, or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon Louisiana and Plaintiff’s communities by these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence and the safety of the

communities, and an award of punitive damages is appropriate, as punishment and deterrence.

       1069. By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and gross negligence, and exhibited an entire want of care that would raise the

presumption of a conscious reckless indifference to consequences.

       1070. Defendants’ greed and indifference to the risks caused by their conduct has caused

and exacerbated the greatest public health crisis of the modern era. At every opportunity,

Defendants sought to enrich themselves, without regard to the risks their behavior caused others.

Defendants had actual knowledge of the wrongfulness of such conduct and the high probability

that injury or damage to Plaintiff would result and, despite that knowledge, intentionally pursued

that course of conduct, resulting in such injury and damage. Defendants’ conduct, jointly and

severally, was so reckless or wanting in care that it constituted a conscious disregard or

indifference to the life, safety, or rights of persons exposed to such conduct, and thereby warranting

punitive damages. Defendants’ conduct was fraudulent, malicious, willful, deliberately violent or

oppressive, and/or committed with such gross negligence as to indicate a wanton and conscious

disregard for the rights and safety of others. Accordingly, Defendants are liable for punitive

damages.




                                                 312
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 322 of 324. PageID #: 322




                                    PRAYER FOR RELIEF

       1071. Plaintiff respectfully requests that this Court enter an order of judgment granting

all relief requested in this Complaint, and/or allowed at law or in equity, including:

                   a.      abatement of nuisance;

                   b.      actual damages;

                   c.      declaratory relief;

                   d.      treble or multiple damages and civil penalties as allowed by statute;

                   e.      punitive damages;

                   f.      exemplary damages;

                   g.      disgorgement of unjust enrichment;

                   h.      equitable and injunctive relief in the form of Court-enforced
                           corrective action, programs, and communications;

                   i.      forfeiture disgorgement, restitution and/or divestiture of
                           proceeds and assets;

                   j.      attorneys’ fees;

                   k.      costs and expenses of suit;

                   l.      pre- and post-judgment interest; and

                   m.      such other and further relief as this Court deems appropriate.


                                        JURY DEMAND

       Plaintiff respectfully demands a trial by jury on all claims.




                                                 313
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 323 of 324. PageID #: 323




Dated: September 21, 2018           Respectfully submitted,

                                    NEBLETT, BEARD & ARSENAULT

                                     /s/ Richard J. Arsenault
                                    Richard J. Arsenault (LA Bar No. 02563)
                                    Dawn M. Chmielewski (OH Bar No. 0077723)
                                    Dustin C. Carter (MS Bar No. 104941)
                                    2220 Bonaventure Court
                                    P.O. Box 12120
                                    Alexandria, Louisiana 71301
                                    Telephone: (800) 256-1050
                                    Fax: (318) 561-2591
                                    E-mail: rarsenault@nbalawfirm.com
                                    E-mail: dchmielewski@nbalawfirm.com
                                    E-mail: dcarter@nbalawfirm.com

                                    MORROW, MORROW, RYAN, BASSETT, &
                                    HAIK
                                    Patrick C. Morrow
                                    Jeffrey M. Bassett
                                    324 W. Landry Street
                                    P.O. Drawer 1787
                                    Opelousas, LA 70571-1787
                                    Telephone: (337) 948-4483
                                    Fax: (337) 942-5234
                                    Email: patm@mmrblaw.com
                                    Email: jeffb@mmrblaw.com

                                    GACHASSIN LAW FIRM
                                    Nicholas Gachassin, III
                                    200 Corporate Boulevard, Suite 103
                                    Lafayette, LA 70508
                                    Phone: (337) 235-4576
                                    Fax: (337) 735-3203
                                    Email: Nick3@gachassin.com

                                    THE LANIER LAW FIRM
                                    W. Mark Lanier
                                    Richard D. Meadow
                                    Evan M. Janush
                                    Reagan E. Bradford
                                    6810 FM 1960 Rd W
                                    Houston, TX 77069-3804
                                    Phone: (713) 659-5200



                                      314
   Case: 1:18-op-46083-DAP Doc #: 1 Filed: 09/21/18 324 of 324. PageID #: 324




                                           Fax: (713) 659-2204
                                           E-mail: wml@lanierlawfirm.com
                                           E-mail: Reagan.Bradford@LanierLawFirm.com

                                           Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of September 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. The foregoing will be served on

counsel of record by way of the electronic filing CM/ECF System, as well as in accordance with

this Court’s Case Management Order One [Doc. 232] dated April 11, 2018 and pursuant to each

Defendant’s filed Notices identifying the person(s) and means of effecting waiver of service of

process.


                                            /s/ Richard J. Arsenault
                                           Richard J. Arsenault




                                             315
